                                                                                                                                  UST-10 COVER SHEET
                                                 MONTHLY OPERATING REPORT FOR
                                                CORPORATE OR PARTNERSHIP DEBTOR
                                                     (Including LLCs and LLPs)
Case No.       Lead: 19-62584-pcm11

Debtor         Norpac Foods, Inc., Hermsiton Foods, LLC, Quincy Foods, LLC                          Report Month/Year           September, 2019



 Instructions: The debtor's monthly financial report shall include this cover sheet signed by the debtor and all UST forms and
 supporting documents. Exceptions, if allowed, are noted in the checklist below. Failure to comply with the reporting
 requirements of Local Bankruptcy Rule 2015-1(b) and 2015-2, or the U.S. Trustee's reporting requirements, is cause for
 conversion or dismissal of the case.

                                                                                                                                                 Not
The debtor submits the following with this monthly financial report:                                                        Completed         Applicable
UST-11      Comparative Income Statement or debtor's income statement (must include all line items                             X
               specified on UST-11).

UST-12         Comparative Balance Sheet or debtor's balance sheet (must include all line items specified                             X
               on UST-12. The debtor's balance sheet, if used, shall include a breakdown of pre- and post-petition liabilities.
               The breakdown may be provided as a separate attachment to the debtor's balance sheet.

UST-13         Comparative Cash Flow Statement or debtor's cash flow statement (must include all line                                 X
               items specified on UST-13). Complete this statement if the debtor is reporting based on the accrual basis of
               accounting. This is the required method, unless other arrangements have been made with the U.S. Trustee.

UST-14         Summary of Disbursements                                                                                               X

UST-14A        Statement of Cash Receipts and Disbursements                                                                           X
               Complete one or more to include all bank accounts or other sources of debtor funds. Attach copies of
               monthly bank statements and all supporting documents described in the instructions.

UST-14B        Additional Disbursement Information                                                                                    X


UST-15         Statement of Aged Receivables                                                                                          X
               Provide a detailed accounting of aged receivables on, or as an attachment to, UST-15.

UST-16         Statement of Aged Post-Petition Payables                                                                               X
               Provide a detailed accounting of aged post-petition payables on, or as an attachment to, UST-16.

UST-17         Statement of Operations                                                                                                X
               When applicable, UST-17 shall include copies of supporting documents such as an escrow statement for the
               sale of real property, an auctioneer's report for property sold at auction, or a certificate of insurance or copy of
               debtor's bond for any change in insurance or bond coverage.

                                              DEBTOR'S CERTIFICATION
I certify under penalty of perjury that (1) I have personally prepared this financial report or directly supervised its preparation, and (2)
the information contained in this monthly financial report is complete, true, and accurate to the best of my knowledge, information,
and belief.
     /s/ Winston Mar                                                                   11/4/2019
BY:________________________________________                                   DATE:____________________
      Chief Restructuring Officer
TITLE:__________________________
The debtor, or trustee, if appointed, must sign the monthly financial report. Only an authorized officer may sign a financial report for a corporate
debtor and only a general partner has authority to sign a financial report for a partnership debtor. Debtor's counsel may not sign a financial report for
the debtor.




         Monthly Operating Report -Corporate or Partnership Debtor                                                                           Page 1 of 16
         United States Trustee-Oregon                                                                                                         (Revised 3/4/11)




                                            Case 19-62584-pcm11                     Doc 333          Filed 11/04/19
                                                                                                                                            UST-11


                                                                                                Case Number: Lead: 19-62584-pcm11
                                                                                                Report Mo/Yr: September, 2019
Debtor: Norpac Foods, Inc., Hermsiton Foods, LLC, Quincy Foods, LLC

                                            UST-11, COMPARATIVE INCOME STATEMENT

INSTRUCTIONS: The initial report should include only business activity commencing from the petition date through the end of the month.



                                                              MO/YR               MO/YR              MO/YR                Cumulative
                                       For the Month of:      08/2019                                                      To Date
Revenue                                                                                                                                        -
Less: Returns and Allowances                                                                                                                   -
NET REVENUE                                                            -                  -                   -                                -

Cost of Goods sold:                                        See Attached
         Beginning Inventory                                                                                                                   -
         Add: Purchases                                                                                                                        -
         Less: Ending Inventory                                                                                                                -
Cost of Goods Sold                                                     -                  -                   -                                -

Additional Costs of Good Sold:
          Direct Labor                                                                                                                         -
          Freight In                                                                                                                           -
TOTAL COST OF GOOD SOLD                                                -                  -                   -                                -

Other Operating Expenses:
        Officers' Salaries (Gross)                                                                                                             -
        Other Salaries (Gross)                                                                                                                 -
        Depreciation and Amortization                                                                                                          -
        Employee Benefits                                                                                                                      -
        Payroll Taxes (Employer's portion)                                                                                                     -
        Insurance                                                                                                                              -
        Rent                                                                                                                                   -
        General and Administrative                                                                                                             -
TOTAL OPERATING EXPENSES                                               -                  -                   -                                -
NET OPERATING INCOME (LOSS)                                            -                  -                   -                                -

Add:       Other Income                                                                                                                        -

Less:      Interest Expense                                                                                                                    -

Less:  Non-recurring items
            Professional Fees                                                                                                                  -
            UST Fees                                                                                                                           -
            Other (specify)                                                                                                                    -
TOTAL NON-RECURRING ITEMS                                              -                  -                   -                                -

GAIN (LOSS) ON DISPOSAL OF ASSETS                                                                                                              -

NET INCOME (LOSS) BEFORE INCOME TAX                                    -                  -                   -                                -
Income Taxes                                                                                                                                   -
NET INCOME (LOSS)                                                      -                  -                   -                                -




        Monthly Operating Report -Corporate or Partnership Debtor                                                                   Page 2 of 16
        United States Trustee-Oregon                                                                                                     (Revised 3/4/11)




                                           Case 19-62584-pcm11               Doc 333          Filed 11/04/19
                                                                                                                     UST-12


                                                                                     Case Number: Lead: 19-62584-pcm11
                                                                                     Report Mo/Yr: September, 2019
Debtor:    Norpac Foods, Inc., Hermsiton Foods, LLC, Quincy Foods, LLC

                                         UST-12, COMPARATIVE BALANCE SHEET

                                                         MO/YR             MO/YR        MO/YR       PER SCHEDULES
ASSETS                     As of month ending:           08/2019                                    (i.e. Petition Date)
   Current Assets
         Cash-Restricted
                                                      See Attached
         Cash-Unrestricted
            TOTAL CASH

           Accounts Receivable
           Less: Allowance for Doubtful Accounts
             NET ACCOUNTS RECEIVABLE

         Notes Receivable
         Insider Receivables
         Inventory (see note below)
         Prepaid Expenses
         Other- Investments
   TOTAL CURRENT ASSETS                                            -
   Fixed Assets
         Real Property/Buildings
         Equipment
         Accumulated Depreciation
   NET FIXED ASSETS

   Other Assets (attach list)
TOTAL ASSETS                                                       -


LIABILITIES
   Post-Petition Liabilities
         Trade Accounts Payable
         Taxes Payable
         Accrued Professional Fees
         Notes Payable
         Rents and Lease payables
         Accrued Interest
         Other (specify)
   TOTAL POST-PETITION LIABILITIES                                 -                                                     -
   Pre-Petition Liabilities
         Secured Debt
         Priority Debt
         Unsecured Debt
         Other (attach list)
   TOTAL PRE-PETITION LIABILITIES                                  -

TOTAL LIABILITIES                                                  -

   Method of inventory valuation (Cost, Lower of Cost or Market, FIFO, LIFO, Other) :             Cost, Net Book Value



       Monthly Operating Report -Corporate or Partnership Debtor                                             Page 3 of 16
       United States Trustee-Oregon                                                                           (Revised 3/4/11)




                                      Case 19-62584-pcm11              Doc 333   Filed 11/04/19
                                                                                                                 UST-12


                                                                                    Case Number: Lead: 19-62584-pcm1
                                                                                    Report Mo/Yr: September, 2019
Debtor:   Norpac Foods, Inc., Hermsiton Foods, LLC, Quincy Foods, LLC

                                       UST-12, COMPARATIVE BALANCE SHEET

                                                       MO/YR              MO/YR        MO/YR      PER SCHEDULES
EQUITY                     As of month ending:         08/2019                                    (i.e. Petition Date)
  Owners' Equity (or Deficit)
                                                       See Attached
          Prepetition Owners' Equity
          Post-petition Cumulative Profit or (Loss)
          Direct Charges to Equity (Explain)

   TOTAL OWNERS' EQUITY (DEFICIT)                                 -             -            -


   TOTAL LIABILITIES AND OWNERS'
   EQUITY(DEFICIT)                                                -             -            -




FOOTNOTES TO BALANCE SHEET:




      Monthly Operating Report -Corporate or Partnership Debtor                                             Page 4 of 16
      United States Trustee-Oregon                                                                           (Revised 3/4/11)




                                     Case 19-62584-pcm11              Doc 333   Filed 11/04/19
                                                                                                                    UST-13


                                                                                      Case Number: Lead: 19-62584-pcm11
                                                                                      Report Mo/Yr: September, 2019
Debtor:   Norpac Foods, Inc., Hermsiton Foods, LLC, Quincy Foods, LLC

                                         UST-13, COMPARATIVE CASH FLOW STATEMENT
                                                         MO/YR       MO/YR     MO/YR                    Cumulative
                                     As of month ending: 08/2019                                       Filing to Date

NET INCOME (LOSS)                                                 -
                                                      See Attached
ADJUSTMENTS TO RECONCILE NET INCOME
   TO NET CASH:

   Depreciation and Amortization
   (Gain) Loss on Sale of Assets
   (Increase) Decrease in Prepaids
   (Increase) Decrease in Receivables
   (Increase) Decrease in Inventory

   Increase (Decrease) in Payables
   Increase (Decrease) in Taxes Payable
   Increase (Decrease) in Professional Fees
   Increase (Decrease) in Rents/Leases Pay
   Increase (Decrease) in Accrued Interest




NET CASH PROVIDED BY OPERATIONS                                   -

CASH FLOWS FROM INVESTING/FINANCING:

   Purchase of Fixed Assets
   Proceeds from Sale of Fixed Assets
   Capital Contributions
   Loan Proceeds
   Loan Principal and Capital Lease Payments




NET INCREASE (DECREASE) IN CASH                                   -

BEGINNING CASH                                                    -             -              -

ENDING CASH




      Monthly Operating Report -Corporate or Partnership Debtor                                                Page 5 of 16
      United States Trustee-Oregon                                                                              (Revised 3/4/11)




                                         Case 19-62584-pcm11          Doc 333       Filed 11/04/19
                                                                                                                                    UST-14


                                                                                Case Number: Lead: 19-62584-pcm11
                                                                                Report Mo/Yr: September, 2019

Debtor:        Norpac Foods, Inc., Hermsiton Foods, LLC, Quincy Foods, LLC

                                             UST-14, SUMMARY OF DISBURSEMENTS

INSTRUCTIONS: BEFORE COMPLETING THIS PAGE, prepare UST-14A (see next page) to include all bank accounts or other
sources of the debtor's funds. The disbursement total will be used to complete this SUMMARY OF DISBURSEMENTS.

The debtor is responsible for providing accurate monthly disbursement totals for purposes of calculating its obligation pursuant to 28
U.S.C. § 1930(a)(6) to pay statutory fees to the U.S. Trustee. The disbursement total encompasses all payments made by the debtor
during the reporting month, whether made directly by the debtor or by another party for the debtor. It includes checks written and cash
payments for inventory and equipment purchases, payroll and related taxes and expenses, other operating costs, and debt reduction.
It also includes payments made pursuant to joint check arrangements and those resulting from a sale or liquidation of the debtor's
assets. The only transactions normally excluded from the disbursement total are transfers within the same reporting month between
multiple debtor accounts.

The U.S. Trustee payment is due on the last day of the month following the end of each calendar quarter, or on April 30, July 31,
October 31, and January 31, respectively. Because the amount billed is an estimate, the debtor is responsible for paying the correct
statutory fee based on actual disbursements for the calendar quarter, or portion thereof while the debtor is in Chapter 11 (i.e. until the
case is converted, dismissed, or closed by final decree). Failure to pay statutory fees to the U.S. Trustee is cause for conversion or
dismissal of the case. A copy of the statutory fee schedule may be found in the Chapter 11 Guidelines on the U.S. Trustee's website
located at:

                     http://www.justice.gov/ust/r18/portland/chapter11.htm
                     http://www.justice.gov/ust/r18/eugene/chapter11.htm

If you have any questions about how to compute the disbursement total, please call the U.S. Trustee's office:

Portland, OR             (503) 326-4000
Eugene, OR               (541) 465-6330




               (UST-14A, with attachments, should follow this page.)


COMPUTATION OF MONTHLY DISBURSEMENT TOTAL
Total disbursements from UST-14A                                                                                          28,027,555.35
Cash payments not included in total above (if any)                                                                    $             -
Disbursements made by third parties for the debtor (if any, explain)                                                  $             -

TOTAL DISBURSEMENTS THIS MONTH FROM ALL SOURCES                                                                       $ 28,027,555.35
                                                                                                   Yes         No
At the end of this reporting month, did the debtor have any delinquent statutory fees
 owing to the U.S. Trustee?                                                                                    X

(If yes, list each quarter that is delinquent and the amount due along with an explanation)

Quarter        Explanation                                                                                           Amount




        Monthly Operating Report -Corporate or Partnership Debtor                                                            Page 6 of 16
        United States Trustee-Oregon                                                                                          (Revised 3/4/11)




                                          Case 19-62584-pcm11            Doc 333        Filed 11/04/19
                                                                                                                      UST-14A
                                                                              Case Number:                Lead: 19-62584-pc
Debtor:                                                                       Report Mo/Yr:               September, 2019
Norpac Foods, Inc., Hermsiton Foods, LLC, Quincy Foods, LLC

                                       UST-14A - STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS



INSTRUCTIONS: Include all bank accounts or other source of the debtor's funds and attach supporting documents as
indicated on the checklist below. Use additional sheets as necessary.

Depository (Bank) Name
Account Number
Type of Account                                                                                               TOTALS

Beginning Cash Balance                             See Attached                                                                -
Add:
Transfers in                                                                                                                   -
Receipts deposited                                                                                                             -
Other (identify source)                                                                                                        -
  Total Cash Receipts                                        -          -               -            -                         -

Subtract:
Transfers out                                                                                                                  -
Disbursements by check or debit                                                                                                -
Cash withdrawn                                                                                                                 -
Other (identify source)                                                                                                        -
  Total Cash Disbursements                                   -          -               -            -                         -

Ending Cash Balance                                          -          -               -            -                         -


Does each account identified above include the following supporting documents, as required: Indicate YES, NO or
NOT APPLICABLE in the boxes below.

Monthly bank statement copy                           YES
(do not include bank statement copies
with the report filed with the Bankruptcy
Court)

Bank reconciliation (including
outstanding checks and deposits in
transit)                                              YES

A detailed list of receipts for the account
(deposit log or receipts journal)                     YES

A detailed list of disbursements for the
account (check register or disbursement
journal)                                              YES

Funds received and/or
disbursed by another party                             N/A




        Monthly Operating Report -Corporate or Partnership Debtor                                          Page 7 of 16
        United States Trustee-Oregon                                                                        (Revised 3/4/11)




                                            Case 19-62584-pcm11     Doc 333     Filed 11/04/19
                                                                                                                      UST-14A
                                                                              Case Number:                19-62584-pcm11
Debtor:                                                                       Report Mo/Yr:               September, 2019
Norpac Foods, Inc.

                                       UST-14A - STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS



INSTRUCTIONS: Include all bank accounts or other source of the debtor's funds and attach supporting documents as
indicated on the checklist below. Use additional sheets as necessary.

Depository (Bank) Name
Account Number
Type of Account                                                                                               TOTALS

Beginning Cash Balance                             See Attached                                                                -
Add:
Transfers in                                                                                                                   -
Receipts deposited                                                                                                             -
Other (identify source)                                                                                                        -
  Total Cash Receipts                                        -          -               -            -                         -

Subtract:
Transfers out                                                                                                                  -
Disbursements by check or debit                                                                                                -
Cash withdrawn                                                                                                                 -
Other (identify source)                                                                                                        -
  Total Cash Disbursements                                   -          -               -            -                         -

Ending Cash Balance                                          -          -               -            -                         -


Does each account identified above include the following supporting documents, as required: Indicate YES, NO or
NOT APPLICABLE in the boxes below.

Monthly bank statement copy                           YES
(do not include bank statement copies
with the report filed with the Bankruptcy
Court)

Bank reconciliation (including
outstanding checks and deposits in
transit)                                              YES

A detailed list of receipts for the account
(deposit log or receipts journal)                     YES

A detailed list of disbursements for the
account (check register or disbursement
journal)                                              YES

Funds received and/or
disbursed by another party                             N/A




        Monthly Operating Report -Corporate or Partnership Debtor                                          Page 8 of 16
        United States Trustee-Oregon                                                                        (Revised 3/4/11)




                                            Case 19-62584-pcm11     Doc 333     Filed 11/04/19
                                                                                                                      UST-14A
                                                                                   Case Number:           19-33103-pcm11
Debtor:                                                                            Report Mo/Yr:          September, 2019
Quincy Foods, LLC

                                       UST-14A - STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS



INSTRUCTIONS: Include all bank accounts or other source of the debtor's funds and attach supporting documents as
indicated on the checklist below. Use additional sheets as necessary.

Depository (Bank) Name                              Wells Fargo Signature Bank Signature Bank
Account Number                                     XXXXXX1025 XXXXXX8795 XXXXXX8809
Type of Account                                     Operating      Operating       Payroll                    TOTALS

Beginning Cash Balance                                       -              -                -                                 -
Add:
Transfers in                                         796,348.39    1,476,806.56       734,020.55             3,007,175.50
Receipts deposited                                          -               -           1,730.99                 1,730.99
Other- Posting Error Correction Credit                 7,250.63                                                  7,250.63
  Total Cash Receipts                                803,599.02    1,476,806.56       735,751.54      -      3,016,157.12

Subtract:
Transfers out                                        (476,972.06)     (2,116.31)             -                 (479,088.37)
Disbursements by check or debit                      (326,626.96) (1,474,690.25)     (735,751.54)            (2,537,068.75)
Cash withdrawn                                               -              -                -                         -
Other (identify source)                                      -              -                -                         -
  Total Cash Disbursements                           (803,599.02) (1,476,806.56)     (735,751.54)     -      (3,016,157.12)

Ending Cash Balance                                          -              -                -        -                        -


Does each account identified above include the following supporting documents, as required: Indicate YES, NO or
NOT APPLICABLE in the boxes below.

Monthly bank statement copy                            YES
(do not include bank statement copies
with the report filed with the Bankruptcy
Court)

Bank reconciliation (including
outstanding checks and deposits in
transit)                                               YES

A detailed list of receipts for the account
(deposit log or receipts journal)                      YES

A detailed list of disbursements for the
account (check register or disbursement
journal)                                               YES

Funds received and/or
disbursed by another party                             N/A




        Monthly Operating Report -Corporate or Partnership Debtor                                          Page 9 of 16
        United States Trustee-Oregon                                                                        (Revised 3/4/11)




                                            Case 19-62584-pcm11       Doc 333        Filed 11/04/19
                                                                                                                      UST-14A
                                                                                  Case Number:            19-33102-pcm11
Debtor:                                                                           Report Mo/Yr:           September, 2019
Hermsiton Foods, LLC

                                       UST-14A - STATEMENT OF CASH RECEIPTS AND DISBURSEMENTS



INSTRUCTIONS: Include all bank accounts or other source of the debtor's funds and attach supporting documents as
indicated on the checklist below. Use additional sheets as necessary.

Depository (Bank) Name                              Wells Fargo Signature Bank Signature Bank
Account Number                                     XXXXXX1017 XXXXXX8779 XXXXXX8787
Type of Account                                     Operating      Operating       Payroll                    TOTALS

Beginning Cash Balance                                       -             -                -                                  -
Add:
Transfers in                                          63,419.55       1,048.86        67,849.88                   132,318.29
Receipts deposited                                          -              -                -                            -
Other (identify source)                                     -                                                            -
  Total Cash Receipts                                 63,419.55       1,048.86        67,849.88      -            132,318.29

Subtract:
Transfers out                                         (56,128.73)          -                -                   (56,128.73)
Disbursements by check or debit                        (7,290.82)    (1,048.86)      (67,849.88)                (76,189.56)
Cash withdrawn                                               -             -                -                          -
Other (identify source)                                      -             -                -                          -
  Total Cash Disbursements                            (63,419.55)    (1,048.86)      (67,849.88)     -         (132,318.29)

Ending Cash Balance                                          -             -                -        -                         -


Does each account identified above include the following supporting documents, as required: Indicate YES, NO or
NOT APPLICABLE in the boxes below.

Monthly bank statement copy                            YES
(do not include bank statement copies
with the report filed with the Bankruptcy
Court)

Bank reconciliation (including
outstanding checks and deposits in
transit)                                               YES

A detailed list of receipts for the account
(deposit log or receipts journal)                      YES

A detailed list of disbursements for the
account (check register or disbursement
journal)                                               YES

Funds received and/or
disbursed by another party                             N/A




        Monthly Operating Report -Corporate or Partnership Debtor                                         Page 10 of 16
        United States Trustee-Oregon                                                                        (Revised 3/4/11)




                                            Case 19-62584-pcm11      Doc 333        Filed 11/04/19
                                                                                                                                         UST-14B


                                                                                                                 Case Number: Lead: 19-62584-
                                                                                                                 Report Mo/Yr: September, 2019
Debtor:                          Norpac Foods, Inc., Hermsiton Foods, LLC, Quincy Foods, LLC


                                         UST-14B, ADDITIONAL DISBURSEMENT INFORMATION

Payments on Pre-Petition Unsecured Debt (requires court approval)
Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month
on pre-petition unsecured debt? If "yes", complete table for each payment.
                                                       Payment                          Date of Court
    Payee's Name           Nature of Payment              Date        Amount              Approval                               Yes           No

       See Attached                                                                                                               X



Payments to Attorneys and Other Professionals (requires court approval)
Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month
to a professional such as an attorney, accountant, realtor, appraiser, auctioneer, business consultant, or
other professional person? If "yes", complete table for each payment.
                                  Type of             Payment                            Date of Court
 Professional's Name        Work Performed                Date          Amount              Approval                             Yes           No

                                                                                                                                                X


Payments to an Officer, Director, Partner, or Other Insider of the Debtor
Did the debtor, or another party on behalf of the debtor, make any payments during this reporting month
to, or for the benefit of, an officer, director, partner, member, shareholder or other insider of the debtor?
If "yes", complete table for each payment.
                                                           Payment                             Purpose of
     Payee's Name           Relationship to Debtor           Date         Amount                Payment                          Yes           No

    See Attached                                                                                                                  X


INSTRUCTIONS: Use the last column to describe the purpose of each payment, such as gross wages or salary, reimbursement
for business expenses, loan repayment, advance, draw, bonus, dividend, stock distribution, or other reason for the payment.


CERTIFICATION OF BANK ACCOUNTS:

The undersigned certifies under penalty of perjury that every financial account used by the debtor is accounted for in UST-14A of this
report and is held in a depository included on the U.S. Trustee's list of authorized depositories. The undersigned further certifies that
each such depository has been notified that the account holder is a debtor in a Chapter 11 case under the jurisdiction of the Bankruptcy
Court.
     /s/ Winston Mar                                                                11/4/2019
BY: _____________________________________________                           DATE:______________
        Chief Restructuring Officer
TITLE:_____________________________




         Monthly Operating Report -Corporate or Partnership Debtor                                                             Page 11 of 16
         United States Trustee-Oregon                                                                                             (Revised 3/4/11)




                                           Case 19-62584-pcm11                 Doc 333          Filed 11/04/19
                                                                                                                                               UST-15


                                                                                                             Case Number: Lead: 19-62584-
                                                                                                             Report Mo/Yr: September, 2019
Debtor:                 Norpac Foods, Inc., Hermsiton Foods, LLC, Quincy Foods, LLC

                                            UST-15, STATEMENT OF AGED RECEIVABLES


INSTRUCTIONS: Complete all portions of UST-15, STATEMENT OF AGED RECEIVABLES, unless the debtor asserts the following two
statements are true for this reporting month:

º At the beginning of the reporting month, the debtor did not have any uncollected pre-petition or post-petition accounts receivable; and,

º During the reporting month, the debtor did not have any receivables activity, including the accrual of new accounts receivable, or the collection or
write-off of accounts receivable from prior months.

Initial here ___________ if the debtor asserts that both statements above are correct and then skip to UST-16,
                          Statement of Post-Petition Payables.




Accounts Receivable Aging
                            Balance at           Current             Past Due              Past Due             Past Due            Uncollectible
                            Month End            Portion            31-60 days            61-90 days           over 90 days         Receivables

Pre-petition                    2,064,996         1,455,216               301,883               107,882              275,016                 (75,000)

Post-petition                 21,974,112        21,942,585                 31,527                     -                    -

TOTALS                        24,039,109        23,397,801                333,410               107,882              275,016                 (75,000)

Once a debt has been outstanding over 10 days past due, Norpac's collections department
contacts the debtor for payment.




Accounts Receivable Reconciliation
                                                                                        Post Petition         Pre-Petition              Totals
                        Opening Balance                                                      8,190,600           14,919,622            23,110,222
                        Add: Sales on account                                               29,056,308                     -           29,056,308
                        Less: Payments on account                                          (14,156,403)         (11,502,250)          (25,658,654)
                        Less: Write-offs or other adjustments                               (1,191,392)           (1,277,375)          (2,468,767)
                        Closing Balance                                                     21,899,112             2,139,997           24,039,109


Insider Receivable Reconciliation
Insider Name (e.g. officer, director, partner, member, shareholder)
Relationship to Debtor
                 Opening Balance (if first report, use the balance
                    on date of filing)
                 Add: Current month advances
                 Less: Current month payments
                 Closing Balance                                                                      -                    -                      -



         Monthly Operating Report -Corporate or Partnership Debtor                                                                        Page 12 of 16
         United States Trustee-Oregon                                                                                                         (Revised 3/4/11)




                                            Case 19-62584-pcm11                   Doc 333          Filed 11/04/19
                                                                                                                                                     UST-16
                                                                                                               Case Number: Lead: 19-62584-pc
                                                                                                               Report Mo/Yr: September, 2019
Debtor:                   Norpac Foods, Inc., Hermsiton Foods, LLC, Quincy Foods, LLC


                                        UST-16, STATEMENT OF AGED POST-PETITION PAYABLES
                                                 PART A - TRADE ACCOUNTS PAYABLE


INSTRUCTIONS: Complete PART A - TRADE ACCOUNTS PAYABLE unless the debtor asserts that this statement is true for this reporting month:

° Except for taxes disclosed in PART B of this report, the debtor has no other unpaid post-petition payables from the current reporting month or from any
prior post-petition months.

Initial here __________if the debtor asserts that the statement above is correct and then skip to UST-16, Part B, Taxes.




Accounts Payable Aging
                                  Balance at               Current                   Past Due                   Past Due                 Past Due
                                  Month End                Portion                  31-60 days                 61-90 days               over 90 days

Post-petition                          11,217,427            11,053,100                     164,327                           -                         -


1. For Accounts Payable more than 30 days past due, explain why payment has not been made.


2. Attach the debtor's accounts payable aging report.




Post-Petition Trade Accounts Payable Reconciliation


                          Opening Balance                                                                                                     5,733,440
                          Additions:                                                                                                        21,678,344
                          Less: Payments made                                                                                              (16,194,357)
                          Closing Balance                                                                                                   11,217,427




        Monthly Operating Report -Corporate or Partnership Debtor                                                                       Page 13 of 16
        United States Trustee-Oregon                                                                                                       (Revised 3/4/11)




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                                                                                                                             UST-16


                                                                                           Case Number: Lead: 19-62584-pcm11
                                                                                           Report Mo/Yr: September, 2019
Debtor:                                 Norpac Foods, Inc., Hermsiton Foods, LLC, Quincy Foods, LLC


                                  UST-16, BUSINESS STATEMENT OF AGED POST-PETITION PAYABLES
                                                        PART B - TAXES


 CERTIFICATION: The undersigned certifies under penalty of perjury that all post-petition taxes required to be withheld or
 collected have been paid to the appropriate taxing authority or that a deposit for such amounts has been made into a separate
 bank tax account as more fully described below.
        /s/ Winston Mar                                                          11/4/2019
  BY:___________________________________________                            DATE:_____________________




Reconciliation of Unpaid Post-Petition Taxes
                                                  1                     2                     3                     4
                                                                                                           Unpaid Post-petition
                                         Unpaid Post-petition   Post-petition Taxes    Post-petition Tax     Taxes at End of
                                          Taxes from Prior      Accrued this Month    Payments Made this     Reporting Month
Type of Tax                               Reporting Month        (New Obligations)     Reporting Month      (Column 1+2-3=4)
                                                       FEDERAL EMPLOYMENT TAXES
Employee Income Tax Withheld                          144,047           574,572               (534,368)                  184,250
FICA/Medicare-Employee                                132,694           540,454               (510,817)                  162,331
FICA/Medicare-Employer                                132,505           540,314               (510,951)                  161,868
Unemployment (FUTA)                                     2,719             8,560                  (9,868)                   1,411
                                                        STATE EMPLOYMENT TAXES
Employee Income Tax Withheld                           74,324           340,950               (329,687)                    85,587
Unemployment (SUTA)                                    53,203           203,118               (194,337)                    61,984
Worker's Compensation                                   1,719             7,557                  (7,457)                    1,818
                                                              OTHER TAXES
Corporate Income Tax                                    1,344             4,166                     -                      5,510
Local City/County Tax                                     -                                         -                        -
Sales Tax                                                 132                805                   (270)                     667
Personal Property Tax                                     -                                         -                        -
Real Property Tax                                      28,239            87,542                     -                    115,781
Other                                                   4,152            13,966                (12,297)                    5,820
                                                                      Total Unpaid Post-Petition Taxes                   787,030
*Other includes OR Transit Tax, SDI:WA, SDI: CA, WA Rate Class 1-40 Emp Admind Fund ,


Is the debtor delinquent in any tax reporting? NO




         Monthly Operating Report -Corporate or Partnership Debtor                                               Page 14 of 16
         United States Trustee-Oregon                                                                              (Revised 3/4/11)




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                                                                                                                              UST-17


                                                                                               Case Number: Lead: 19-62584-
                                                                                                Report Mo/Yr: September, 2019
Debtor:                                Norpac Foods, Inc., Hermsiton Foods, LLC, Quincy Foods, LLC

                                               UST-17 STATEMENT OF OPERATIONS
INSTRUCTIONS: Answer each question fully and attach additional sheets as necessary to provide a complete response

Question 1 - Sale of the Debtor's Assets
Did the debtor, or another party on behalf of the the debtor, sell, transfer, or otherwise dispose of any           Yes          No
of the debtor's assets during the reporting month that are out of the ordinary course of the debtor's
business If yes, attach a schedule identifying each asset, date of sale notice, method of disposition, and                        X
gross and net sale proceeds received. If real property was sold, attach a copy of the closing statement.




Question 2 - Financing
During the reporting month, did the debtor receive any financing, or loans from a non-insider funding source? If yes,
indicate the source of the funds, date paid to debtor, dollar amount, and date of court approval.
                                                                                           Date of Court
       Source of Funds                        Date Paid               Amount                 Approval               Yes          No

                                                                                                                                  X

Question 3 - Insider loans
During the reporting month, did the debtor receive any funds from an officer, director, partner, member, shareholder,
or other insider of the debtor? If yes, indicate the source of funds, date paid to debtor, dollar amount, and date of court
approval.
                                                                                           Date of Court
       Source of Funds                        Date Paid               Amount                 Approval               Yes          No

                                                                                                                                  X

Question 4 - Insurance and Bond Coverage
                                                                                                                    Yes          No
Did the debtor renew or replace any insurance policies during this reporting month? If yes, attach
a certificate of insurance for each renewal or change in coverage.                                                                X

Were any of the debtor's insurance policies canceled or otherwise terminated for any reason during
the reporting month? If yes, explain.                                                                                             X

Were any claims made during this reporting month against the debtor's bond? (Answer "No" if the
debtor is not required to have a bond). If yes, explain.                                                                          X


Question 5 - Significant Events.
The debtors have sustained operating losses over the past five years and sought Chapter 11 Bankruptcy
protection to assist with the sale of the business and assets.




        Monthly Operating Report -Corporate or Partnership Debtor                                                  Page 15 of 16
        United States Trustee-Oregon                                                                                 (Revised 3/4/11)




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                                                                                                                         UST-17


                                                                                            Case Number: Lead: 19-62584-pcm
                                                                                            Report Mo/Yr: September, 2019

Debtor:                             Norpac Foods, Inc., Hermsiton Foods, LLC, Quincy Foods, LLC

                                         UST-17, STATEMENT OF OPERATIONS (Continued)



Question 6 - Case Progress. Debtors have not begun to work on confirmation of a plan of reorganization.




                                                                                         Estimated Date
                                                                                           To be Filed
                                                                        Filed ?            If not Filed
                                    Disclosure Statement:                 NO               12/20/2019
                                    Plan of Reorganization:               NO               12/20/2019




WHERE TO FILE A MONTHLY OPERATING REPORT: Local Bankruptcy Rule 2015-2 requires the debtor to file its monthly
financial report with the U.S. Bankruptcy Court.


File the original….(select only one)

For a Chapter 11 case filed in Portland, OR:                     For a Chapter 11 case filed in Eugene, OR:
                          United States Bankruptcy Court                             United States Bankruptcy Court
                          1001 SW 5th Avenue, 7th floor                              405 East 8th Avenue, Suite 2600
                          Portland, OR 97204                                         Eugene, OR 97401


CERTIFICATION: The undersigned certifies that copies of this report and supporting documents have been served upon
each of the following persons in this case: U.S. Trustee; the chairperson of each official committee of creditors or
equity security holders and the attorney(s) for each such committee; the debtor and the debtor's attorney; and the
trustee and the trustee's attorney, if applicable.

     /s/ Albert N. Kennedy                                                          11/4/2019
BY:_____________________________________________                            DATE:____________________
         Attorney for Debtors                                                      503-802-2013
TITLE:_________________________                                 PHONE NUMBER:___________________

Send U.S. Trustee's copy to: (select only one)

For a Chapter 11 case filed in Portland, OR:                      For a Chapter 11 case filed in Eugene, OR:

Office of the United States Trustee                                Office of the United States Trustee
620 SW Main Street, Suite 213                                      405 East 8th Avenue, Suite 1100
Portland, OR 97205                                                 Eugene, OR 97401




         Monthly Operating Report -Corporate or Partnership Debtor                                                     Page 16 of 16
         United States Trustee-Oregon                                                                                    (Revised 3/4/11)




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Case 19-62584-pcm11   Doc 333   Filed 11/04/19
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Case 19-62584-pcm11   Doc 333   Filed 11/04/19
Case 19-62584-pcm11   Doc 333   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                           UST-14A
Signature Bank                                                                                                                 Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                            Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name            Post Date Reference                Additional   Amount            Description          Type    Text
Number     Number                                                                               Reference
26013576   XXXXXX8779   Checking      HERMISTON OPERATING    9/17/2019   1003                   1003         ($140.00)         CHECK PAID           Check
26013576   XXXXXX8779   Checking      HERMISTON OPERATING    9/17/2019   ZBA-SWEEP TRANSFER F                $140.00           SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8779   Checking      HERMISTON OPERATING    9/18/2019   1001                   1001         ($414.82)         CHECK PAID           Check
26013576   XXXXXX8779   Checking      HERMISTON OPERATING    9/18/2019   1002                   1002         ($95.00)          CHECK PAID           Check
26013576   XXXXXX8779   Checking      HERMISTON OPERATING    9/18/2019   ZBA-SWEEP TRANSFER F                $509.82           SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8779   Checking      HERMISTON OPERATING    9/26/2019   1005                   1005         ($25.56)          CHECK PAID           Check
26013576   XXXXXX8779   Checking      HERMISTON OPERATING    9/26/2019   ZBA-SWEEP TRANSFER F                $25.56            SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8779   Checking      HERMISTON OPERATING    9/27/2019   1006                   1006         ($95.60)          CHECK PAID           Check
26013576   XXXXXX8779   Checking      HERMISTON OPERATING    9/27/2019   ZBA-SWEEP TRANSFER F                $95.60            SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8779   Checking      HERMISTON OPERATING    9/30/2019   1004                   1004         ($277.88)         CHECK PAID           Check
26013576   XXXXXX8779   Checking      HERMISTON OPERATING    9/30/2019   ZBA-SWEEP TRANSFER F                $277.88           SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8787   Checking      HERMISTON PAYROLL      9/17/2019   KRONOS SAASHR, INC.    1            ($225.69)         OUTGOING WIRE        Wire    REF# 20190917B6B7261F002131TO: KRONOS SAASHR, INC.          ABA: 042000314BANK: FIFTH
                                                                                                                                                            THIRD CINCI       ACCT# 7146798843
26013576 XXXXXX8787 Checking          HERMISTON PAYROLL      9/17/2019 KRONOS SAASHR, INC.      1            ($61,312.47)      OUTGOING WIRE        Wire    REF# 20190917B6B7261F002143TO: KRONOS SAASHR, INC.          ABA: 042000314BANK: FIFTH
                                                                                                                                                            THIRD CINCI       ACCT# 7146798843
26013576   XXXXXX8787   Checking      HERMISTON PAYROLL      9/17/2019   ZBA-SWEEP TRANSFER F                $61,538.16        SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8787   Checking      HERMISTON PAYROLL      9/23/2019   200050001              200050001    ($1,711.37)       CHECK PAID           Check
26013576   XXXXXX8787   Checking      HERMISTON PAYROLL      9/23/2019   200050002              200050002    ($871.06)         CHECK PAID           Check
26013576   XXXXXX8787   Checking      HERMISTON PAYROLL      9/23/2019   200050003              200050003    ($1,156.59)       CHECK PAID           Check
26013576   XXXXXX8787   Checking      HERMISTON PAYROLL      9/23/2019   200050004              200050004    ($976.06)         CHECK PAID           Check
26013576   XXXXXX8787   Checking      HERMISTON PAYROLL      9/23/2019   ZBA-SWEEP TRANSFER F                $4,715.08         SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8787   Checking      HERMISTON PAYROLL      9/24/2019   200050000              200050000    ($351.63)         CHECK PAID           Check
26013576   XXXXXX8787   Checking      HERMISTON PAYROLL      9/24/2019   ZBA-SWEEP TRANSFER F                $351.63           SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8787   Checking      HERMISTON PAYROLL      9/30/2019   200050007              200050007    ($1,245.01)       CHECK PAID           Check
26013576   XXXXXX8787   Checking      HERMISTON PAYROLL      9/30/2019   ZBA-SWEEP TRANSFER F                $1,245.01         SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM            8906
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/3/2019    ZBA/TBA TRANSFER IN                 $113,985.80       SWEEP TRANSFER IN            ZBA/TBA TRANSFER IN ZBA/SWEEP TRANSFER FROM          8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/4/2019                                        ($80,402.48)      TRANSFER DEBIT               TRANSFER DEBIT TELEPHONE TRANSFER TO: XXXXXX8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/5/2019    OM: NORPAC FOODS INC   1            $5,000,000.00     INCOMING WIRE        Wire    INCOMING WIRE REF# 20190905B6B7261F00212809051645FT03 0000012704FROM: NORPAC FOODS INC
                                                                                                                                                            ABA: 121000248 BANK:
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/5/2019                                        ($2,222,632.26)   SWEEP TRANSFER OUT           ZBA/TBA XFER OUT ZBA/SWEEP TRANSFER TO         8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/6/2019                                        ($3,000.00)       TRANSFER DEBIT               TRANSFER DEBIT TELEPHONE TRANSFER TO: XXXXXX8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/6/2019                                        ($50,000.00)      TRANSFER DEBIT               TRANSFER DEBIT TRANSFER TO: XXXXXX8795
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/6/2019                                        ($2,897,977.54)   TRANSFER DEBIT               TRANSFER DEBIT TELEPHONE TRANSFER TO: XXXXXX8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/9/2019    Devin Oil              1            ($27,217.11)      OUTGOING WIRE        Wire    REF# 20190909B6B7261F002239TO: Devin Oil               ABA: 123203535BANK: BANK OF EASTERN
                                                                                                                                                            OREGON        ACCT# 7620020649
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/9/2019    Dickinson Frozen Foo   1            ($40,815.56)      OUTGOING WIRE        Wire    REF# 20190909B6B7261F002245TO: Dickinson Frozen Foods         ABA: 026009593BANK: BANK OF
                                                                                                                                                            AMERICA, N.A., NY     ACCT# 485008742422
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/9/2019    Eckert Cold Storage    1            ($84,348.00)      OUTGOING WIRE        Wire    REF# 20190909B6B7261F002244TO: Eckert Cold Storage Co        ABA: 121101037BANK: BANK OF
                                                                                                                                                            STOCKTON           ACCT# 2545567201
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/9/2019    Expor San Antonio, S   1            ($757,689.28)     OUTGOING WIRE        Wire    REF# 20190909B6B7261F002221TO: Expor San Antonio, S.A. DE C.V ABA: 061000104BANK:
                                                                                                                                                            SUNTRUST BANK             ACCT# 8800811005
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/9/2019    Freedom Packaging      1            ($16,181.00)      OUTGOING WIRE        Wire    REF# 20190909B6B7261F002238TO: Freedom Packaging             ABA: 121143736BANK: SANTA CRUZ
                                                                                                                                                            COUNTY BANK         ACCT# 023005234
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/9/2019    Providence Health      1            ($7,072.47)       OUTGOING WIRE        Wire    REF# 20190909B6B7261F002240TO: Providence Health            ABA: 123000220BANK: US BANK, NA
                                                                                                                                                            ACCT# 153603097194OBI: 1930863097- HermistonOBI:OBI:
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/9/2019    Providence Health      1            ($113,985.80)     OUTGOING WIRE        Wire    REF# 20190909B6B7261F002242TO: Providence Health            ABA: 123000220BANK: US BANK, NA
                                                                                                                                                            ACCT# 153603097194OBI: 1930863097- NORPACOBI:OBI:
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/9/2019    Providence Health      1            ($153,937.41)     OUTGOING WIRE        Wire    REF# 20190909B6B7261F002241TO: Providence Health            ABA: 123000220BANK: US BANK, NA
                                                                                                                                                            ACCT# 153603097194OBI: 1930863097-QuincyOBI:OBI:
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/9/2019    Sure-Fresh Produce,    1            ($35,432.00)      OUTGOING WIRE        Wire    REF# 20190909B6B7261F002428TO: Sure-Fresh Produce, Inc        ABA: 107007508BANK: CoBank
                                                                                                                                                            ACCT# 1388148234
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/9/2019    Townsend Farms         1            ($83,254.21)      OUTGOING WIRE        Wire    REF# 20190909B6B7261F002243TO: Townsend Farms               ABA: 121100782BANK: BANK OF THE
                                                                                                                                                            WEST (CA)        ACCT# 199000118
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/9/2019    Wawona                 1            ($388,186.59)     OUTGOING WIRE        Wire    REF# 20190909B6B7261F002222TO: Wawona                   ABA: 121137522BANK: COMERICA BANK
                                                                                                                                                            ACCT# 1892634310
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/9/2019    WestRock Financial,    1            ($127,766.00)     OUTGOING WIRE        Wire    REF# 20190909B6B7261F002219TO: WestRock Financial, Inc       ABA: 111000012BANK: BANK OF
                                                                                                                                                            AMERICA, N.A., TX    ACCT# 3750677531
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/9/2019                                        ($951,856.82)     SWEEP TRANSFER OUT           ZBA-SWEEP TRANSFER TO            8752




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Norpac Foods, Inc. (Consolidated)                                                                                                                         UST-14A
Signature Bank                                                                                                             Case Number:                   Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                        Report Mo/Yr:                  August, 2019
9/01/2019- 9/30/2019

TRC      Account    Account Type Account Name                Post Date Reference              Additional   Amount          Description          Type      Text
Number Number                                                                                 Reference
26013576 XXXXXX8906 Checking     NORPAC CONCENTRATION        9/10/2019 NORPAC FOODS INC       1            $4,000,000.00   INCOMING WIRE        Wire      REF# 20190910B6B7261F00096409101214FT03       0000004724FROM: NORPAC FOODS INC
                                                                                                                                                          ABA: 121000248BANK:
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/10/2019 International Paper    1            ($3,125.10)     OUTGOING WIRE        Wire      REF# 20190910B6B7261F002498TO: International Paper         ABA: 021000021BANK: JPMORGAN
                                                                                                                                                          CHASE BANK, NA       ACCT# 0361046451
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/10/2019 PacifiCorp             1            ($250,000.00)   OUTGOING WIRE        Wire      REF# 20190910B6B7261F002626TO: PacifiCorp               ABA: 021000021BANK: JPMORGAN
                                                                                                                                                          CHASE BANK, NA       ACCT# 5531896
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/10/2019 TLR                    1            ($150.00)       OUTGOING WIRE        Wire      REF# 20190910B6B7261F002499TO: TLR                   ABA: 123000220BANK: US BANK, NA
                                                                                                                                                          ACCT# 153605620597
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/10/2019 VLM Foods USA Ltd      1            ($107,819.15)   OUTGOING WIRE        Wire      REF# 20190910B6B7261F002624TO: VLM Foods USA Ltd            ABA: 026008248BANK: KBC BANK,
                                                                                                                                                          N.V.          ACCT# 24866317
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/10/2019 WestRock Financial,    1            ($178,740.00)   OUTGOING WIRE        Wire      REF# 20190910B6B7261F002497TO: WestRock Financial, Inc       ABA: 111000012BANK: BANK OF
                                                                                                                                                          AMERICA, N.A., TX     ACCT# 3750677531
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/11/2019 Armstrong Transport    1            ($64,794.71)    OUTGOING WIRE        Wire      REF# 20190911B6B7261F002037TO: Armstrong Transport Group       ABA: 071000288BANK: BMO
                                                                                                                                                          HARRIS BANK NA          ACCT# 1627298
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/11/2019 Brecon Foods           1            ($25,146.00)    OUTGOING WIRE        Wire      REF# 20190911B6B7261F002123TO: Brecon Foods               ABA: 021001088BANK: HSBC BANK
                                                                                                                                                          USA, NA          ACCT# 751722669
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/11/2019 Eckert Cold Storage    1            ($31,125.60)    OUTGOING WIRE        Wire      REF# 20190911B6B7261F001906TO: Eckert Cold Storage Co        ABA: 121101037BANK: BANK OF
                                                                                                                                                          STOCKTON           ACCT# 2545567201
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/11/2019 Packaging Corporatio   1            ($250,000.00)   OUTGOING WIRE        Wire      REF# 20190911B6B7261F002467TO: Packaging Corporation of America ABA: 071000288BANK: BMO
                                                                                                                                                          HARRIS BANK NA          ACCT# 3713005
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/11/2019 WestRock Financial,    1            ($3,750.00)     OUTGOING WIRE        Wire      REF# 20190911B6B7261F001905TO: WestRock Financial, Inc       ABA: 111000012BANK: BANK OF
                                                                                                                                                          AMERICA, N.A., TX     ACCT# 3750677531
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/11/2019                                     ($2,253.28)     SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8760
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/12/2019                                     ($17,025.83)    SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/12/2019                                     ($518,746.40)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8760
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/13/2019 Fruithill Inc.         1            ($76,479.00)    OUTGOING WIRE        Wire      REF# 20190913B6B7261F002599TO: Fruithill Inc.          ABA: 123205054BANK: UMPQUA BANK
                                                                                                                                                          ACCT# 8370002621
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/13/2019 Henningsen Cold Stor   1            ($57,006.89)    OUTGOING WIRE        Wire      REF# 20190913B6B7261F000687TO: Henningsen Cold Storage Co.     ABA: 121000248BANK: WELLS
                                                                                                                                                          FARGO BANK, NA         ACCT# 4159587245
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/13/2019 Kywa International G   1            ($597,848.95)   OUTGOING WIRE        Wire      REF# 20190913B6B7261F002598TO: Kywa International Group LLC     ABA: 123002011BANK:
                                                                                                                                                          KEYBANK NATIONAL ASSOCIATION ACCT# 379681045314
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/13/2019 Paper People           1            ($10,980.00)    OUTGOING WIRE        Wire      REF# 20190913B6B7261F002597TO: Paper People              ABA: 125108272BANK: COLUMBIA
                                                                                                                                                          STATE BANK         ACCT# 7000577879
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/13/2019 Rio Valley Frozen Fo   1            ($90,768.00)    OUTGOING WIRE        Wire      REF# 20190913B6B7261F000686TO: Rio Valley Frozen Foods LLC    ABA: 114000093BANK: FROST
                                                                                                                                                          BANK              ACCT# 810023329
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/13/2019                                     ($3,291.24)     SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8760
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/13/2019                                     ($55,708.62)    SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8752
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/16/2019 NORPAC FOODS INC       1            $5,000,000.00   INCOMING WIRE        Wire      REF# 20190916B6B7261F00129209161356FT03       0000006549FROM: NORPAC FOODS INC
                                                                                                                                                          ABA: 121000248BANK:
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/16/2019 VLM FOODS USA LTD      1            $107,816.15     INCOMING WIRE        Wire      REF# 20190916B6B7261F00074409161103FT03       0000003028FROM: VLM FOODS USA LTD
                                                                                                                                                          ABA: 026008248BANK:
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/16/2019 ASE Group Inc          1            ($24,500.00)    OUTGOING WIRE        Wire      REF# 20190916B6B7261F002643TO: ASE Group Inc              ABA: 101000695BANK: UMB BANK,
                                                                                                                                                          N.A.          ACCT# 4500009105
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/16/2019 Freedom Packaging      1            ($32,921.02)    OUTGOING WIRE        Wire      REF# 20190916B6B7261F002347TO: Freedom Packaging            ABA: 121143736BANK: SANTA CRUZ
                                                                                                                                                          COUNTY BANK         ACCT# 023005234
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/16/2019 Fry Foods              1            ($32,004.00)    OUTGOING WIRE        Wire      REF# 20190916B6B7261F002449TO: Fry Foods                ABA: 042000314BANK: FIFTH THIRD
                                                                                                                                                          BANK           ACCT# 0072256160
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/16/2019 National Frozen Food   1            ($182,061.74)   OUTGOING WIRE        Wire      REF# 20190916B6B7261F002455TO: National Frozen Foods         ABA: 026009593BANK: BANK OF
                                                                                                                                                          AMERICA, N.A., NY     ACCT# 485010367196
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/16/2019 Trinidad               1            ($170,880.00)   OUTGOING WIRE        Wire      REF# 20190916B6B7261F002451TO: Trinidad                ABA: 307088754BANK: COBANK ACB
                                                                                                                                                          ACCT# 00101743
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/16/2019 WestRock Financial,    1            ($28,926.00)    OUTGOING WIRE        Wire      REF# 20190916B6B7261F002142TO: WestRock Financial, Inc       ABA: 111000012BANK: BANK OF
                                                                                                                                                          AMERICA, N.A., TX     ACCT# 3750677531
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/16/2019                                     $1,295.00       REMOTE CAPTURE       Deposit
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/16/2019                                     $135,173.09     REMOTE CAPTURE       Deposit
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/16/2019                                     ($230,005.11)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO          8760
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/16/2019                                     ($308,587.43)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO          8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/16/2019                                     ($545,801.75)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO          8795




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Norpac Foods, Inc. (Consolidated)                                                                                                                           UST-14A
Signature Bank                                                                                                               Case Number:                   Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                          Report Mo/Yr:                  August, 2019
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TRC      Account    Account Type Account Name                Post Date Reference              Additional   Amount            Description          Type      Text
Number Number                                                                                 Reference
26013576 XXXXXX8906 Checking     NORPAC CONCENTRATION        9/17/2019 Packaging Corporatio   1            ($250,000.00)     OUTGOING WIRE        Wire      REF# 20190917B6B7261F001155TO: Packaging Corporation of America ABA: 071000288BANK: BMO
                                                                                                                                                            HARRIS BANK NA          ACCT# 3713005
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/17/2019 VLM Foods USA Ltd      1            ($34,649.94)      OUTGOING WIRE        Wire      REF# 20190917B6B7261F001167TO: VLM Foods USA Ltd             ABA: 026008248BANK: KBC BANK,
                                                                                                                                                            N.V.          ACCT# 24866317
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/17/2019 WestRock Financial,    1            ($59,580.00)      OUTGOING WIRE        Wire      REF# 20190917B6B7261F001156TO: WestRock Financial, Inc        ABA: 111000012BANK: BANK OF
                                                                                                                                                            AMERICA, N.A., TX     ACCT# 3750677531
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/17/2019                                     ($140.00)         SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO             8779
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/17/2019                                     ($230.71)         SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO             8809
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/17/2019                                     ($61,538.16)      SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO             8787
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/17/2019                                     ($69,004.93)      SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO             8760
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/17/2019                                     ($469,710.61)     SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO             8795
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/17/2019                                     ($495,939.30)     SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO             8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/18/2019 Evergreen Shipping     1            ($2,480.00)       OUTGOING WIRE        Wire      REF# 20190918B6B7261F002158TO: Evergreen Shipping            ABA: 021000021BANK: JPMORGAN
                                                                                                                                                            CHASE BANK, NA        ACCT# 1576478414
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/18/2019 Fry Foods              1            ($32,004.00)      OUTGOING WIRE        Wire      REF# 20190918B6B7261F001576TO: Fry Foods                 ABA: 042000314BANK: FIFTH THIRD
                                                                                                                                                            BANK           ACCT# 0072256160
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/18/2019 Mitchell Bros Truck    1            ($5,820.00)       OUTGOING WIRE        Wire      REF# 20190918B6B7261F002221TO: Mitchell Bros Truck Line       ABA: 125108272BANK: COLUMBIA
                                                                                                                                                            STATE BANK          ACCT# 7000922547
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/18/2019 National Frozen Food   1            ($126,945.62)     OUTGOING WIRE        Wire      REF# 20190918B6B7261F001577TO: National Frozen Foods          ABA: 026009593BANK: BANK OF
                                                                                                                                                            AMERICA, N.A., NY     ACCT# 485010367196
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/18/2019 Packaging Corporatio   1            ($100,000.00)     OUTGOING WIRE        Wire      REF# 20190918B6B7261F001574TO: Packaging Corporation of America ABA: 071000288BANK: BMO
                                                                                                                                                            HARRIS BANK NA          ACCT# 3713005OBI: QuincyOBI:OBI:
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/18/2019                                     ($509.82)         SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO             8779
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/18/2019                                     ($60,875.57)      SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO             8795
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/18/2019                                     ($500,894.19)     SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO             8809
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/18/2019                                     ($1,016,746.70)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO             8760
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/18/2019                                     ($2,209,967.67)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO             8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/19/2019 Armstrong Transport    1            ($43,300.35)      OUTGOING WIRE        Wire      REF# 20190919B6B7261F001897TO: Armstrong Transport Group         ABA: 071000288BANK: BMO
                                                                                                                                                            HARRIS BANK NA          ACCT# 1627298
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/19/2019 Brecon Foods           1            ($202,457.41)     OUTGOING WIRE        Wire      REF# 20190919B6B7261F001899TO: Brecon Foods                ABA: 021001088BANK: HSBC BANK
                                                                                                                                                            USA, NA          ACCT# 751722669
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/19/2019 Emmerson Packaging     1            ($48,916.90)      OUTGOING WIRE        Wire      REF# 20190919B6B7261F002406TO: Emmerson Packaging              ABA: 021000021BANK: JPMORGAN
                                                                                                                                                            CHASE BANK, NA        ACCT# 639636716
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/19/2019 International Paper    1            ($19,122.00)      OUTGOING WIRE        Wire      REF# 20190919B6B7261F001896TO: International Paper          ABA: 021000021BANK: JPMORGAN
                                                                                                                                                            CHASE BANK, NA        ACCT# 0361046451
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/19/2019 ProAmpac               1            ($200,000.00)     OUTGOING WIRE        Wire      REF# 20190919B6B7261F002404TO: ProAmpac                   ABA: 021000021BANK: JPMORGAN
                                                                                                                                                            CHASE BANK, NA        ACCT# 934585423
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/19/2019 Sierra Packaging       1            ($48,327.21)      OUTGOING WIRE        Wire      REF# 20190919B6B7261F002324TO: Sierra Packaging            ABA: 123205054BANK: UMPQUA
                                                                                                                                                            BANK              ACCT# 4870701150
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/19/2019 Trinidad               1            ($136,840.00)     OUTGOING WIRE        Wire      REF# 20190919B6B7261F001907TO: Trinidad                 ABA: 307088754BANK: COBANK ACB
                                                                                                                                                            ACCT# 00101743
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/19/2019                                     $14,481.92        REMOTE CAPTURE       Deposit
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/19/2019                                     $34,093.43        REMOTE CAPTURE       Deposit
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/19/2019                                     ($8,842.03)       SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO          8760
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/19/2019                                     ($14,700.54)      SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO          8795
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/19/2019                                     ($257,862.43)     SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO          8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/20/2019 NORPAC FOODS INC       1            $4,000,000.00     INCOMING WIRE        Wire      REF# 20190920B6B7261F00104709201231FT03       0000005343FROM: NORPAC FOODS INC
                                                                                                                                                            ABA: 121000248BANK:
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/20/2019 Calpine Energy Solut   1            ($170,867.00)     OUTGOING WIRE        Wire      REF# 20190920B6B7261F001454TO: Calpine Energy Solutions    ABA: 021000021BANK: JPMORGAN
                                                                                                                                                            CHASE BANK, NA     ACCT# 771045440OBI: Adequate Assurance DepositOBI:OBI:

26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/20/2019 CoBank                 1            ($3,575.00)       OUTGOING WIRE        Wire      REF# 20190920B6B7261F001343TO: CoBank                ABA: 307088754BANK: COBANK ACB
                                                                                                                                                            ACCT# 22419431
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/20/2019 Matrix Trust Company   1            ($20,673.93)      OUTGOING WIRE        Wire      REF# 20190920B6B7261F001456TO: Matrix Trust Company       ABA: 021000021BANK: JPMORGAN
                                                                                                                                                            CHASE BANK, NA     ACCT# 886273556
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/20/2019 The Pictsweet Compan   1            ($69,119.28)      OUTGOING WIRE        Wire      REF# 20190920B6B7261F001876TO: The Pictsweet Company       ABA: 111000012BANK: BANK OF
                                                                                                                                                            AMERICA, N.A., TX  ACCT# 3751386614
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/20/2019                                     ($10,816.42)      SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO          8760
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/20/2019                                     ($31,832.15)      SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO          8795




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Norpac Foods, Inc. (Consolidated)                                                                                                                         UST-14A
Signature Bank                                                                                                             Case Number:                   Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                        Report Mo/Yr:                  August, 2019
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TRC        Account      Account Type Account Name            Post Date Reference              Additional   Amount          Description          Type      Text
Number     Number                                                                             Reference
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/20/2019                                     ($332,795.80)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/23/2019                                     ($4,715.08)     SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8787
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/23/2019                                     ($85,104.87)    SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8795
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/23/2019                                     ($122,235.87)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/23/2019                                     ($165,301.50)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8809
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/23/2019                                     ($295,702.55)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8760
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/24/2019 Batory Foods           1            ($2,120.00)     OUTGOING WIRE        Wire      REF# 20190924B6B7261F001566TO: Batory Foods             ABA: 071000152BANK: THE NORTHERN
                                                                                                                                                          TRUST COMPANY       ACCT# 80365OBI: SO-1150976OBI:OBI:
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/24/2019 Berry Plastics Corp    1            ($13,451.39)    OUTGOING WIRE        Wire      REF# 20190924B6B7261F001653TO: Berry Plastics Corp        ABA: 042000314BANK: FIFTH THIRD
                                                                                                                                                          BANK           ACCT# 9996900826
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/24/2019 CECO, Inc              1            ($5,407.72)     OUTGOING WIRE        Wire      REF# 20190924B6B7261F001654TO: CECO, Inc               ABA: 021000021BANK: JPMORGAN
                                                                                                                                                          CHASE BANK, NA       ACCT# 628801693
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/24/2019 Freedom Packaging      1            ($46,983.93)    OUTGOING WIRE        Wire      REF# 20190924B6B7261F001574TO: Freedom Packaging           ABA: 121143736BANK: SANTA CRUZ
                                                                                                                                                          COUNTY BANK        ACCT# 023005234
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/24/2019 National Frozen Food   1            ($20,136.42)    OUTGOING WIRE        Wire      REF# 20190924B6B7261F001568TO: National Frozen Foods        ABA: 026009593BANK: BANK OF
                                                                                                                                                          AMERICA, N.A., NY     ACCT# 485010367196
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/24/2019 ProAmpac               1            ($100,000.00)   OUTGOING WIRE        Wire      REF# 20190924B6B7261F001567TO: ProAmpac                 ABA: 021000021BANK: JPMORGAN
                                                                                                                                                          CHASE BANK, NA       ACCT# 934585423
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/24/2019                                     $299,745.51     REMOTE CAPTURE       Deposit
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/24/2019                                     ($351.63)       SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8787
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/24/2019                                     ($27,330.24)    SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8809
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/24/2019                                     ($58,132.93)    SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8760
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/24/2019                                     ($310,815.86)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/25/2019 Berry Plastics Corp    1            ($607.89)       OUTGOING WIRE        Wire      REF# 20190925B6B7261F001234TO: Berry Plastics Corp         ABA: 042000314BANK: FIFTH THIRD
                                                                                                                                                          BANK           ACCT# 9996900826
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/25/2019 Boardman Foods         1            ($25,265.00)    OUTGOING WIRE        Wire      REF# 20190925B6B7261F001704TO: Boardman Foods               ABA: 026009593BANK: BANK OF
                                                                                                                                                          AMERICA, N.A., NY     ACCT# 004850499692
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/25/2019 Emmerson Packaging     1            ($7,587.21)     OUTGOING WIRE        Wire      REF# 20190925B6B7261F001238TO: Emmerson Packaging             ABA: 021000021BANK: JPMORGAN
                                                                                                                                                          CHASE BANK, NA       ACCT# 639636716
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/25/2019 Fry Foods              1            ($32,004.00)    OUTGOING WIRE        Wire      REF# 20190925B6B7261F001237TO: Fry Foods              ABA: 042000314BANK: FIFTH THIRD
                                                                                                                                                          BANK           ACCT# 0072256160
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/25/2019 National Sugar Marke   1            ($18,081.00)    OUTGOING WIRE        Wire      REF# 20190925B6B7261F001705TO: National Sugar Marketing, LLC    ABA: 123000220BANK: US
                                                                                                                                                          BANK, NA             ACCT# 153695255163
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/25/2019                                     $21,345.40      REMOTE CAPTURE       Deposit
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/25/2019                                     $26,631.78      REMOTE CAPTURE       Deposit
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/25/2019                                     ($592.06)       SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO         8795
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/25/2019                                     ($13,058.90)    SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO         8809
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/25/2019                                     ($347,391.33)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO         8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/25/2019                                     ($630,921.41)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO         8760
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/26/2019 NORPAC FOODS INC       1            $5,000,000.00   INCOMING WIRE        Wire      REF# 20190926B6B7261F00129509261235FT03      0000006456FROM: NORPAC FOODS INC
                                                                                                                                                          ABA: 121000248BANK:
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/26/2019                                     $176,431.62     REMOTE CAPTURE       Deposit
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/26/2019                                     ($25.56)        SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8779
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/26/2019                                     ($6,788.11)     SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8809
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/26/2019                                     ($13,346.76)    SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8760
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/26/2019                                     ($120,643.84)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8795
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/26/2019                                     ($239,604.71)   SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO            8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/27/2019 Armstrong Transport    1            ($8,675.26)     OUTGOING WIRE        Wire      REF# 20190927B6B7261F002618TO: Armstrong Transport Group       ABA: 071000288BANK: BMO
                                                                                                                                                          HARRIS BANK NA          ACCT# 1627298
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/27/2019 Berry Plastics Corp    1            ($352.94)       OUTGOING WIRE        Wire      REF# 20190927B6B7261F002202TO: Berry Plastics Corp        ABA: 042000314BANK: FIFTH THIRD
                                                                                                                                                          BANK           ACCT# 9996900826
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/27/2019 Cebro Frozen Foods,    1            ($20,208.00)    OUTGOING WIRE        Wire      REF# 20190927B6B7261F003250TO: Cebro Frozen Foods, Inc.      ABA: 121135045BANK: TRI
                                                                                                                                                          COUNTIES BANK           ACCT# 220664132
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/27/2019 Creative Packaging     1            ($11,913.20)    OUTGOING WIRE        Wire      REF# 20190927B6B7261F003346TO: Creative Packaging          ABA: 123103729BANK: US BANK, NA
                                                                                                                                                          ACCT# 153395059535
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/27/2019 Del Mar Food Product   1            ($341,260.00)   OUTGOING WIRE        Wire      REF# 20190927B6B7261F003247TO: Del Mar Food Products Corp.     ABA: 121000248BANK: WELLS
                                                                                                                                                          FARGO BANK, NA         ACCT# 4592010219
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/27/2019 Grimmway Enterprises   1            ($50,065.50)    OUTGOING WIRE        Wire      REF# 20190927B6B7261F003249TO: Grimmway Enterprises, Inc.     ABA: 026009593BANK: BANK OF
                                                                                                                                                          AMERICA, N.A., NY     ACCT# 1476700890




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Norpac Foods, Inc. (Consolidated)                                                                                                                            UST-14A
Signature Bank                                                                                                                Case Number:                   Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                           Report Mo/Yr:                  August, 2019
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TRC      Account    Account Type Account Name                Post Date Reference               Additional   Amount            Description          Type      Text
Number Number                                                                                  Reference
26013576 XXXXXX8906 Checking     NORPAC CONCENTRATION        9/27/2019 Packaging Corporatio    1            ($250,000.00)     OUTGOING WIRE        Wire      REF# 20190927B6B7261F002619TO: Packaging Corporation of America ABA: 071000288BANK: BMO
                                                                                                                                                             HARRIS BANK NA        ACCT# 3713005
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/27/2019                                      ($95.60)          SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO          8779
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/27/2019                                      ($3,940.58)       SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO          8809
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/27/2019                                      ($16,339.04)      SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO          8760
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/27/2019                                      ($44,202.25)      SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO          8795
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/27/2019                                      ($300,433.94)     SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO          8752
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/30/2019 CoBank                  1            ($1,745,564.97)   OUTGOING WIRE        Wire      REF# 20190930B6B7261F002063TO: CoBank                 ABA: 307088754BANK: COBANK ACB
                                                                                                                                                             ACCT# 22419431
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/30/2019 International Paper     1            ($19,182.90)      OUTGOING WIRE        Wire      REF# 20190930B6B7261F002056TO: International Paper        ABA: 021000021BANK: JPMORGAN
                                                                                                                                                             CHASE BANK, NA     ACCT# 0361046451
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/30/2019 Trinidad                1            ($113,920.00)     OUTGOING WIRE        Wire      REF# 20190930B6B7261F002061TO: Trinidad               ABA: 307088754BANK: COBANK ACB
                                                                                                                                                             ACCT# 00101743
26013576 XXXXXX8906 Checking          NORPAC CONCENTRATION   9/30/2019 Unipro                  1            ($9,356.68)       OUTGOING WIRE        Wire      REF# 20190930B6B7261F002372TO: Unipro                ABA: 026009593BANK: BANK OF
                                                                                                                                                             AMERICA, N.A., NY   ACCT# 334020783098
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/30/2019                                      $664,469.14       REMOTE CAPTURE       Deposit
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/30/2019                                      ($277.88)         SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO           8779
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/30/2019                                      ($1,245.01)       SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO           8787
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/30/2019                                      ($16,476.32)      SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO           8809
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/30/2019                                      ($53,342.92)      SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO           8795
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/30/2019                                      ($261,024.57)     SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO           8760
26013576   XXXXXX8906   Checking      NORPAC CONCENTRATION   9/30/2019                                      ($265,597.68)     SWEEP TRANSFER OUT             ZBA-SWEEP TRANSFER TO           8752
26013576   XXXXXX8752   Checking      NORPAC OPERATING       9/3/2019 OM: US BANK OREGON NA    1            $113,985.80       INCOMING WIRE        Wire      INCOMING WIRE REF# 20190903B6B7261F00075309030828FT03 0000006683FROM: US BANK OREGON
                                                                                                                                                             NATIONAL ASSOCIATIO ABA
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/3/2019                                       ($113,985.80)     SWEEP TRANSFER OUT             ZBA/TBA XFER OUT ZBA/SWEEP TRANSFER TO       8906
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/4/2019   ARMSTRONG TRANSPORT    1            ($47,585.78)      OUTGOING WIRE        Wire      REF# 20190904B6B7261F002177TO: ARMSTRONG TRANSPORT GROUP LLC       ABA: 071000288BANK:
                                                                                                                                                             BMO HARRIS BANK NA         ACCT# 1627298
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/4/2019   FTC-PREMERGER NOTIFI   1            ($22,500.00)      OUTGOING WIRE        Wire      REF# 20190904B6B7261F002191TO: FTC-PREMERGER NOTIFICATION OFFICE ABA: 021030004BANK:
                                                                                                                                                             TREAS NYC            ACCT# 829000001005
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/4/2019   INTERNATIONAL PAPER    1            ($10,316.70)      OUTGOING WIRE        Wire      REF# 20190904B6B7261F002184TO: INTERNATIONAL PAPER          ABA: 021000021BANK:
                                                                                                                                                             JPMCHASE              ACCT# 0361046451
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/4/2019                                       $80,402.48        TRANSFER CREDIT                TELEPHONE TRANSFER FROM: XXXXXX8906
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/5/2019   AMPAC PLASTICS LLC     1            ($200,000.00)     OUTGOING WIRE        Wire      REF# 20190905B6B7261F002887TO: AMPAC PLASTICS LLC          ABA: 021000021BANK: JPMCHASE
                                                                                                                                                             ACCT# 934585423
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/5/2019   COBANK                 1            ($1,599,402.21) OUTGOING WIRE          Wire      REF# 20190905B6B7261F002890TO: COBANK                 ABA: 307088754BANK: COBANK ACB
                                                                                                                                                             ACCT# 22419431
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/5/2019   EPC INDUSTRIES LIMIT   1            ($14,819.24)      OUTGOING WIRE        Wire      REF# 20190905B6B7261F002855TO: EPC INDUSTRIES LIMITED       ABA: 021000021BANK:
                                                                                                                                                             JPMCHASE              ACCT# 639636716
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/5/2019   NATIONAL FROZEN FOOD   1            ($152,275.00)     OUTGOING WIRE        Wire      REF# 20190905B6B7261F002889TO: NATIONAL FROZEN FOODS CORP        ABA: 026009593BANK: BK
                                                                                                                                                             AMER NYC            ACCT# 485010367196
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/5/2019   PACKAGING CORPORATIO   1            ($250,000.00)     OUTGOING WIRE        Wire      REF# 20190905B6B7261F002888TO: PACKAGING CORPORATION OF AMERICA ABA: 071000288BANK:
                                                                                                                                                             BMO HARRIS BANK NA         ACCT# 3713005
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/5/2019   T.L SPRAGUE & COMPAN   1            ($6,135.81)       OUTGOING WIRE        Wire      REF# 20190905B6B7261F002882TO: T.L SPRAGUE & COMPANY INC       ABA: 121143736BANK:
                                                                                                                                                             SANTA CRUZ COUNTY          ACCT# 023005234
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/5/2019   ZBA-SWEEP TRANSFER F                $2,222,632.26     SWEEP TRANSFER IN              ZBA-SWEEP TRANSFER FROM           8906
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/6/2019   FERRELL GASWEBPAY                   ($1,500.00)       ACH DEBIT            Ach       FERRELL GASWEBPAY 000001101336662
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/6/2019   FERRELL GASWEBPAY                   ($1,500.00)       ACH DEBIT            Ach       FERRELL GASWEBPAY 000001101336442005 000000000000000001222528268NORPAC FOODS
                                                                                                                                                             RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/6/2019   AGC-IUOE LOCAL 701 T   1            ($12,080.00)      OUTGOING WIRE        Wire      REF# 20190906B6B7261F002403TO: AGC-IUOE LOCAL 701 TRUST FUNDS ABA: 122000496BANK:
                                                                                                                                                             UNION LA AKA UBOC         ACCT# 1820000834
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/6/2019   BRECON FOODS INC       1            ($47,826.20)      OUTGOING WIRE        Wire      REF# 20190906B6B7261F002533TO: BRECON FOODS INC            ABA: MRMDUS33XBANK: HSBC
                                                                                                                                                             BANK USA, NA        ACCT# 751722669
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/6/2019   CECO INC               1            ($23,250.00)      OUTGOING WIRE        Wire      REF# 20190906B6B7261F002415TO: CECO INC               ABA: 021000021BANK: JPMCHASE
                                                                                                                                                             ACCT# 628801693
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/6/2019   CENTRAL PENSION FUND   1            ($3,785.28)       OUTGOING WIRE        Wire      REF# 20190906B6B7261F002550TO: CENTRAL PENSION FUND          ABA: 026009593BANK: BK
                                                                                                                                                             AMER NYC            ACCT# 002086086584
26013576 XXXXXX8752 Checking          NORPAC OPERATING       9/6/2019   COBANK                 1            ($2,500,000.00) OUTGOING WIRE          Wire      REF# 20190906B6B7261F002804TO: COBANK                 ABA: 307088754BANK: COBANK ACB
                                                                                                                                                             ACCT# 22419431




                                                                           Case 19-62584-pcm11                                Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                     UST-14A
Signature Bank                                                                                                           Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                      Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC      Account    Account Type Account Name            Post Date Reference                Additional   Amount          Description          Type    Text
Number Number                                                                               Reference
26013576 XXXXXX8752 Checking     NORPAC OPERATING        9/6/2019    MATRIX TRUST COMPANY   1            ($24,971.34)    OUTGOING WIRE        Wire    REF# 20190906B6B7261F002425TO: MATRIX TRUST COMPANY         ABA: 021000021BANK:
                                                                                                                                                      JPMCHASE             ACCT# 886273556
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/6/2019    MATTHEWS INTERNATION   1            ($10,747.00)    OUTGOING WIRE        Wire    REF# 20190906B6B7261F002639TO: MATTHEWS INTERNATIONAL CORP      ABA: 036076150BANK:
                                                                                                                                                      CITIZENS BANK, NA        ACCT# 6239360698
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/6/2019    WESTERN CONFERENCE O   1            ($275,317.72)   OUTGOING WIRE        Wire    REF# 20190906B6B7261F002532TO: WESTERN CONFERENCE OF TEAMSTERS ABA: 121000248BANK:
                                                                                                                                                      WELLS FARGO NA           ACCT# 4159658640
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/6/2019                                        $3,000.00       TRANSFER CREDIT              TELEPHONE TRANSFER FROM: XXXXXX8906
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/6/2019                                        $2,897,977.54   TRANSFER CREDIT              TELEPHONE TRANSFER FROM: XXXXXX8906
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/9/2019    OPET DEPOSITREMITTAN                ($248.66)       ACH DEBIT            Ach     OPET DEPOSITREMITTANCE 016300551W85516
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/9/2019    OPET DEPOSITREMITTAN                ($5,753.54)     ACH DEBIT            Ach     OPET DEPOSITREMITTANCE 032247654W86310005 002200000000000001936031208NORPAC FOODS, INC
                                                                                                                                                      RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/9/2019    OPET DEPOSITREMITTAN                ($47,371.20)    ACH DEBIT            Ach     OPET DEPOSITREMITTANCE 032247654W83974005 074910000000000001936031208NORPAC FOODS, INC
                                                                                                                                                      RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/9/2019    OPET DEPOSITREMITTAN                ($836,703.71)   ACH DEBIT            Ach     OPET DEPOSITREMITTANCE 016300551W83485
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/9/2019    OPSEPT DEPOSITREMITT                ($45,523.56)    ACH DEBIT            Ach     OPSEPT DEPOSITREMITTANCE 032247654W86781002 523560000000000002930694182NORPAC FOODS,
                                                                                                                                                      INC                RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/9/2019    OTET DEPOSITREMITTAN                ($14,899.20)    ACH DEBIT            Ach     OTET DEPOSITREMITTANCE 012336667W82523002 899200000000000001936021475NORPAC SERVICES
                                                                                                                                                      INC               RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/9/2019 1006                      1006         ($1,356.95)     CHECK PAID           Check
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/9/2019 ZBA-SWEEP TRANSFER F                   $951,856.82     SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM       8906
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/12/2019 NORPAC FOODSFREIGHT                   ($13,682.00)    ACH DEBIT            Ach     NORPAC FOODSFREIGHT 930289330002 68200000000000000930289330NORPAC FOODS
                                                                                                                                                      RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/12/2019 NORPAC FOODSRETAIL                    ($975.86)       ACH DEBIT            Ach     NORPAC FOODSRETAIL 930289330002 97586000000000000930289330NORPAC FOODS
                                                                                                                                                      RECIPIENT
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/12/2019   1064                   1064         ($2,367.97)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/12/2019   ZBA-SWEEP TRANSFER F                $17,025.83      SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM         8906
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/13/2019   1022                   1022         ($8,424.80)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/13/2019   1023                   1023         ($18,812.38)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/13/2019   1028                   1028         ($15,204.11)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/13/2019   1041                   1041         ($7,814.31)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/13/2019   1100                   1100         ($40.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/13/2019   1106                   1106         ($4,699.53)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/13/2019   1109                   1109         ($713.49)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/13/2019   ZBA-SWEEP TRANSFER F                $55,708.62      SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM         8906
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1002                   1002         ($19,836.48)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1010                   1010         ($10,126.65)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1012                   1012         ($21,289.56)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1014                   1014         ($77,600.99)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1016                   1016         ($7,106.30)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1017                   1017         ($34,511.21)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1018                   1018         ($5,096.29)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1019                   1019         ($9,515.21)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1020                   1020         ($3,946.71)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1021                   1021         ($2,765.38)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1024                   1024         ($7,546.41)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1027                   1027         ($6,738.37)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1030                   1030         ($4,412.50)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1034                   1034         ($9,672.24)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1036                   1036         ($7,892.88)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1037                   1037         ($10,289.42)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1038                   1038         ($8,236.10)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1039                   1039         ($192.02)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1040                   1040         ($3,583.96)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1042                   1042         ($7,740.18)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1049                   1049         ($6,443.10)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1061                   1061         ($11,015.65)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1067                   1067         ($4,536.47)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1068                   1068         ($11,450.77)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1071                   1071         ($7,477.22)     CHECK PAID           Check




                                                                       Case 19-62584-pcm11                               Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                    UST-14A
Signature Bank                                                                                                          Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                     Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name        Post Date Reference                Additional   Amount         Description          Type    Text
Number     Number                                                                           Reference
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1073                   1073         ($4,456.97)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1099                   1099         ($4,367.90)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1101                   1101         ($241.02)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   1223                   1223         ($499.47)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/16/2019   ZBA-SWEEP TRANSFER F                $308,587.43    SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM       8906
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1005                   1005         ($5,660.36)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1007                   1007         ($25,653.71)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1011                   1011         ($3,173.73)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1015                   1015         ($7,376.18)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1025                   1025         ($1,653.72)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1026                   1026         ($5,053.59)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1043                   1043         ($3,926.47)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1045                   1045         ($7,459.62)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1046                   1046         ($9,334.45)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1052                   1052         ($15,414.04)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1053                   1053         ($5,081.58)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1059                   1059         ($31,731.45)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1060                   1060         ($43,289.62)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1062                   1062         ($15,210.24)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1063                   1063         ($2,564.48)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1069                   1069         ($1,780.23)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1072                   1072         ($22,748.34)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1079                   1079         ($30,573.30)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1084                   1084         ($81,908.95)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1092                   1092         ($53,142.68)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1097                   1097         ($349.50)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1105                   1105         ($20.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1110                   1110         ($943.49)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1117                   1117         ($18.68)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1122                   1122         ($17,116.14)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1136                   1136         ($1,250.00)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1137                   1137         ($3,770.20)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1141                   1141         ($6,548.10)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1158                   1158         ($7,830.80)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1159                   1159         ($2,102.76)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1165                   1165         ($526.50)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1170                   1170         ($6,000.00)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1176                   1176         ($51,831.73)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1177                   1177         ($7,835.00)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1185                   1185         ($429.66)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1199                   1199         ($70.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1209                   1209         ($1,110.00)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   1222                   1222         ($15,450.00)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/17/2019   ZBA-SWEEP TRANSFER F                $495,939.30    SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM       8906
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   NORPAC FOODSGROWER                  ($1,172.39)    ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 17239000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/18/2019 NORPAC FOODSGROWER                    ($4,961.09)    ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 96109000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/18/2019 NORPAC FOODSGROWER                    ($5,826.89)    ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 82689000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/18/2019 NORPAC FOODSGROWER                    ($8,367.33)    ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 36733000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/18/2019 NORPAC FOODSGROWER                    ($11,656.27)   ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 65627000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/18/2019 NORPAC FOODSGROWER                    ($13,371.40)   ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 37140000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/18/2019 NORPAC FOODS INCRETU                  $11,656.27     ACH DEPOSIT          Ach     NORPAC FOODS INCRETURNS ACH RETURN002 00000000001165627930289330
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/18/2019 1009                     1009         ($7,595.76)    CHECK PAID           Check
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/18/2019 1044                     1044         ($5,390.01)    CHECK PAID           Check




                                                                       Case 19-62584-pcm11                              Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                     UST-14A
Signature Bank                                                                                                           Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                      Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name        Post Date Reference                Additional   Amount          Description          Type    Text
Number     Number                                                                           Reference
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1048                   1048         ($4,650.90)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1051                   1051         ($6,041.27)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1066                   1066         ($7,077.83)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1074                   1074         ($893,033.61)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1075                   1075         ($7,560.40)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1076                   1076         ($400,259.59)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1077                   1077         ($59,539.23)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1078                   1078         ($38,373.77)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1080                   1080         ($17,295.21)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1081                   1081         ($58,760.63)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1085                   1085         ($60,266.84)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1087                   1087         ($189,341.09)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1088                   1088         ($5,555.25)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1090                   1090         ($38,404.87)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1091                   1091         ($39,245.33)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1103                   1103         ($89.90)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1107                   1107         ($2,194.62)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1108                   1108         ($371.12)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1116                   1116         ($613.19)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1118                   1118         ($789.26)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1119                   1119         ($180,082.31)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1120                   1120         ($10,855.19)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1130                   1130         ($2,199.73)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1132                   1132         ($34,621.44)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1135                   1135         ($3,082.35)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1138                   1138         ($2,066.00)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1142                   1142         ($7,092.34)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1144                   1144         ($1,169.95)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1145                   1145         ($20.44)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1148                   1148         ($29,766.18)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1150                   1150         ($130.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1153                   1153         ($4,366.10)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1157                   1157         ($3,092.94)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1161                   1161         ($658.26)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1162                   1162         ($2,675.13)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1166                   1166         ($24,708.68)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1181                   1181         ($1,709.96)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1198                   1198         ($79.98)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1200                   1200         ($9,728.45)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1202                   1202         ($542.62)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1206                   1206         ($7,400.00)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1211                   1211         ($476.55)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1213                   1213         ($700.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1219                   1219         ($22.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1227                   1227         ($2,423.29)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1229                   1229         ($129.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   1230                   1230         ($4,020.00)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/18/2019   ZBA-SWEEP TRANSFER F                $2,209,967.67   SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM     8906
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   NORPAC FOODSGROWER                  ($6,628.96)     ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 62896000000000000930289330NORPAC FOODS
                                                                                                                                                      RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/19/2019 NORPAC FOODSGROWER                    ($8,088.62)     ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 08862000000000000930289330NORPAC FOODS
                                                                                                                                                      RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/19/2019 NORPAC FOODSGROWER                    ($10,540.22)    ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 54022000000000000930289330NORPAC FOODS
                                                                                                                                                      RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/19/2019 NORPAC FOODSGROWER                    ($37,325.22)    ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 32522000000000000930289330NORPAC FOODS
                                                                                                                                                      RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/19/2019 1013                     1013         ($8,620.09)     CHECK PAID           Check
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/19/2019 1033                     1033         ($6,539.60)     CHECK PAID           Check
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/19/2019 1035                     1035         ($37,897.87)    CHECK PAID           Check




                                                                       Case 19-62584-pcm11                               Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                     UST-14A
Signature Bank                                                                                                           Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                      Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name        Post Date Reference                Additional   Amount          Description          Type    Text
Number     Number                                                                           Reference
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   1047                   1047         ($1,609.64)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   1054                   1054         ($3,963.42)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   1057                   1057         ($4,649.76)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   1058                   1058         ($12,934.57)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   1082                   1082         ($34,586.94)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   1094                   1094         ($23,724.64)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   1111                   1111         ($915.54)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   1114                   1114         ($2,544.22)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   1115                   1115         ($65.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   1147                   1147         ($522.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   1164                   1164         ($55,062.78)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   1167                   1167         ($1,581.30)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   1184                   1184         ($37.04)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   1191                   1191         ($25.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/19/2019   ZBA-SWEEP TRANSFER F                $257,862.43     SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM         8906
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   NORPAC FOODSGAS                     ($3,000.00)     ACH DEBIT            Ach     NORPAC FOODSGAS     930289330002 00000000000000000930289330NORPAC FOODS
                                                                                                                                                      RECIPIENT
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   1121                   1121         ($211,350.34)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   1140                   1140         ($118.52)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   1143                   1143         ($3,294.16)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   1151                   1151         ($5,875.00)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   1155                   1155         ($8,975.76)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   1156                   1156         ($2,907.10)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   1171                   1171         ($3,784.32)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   1173                   1173         ($9,739.26)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   1203                   1203         ($10,945.00)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   1205                   1205         ($42,000.00)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   1210                   1210         ($18,546.43)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   1212                   1212         ($11,160.50)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   1216                   1216         ($1,099.41)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/20/2019   ZBA-SWEEP TRANSFER F                $332,795.80     SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM        8906
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1095                   1095         ($61,230.88)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1098                   1098         ($152.98)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1112                   1112         ($4,646.70)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1113                   1113         ($52.78)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1123                   1123         ($2,250.00)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1125                   1125         ($8,864.56)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1126                   1126         ($11,750.00)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1131                   1131         ($8,336.16)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1133                   1133         ($543.76)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1134                   1134         ($8,250.00)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1175                   1175         ($45.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1180                   1180         ($50.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1183                   1183         ($25.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1190                   1190         ($15.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1192                   1192         ($20.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1193                   1193         ($15.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1194                   1194         ($20.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1196                   1196         ($20.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1197                   1197         ($10.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1201                   1201         ($257.50)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1204                   1204         ($69.99)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1207                   1207         ($24.99)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1215                   1215         ($15.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1217                   1217         ($32.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1228                   1228         ($20.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1240                   1240         ($7,655.55)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1256                   1256         ($2,474.79)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1272                   1272         ($474.80)       CHECK PAID           Check




                                                                       Case 19-62584-pcm11                               Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                    UST-14A
Signature Bank                                                                                                          Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                     Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name        Post Date Reference                Additional   Amount         Description          Type    Text
Number     Number                                                                           Reference
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1343                   1343         ($106.72)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   1346                   1346         ($4,806.71)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/23/2019   ZBA-SWEEP TRANSFER F                $122,235.87    SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM       8906
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1001                   1001         ($1,279.26)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1127                   1127         ($12.18)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1154                   1154         ($125.00)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1168                   1168         ($24.98)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1189                   1189         ($102.03)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1218                   1218         ($40.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1220                   1220         ($20.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1224                   1224         ($499.47)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1234                   1234         ($29,698.79)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1244                   1244         ($11,656.27)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1246                   1246         ($70.99)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1257                   1257         ($155.36)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1258                   1258         ($350.00)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1264                   1264         ($12,200.48)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1265                   1265         ($39,900.00)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1266                   1266         ($2,184.11)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1271                   1271         ($10,339.20)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1274                   1274         ($35.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1276                   1276         ($444.50)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1277                   1277         ($21,250.00)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1279                   1279         ($298.30)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1283                   1283         ($25,174.80)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1286                   1286         ($22,547.00)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1287                   1287         ($22,283.10)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1288                   1288         ($2,570.16)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1289                   1289         ($18,263.92)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1291                   1291         ($275.84)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1292                   1292         ($322.18)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1293                   1293         ($13,395.00)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1295                   1295         ($1,779.79)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1296                   1296         ($15,126.06)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1298                   1298         ($1,760.00)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1301                   1301         ($43,142.05)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1341                   1341         ($13,369.60)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   1356                   1356         ($120.44)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/24/2019   ZBA-SWEEP TRANSFER F                $310,815.86    SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM       8906
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   NORPAC FOODSFREIGHT                 ($8,024.88)    ACH DEBIT            Ach     NORPAC FOODSFREIGHT 930289330002 02488000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/25/2019 NORPAC FOODSFREIGHT                   ($8,024.88)    ACH DEBIT            Ach     NORPAC FOODSFREIGHT 930289330002 02488000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/25/2019 NORPAC FOODSGROWER                    ($4,378.77)    ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 37877000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/25/2019 NORPAC FOODSGROWER                    ($5,206.47)    ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 20647000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/25/2019 NORPAC FOODSGROWER                    ($6,485.63)    ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 48563000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/25/2019 NORPAC FOODSGROWER                    ($6,667.79)    ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 66779000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/25/2019 NORPAC FOODSGROWER                    ($7,026.75)    ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 02675000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/25/2019 NORPAC FOODSGROWER                    ($7,567.09)    ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 56709000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/25/2019 NORPAC FOODSGROWER                    ($11,545.58)   ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 54558000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/25/2019 NORPAC FOODSGROWER                    ($15,973.64)   ACH DEBIT            Ach     NORPAC FOODSGROWER 930289330002 97364000000000000930289330NORPAC FOODS
                                                                                                                                                     RECIPIENT




                                                                       Case 19-62584-pcm11                              Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                     UST-14A
Signature Bank                                                                                                           Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                      Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC      Account    Account Type Account Name            Post Date Reference                Additional   Amount          Description          Type    Text
Number Number                                                                               Reference
26013576 XXXXXX8752 Checking     NORPAC OPERATING        9/25/2019 NORPAC FOODSMARKETIN                  ($1,145.77)     ACH DEBIT            Ach     NORPAC FOODSMARKETING 930289330002 14577000000000000930289330NORPAC FOODS
                                                                                                                                                      RECIPIENT
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   NORPAC FOODS INCRETU                $0.00           ACH DEPOSIT          Ach     NORPAC FOODS INCRETURNS ACH RETURN002 00000000000000000930289330
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1029                   1029         ($65.66)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1050                   1050         ($87,275.00)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1149                   1149         ($7,060.00)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1163                   1163         ($187.50)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1174                   1174         ($5.00)         CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1178                   1178         ($100.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1186                   1186         ($99.99)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1226                   1226         ($25.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1231                   1231         ($22,880.52)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1233                   1233         ($10,910.08)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1242                   1242         ($228.89)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1247                   1247         ($915.09)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1251                   1251         ($29.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1263                   1263         ($102,000.00)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1267                   1267         ($4,991.64)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1273                   1273         ($26,020.00)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1278                   1278         ($1,136.32)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1354                   1354         ($835.81)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   1355                   1355         ($578.58)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/25/2019   ZBA-SWEEP TRANSFER F                $347,391.33     SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM        8906
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1070                   1070         ($8,065.00)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1096                   1096         ($8,452.97)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1124                   1124         ($1,225.00)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1237                   1237         ($2,880.00)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1249                   1249         ($599.13)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1255                   1255         ($3.00)         CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1270                   1270         ($297.48)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1282                   1282         ($271.06)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1332                   1332         ($33,955.18)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1342                   1342         ($166,925.62)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1345                   1345         ($67.50)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1357                   1357         ($806.22)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1359                   1359         ($1,325.47)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1365                   1365         ($1,722.02)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1368                   1368         ($2,530.53)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1369                   1369         ($796.55)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1370                   1370         ($3,187.13)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1381                   1381         ($637.20)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1383                   1383         ($2,966.09)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1388                   1388         ($677.08)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1389                   1389         ($835.96)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1390                   1390         ($283.06)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1394                   1394         ($478.75)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   1395                   1395         ($616.71)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/26/2019   ZBA-SWEEP TRANSFER F                $239,604.71     SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM         8906
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   NORPAC FOODSGAS                     ($1,500.00)     ACH DEBIT            Ach     NORPAC FOODSGAS     930289330002 50000000000000000930289330NORPAC FOODS
                                                                                                                                                      RECIPIENT
26013576 XXXXXX8752 Checking          NORPAC OPERATING   9/27/2019 WA DEPT REVENUETAX P                  ($12,680.14)    ACH DEBIT            Ach     WA DEPT REVENUETAX PYMT 3352641002 680140000000000009916001118NORPAC FOODS, INC.
                                                                                                                                                      RECIPIENT
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1008                   1008         ($19,664.87)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1083                   1083         ($64,185.05)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1139                   1139         ($114.50)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1179                   1179         ($49.00)        CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1187                   1187         ($1,188.00)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1232                   1232         ($4,445.14)     CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1238                   1238         ($40.00)        CHECK PAID           Check




                                                                       Case 19-62584-pcm11                               Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                    UST-14A
Signature Bank                                                                                                          Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                     Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name        Post Date Reference                Additional   Amount         Description          Type    Text
Number     Number                                                                           Reference
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1248                   1248         ($1,504.14)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1254                   1254         ($950.00)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1259                   1259         ($50.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1268                   1268         ($49.75)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1285                   1285         ($200.00)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1307                   1307         ($205.30)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1321                   1321         ($19,527.80)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1330                   1330         ($10,080.00)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1347                   1347         ($14,269.98)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1348                   1348         ($815.89)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1349                   1349         ($95,900.59)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1350                   1350         ($39,778.23)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1360                   1360         ($650.35)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1363                   1363         ($2,195.25)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1364                   1364         ($1,385.27)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1371                   1371         ($198.00)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1382                   1382         ($1,578.16)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1384                   1384         ($1,170.45)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1386                   1386         ($1,760.71)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1387                   1387         ($1,959.33)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1396                   1396         ($2,063.04)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   1397                   1397         ($275.00)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/27/2019   ZBA-SWEEP TRANSFER F                $300,433.94    SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1089                   1089         ($48,661.96)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1182                   1182         ($37.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1195                   1195         ($15.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1225                   1225         ($25.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1243                   1243         ($30.85)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1261                   1261         ($1,850.00)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1299                   1299         ($25.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1304                   1304         ($2,837.82)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1308                   1308         ($25.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1309                   1309         ($450.00)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1310                   1310         ($50.00)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1314                   1314         ($275.69)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1317                   1317         ($42.20)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1320                   1320         ($11.59)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1327                   1327         ($61.29)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1329                   1329         ($9,710.00)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1333                   1333         ($2,339.00)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1336                   1336         ($95,550.00)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1338                   1338         ($28.50)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1339                   1339         ($2,329.95)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1351                   1351         ($2,378.61)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1361                   1361         ($43.20)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1362                   1362         ($5,199.95)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1372                   1372         ($638.16)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1373                   1373         ($93.31)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1374                   1374         ($70.67)       CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1375                   1375         ($1,998.00)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1376                   1376         ($5,679.54)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1391                   1391         ($832.00)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1393                   1393         ($235.54)      CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1407                   1407         ($3,399.94)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1416                   1416         ($6,219.33)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1417                   1417         ($8,267.27)    CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1422                   1422         ($11,571.26)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   1535                   1535         ($54,615.05)   CHECK PAID           Check
26013576   XXXXXX8752   Checking      NORPAC OPERATING   9/30/2019   ZBA-SWEEP TRANSFER F                $265,597.68    SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906




                                                                       Case 19-62584-pcm11                              Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                   UST-14A
Signature Bank                                                                                                         Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                    Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference                Additional   Amount          Description          Type    Text
Number     Number                                                                         Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/11/2019 20029825                 20029825     ($2,253.28)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/11/2019 ZBA-SWEEP TRANSFER F                  $2,253.28       SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/12/2019 KRONOS SAASHR, INC.      1            ($4,471.48)     OUTGOING WIRE        Wire    REF# 20190912B6B7261F000784TO: KRONOS SAASHR, INC.   ABA: 042000314BANK: FIFTH
                                                                                                                                                    THIRD CINCI       ACCT# 7146798843
26013576 XXXXXX8760 Checking          NORPAC PAYROLL   9/12/2019 KRONOS SAASHR, INC.      1            ($514,274.92)   OUTGOING WIRE        Wire    REF# 20190912B6B7261F000975TO: KRONOS SAASHR, INC.   ABA: 042000314BANK: FIFTH
                                                                                                                                                    THIRD CINCI       ACCT# 7146798843
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/12/2019   ZBA-SWEEP TRANSFER F                $518,746.40     SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/13/2019   20051975               20051975     ($568.06)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/13/2019   20052190               20052190     ($51.78)        CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/13/2019   20052256               20052256     ($447.41)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/13/2019   20052413               20052413     ($999.62)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/13/2019   20052605               20052605     ($363.69)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/13/2019   20052633               20052633     ($463.80)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/13/2019   20052863               20052863     ($396.88)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/13/2019   ZBA-SWEEP TRANSFER F                $3,291.24       SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM         8906
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20030927               20030927     ($575.58)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20050000               20050000     ($233.34)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051895               20051895     ($747.97)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051896               20051896     ($442.94)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051897               20051897     ($526.11)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051898               20051898     ($444.37)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051900               20051900     ($257.59)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051902               20051902     ($436.19)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051903               20051903     ($678.37)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051904               20051904     ($320.70)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051909               20051909     ($677.37)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051914               20051914     ($712.11)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051916               20051916     ($174.52)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051917               20051917     ($485.86)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051918               20051918     ($655.12)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051919               20051919     ($705.19)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051922               20051922     ($376.51)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051926               20051926     ($560.49)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051928               20051928     ($351.48)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051929               20051929     ($583.29)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051931               20051931     ($442.93)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051932               20051932     ($413.82)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051933               20051933     ($1,013.43)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051935               20051935     ($254.97)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051938               20051938     ($355.67)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051940               20051940     ($318.84)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051943               20051943     ($75.83)        CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051946               20051946     ($527.85)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051947               20051947     ($935.00)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051949               20051949     ($666.87)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051950               20051950     ($570.09)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051951               20051951     ($454.78)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051952               20051952     ($323.84)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051954               20051954     ($456.15)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051955               20051955     ($440.48)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051957               20051957     ($762.21)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051958               20051958     ($274.58)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051959               20051959     ($655.81)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051966               20051966     ($444.98)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051967               20051967     ($166.40)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051970               20051970     ($325.56)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051971               20051971     ($451.83)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051972               20051972     ($225.13)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051973               20051973     ($521.16)       CHECK PAID           Check




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Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051974    20051974     ($455.07)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051978    20051978     ($168.12)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051980    20051980     ($1,313.13)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051981    20051981     ($282.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051982    20051982     ($282.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051985    20051985     ($828.91)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051991    20051991     ($566.69)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051992    20051992     ($363.55)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051993    20051993     ($541.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051994    20051994     ($671.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051995    20051995     ($494.63)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051996    20051996     ($406.95)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051997    20051997     ($401.51)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051998    20051998     ($617.30)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20051999    20051999     ($621.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052000    20052000     ($254.58)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052001    20052001     ($1,041.90)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052004    20052004     ($1,326.63)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052006    20052006     ($418.89)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052008    20052008     ($529.80)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052009    20052009     ($709.29)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052010    20052010     ($261.72)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052011    20052011     ($146.82)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052013    20052013     ($538.55)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052014    20052014     ($377.14)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052018    20052018     ($445.07)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052019    20052019     ($434.19)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052020    20052020     ($382.13)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052021    20052021     ($612.01)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052022    20052022     ($309.00)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052023    20052023     ($281.44)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052025    20052025     ($1,117.56)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052026    20052026     ($621.77)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052030    20052030     ($780.04)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052035    20052035     ($275.08)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052040    20052040     ($446.88)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052041    20052041     ($645.41)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052042    20052042     ($204.71)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052043    20052043     ($302.86)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052044    20052044     ($460.76)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052049    20052049     ($382.23)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052050    20052050     ($390.61)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052051    20052051     ($863.80)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052054    20052054     ($88.89)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052055    20052055     ($465.19)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052056    20052056     ($432.24)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052057    20052057     ($448.80)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052058    20052058     ($692.26)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052059    20052059     ($208.14)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052069    20052069     ($199.18)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052070    20052070     ($341.29)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052074    20052074     ($590.76)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052076    20052076     ($455.70)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052077    20052077     ($381.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052079    20052079     ($472.65)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052080    20052080     ($579.12)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052083    20052083     ($748.80)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052085    20052085     ($505.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052086    20052086     ($435.87)     CHECK PAID       Check




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Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052088    20052088     ($559.24)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052089    20052089     ($179.60)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052093    20052093     ($505.03)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052094    20052094     ($612.52)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052095    20052095     ($758.97)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052097    20052097     ($590.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052101    20052101     ($610.26)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052102    20052102     ($773.86)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052103    20052103     ($346.67)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052104    20052104     ($709.91)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052106    20052106     ($446.82)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052107    20052107     ($599.18)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052108    20052108     ($339.36)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052114    20052114     ($714.05)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052115    20052115     ($441.35)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052116    20052116     ($621.27)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052117    20052117     ($598.62)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052119    20052119     ($460.82)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052122    20052122     ($792.87)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052123    20052123     ($428.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052124    20052124     ($528.26)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052125    20052125     ($714.24)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052127    20052127     ($582.05)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052128    20052128     ($527.23)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052129    20052129     ($688.53)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052132    20052132     ($447.50)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052133    20052133     ($714.06)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052134    20052134     ($678.49)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052135    20052135     ($872.24)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052136    20052136     ($691.14)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052138    20052138     ($435.45)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052139    20052139     ($468.30)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052141    20052141     ($655.69)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052142    20052142     ($544.31)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052143    20052143     ($376.82)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052144    20052144     ($279.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052145    20052145     ($298.59)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052147    20052147     ($297.95)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052148    20052148     ($858.21)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052149    20052149     ($558.43)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052153    20052153     ($362.92)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052154    20052154     ($551.23)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052157    20052157     ($301.19)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052161    20052161     ($551.23)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052163    20052163     ($474.68)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052165    20052165     ($1,576.19)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052167    20052167     ($666.97)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052168    20052168     ($402.82)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052169    20052169     ($332.63)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052173    20052173     ($323.03)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052175    20052175     ($318.94)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052176    20052176     ($549.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052177    20052177     ($359.79)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052179    20052179     ($711.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052180    20052180     ($340.03)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052181    20052181     ($282.85)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052184    20052184     ($370.87)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052185    20052185     ($327.83)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052187    20052187     ($821.45)     CHECK PAID       Check




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Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052188    20052188     ($226.78)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052189    20052189     ($330.16)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052192    20052192     ($533.95)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052193    20052193     ($459.55)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052194    20052194     ($307.49)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052195    20052195     ($462.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052196    20052196     ($571.25)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052199    20052199     ($454.48)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052202    20052202     ($564.89)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052203    20052203     ($295.88)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052204    20052204     ($444.21)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052205    20052205     ($624.08)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052207    20052207     ($692.07)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052209    20052209     ($567.74)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052213    20052213     ($882.30)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052215    20052215     ($607.18)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052217    20052217     ($278.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052218    20052218     ($591.28)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052219    20052219     ($719.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052220    20052220     ($372.18)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052222    20052222     ($225.44)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052225    20052225     ($459.81)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052229    20052229     ($580.97)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052231    20052231     ($422.37)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052232    20052232     ($555.29)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052233    20052233     ($577.66)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052241    20052241     ($866.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052242    20052242     ($866.31)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052244    20052244     ($468.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052247    20052247     ($283.10)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052248    20052248     ($547.10)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052249    20052249     ($624.38)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052250    20052250     ($627.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052254    20052254     ($456.15)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052260    20052260     ($656.13)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052264    20052264     ($366.20)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052268    20052268     ($337.29)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052269    20052269     ($386.03)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052270    20052270     ($636.91)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052273    20052273     ($1,190.37)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052274    20052274     ($428.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052278    20052278     ($640.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052279    20052279     ($968.31)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052283    20052283     ($193.19)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052284    20052284     ($105.48)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052285    20052285     ($599.91)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052286    20052286     ($364.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052287    20052287     ($704.46)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052290    20052290     ($572.93)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052291    20052291     ($189.78)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052293    20052293     ($499.02)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052296    20052296     ($311.15)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052297    20052297     ($571.69)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052298    20052298     ($425.23)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052299    20052299     ($348.72)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052301    20052301     ($593.23)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052303    20052303     ($60.14)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052306    20052306     ($712.12)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052307    20052307     ($349.88)     CHECK PAID       Check




                                                                     Case 19-62584-pcm11                  Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052310    20052310     ($11.46)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052312    20052312     ($60.13)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052313    20052313     ($216.72)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052314    20052314     ($321.35)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052315    20052315     ($581.43)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052316    20052316     ($489.37)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052317    20052317     ($456.31)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052318    20052318     ($413.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052319    20052319     ($403.65)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052321    20052321     ($466.85)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052322    20052322     ($376.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052323    20052323     ($441.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052324    20052324     ($637.68)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052326    20052326     ($395.00)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052327    20052327     ($77.76)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052329    20052329     ($571.53)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052330    20052330     ($470.98)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052333    20052333     ($474.14)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052334    20052334     ($349.99)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052335    20052335     ($296.41)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052338    20052338     ($230.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052339    20052339     ($212.26)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052344    20052344     ($436.66)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052345    20052345     ($584.02)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052346    20052346     ($448.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052347    20052347     ($467.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052349    20052349     ($1,203.06)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052350    20052350     ($55.14)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052352    20052352     ($745.59)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052353    20052353     ($601.53)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052354    20052354     ($60.13)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052356    20052356     ($60.14)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052358    20052358     ($789.25)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052360    20052360     ($640.77)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052362    20052362     ($819.81)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052363    20052363     ($714.66)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052364    20052364     ($582.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052368    20052368     ($401.46)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052370    20052370     ($492.28)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052371    20052371     ($708.10)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052372    20052372     ($542.49)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052375    20052375     ($463.06)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052380    20052380     ($494.25)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052381    20052381     ($1,009.62)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052383    20052383     ($907.68)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052384    20052384     ($334.35)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052386    20052386     ($62.01)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052389    20052389     ($630.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052390    20052390     ($59.13)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052392    20052392     ($401.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052393    20052393     ($60.13)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052394    20052394     ($676.35)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052396    20052396     ($742.72)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052400    20052400     ($507.33)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052401    20052401     ($176.35)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052403    20052403     ($268.14)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052404    20052404     ($377.11)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052405    20052405     ($377.86)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052408    20052408     ($740.06)     CHECK PAID       Check




                                                                     Case 19-62584-pcm11                  Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052409    20052409     ($194.41)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052411    20052411     ($427.65)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052412    20052412     ($322.95)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052414    20052414     ($321.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052417    20052417     ($458.87)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052418    20052418     ($520.57)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052419    20052419     ($636.67)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052422    20052422     ($475.15)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052424    20052424     ($412.90)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052425    20052425     ($551.24)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052429    20052429     ($756.58)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052430    20052430     ($67.99)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052431    20052431     ($60.12)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052432    20052432     ($60.13)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052433    20052433     ($59.14)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052435    20052435     ($335.72)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052438    20052438     ($463.23)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052439    20052439     ($448.16)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052442    20052442     ($359.79)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052443    20052443     ($485.95)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052445    20052445     ($938.04)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052446    20052446     ($382.51)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052451    20052451     ($78.44)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052456    20052456     ($747.78)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052457    20052457     ($333.70)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052458    20052458     ($857.30)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052461    20052461     ($459.24)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052463    20052463     ($485.20)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052464    20052464     ($61.02)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052465    20052465     ($583.38)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052466    20052466     ($230.65)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052468    20052468     ($635.78)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052469    20052469     ($368.11)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052470    20052470     ($281.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052471    20052471     ($406.33)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052473    20052473     ($509.50)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052475    20052475     ($413.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052477    20052477     ($314.48)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052478    20052478     ($241.55)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052482    20052482     ($485.65)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052483    20052483     ($474.56)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052486    20052486     ($601.55)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052487    20052487     ($78.44)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052490    20052490     ($668.04)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052491    20052491     ($920.80)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052492    20052492     ($323.21)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052493    20052493     ($325.91)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052496    20052496     ($450.05)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052497    20052497     ($413.62)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052498    20052498     ($877.29)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052500    20052500     ($571.68)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052501    20052501     ($348.72)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052502    20052502     ($648.64)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052504    20052504     ($366.87)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052509    20052509     ($432.77)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052512    20052512     ($57.02)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052514    20052514     ($392.94)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052515    20052515     ($1,000.58)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052517    20052517     ($591.89)     CHECK PAID       Check




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Norpac Foods, Inc. (Consolidated)                                                                                                UST-14A
Signature Bank                                                                                          Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                     Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount      Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052518    20052518     ($425.94)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052519    20052519     ($714.59)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052520    20052520     ($591.75)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052521    20052521     ($348.41)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052524    20052524     ($559.01)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052525    20052525     ($465.28)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052527    20052527     ($112.70)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052532    20052532     ($430.37)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052534    20052534     ($463.54)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052535    20052535     ($352.72)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052537    20052537     ($448.74)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052538    20052538     ($457.04)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052539    20052539     ($559.00)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052541    20052541     ($235.97)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052543    20052543     ($569.68)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052544    20052544     ($628.10)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052545    20052545     ($291.24)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052547    20052547     ($60.14)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052549    20052549     ($358.20)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052550    20052550     ($321.35)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052552    20052552     ($455.62)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052554    20052554     ($500.52)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052555    20052555     ($672.82)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052556    20052556     ($391.61)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052558    20052558     ($60.13)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052559    20052559     ($608.47)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052565    20052565     ($369.26)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052567    20052567     ($532.15)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052569    20052569     ($571.69)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052572    20052572     ($206.27)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052573    20052573     ($608.48)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052574    20052574     ($60.13)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052575    20052575     ($348.41)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052579    20052579     ($60.13)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052580    20052580     ($284.54)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052583    20052583     ($615.31)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052587    20052587     ($680.19)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052589    20052589     ($467.80)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052592    20052592     ($437.17)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052594    20052594     ($456.31)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052595    20052595     ($440.87)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052597    20052597     ($347.89)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052598    20052598     ($481.37)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052599    20052599     ($294.57)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052600    20052600     ($370.87)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052602    20052602     ($573.99)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052603    20052603     ($60.13)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052604    20052604     ($60.14)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052606    20052606     ($159.57)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052608    20052608     ($316.19)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052609    20052609     ($348.72)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052616    20052616     ($60.13)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052617    20052617     ($60.13)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052622    20052622     ($389.33)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052623    20052623     ($352.72)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052626    20052626     ($348.41)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052627    20052627     ($597.93)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052628    20052628     ($60.13)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052629    20052629     ($403.50)   CHECK PAID       Check




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Norpac Foods, Inc. (Consolidated)                                                                                                UST-14A
Signature Bank                                                                                          Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                     Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount      Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052630    20052630     ($62.02)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052632    20052632     ($451.64)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052635    20052635     ($446.14)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052636    20052636     ($641.64)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052639    20052639     ($623.45)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052640    20052640     ($352.72)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052641    20052641     ($549.16)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052642    20052642     ($696.21)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052647    20052647     ($646.52)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052649    20052649     ($560.33)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052656    20052656     ($345.34)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052657    20052657     ($390.66)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052658    20052658     ($233.72)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052659    20052659     ($298.63)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052660    20052660     ($101.12)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052661    20052661     ($363.80)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052662    20052662     ($261.16)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052663    20052663     ($313.80)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052664    20052664     ($320.03)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052671    20052671     ($330.05)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052674    20052674     ($298.00)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052675    20052675     ($385.99)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052676    20052676     ($224.37)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052677    20052677     ($337.06)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052686    20052686     ($292.25)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052687    20052687     ($270.98)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052688    20052688     ($333.65)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052691    20052691     ($195.97)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052693    20052693     ($319.63)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052694    20052694     ($428.03)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052695    20052695     ($392.47)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052696    20052696     ($332.27)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052697    20052697     ($321.31)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052700    20052700     ($297.25)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052701    20052701     ($676.50)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052702    20052702     ($313.60)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052705    20052705     ($315.10)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052706    20052706     ($496.55)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052707    20052707     ($60.72)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052708    20052708     ($384.43)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052709    20052709     ($224.36)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052710    20052710     ($394.51)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052712    20052712     ($339.63)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052713    20052713     ($329.63)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052714    20052714     ($290.38)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052715    20052715     ($485.29)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052716    20052716     ($304.33)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052717    20052717     ($315.57)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052718    20052718     ($168.36)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052719    20052719     ($350.67)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052720    20052720     ($371.57)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052721    20052721     ($297.99)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052723    20052723     ($346.51)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052724    20052724     ($415.40)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052725    20052725     ($143.04)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052726    20052726     ($532.67)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052727    20052727     ($122.82)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052728    20052728     ($265.84)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052729    20052729     ($494.86)   CHECK PAID       Check




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Norpac Foods, Inc. (Consolidated)                                                                                                UST-14A
Signature Bank                                                                                          Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                     Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount      Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052730    20052730     ($562.65)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052732    20052732     ($652.92)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052733    20052733     ($353.71)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052735    20052735     ($590.74)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052738    20052738     ($276.02)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052739    20052739     ($291.28)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052740    20052740     ($263.69)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052741    20052741     ($332.13)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052742    20052742     ($498.83)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052743    20052743     ($297.98)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052744    20052744     ($931.18)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052746    20052746     ($258.16)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052748    20052748     ($471.85)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052749    20052749     ($298.50)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052750    20052750     ($291.83)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052752    20052752     ($383.00)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052754    20052754     ($288.48)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052755    20052755     ($365.35)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052756    20052756     ($363.80)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052757    20052757     ($272.52)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052758    20052758     ($217.29)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052760    20052760     ($291.16)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052761    20052761     ($190.31)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052762    20052762     ($199.76)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052763    20052763     ($338.80)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052765    20052765     ($327.04)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052766    20052766     ($261.17)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052770    20052770     ($325.26)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052771    20052771     ($240.71)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052772    20052772     ($290.47)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052773    20052773     ($329.08)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052775    20052775     ($339.63)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052777    20052777     ($304.94)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052782    20052782     ($292.17)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052783    20052783     ($305.08)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052787    20052787     ($444.34)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052790    20052790     ($311.16)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052791    20052791     ($280.25)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052793    20052793     ($302.32)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052796    20052796     ($159.10)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052798    20052798     ($219.09)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052800    20052800     ($199.09)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052802    20052802     ($451.43)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052803    20052803     ($278.60)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052807    20052807     ($274.08)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052808    20052808     ($282.67)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052811    20052811     ($302.32)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052813    20052813     ($381.12)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052814    20052814     ($442.24)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052815    20052815     ($304.15)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052817    20052817     ($285.28)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052818    20052818     ($307.34)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052819    20052819     ($299.33)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052822    20052822     ($415.95)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052826    20052826     ($291.82)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052827    20052827     ($459.81)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052828    20052828     ($349.08)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052829    20052829     ($445.75)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052835    20052835     ($620.92)   CHECK PAID       Check




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Norpac Foods, Inc. (Consolidated)                                                                                                                 UST-14A
Signature Bank                                                                                                       Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                  Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference                Additional   Amount        Description          Type    Text
Number     Number                                                                         Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052836               20052836     ($488.10)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052837               20052837     ($274.08)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052839               20052839     ($593.06)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   20052859               20052859     ($174.78)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/16/2019   ZBA-SWEEP TRANSFER F                $230,005.11   SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20050001               20050001     ($169.17)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051894               20051894     ($436.21)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051901               20051901     ($351.14)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051905               20051905     ($126.14)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051910               20051910     ($604.74)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051915               20051915     ($417.52)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051921               20051921     ($568.74)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051923               20051923     ($280.08)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051927               20051927     ($575.54)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051930               20051930     ($361.36)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051939               20051939     ($459.01)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051956               20051956     ($538.54)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051961               20051961     ($209.73)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051962               20051962     ($310.88)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051963               20051963     ($426.77)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051968               20051968     ($309.02)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051969               20051969     ($419.01)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051976               20051976     ($547.10)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051977               20051977     ($910.15)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051979               20051979     ($498.48)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051983               20051983     ($489.44)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051984               20051984     ($381.43)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051987               20051987     ($555.05)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20051988               20051988     ($177.80)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052005               20052005     ($297.93)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052007               20052007     ($528.61)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052016               20052016     ($439.14)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052033               20052033     ($454.17)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052036               20052036     ($637.76)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052038               20052038     ($279.61)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052046               20052046     ($707.00)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052060               20052060     ($983.68)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052061               20052061     ($501.44)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052062               20052062     ($588.58)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052063               20052063     ($859.82)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052072               20052072     ($104.43)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052075               20052075     ($549.48)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052078               20052078     ($300.91)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052081               20052081     ($538.36)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052087               20052087     ($531.43)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052091               20052091     ($328.64)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052092               20052092     ($380.41)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052098               20052098     ($315.15)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052105               20052105     ($154.78)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052111               20052111     ($191.94)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052113               20052113     ($224.38)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052118               20052118     ($235.87)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052120               20052120     ($460.72)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052126               20052126     ($242.41)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052156               20052156     ($231.89)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052159               20052159     ($404.43)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052162               20052162     ($1,102.46)   CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052164               20052164     ($73.09)      CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052166               20052166     ($358.43)     CHECK PAID           Check




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Norpac Foods, Inc. (Consolidated)                                                                                                UST-14A
Signature Bank                                                                                          Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                     Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount      Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052174    20052174     ($455.77)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052178    20052178     ($334.17)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052186    20052186     ($365.77)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052191    20052191     ($467.15)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052201    20052201     ($428.60)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052206    20052206     ($544.32)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052210    20052210     ($170.42)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052211    20052211     ($468.58)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052214    20052214     ($292.57)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052223    20052223     ($465.81)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052224    20052224     ($728.28)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052226    20052226     ($538.80)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052227    20052227     ($832.16)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052228    20052228     ($571.68)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052238    20052238     ($366.19)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052245    20052245     ($624.56)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052246    20052246     ($594.11)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052255    20052255     ($494.17)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052258    20052258     ($595.17)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052259    20052259     ($142.53)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052265    20052265     ($613.61)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052275    20052275     ($605.10)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052276    20052276     ($462.86)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052288    20052288     ($73.15)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052302    20052302     ($701.35)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052309    20052309     ($78.53)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052320    20052320     ($367.10)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052325    20052325     ($300.77)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052332    20052332     ($551.23)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052336    20052336     ($64.64)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052337    20052337     ($303.85)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052340    20052340     ($64.63)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052342    20052342     ($411.63)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052343    20052343     ($625.94)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052348    20052348     ($60.13)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052365    20052365     ($447.47)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052369    20052369     ($623.98)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052373    20052373     ($613.61)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052376    20052376     ($579.08)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052382    20052382     ($674.76)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052385    20052385     ($589.36)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052397    20052397     ($433.62)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052398    20052398     ($300.76)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052407    20052407     ($116.66)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052410    20052410     ($622.20)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052416    20052416     ($320.33)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052420    20052420     ($317.74)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052427    20052427     ($481.25)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052434    20052434     ($216.78)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052448    20052448     ($296.42)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052452    20052452     ($217.42)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052467    20052467     ($464.98)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052472    20052472     ($617.77)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052474    20052474     ($359.79)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052480    20052480     ($396.88)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052481    20052481     ($459.24)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052484    20052484     ($508.81)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052489    20052489     ($80.46)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052507    20052507     ($446.86)   CHECK PAID       Check




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Norpac Foods, Inc. (Consolidated)                                                                                                                 UST-14A
Signature Bank                                                                                                       Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                  Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference                Additional   Amount        Description          Type    Text
Number     Number                                                                         Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052511               20052511     ($295.52)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052529               20052529     ($743.97)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052530               20052530     ($351.51)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052531               20052531     ($604.87)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052533               20052533     ($605.57)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052540               20052540     ($349.05)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052542               20052542     ($73.15)      CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052546               20052546     ($657.24)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052553               20052553     ($628.86)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052561               20052561     ($361.70)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052564               20052564     ($639.59)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052568               20052568     ($144.00)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052570               20052570     ($312.85)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052577               20052577     ($258.29)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052582               20052582     ($86.91)      CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052586               20052586     ($496.59)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052596               20052596     ($303.86)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052601               20052601     ($1,283.66)   CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052607               20052607     ($335.06)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052612               20052612     ($512.46)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052613               20052613     ($71.23)      CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052621               20052621     ($68.91)      CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052631               20052631     ($381.12)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052644               20052644     ($160.57)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052651               20052651     ($307.17)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052653               20052653     ($469.22)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052654               20052654     ($327.50)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052655               20052655     ($728.06)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052665               20052665     ($319.72)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052667               20052667     ($525.87)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052669               20052669     ($261.15)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052670               20052670     ($263.06)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052672               20052672     ($322.25)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052678               20052678     ($453.71)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052681               20052681     ($199.09)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052682               20052682     ($368.76)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052689               20052689     ($239.09)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052690               20052690     ($488.08)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052699               20052699     ($381.11)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052722               20052722     ($249.69)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052734               20052734     ($312.98)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052736               20052736     ($463.27)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052737               20052737     ($304.51)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052767               20052767     ($289.63)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052769               20052769     ($333.01)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052774               20052774     ($301.72)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052785               20052785     ($433.02)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052810               20052810     ($349.07)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052812               20052812     ($298.14)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052816               20052816     ($732.70)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052830               20052830     ($348.25)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052832               20052832     ($351.72)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052833               20052833     ($453.71)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   20052834               20052834     ($321.57)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/17/2019   ZBA-SWEEP TRANSFER F                $69,004.93    SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20051906               20051906     ($472.44)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20051934               20051934     ($584.88)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20051942               20051942     ($150.91)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20051945               20051945     ($363.70)     CHECK PAID           Check




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Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20051960    20051960     ($686.30)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052012    20052012     ($322.79)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052017    20052017     ($655.80)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052024    20052024     ($483.81)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052027    20052027     ($679.79)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052029    20052029     ($476.36)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052031    20052031     ($501.24)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052037    20052037     ($631.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052065    20052065     ($176.31)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052068    20052068     ($503.98)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052071    20052071     ($699.79)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052073    20052073     ($457.58)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052137    20052137     ($357.92)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052152    20052152     ($255.61)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052155    20052155     ($169.96)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052170    20052170     ($613.00)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052198    20052198     ($323.11)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052200    20052200     ($586.52)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052208    20052208     ($361.56)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052221    20052221     ($597.48)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052234    20052234     ($475.07)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052236    20052236     ($488.31)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052237    20052237     ($788.45)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052239    20052239     ($422.74)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052240    20052240     ($300.57)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052251    20052251     ($613.01)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052252    20052252     ($654.37)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052261    20052261     ($55.01)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052262    20052262     ($366.20)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052263    20052263     ($365.41)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052281    20052281     ($840.77)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052300    20052300     ($426.45)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052304    20052304     ($55.78)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052311    20052311     ($547.47)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052331    20052331     ($60.14)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052341    20052341     ($273.07)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052361    20052361     ($508.41)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052366    20052366     ($1,154.97)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052377    20052377     ($378.51)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052379    20052379     ($666.88)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052387    20052387     ($248.94)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052395    20052395     ($434.72)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052399    20052399     ($619.94)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052406    20052406     ($711.06)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052415    20052415     ($241.63)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052428    20052428     ($97.96)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052436    20052436     ($365.77)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052437    20052437     ($59.84)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052449    20052449     ($556.84)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052454    20052454     ($86.82)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052460    20052460     ($554.70)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052462    20052462     ($500.51)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052476    20052476     ($305.18)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052488    20052488     ($261.76)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052495    20052495     ($509.36)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052506    20052506     ($230.58)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052510    20052510     ($422.28)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052536    20052536     ($293.60)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052557    20052557     ($489.56)     CHECK PAID       Check




                                                                     Case 19-62584-pcm11                  Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                   UST-14A
Signature Bank                                                                                                         Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                    Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference                Additional   Amount          Description          Type    Text
Number     Number                                                                         Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052563               20052563     ($395.31)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052578               20052578     ($425.91)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052585               20052585     ($722.08)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052610               20052610     ($610.76)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052611               20052611     ($236.36)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052615               20052615     ($396.19)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052624               20052624     ($1,598.86)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052625               20052625     ($601.54)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052638               20052638     ($684.50)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052643               20052643     ($45.63)        CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052645               20052645     ($352.72)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052646               20052646     ($218.00)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052652               20052652     ($249.46)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052684               20052684     ($222.51)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052692               20052692     ($337.06)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052698               20052698     ($556.00)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052711               20052711     ($479.07)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052751               20052751     ($306.97)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052768               20052768     ($346.52)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052776               20052776     ($910.39)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052784               20052784     ($372.25)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052789               20052789     ($522.78)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052795               20052795     ($333.83)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052806               20052806     ($325.68)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052848               20052848     ($57.41)        CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052851               20052851     ($123.21)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052852               20052852     ($87.17)        CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052853               20052853     ($100.04)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052854               20052854     ($93.35)        CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052855               20052855     ($65.00)        CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052857               20052857     ($66.55)        CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052858               20052858     ($107.35)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052861               20052861     ($108.96)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052864               20052864     ($13.42)        CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052865               20052865     ($256.28)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052866               20052866     ($117.70)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052867               20052867     ($164.77)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052868               20052868     ($317.25)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   20052869               20052869     ($317.25)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   KRONOS SAASHR, INC.    1            ($5,978.38)     OUTGOING WIRE        Wire    REF# 20190918B6B7261F002191TO: KRONOS SAASHR, INC.   ABA: 042000314BANK: FIFTH
                                                                                                                                                    THIRD CINCI       ACCT# 7146798843
26013576 XXXXXX8760 Checking          NORPAC PAYROLL   9/18/2019 KRONOS SAASHR, INC.      1            ($969,977.00)   OUTGOING WIRE        Wire    REF# 20190918B6B7261F002190TO: KRONOS SAASHR, INC.   ABA: 042000314BANK: FIFTH
                                                                                                                                                    THIRD CINCI       ACCT# 7146798843
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/18/2019   ZBA-SWEEP TRANSFER F                $1,016,746.70   SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20051911               20051911     ($412.96)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052100               20052100     ($534.42)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052121               20052121     ($399.86)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052172               20052172     ($351.51)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052253               20052253     ($787.54)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052271               20052271     ($602.02)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052328               20052328     ($594.35)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052421               20052421     ($363.69)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052455               20052455     ($585.35)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052503               20052503     ($413.35)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052560               20052560     ($8.05)         CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052571               20052571     ($306.21)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052637               20052637     ($472.55)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052648               20052648     ($565.57)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052731               20052731     ($676.64)       CHECK PAID           Check




                                                                     Case 19-62584-pcm11                               Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                UST-14A
Signature Bank                                                                                                      Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                 Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference                Additional   Amount       Description          Type    Text
Number     Number                                                                         Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052759               20052759     ($327.16)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052779               20052779     ($256.40)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052780               20052780     ($349.07)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052825               20052825     ($448.26)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052843               20052843     ($114.06)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052845               20052845     ($106.19)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   20052856               20052856     ($166.82)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/19/2019   ZBA-SWEEP TRANSFER F                $8,842.03    SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052015               20052015     ($693.87)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052084               20052084     ($401.53)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052112               20052112     ($885.31)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052158               20052158     ($347.08)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052212               20052212     ($247.47)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052272               20052272     ($486.19)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052351               20052351     ($60.14)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052367               20052367     ($653.24)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052423               20052423     ($567.40)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052459               20052459     ($292.29)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052562               20052562     ($75.15)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052581               20052581     ($422.28)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052614               20052614     ($378.51)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052620               20052620     ($377.24)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052844               20052844     ($67.03)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052849               20052849     ($183.85)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052850               20052850     ($96.37)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20052929               20052929     ($426.24)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20053008               20053008     ($491.07)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20053160               20053160     ($361.84)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20053225               20053225     ($489.18)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20053279               20053279     ($290.59)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20053407               20053407     ($362.19)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20053509               20053509     ($565.21)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20053579               20053579     ($503.77)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20053647               20053647     ($284.99)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20053687               20053687     ($335.68)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   20053778               20053778     ($470.71)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/20/2019   ZBA-SWEEP TRANSFER F                $10,816.42   SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20051899               20051899     ($403.35)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20051907               20051907     ($423.62)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20051908               20051908     ($640.79)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20051912               20051912     ($265.74)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20051913               20051913     ($549.16)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20051936               20051936     ($330.35)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20051953               20051953     ($283.23)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20051990               20051990     ($858.74)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052003               20052003     ($547.09)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052039               20052039     ($456.39)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052045               20052045     ($590.75)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052048               20052048     ($287.28)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052096               20052096     ($320.12)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052146               20052146     ($178.82)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052150               20052150     ($157.06)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052197               20052197     ($75.83)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052216               20052216     ($284.03)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052243               20052243     ($620.53)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052277               20052277     ($594.86)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052280               20052280     ($949.10)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052289               20052289     ($436.66)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052294               20052294     ($309.86)    CHECK PAID           Check




                                                                     Case 19-62584-pcm11                            Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                UST-14A
Signature Bank                                                                                          Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                     Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount      Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052295    20052295     ($10.14)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052305    20052305     ($442.87)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052308    20052308     ($306.22)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052355    20052355     ($370.87)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052359    20052359     ($618.27)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052374    20052374     ($573.17)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052388    20052388     ($568.30)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052426    20052426     ($55.14)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052440    20052440     ($130.11)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052479    20052479     ($525.39)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052485    20052485     ($228.24)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052513    20052513     ($57.03)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052516    20052516     ($467.38)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052526    20052526     ($600.81)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052548    20052548     ($446.44)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052551    20052551     ($431.46)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052566    20052566     ($273.57)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052584    20052584     ($48.94)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052588    20052588     ($348.72)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052593    20052593     ($590.98)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052618    20052618     ($302.09)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052679    20052679     ($401.84)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052680    20052680     ($261.03)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052683    20052683     ($313.80)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052685    20052685     ($202.30)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052704    20052704     ($330.08)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052745    20052745     ($289.63)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052753    20052753     ($187.44)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052778    20052778     ($358.95)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052788    20052788     ($383.00)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052804    20052804     ($325.29)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052805    20052805     ($314.08)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052823    20052823     ($374.00)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052872    20052872     ($473.55)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052874    20052874     ($417.98)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052876    20052876     ($493.85)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052877    20052877     ($151.65)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052881    20052881     ($462.22)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052882    20052882     ($605.24)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052883    20052883     ($418.70)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052886    20052886     ($466.42)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052887    20052887     ($475.60)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052888    20052888     ($631.34)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052890    20052890     ($452.93)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052892    20052892     ($479.90)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052893    20052893     ($682.02)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052895    20052895     ($456.20)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052896    20052896     ($422.75)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052897    20052897     ($680.56)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052900    20052900     ($551.38)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052905    20052905     ($501.12)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052907    20052907     ($482.21)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052908    20052908     ($462.19)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052910    20052910     ($503.57)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052911    20052911     ($459.41)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052912    20052912     ($818.78)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052914    20052914     ($151.65)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052915    20052915     ($541.60)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052917    20052917     ($523.39)   CHECK PAID       Check




                                                                     Case 19-62584-pcm11                Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052920    20052920     ($572.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052922    20052922     ($564.35)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052927    20052927     ($750.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052928    20052928     ($597.70)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052932    20052932     ($382.49)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052933    20052933     ($633.53)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052934    20052934     ($459.46)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052935    20052935     ($478.38)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052936    20052936     ($658.15)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052937    20052937     ($443.73)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052943    20052943     ($478.72)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052946    20052946     ($463.45)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052947    20052947     ($484.16)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052948    20052948     ($460.02)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052949    20052949     ($516.84)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052950    20052950     ($517.96)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052953    20052953     ($154.58)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052954    20052954     ($449.59)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052955    20052955     ($1,236.09)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052956    20052956     ($473.48)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052958    20052958     ($517.38)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052959    20052959     ($813.11)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052963    20052963     ($324.70)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052966    20052966     ($863.71)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052967    20052967     ($514.76)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052968    20052968     ($458.57)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052970    20052970     ($486.24)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052971    20052971     ($592.07)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052972    20052972     ($437.48)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052973    20052973     ($362.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052974    20052974     ($551.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052975    20052975     ($570.93)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052976    20052976     ($637.70)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052977    20052977     ($1,154.21)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052978    20052978     ($486.25)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052979    20052979     ($1,197.94)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052980    20052980     ($478.74)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052981    20052981     ($351.46)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052983    20052983     ($478.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052984    20052984     ($547.45)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052986    20052986     ($508.38)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052988    20052988     ($324.77)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052989    20052989     ($444.28)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052991    20052991     ($516.21)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052992    20052992     ($382.88)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052994    20052994     ($561.36)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052995    20052995     ($547.69)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052996    20052996     ($456.15)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052997    20052997     ($474.87)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20052999    20052999     ($1,012.88)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053002    20053002     ($515.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053003    20053003     ($934.31)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053005    20053005     ($477.56)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053010    20053010     ($475.37)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053011    20053011     ($659.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053015    20053015     ($486.26)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053016    20053016     ($573.89)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053017    20053017     ($533.18)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053018    20053018     ($438.21)     CHECK PAID       Check




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Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053019    20053019     ($411.67)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053020    20053020     ($597.66)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053023    20053023     ($456.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053024    20053024     ($512.79)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053025    20053025     ($490.62)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053026    20053026     ($717.56)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053028    20053028     ($473.18)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053030    20053030     ($473.55)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053031    20053031     ($571.78)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053032    20053032     ($546.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053034    20053034     ($423.56)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053035    20053035     ($537.19)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053036    20053036     ($688.62)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053039    20053039     ($86.66)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053042    20053042     ($428.69)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053043    20053043     ($502.30)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053046    20053046     ($606.93)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053051    20053051     ($52.93)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053055    20053055     ($698.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053056    20053056     ($551.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053057    20053057     ($312.47)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053058    20053058     ($485.07)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053059    20053059     ($549.55)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053061    20053061     ($471.91)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053064    20053064     ($669.19)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053065    20053065     ($478.33)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053066    20053066     ($713.88)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053068    20053068     ($506.99)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053069    20053069     ($579.58)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053072    20053072     ($455.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053073    20053073     ($742.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053075    20053075     ($650.33)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053078    20053078     ($537.48)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053079    20053079     ($508.46)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053082    20053082     ($459.81)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053085    20053085     ($571.78)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053086    20053086     ($398.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053087    20053087     ($516.93)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053088    20053088     ($556.22)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053090    20053090     ($339.02)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053092    20053092     ($564.08)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053093    20053093     ($661.26)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053094    20053094     ($466.51)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053095    20053095     ($473.57)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053096    20053096     ($594.90)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053097    20053097     ($530.76)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053098    20053098     ($636.33)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053099    20053099     ($623.81)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053102    20053102     ($576.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053103    20053103     ($532.18)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053105    20053105     ($704.33)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053109    20053109     ($508.26)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053111    20053111     ($597.59)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053113    20053113     ($354.89)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053114    20053114     ($456.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053115    20053115     ($444.09)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053116    20053116     ($242.63)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053117    20053117     ($442.80)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053118    20053118     ($1,038.90)   CHECK PAID       Check




                                                                     Case 19-62584-pcm11                  Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053119    20053119     ($565.56)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053121    20053121     ($284.54)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053122    20053122     ($476.15)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053125    20053125     ($411.69)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053128    20053128     ($395.94)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053130    20053130     ($491.07)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053132    20053132     ($594.11)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053134    20053134     ($485.25)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053135    20053135     ($1,270.18)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053136    20053136     ($597.61)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053137    20053137     ($353.37)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053139    20053139     ($564.64)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053142    20053142     ($316.43)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053143    20053143     ($284.00)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053145    20053145     ($444.98)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053146    20053146     ($488.83)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053148    20053148     ($491.08)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053149    20053149     ($485.95)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053151    20053151     ($639.43)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053152    20053152     ($470.47)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053154    20053154     ($500.55)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053155    20053155     ($449.51)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053157    20053157     ($784.91)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053158    20053158     ($249.60)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053159    20053159     ($411.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053162    20053162     ($506.63)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053163    20053163     ($502.61)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053164    20053164     ($477.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053165    20053165     ($507.35)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053167    20053167     ($484.26)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053168    20053168     ($444.97)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053169    20053169     ($422.11)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053170    20053170     ($491.48)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053172    20053172     ($459.94)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053173    20053173     ($547.85)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053174    20053174     ($369.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053176    20053176     ($680.94)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053177    20053177     ($581.71)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053178    20053178     ($657.15)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053179    20053179     ($568.73)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053180    20053180     ($536.58)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053184    20053184     ($701.83)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053186    20053186     ($663.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053188    20053188     ($436.99)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053190    20053190     ($657.28)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053191    20053191     ($334.06)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053193    20053193     ($93.93)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053196    20053196     ($468.46)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053197    20053197     ($486.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053199    20053199     ($425.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053200    20053200     ($527.06)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053201    20053201     ($506.57)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053202    20053202     ($542.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053203    20053203     ($536.41)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053207    20053207     ($750.48)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053210    20053210     ($817.87)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053211    20053211     ($817.87)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053212    20053212     ($571.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053213    20053213     ($498.94)     CHECK PAID       Check




                                                                     Case 19-62584-pcm11                  Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                UST-14A
Signature Bank                                                                                          Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                     Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount      Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053214    20053214     ($579.40)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053215    20053215     ($532.01)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053217    20053217     ($486.25)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053218    20053218     ($685.05)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053219    20053219     ($538.78)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053223    20053223     ($633.53)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053227    20053227     ($599.39)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053230    20053230     ($396.17)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053232    20053232     ($366.17)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053236    20053236     ($460.96)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053239    20053239     ($553.36)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053240    20053240     ($490.82)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053241    20053241     ($976.89)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053242    20053242     ($83.20)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053243    20053243     ($570.93)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053245    20053245     ($499.37)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053246    20053246     ($455.14)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053247    20053247     ($591.58)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053248    20053248     ($797.21)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053249    20053249     ($754.02)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053250    20053250     ($301.34)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053251    20053251     ($669.16)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053253    20053253     ($247.58)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053254    20053254     ($557.48)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053256    20053256     ($642.58)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053257    20053257     ($474.17)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053258    20053258     ($542.77)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053259    20053259     ($408.32)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053261    20053261     ($403.09)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053262    20053262     ($215.46)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053263    20053263     ($512.45)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053264    20053264     ($264.38)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053265    20053265     ($492.29)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053266    20053266     ($526.27)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053267    20053267     ($459.94)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053268    20053268     ($477.58)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053273    20053273     ($372.21)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053274    20053274     ($313.56)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053275    20053275     ($676.69)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053277    20053277     ($461.81)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053278    20053278     ($249.62)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053281    20053281     ($413.09)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053284    20053284     ($535.75)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053285    20053285     ($495.01)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053286    20053286     ($521.26)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053287    20053287     ($350.35)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053288    20053288     ($369.88)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053290    20053290     ($500.91)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053292    20053292     ($473.65)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053293    20053293     ($573.59)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053296    20053296     ($539.94)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053298    20053298     ($530.38)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053299    20053299     ($515.91)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053303    20053303     ($328.55)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053304    20053304     ($468.43)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053305    20053305     ($412.60)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053307    20053307     ($412.60)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053309    20053309     ($580.60)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053311    20053311     ($474.16)   CHECK PAID       Check




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Norpac Foods, Inc. (Consolidated)                                                                                                UST-14A
Signature Bank                                                                                          Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                     Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount      Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053312    20053312     ($536.15)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053313    20053313     ($490.80)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053314    20053314     ($501.37)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053315    20053315     ($297.09)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053316    20053316     ($989.59)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053317    20053317     ($353.73)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053318    20053318     ($685.22)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053319    20053319     ($541.59)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053320    20053320     ($354.46)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053321    20053321     ($497.04)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053324    20053324     ($32.20)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053325    20053325     ($727.00)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053326    20053326     ($676.43)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053327    20053327     ($599.37)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053328    20053328     ($394.78)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053329    20053329     ($588.14)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053330    20053330     ($663.04)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053331    20053331     ($638.36)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053333    20053333     ($937.41)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053335    20053335     ($537.48)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053337    20053337     ($561.23)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053338    20053338     ($648.53)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053339    20053339     ($491.08)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053341    20053341     ($534.82)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053342    20053342     ($492.47)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053343    20053343     ($448.35)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053345    20053345     ($398.03)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053349    20053349     ($637.64)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053350    20053350     ($748.09)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053351    20053351     ($294.00)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053352    20053352     ($83.20)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053353    20053353     ($547.51)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053354    20053354     ($412.60)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053355    20053355     ($514.35)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053356    20053356     ($583.63)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053357    20053357     ($366.43)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053359    20053359     ($531.27)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053360    20053360     ($389.70)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053361    20053361     ($638.25)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053363    20053363     ($466.18)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053364    20053364     ($466.18)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053367    20053367     ($372.16)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053370    20053370     ($502.27)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053371    20053371     ($502.88)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053373    20053373     ($685.04)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053374    20053374     ($633.53)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053375    20053375     ($542.06)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053376    20053376     ($500.90)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053377    20053377     ($782.01)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053378    20053378     ($488.83)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053379    20053379     ($500.91)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053380    20053380     ($496.52)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053381    20053381     ($489.57)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053382    20053382     ($581.61)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053383    20053383     ($500.91)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053387    20053387     ($361.81)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053388    20053388     ($398.69)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053389    20053389     ($358.29)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053390    20053390     ($578.09)   CHECK PAID       Check




                                                                     Case 19-62584-pcm11                Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                UST-14A
Signature Bank                                                                                          Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                     Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount      Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053391    20053391     ($654.78)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053392    20053392     ($422.52)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053395    20053395     ($285.56)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053397    20053397     ($90.13)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053398    20053398     ($517.46)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053399    20053399     ($477.84)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053400    20053400     ($513.14)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053401    20053401     ($486.22)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053402    20053402     ($531.35)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053403    20053403     ($928.99)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053404    20053404     ($523.69)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053405    20053405     ($466.18)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053406    20053406     ($503.52)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053411    20053411     ($562.95)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053413    20053413     ($472.70)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053414    20053414     ($676.82)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053415    20053415     ($230.92)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053416    20053416     ($612.78)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053417    20053417     ($497.05)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053418    20053418     ($542.43)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053419    20053419     ($502.12)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053420    20053420     ($372.12)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053421    20053421     ($531.35)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053423    20053423     ($558.45)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053424    20053424     ($593.61)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053425    20053425     ($496.61)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053428    20053428     ($477.96)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053429    20053429     ($540.09)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053433    20053433     ($480.13)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053434    20053434     ($576.92)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053435    20053435     ($580.59)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053437    20053437     ($526.99)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053438    20053438     ($421.80)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053439    20053439     ($550.59)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053440    20053440     ($261.04)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053441    20053441     ($451.19)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053443    20053443     ($764.14)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053444    20053444     ($505.12)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053445    20053445     ($514.87)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053446    20053446     ($619.57)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053448    20053448     ($544.15)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053449    20053449     ($485.97)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053450    20053450     ($512.07)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053451    20053451     ($828.20)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053453    20053453     ($520.27)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053454    20053454     ($474.16)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053455    20053455     ($593.61)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053460    20053460     ($450.78)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053461    20053461     ($474.88)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053464    20053464     ($351.33)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053465    20053465     ($359.43)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053466    20053466     ($473.56)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053467    20053467     ($951.52)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053468    20053468     ($507.37)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053469    20053469     ($538.51)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053470    20053470     ($506.75)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053471    20053471     ($580.12)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053472    20053472     ($548.57)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053473    20053473     ($75.48)    CHECK PAID       Check




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Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053474    20053474     ($470.44)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053477    20053477     ($506.57)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053478    20053478     ($489.16)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053480    20053480     ($713.90)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053481    20053481     ($533.51)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053483    20053483     ($383.62)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053484    20053484     ($555.88)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053485    20053485     ($506.61)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053486    20053486     ($407.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053488    20053488     ($485.96)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053489    20053489     ($501.28)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053490    20053490     ($506.57)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053492    20053492     ($436.77)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053493    20053493     ($624.97)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053494    20053494     ($586.68)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053495    20053495     ($455.27)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053497    20053497     ($319.52)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053499    20053499     ($75.48)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053500    20053500     ($344.97)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053501    20053501     ($473.56)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053502    20053502     ($478.72)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053503    20053503     ($481.22)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053504    20053504     ($597.61)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053505    20053505     ($394.77)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053507    20053507     ($542.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053508    20053508     ($617.90)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053511    20053511     ($560.38)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053514    20053514     ($255.48)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053516    20053516     ($482.26)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053519    20053519     ($489.78)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053520    20053520     ($448.43)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053521    20053521     ($520.25)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053522    20053522     ($356.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053523    20053523     ($526.08)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053524    20053524     ($397.25)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053525    20053525     ($418.83)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053526    20053526     ($560.38)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053527    20053527     ($470.35)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053530    20053530     ($385.13)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053531    20053531     ($77.20)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053532    20053532     ($138.15)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053533    20053533     ($457.67)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053534    20053534     ($572.59)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053535    20053535     ($378.63)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053538    20053538     ($637.53)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053539    20053539     ($474.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053541    20053541     ($498.78)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053544    20053544     ($545.55)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053545    20053545     ($555.76)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053546    20053546     ($495.01)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053547    20053547     ($510.03)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053548    20053548     ($477.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053549    20053549     ($520.18)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053550    20053550     ($190.13)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053551    20053551     ($497.04)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053552    20053552     ($1,067.74)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053554    20053554     ($346.73)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053555    20053555     ($451.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053557    20053557     ($396.17)     CHECK PAID       Check




                                                                     Case 19-62584-pcm11                  Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053558    20053558     ($474.16)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053559    20053559     ($452.27)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053562    20053562     ($509.11)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053564    20053564     ($62.77)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053570    20053570     ($470.16)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053571    20053571     ($1,338.53)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053573    20053573     ($470.53)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053574    20053574     ($560.38)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053575    20053575     ($531.35)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053577    20053577     ($523.51)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053578    20053578     ($502.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053581    20053581     ($585.46)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053583    20053583     ($493.38)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053584    20053584     ($566.05)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053585    20053585     ($295.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053586    20053586     ($392.21)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053587    20053587     ($637.65)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053591    20053591     ($596.99)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053593    20053593     ($491.08)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053595    20053595     ($492.98)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053596    20053596     ($169.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053599    20053599     ($415.84)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053600    20053600     ($314.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053601    20053601     ($349.77)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053602    20053602     ($222.28)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053603    20053603     ($386.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053604    20053604     ($71.01)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053605    20053605     ($162.71)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053607    20053607     ($272.99)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053608    20053608     ($289.95)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053609    20053609     ($359.69)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053613    20053613     ($231.07)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053615    20053615     ($261.41)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053616    20053616     ($292.14)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053618    20053618     ($330.67)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053623    20053623     ($259.45)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053624    20053624     ($231.04)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053625    20053625     ($168.97)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053626    20053626     ($339.31)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053627    20053627     ($140.30)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053629    20053629     ($215.47)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053631    20053631     ($336.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053633    20053633     ($202.05)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053635    20053635     ($238.33)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053636    20053636     ($307.14)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053638    20053638     ($262.15)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053642    20053642     ($267.14)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053643    20053643     ($488.95)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053644    20053644     ($294.49)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053646    20053646     ($300.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053648    20053648     ($325.02)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053649    20053649     ($526.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053652    20053652     ($383.22)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053655    20053655     ($308.53)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053656    20053656     ($299.47)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053659    20053659     ($273.21)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053660    20053660     ($286.11)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053661    20053661     ($200.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053662    20053662     ($322.87)     CHECK PAID       Check




                                                                     Case 19-62584-pcm11                  Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                UST-14A
Signature Bank                                                                                          Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                     Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount      Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053663    20053663     ($342.13)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053664    20053664     ($330.68)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053666    20053666     ($319.04)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053667    20053667     ($434.84)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053668    20053668     ($55.83)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053669    20053669     ($554.05)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053671    20053671     ($89.44)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053672    20053672     ($454.75)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053673    20053673     ($537.62)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053674    20053674     ($476.00)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053675    20053675     ($520.69)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053678    20053678     ($485.64)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053679    20053679     ($280.81)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053682    20053682     ($341.14)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053684    20053684     ($233.59)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053685    20053685     ($279.99)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053686    20053686     ($500.47)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053688    20053688     ($878.93)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053689    20053689     ($258.82)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053690    20053690     ($177.92)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053692    20053692     ($448.71)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053693    20053693     ($306.57)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053694    20053694     ($323.62)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053697    20053697     ($258.40)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053698    20053698     ($325.45)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053700    20053700     ($242.15)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053704    20053704     ($142.81)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053706    20053706     ($308.80)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053709    20053709     ($231.06)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053710    20053710     ($260.17)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053712    20053712     ($302.89)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053713    20053713     ($294.73)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053714    20053714     ($275.93)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053715    20053715     ($321.29)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053716    20053716     ($298.99)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053718    20053718     ($417.68)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053719    20053719     ($310.53)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053720    20053720     ($328.86)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053721    20053721     ($189.41)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053724    20053724     ($262.15)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053726    20053726     ($342.34)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053727    20053727     ($405.61)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053729    20053729     ($356.09)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053730    20053730     ($353.64)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053733    20053733     ($250.15)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053735    20053735     ($264.71)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053738    20053738     ($210.55)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053740    20053740     ($188.98)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053742    20053742     ($230.07)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053744    20053744     ($71.53)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053746    20053746     ($426.33)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053747    20053747     ($315.64)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053748    20053748     ($294.75)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053749    20053749     ($282.35)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053751    20053751     ($243.98)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053754    20053754     ($275.32)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053755    20053755     ($232.67)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053756    20053756     ($351.01)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053757    20053757     ($417.86)   CHECK PAID       Check




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Norpac Foods, Inc. (Consolidated)                                                                                                                 UST-14A
Signature Bank                                                                                                       Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                  Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference                Additional   Amount        Description          Type    Text
Number     Number                                                                         Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053760               20053760     ($317.98)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053762               20053762     ($269.36)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053766               20053766     ($332.89)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053768               20053768     ($283.06)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053769               20053769     ($255.81)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053770               20053770     ($434.44)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053772               20053772     ($397.65)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053775               20053775     ($363.28)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053777               20053777     ($588.26)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053779               20053779     ($243.99)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053781               20053781     ($460.10)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053785               20053785     ($1,296.86)   CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053786               20053786     ($1,518.56)   CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053787               20053787     ($1,236.58)   CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053788               20053788     ($1,099.92)   CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053790               20053790     ($1,038.83)   CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   20053813               20053813     ($204.85)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/23/2019   ZBA-SWEEP TRANSFER F                $295,702.55   SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20051920               20051920     ($852.09)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20051965               20051965     ($557.02)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052052               20052052     ($538.37)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052064               20052064     ($525.45)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052267               20052267     ($29.14)      CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052378               20052378     ($62.03)      CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052391               20052391     ($366.18)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052402               20052402     ($991.47)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052499               20052499     ($412.16)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052505               20052505     ($538.49)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052522               20052522     ($335.72)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052523               20052523     ($595.25)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052528               20052528     ($204.36)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052576               20052576     ($310.97)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052666               20052666     ($136.49)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052673               20052673     ($339.63)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052764               20052764     ($302.83)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052792               20052792     ($397.22)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052794               20052794     ($349.76)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052809               20052809     ($273.85)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052824               20052824     ($101.72)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052862               20052862     ($236.79)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052870               20052870     ($474.87)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052884               20052884     ($217.46)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052894               20052894     ($287.02)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052898               20052898     ($390.50)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052909               20052909     ($192.32)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052919               20052919     ($618.23)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052924               20052924     ($515.31)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052930               20052930     ($422.81)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052931               20052931     ($316.01)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052939               20052939     ($427.94)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052940               20052940     ($490.52)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052944               20052944     ($456.15)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052945               20052945     ($436.40)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052952               20052952     ($854.45)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052961               20052961     ($496.47)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052964               20052964     ($518.35)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052969               20052969     ($494.22)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052982               20052982     ($501.09)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20052990               20052990     ($457.75)     CHECK PAID           Check




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Norpac Foods, Inc. (Consolidated)                                                                                                UST-14A
Signature Bank                                                                                          Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                     Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount      Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053012    20053012     ($287.47)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053021    20053021     ($638.35)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053037    20053037     ($394.77)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053041    20053041     ($485.43)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053048    20053048     ($372.51)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053052    20053052     ($526.42)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053060    20053060     ($539.88)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053076    20053076     ($339.74)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053077    20053077     ($531.45)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053089    20053089     ($233.25)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053091    20053091     ($565.19)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053101    20053101     ($391.69)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053104    20053104     ($467.18)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053106    20053106     ($607.17)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053107    20053107     ($473.81)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053127    20053127     ($534.60)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053133    20053133     ($488.31)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053147    20053147     ($488.83)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053150    20053150     ($334.16)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053156    20053156     ($409.86)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053161    20053161     ($508.26)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053171    20053171     ($436.96)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053181    20053181     ($372.16)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053182    20053182     ($504.75)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053185    20053185     ($466.20)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053189    20053189     ($529.22)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053194    20053194     ($514.69)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053195    20053195     ($667.74)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053198    20053198     ($89.91)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053206    20053206     ($611.81)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053216    20053216     ($514.70)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053222    20053222     ($640.55)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053229    20053229     ($92.34)    CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053233    20053233     ($471.50)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053235    20053235     ($292.99)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053238    20053238     ($503.96)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053255    20053255     ($247.23)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053271    20053271     ($674.91)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053291    20053291     ($503.51)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053310    20053310     ($583.63)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053340    20053340     ($571.45)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053344    20053344     ($509.10)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053346    20053346     ($597.62)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053348    20053348     ($796.55)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053358    20053358     ($426.19)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053366    20053366     ($426.29)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053369    20053369     ($473.65)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053372    20053372     ($680.92)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053384    20053384     ($211.32)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053410    20053410     ($444.35)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053430    20053430     ($485.96)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053436    20053436     ($499.35)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053452    20053452     ($519.76)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053458    20053458     ($460.10)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053459    20053459     ($413.34)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053463    20053463     ($394.97)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053487    20053487     ($433.85)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053496    20053496     ($601.56)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053498    20053498     ($295.48)   CHECK PAID       Check




                                                                     Case 19-62584-pcm11                Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                 UST-14A
Signature Bank                                                                                                       Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                  Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference                Additional   Amount        Description          Type    Text
Number     Number                                                                         Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053506               20053506     ($554.67)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053517               20053517     ($75.16)      CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053518               20053518     ($583.67)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053536               20053536     ($654.46)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053556               20053556     ($592.73)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053561               20053561     ($556.22)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053588               20053588     ($352.79)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053610               20053610     ($312.68)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053611               20053611     ($479.03)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053617               20053617     ($310.17)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053620               20053620     ($194.25)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053622               20053622     ($428.08)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053653               20053653     ($455.75)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053670               20053670     ($87.88)      CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053676               20053676     ($319.65)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053677               20053677     ($318.96)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053695               20053695     ($267.30)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053701               20053701     ($190.91)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053703               20053703     ($261.07)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053707               20053707     ($290.78)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053708               20053708     ($334.77)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053732               20053732     ($281.07)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053736               20053736     ($319.65)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053737               20053737     ($306.35)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053750               20053750     ($373.33)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053752               20053752     ($330.89)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053753               20053753     ($333.26)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053758               20053758     ($345.71)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053759               20053759     ($541.97)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053767               20053767     ($72.28)      CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053776               20053776     ($283.79)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053789               20053789     ($1,286.67)   CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   20053814               20053814     ($1,433.22)   CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/24/2019   ZBA-SWEEP TRANSFER F                $58,132.93    SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20051948               20051948     ($674.71)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20051989               20051989     ($376.42)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052090               20052090     ($555.18)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052109               20052109     ($736.26)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052110               20052110     ($509.96)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052140               20052140     ($604.45)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052183               20052183     ($59.13)      CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052799               20052799     ($326.94)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052840               20052840     ($94.16)      CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052841               20052841     ($22.65)      CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052842               20052842     ($102.32)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052860               20052860     ($214.46)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052873               20052873     ($463.20)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052885               20052885     ($659.85)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052889               20052889     ($523.64)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052899               20052899     ($506.63)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052913               20052913     ($403.07)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052925               20052925     ($490.83)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052957               20052957     ($531.35)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052965               20052965     ($515.32)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20052985               20052985     ($475.94)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053001               20053001     ($623.61)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053004               20053004     ($561.60)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053009               20053009     ($535.70)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053044               20053044     ($423.13)     CHECK PAID           Check




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Norpac Foods, Inc. (Consolidated)                                                                                                                   UST-14A
Signature Bank                                                                                                         Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                    Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference                Additional   Amount          Description          Type    Text
Number     Number                                                                         Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053062               20053062     ($503.77)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053080               20053080     ($702.55)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053083               20053083     ($936.23)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053084               20053084     ($495.71)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053110               20053110     ($542.41)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053120               20053120     ($164.46)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053123               20053123     ($253.61)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053192               20053192     ($542.56)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053204               20053204     ($513.45)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053205               20053205     ($627.86)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053221               20053221     ($598.46)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053228               20053228     ($601.57)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053269               20053269     ($418.71)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053272               20053272     ($466.10)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053276               20053276     ($225.56)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053280               20053280     ($506.63)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053295               20053295     ($466.19)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053297               20053297     ($650.33)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053300               20053300     ($279.99)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053306               20053306     ($477.75)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053308               20053308     ($437.07)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053362               20053362     ($474.13)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053368               20053368     ($672.20)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053386               20053386     ($366.98)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053396               20053396     ($363.09)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053431               20053431     ($258.19)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053442               20053442     ($467.44)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053456               20053456     ($464.45)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053482               20053482     ($583.66)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053510               20053510     ($580.36)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053529               20053529     ($483.68)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053560               20053560     ($225.92)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053563               20053563     ($339.18)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053572               20053572     ($560.38)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053576               20053576     ($398.03)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053589               20053589     ($284.69)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053590               20053590     ($185.44)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053614               20053614     ($231.63)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053639               20053639     ($299.94)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053640               20053640     ($469.21)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053711               20053711     ($319.05)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053731               20053731     ($777.69)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053741               20053741     ($231.58)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053765               20053765     ($391.34)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053782               20053782     ($281.80)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053791               20053791     ($205.22)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053797               20053797     ($104.86)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053798               20053798     ($154.74)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053807               20053807     ($65.00)        CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053810               20053810     ($101.87)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   20053811               20053811     ($37.82)        CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   KRONOS SAASHR, INC.    1            ($4,165.61)     OUTGOING WIRE        Wire    REF# 20190925B6B7261F001721TO: KRONOS SAASHR, INC.   ABA: 042000314BANK: FIFTH
                                                                                                                                                    THIRD CINCI       ACCT# 7146798843
26013576 XXXXXX8760 Checking          NORPAC PAYROLL   9/25/2019 KRONOS SAASHR, INC.      1            ($594,974.75)   OUTGOING WIRE        Wire    REF# 20190925B6B7261F001720TO: KRONOS SAASHR, INC.   ABA: 042000314BANK: FIFTH
                                                                                                                                                    THIRD CINCI       ACCT# 7146798843
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/25/2019   ZBA-SWEEP TRANSFER F                $630,921.41     SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20052032               20052032     ($446.93)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20052082               20052082     ($440.47)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20052450               20052450     ($60.12)        CHECK PAID           Check




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Norpac Foods, Inc. (Consolidated)                                                                                                                UST-14A
Signature Bank                                                                                                      Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                 Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference                Additional   Amount       Description          Type    Text
Number     Number                                                                         Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20052453               20052453     ($629.84)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20052918               20052918     ($333.16)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20052942               20052942     ($488.75)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20052962               20052962     ($305.92)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20052998               20052998     ($422.09)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053022               20053022     ($486.25)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053027               20053027     ($489.32)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053045               20053045     ($484.83)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053054               20053054     ($593.28)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053112               20053112     ($592.06)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053175               20053175     ($587.80)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053187               20053187     ($405.99)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053224               20053224     ($385.74)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053409               20053409     ($578.40)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053457               20053457     ($333.48)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053491               20053491     ($161.07)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053512               20053512     ($520.88)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053567               20053567     ($498.18)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053568               20053568     ($356.02)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053569               20053569     ($509.86)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053592               20053592     ($503.51)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053634               20053634     ($448.64)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053637               20053637     ($402.90)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053654               20053654     ($364.12)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053683               20053683     ($237.79)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053743               20053743     ($145.61)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053803               20053803     ($117.49)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053804               20053804     ($87.14)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053805               20053805     ($93.33)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053806               20053806     ($121.62)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20053808               20053808     ($545.00)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   20054743               20054743     ($169.17)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/26/2019   ZBA-SWEEP TRANSFER F                $13,346.76   SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20052028               20052028     ($170.31)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20052151               20052151     ($18.30)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20052230               20052230     ($31.64)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20052282               20052282     ($896.75)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20052747               20052747     ($339.03)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20052786               20052786     ($370.39)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20052875               20052875     ($514.69)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20052938               20052938     ($608.49)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053014               20053014     ($505.49)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053033               20053033     ($894.84)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053070               20053070     ($765.42)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053074               20053074     ($434.74)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053138               20053138     ($449.67)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053237               20053237     ($416.49)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053282               20053282     ($488.83)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053334               20053334     ($680.93)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053393               20053393     ($391.83)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053394               20053394     ($391.83)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053462               20053462     ($457.67)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053476               20053476     ($537.87)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053513               20053513     ($357.81)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053528               20053528     ($538.82)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053606               20053606     ($231.06)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053691               20053691     ($308.95)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053728               20053728     ($340.02)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053761               20053761     ($275.24)    CHECK PAID           Check




                                                                     Case 19-62584-pcm11                            Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                UST-14A
Signature Bank                                                                                                      Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                 Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference                Additional   Amount       Description          Type    Text
Number     Number                                                                         Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053801               20053801     ($232.89)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053802               20053802     ($87.84)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053809               20053809     ($122.55)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053816               20053816     ($87.71)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20053874               20053874     ($459.90)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20054018               20054018     ($533.76)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20054111               20054111     ($315.58)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20054168               20054168     ($715.05)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20054176               20054176     ($425.24)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20054188               20054188     ($324.04)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20054190               20054190     ($577.35)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20054451               20054451     ($604.94)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   20054493               20054493     ($435.08)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/27/2019   ZBA-SWEEP TRANSFER F                $16,339.04   SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   600                    600          ($349.68)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   3918                   3918         ($508.95)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20051964               20051964     ($413.75)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052002               20052002     ($18.31)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052067               20052067     ($487.25)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052171               20052171     ($455.94)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052235               20052235     ($774.85)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052292               20052292     ($377.02)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052444               20052444     ($60.15)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052447               20052447     ($60.13)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052494               20052494     ($544.30)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052801               20052801     ($362.25)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052838               20052838     ($370.03)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052871               20052871     ($282.51)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052878               20052878     ($353.61)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052880               20052880     ($506.31)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052906               20052906     ($592.06)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052926               20052926     ($520.82)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20052941               20052941     ($510.20)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053006               20053006     ($178.65)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053029               20053029     ($489.15)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053047               20053047     ($756.04)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053063               20053063     ($325.70)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053067               20053067     ($603.36)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053124               20053124     ($297.61)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053129               20053129     ($273.99)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053131               20053131     ($907.69)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053140               20053140     ($282.46)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053153               20053153     ($440.14)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053166               20053166     ($83.20)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053208               20053208     ($486.65)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053220               20053220     ($215.00)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053234               20053234     ($339.50)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053244               20053244     ($568.34)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053260               20053260     ($258.71)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053283               20053283     ($421.07)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053289               20053289     ($367.11)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053301               20053301     ($491.07)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053302               20053302     ($483.93)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053336               20053336     ($673.89)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053427               20053427     ($454.05)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053432               20053432     ($450.75)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053447               20053447     ($592.07)    CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053515               20053515     ($83.20)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053553               20053553     ($639.42)    CHECK PAID           Check




                                                                     Case 19-62584-pcm11                            Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053619    20053619     ($353.89)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053628    20053628     ($48.01)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053641    20053641     ($359.10)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053650    20053650     ($346.71)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053651    20053651     ($194.27)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053658    20053658     ($322.28)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053680    20053680     ($373.04)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053681    20053681     ($265.68)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053699    20053699     ($325.02)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053702    20053702     ($295.06)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053705    20053705     ($169.65)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053717    20053717     ($310.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053725    20053725     ($205.23)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053745    20053745     ($335.44)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053780    20053780     ($339.31)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053783    20053783     ($1,408.46)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053815    20053815     ($80.92)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053818    20053818     ($333.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053819    20053819     ($351.47)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053820    20053820     ($426.22)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053821    20053821     ($428.74)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053825    20053825     ($425.24)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053827    20053827     ($441.12)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053828    20053828     ($414.92)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053830    20053830     ($208.67)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053832    20053832     ($561.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053833    20053833     ($495.15)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053834    20053834     ($520.88)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053838    20053838     ($539.65)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053840    20053840     ($383.71)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053841    20053841     ($452.73)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053845    20053845     ($412.56)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053849    20053849     ($439.23)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053850    20053850     ($344.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053851    20053851     ($426.22)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053852    20053852     ($560.73)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053855    20053855     ($397.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053859    20053859     ($455.91)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053860    20053860     ($470.19)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053862    20053862     ($544.06)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053867    20053867     ($452.66)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053871    20053871     ($505.31)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053872    20053872     ($809.92)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053873    20053873     ($509.89)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053876    20053876     ($337.77)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053879    20053879     ($439.43)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053880    20053880     ($508.38)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053882    20053882     ($402.21)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053884    20053884     ($210.54)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053889    20053889     ($430.11)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053890    20053890     ($441.18)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053892    20053892     ($416.01)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053893    20053893     ($416.55)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053894    20053894     ($428.68)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053895    20053895     ($461.98)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053896    20053896     ($567.97)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053897    20053897     ($490.00)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053900    20053900     ($152.12)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053902    20053902     ($647.02)     CHECK PAID       Check




                                                                     Case 19-62584-pcm11                  Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053903    20053903     ($1,286.70)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053904    20053904     ($581.49)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053905    20053905     ($288.04)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053908    20053908     ($858.13)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053909    20053909     ($197.55)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053911    20053911     ($432.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053915    20053915     ($292.00)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053917    20053917     ($675.94)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053919    20053919     ($427.09)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053920    20053920     ($399.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053921    20053921     ($438.31)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053922    20053922     ($364.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053923    20053923     ($430.24)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053924    20053924     ($166.08)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053925    20053925     ($400.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053929    20053929     ($715.12)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053930    20053930     ($866.38)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053931    20053931     ($301.09)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053933    20053933     ($1,378.32)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053934    20053934     ($430.11)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053935    20053935     ($453.56)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053937    20053937     ($415.99)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053938    20053938     ($566.83)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053939    20053939     ($389.13)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053940    20053940     ($478.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053941    20053941     ($508.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053945    20053945     ($412.88)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053946    20053946     ($412.10)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053947    20053947     ($436.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053948    20053948     ($591.67)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053949    20053949     ($441.19)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053950    20053950     ($414.92)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053951    20053951     ($236.43)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053952    20053952     ($830.92)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053953    20053953     ($201.83)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053957    20053957     ($451.33)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053958    20053958     ($721.47)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053959    20053959     ($121.62)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053964    20053964     ($428.70)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053966    20053966     ($429.50)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053967    20053967     ($568.71)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053971    20053971     ($424.77)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053974    20053974     ($382.24)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053975    20053975     ($417.41)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053976    20053976     ($284.65)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053977    20053977     ($560.69)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053982    20053982     ($441.18)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053983    20053983     ($861.21)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053985    20053985     ($499.59)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053986    20053986     ($428.74)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053987    20053987     ($229.21)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053988    20053988     ($574.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053989    20053989     ($465.94)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053990    20053990     ($410.84)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20053999    20053999     ($414.92)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054000    20054000     ($445.37)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054005    20054005     ($419.20)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054006    20054006     ($444.25)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054008    20054008     ($422.55)     CHECK PAID       Check




                                                                     Case 19-62584-pcm11                  Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054011    20054011     ($612.22)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054012    20054012     ($412.56)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054013    20054013     ($479.64)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054014    20054014     ($349.83)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054017    20054017     ($430.10)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054021    20054021     ($414.12)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054022    20054022     ($887.88)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054023    20054023     ($771.48)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054024    20054024     ($308.45)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054028    20054028     ($768.18)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054029    20054029     ($680.33)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054031    20054031     ($417.80)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054032    20054032     ($567.48)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054033    20054033     ($423.60)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054036    20054036     ($260.29)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054039    20054039     ($601.80)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054040    20054040     ($334.12)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054042    20054042     ($569.27)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054043    20054043     ($272.88)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054046    20054046     ($591.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054047    20054047     ($407.44)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054048    20054048     ($516.10)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054049    20054049     ($632.90)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054050    20054050     ($560.23)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054051    20054051     ($596.28)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054054    20054054     ($485.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054055    20054055     ($473.87)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054056    20054056     ($559.70)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054057    20054057     ($543.50)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054058    20054058     ($736.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054061    20054061     ($346.90)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054063    20054063     ($449.29)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054065    20054065     ($489.01)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054066    20054066     ($207.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054067    20054067     ($414.90)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054068    20054068     ($430.12)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054070    20054070     ($430.10)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054071    20054071     ($779.03)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054074    20054074     ($365.50)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054075    20054075     ($428.69)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054077    20054077     ($441.69)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054079    20054079     ($439.73)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054081    20054081     ($521.07)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054084    20054084     ($574.14)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054086    20054086     ($438.37)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054087    20054087     ($1,337.94)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054088    20054088     ($420.07)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054089    20054089     ($378.53)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054091    20054091     ($583.99)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054092    20054092     ($365.60)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054093    20054093     ($516.56)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054094    20054094     ($335.60)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054095    20054095     ($275.96)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054097    20054097     ($352.50)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054098    20054098     ($518.82)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054099    20054099     ($377.67)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054100    20054100     ($521.07)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054101    20054101     ($352.12)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054102    20054102     ($319.56)     CHECK PAID       Check




                                                                     Case 19-62584-pcm11                  Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054104    20054104     ($392.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054105    20054105     ($365.60)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054107    20054107     ($478.38)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054108    20054108     ($390.15)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054109    20054109     ($675.45)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054114    20054114     ($437.52)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054115    20054115     ($365.60)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054116    20054116     ($451.81)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054117    20054117     ($325.20)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054118    20054118     ($472.19)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054119    20054119     ($315.66)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054123    20054123     ($500.23)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054124    20054124     ($548.16)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054126    20054126     ($617.78)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054127    20054127     ($710.95)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054129    20054129     ($472.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054130    20054130     ($413.48)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054131    20054131     ($536.56)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054139    20054139     ($322.91)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054141    20054141     ($695.04)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054146    20054146     ($441.43)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054147    20054147     ($516.38)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054150    20054150     ($557.06)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054151    20054151     ($536.57)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054152    20054152     ($572.43)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054153    20054153     ($558.70)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054157    20054157     ($548.89)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054160    20054160     ($866.86)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054161    20054161     ($866.86)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054162    20054162     ($620.46)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054163    20054163     ($376.85)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054164    20054164     ($609.22)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054165    20054165     ($549.51)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054167    20054167     ($424.87)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054169    20054169     ($602.59)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054170    20054170     ($648.65)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054171    20054171     ($670.67)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054172    20054172     ($628.46)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054179    20054179     ($623.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054182    20054182     ($364.91)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054183    20054183     ($304.19)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054187    20054187     ($407.71)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054191    20054191     ($523.16)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054192    20054192     ($1,025.88)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054193    20054193     ($266.59)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054195    20054195     ($585.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054196    20054196     ($598.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054197    20054197     ($539.91)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054198    20054198     ($444.78)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054199    20054199     ($615.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054200    20054200     ($826.83)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054203    20054203     ($702.51)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054207    20054207     ($399.31)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054208    20054208     ($542.76)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054209    20054209     ($263.25)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054211    20054211     ($473.44)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054212    20054212     ($554.09)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054217    20054217     ($572.28)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054218    20054218     ($500.21)     CHECK PAID       Check




                                                                     Case 19-62584-pcm11                  Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                UST-14A
Signature Bank                                                                                          Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                     Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount      Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054219    20054219     ($379.00)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054221    20054221     ($704.90)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054223    20054223     ($712.03)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054226    20054226     ($327.80)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054228    20054228     ($376.39)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054229    20054229     ($379.98)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054230    20054230     ($119.43)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054231    20054231     ($466.91)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054232    20054232     ($440.72)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054233    20054233     ($343.58)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054234    20054234     ($530.85)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054235    20054235     ($530.88)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054237    20054237     ($415.74)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054238    20054238     ($603.61)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054240    20054240     ($354.52)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054241    20054241     ($559.61)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054244    20054244     ($449.40)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054245    20054245     ($521.07)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054246    20054246     ($544.70)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054247    20054247     ($295.68)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054249    20054249     ($372.67)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054251    20054251     ($372.67)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054253    20054253     ($585.26)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054254    20054254     ($592.75)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054256    20054256     ($566.15)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054258    20054258     ($442.03)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054259    20054259     ($264.83)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054263    20054263     ($715.20)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054264    20054264     ($579.81)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054265    20054265     ($263.91)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054268    20054268     ($435.06)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054269    20054269     ($757.00)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054271    20054271     ($613.86)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054272    20054272     ($516.25)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054274    20054274     ($693.03)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054275    20054275     ($551.65)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054277    20054277     ($986.41)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054278    20054278     ($245.87)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054282    20054282     ($489.94)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054283    20054283     ($678.54)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054284    20054284     ($521.07)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054287    20054287     ($532.93)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054290    20054290     ($352.11)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054293    20054293     ($832.41)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054294    20054294     ($332.10)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054295    20054295     ($645.19)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054296    20054296     ($788.08)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054297    20054297     ($325.19)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054299    20054299     ($363.21)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054301    20054301     ($613.63)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054304    20054304     ($577.48)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054306    20054306     ($618.15)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054308    20054308     ($413.21)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054311    20054311     ($283.80)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054312    20054312     ($451.71)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054313    20054313     ($479.58)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054314    20054314     ($337.21)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054315    20054315     ($516.24)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054316    20054316     ($363.19)   CHECK PAID       Check




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Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054320    20054320     ($622.05)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054321    20054321     ($385.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054323    20054323     ($200.18)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054324    20054324     ($377.68)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054325    20054325     ($489.87)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054326    20054326     ($438.30)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054327    20054327     ($539.53)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054329    20054329     ($489.87)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054331    20054331     ($593.15)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054332    20054332     ($389.08)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054333    20054333     ($521.07)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054334    20054334     ($315.57)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054336    20054336     ($685.04)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054343    20054343     ($550.97)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054344    20054344     ($507.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054346    20054346     ($390.07)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054347    20054347     ($435.62)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054348    20054348     ($979.98)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054349    20054349     ($458.87)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054350    20054350     ($256.28)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054352    20054352     ($533.50)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054356    20054356     ($630.76)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054358    20054358     ($427.64)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054360    20054360     ($260.93)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054362    20054362     ($521.12)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054364    20054364     ($552.28)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054365    20054365     ($328.26)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054366    20054366     ($561.36)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054367    20054367     ($588.46)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054368    20054368     ($619.98)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054369    20054369     ($354.61)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054371    20054371     ($604.29)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054372    20054372     ($572.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054374    20054374     ($372.53)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054377    20054377     ($494.79)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054379    20054379     ($462.88)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054380    20054380     ($486.21)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054381    20054381     ($556.41)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054384    20054384     ($804.15)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054385    20054385     ($393.23)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054386    20054386     ($562.31)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054387    20054387     ($649.57)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054388    20054388     ($446.93)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054389    20054389     ($431.70)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054390    20054390     ($528.10)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054391    20054391     ($877.21)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054393    20054393     ($550.26)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054394    20054394     ($340.04)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054395    20054395     ($623.61)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054401    20054401     ($501.47)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054404    20054404     ($315.57)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054406    20054406     ($503.55)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054407    20054407     ($1,002.53)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054408    20054408     ($422.72)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054410    20054410     ($568.51)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054411    20054411     ($536.74)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054413    20054413     ($629.03)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054414    20054414     ($193.28)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054419    20054419     ($536.58)     CHECK PAID       Check




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Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054420    20054420     ($402.86)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054423    20054423     ($281.30)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054424    20054424     ($613.67)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054425    20054425     ($590.51)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054426    20054426     ($590.24)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054427    20054427     ($428.53)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054428    20054428     ($244.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054431    20054431     ($441.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054432    20054432     ($536.58)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054434    20054434     ($275.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054435    20054435     ($654.96)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054436    20054436     ($601.16)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054439    20054439     ($302.08)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054441    20054441     ($281.66)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054442    20054442     ($377.68)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054444    20054444     ($340.03)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054445    20054445     ($327.68)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054448    20054448     ($584.67)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054449    20054449     ($572.44)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054454    20054454     ($556.45)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054458    20054458     ($244.97)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054461    20054461     ($613.67)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054463    20054463     ($365.61)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054464    20054464     ($550.27)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054465    20054465     ($294.83)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054466    20054466     ($572.30)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054468    20054468     ($412.09)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054469    20054469     ($585.76)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054472    20054472     ($496.02)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054474    20054474     ($290.35)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054476    20054476     ($602.58)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054480    20054480     ($651.59)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054481    20054481     ($381.33)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054482    20054482     ($412.54)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054483    20054483     ($498.17)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054485    20054485     ($440.72)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054486    20054486     ($366.69)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054487    20054487     ($365.61)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054488    20054488     ($458.91)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054490    20054490     ($363.20)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054494    20054494     ($451.33)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054496    20054496     ($340.05)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054497    20054497     ($361.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054500    20054500     ($369.79)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054507    20054507     ($294.34)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054511    20054511     ($377.88)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054512    20054512     ($585.76)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054514    20054514     ($352.12)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054515    20054515     ($372.40)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054516    20054516     ($528.85)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054517    20054517     ($441.39)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054519    20054519     ($617.79)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054521    20054521     ($596.05)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054526    20054526     ($650.98)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054530    20054530     ($377.15)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054531    20054531     ($328.26)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054534    20054534     ($1,102.80)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054535    20054535     ($155.67)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054537    20054537     ($530.37)     CHECK PAID       Check




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Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054544    20054544     ($490.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054549    20054549     ($291.60)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054550    20054550     ($324.77)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054553    20054553     ($466.77)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054554    20054554     ($383.87)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054557    20054557     ($599.51)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054559    20054559     ($355.26)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054561    20054561     ($369.30)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054563    20054563     ($233.00)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054566    20054566     ($366.32)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054570    20054570     ($365.24)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054572    20054572     ($546.64)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054573    20054573     ($292.14)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054574    20054574     ($329.84)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054576    20054576     ($477.98)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054577    20054577     ($294.93)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054578    20054578     ($695.85)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054579    20054579     ($622.47)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054580    20054580     ($486.87)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054581    20054581     ($131.16)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054583    20054583     ($509.83)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054584    20054584     ($314.72)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054585    20054585     ($458.48)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054586    20054586     ($458.47)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054588    20054588     ($316.13)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054589    20054589     ($556.42)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054590    20054590     ($607.84)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054591    20054591     ($461.21)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054592    20054592     ($431.74)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054593    20054593     ($423.77)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054595    20054595     ($352.27)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054596    20054596     ($313.19)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054597    20054597     ($105.19)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054598    20054598     ($316.11)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054601    20054601     ($83.47)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054602    20054602     ($371.57)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054603    20054603     ($466.76)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054607    20054607     ($305.13)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054608    20054608     ($721.71)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054609    20054609     ($230.16)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054610    20054610     ($89.73)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054612    20054612     ($494.76)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054613    20054613     ($710.75)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054615    20054615     ($521.22)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054616    20054616     ($62.12)      CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054619    20054619     ($545.62)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054620    20054620     ($107.80)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054624    20054624     ($360.27)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054627    20054627     ($337.61)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054628    20054628     ($682.98)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054629    20054629     ($466.76)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054630    20054630     ($1,179.95)   CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054631    20054631     ($213.99)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054632    20054632     ($261.28)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054633    20054633     ($323.73)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054637    20054637     ($385.31)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054641    20054641     ($382.60)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054642    20054642     ($356.38)     CHECK PAID       Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL   9/30/2019   20054643    20054643     ($458.48)     CHECK PAID       Check




                                                                     Case 19-62584-pcm11                  Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                     UST-14A
Signature Bank                                                                                                           Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                      Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name        Post Date Reference                Additional   Amount          Description          Type    Text
Number     Number                                                                           Reference
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054645               20054645     ($361.38)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054646               20054646     ($321.78)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054647               20054647     ($385.45)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054648               20054648     ($249.41)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054650               20054650     ($411.95)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054653               20054653     ($355.55)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054654               20054654     ($381.73)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054656               20054656     ($427.26)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054657               20054657     ($443.19)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054658               20054658     ($397.31)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054660               20054660     ($424.20)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054662               20054662     ($1,158.45)     CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054663               20054663     ($174.20)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054664               20054664     ($418.09)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054665               20054665     ($454.83)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054666               20054666     ($401.98)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054667               20054667     ($105.19)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054670               20054670     ($288.80)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054671               20054671     ($306.28)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054672               20054672     ($466.43)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054675               20054675     ($501.68)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054678               20054678     ($405.26)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054679               20054679     ($374.34)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054680               20054680     ($395.42)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054684               20054684     ($314.20)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054688               20054688     ($359.67)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054689               20054689     ($460.55)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054690               20054690     ($570.08)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054691               20054691     ($344.36)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054692               20054692     ($326.38)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054695               20054695     ($375.13)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054698               20054698     ($395.42)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054700               20054700     ($477.98)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054701               20054701     ($562.18)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054702               20054702     ($381.71)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054703               20054703     ($777.28)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054704               20054704     ($399.38)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054713               20054713     ($668.54)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054714               20054714     ($359.64)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054717               20054717     ($620.79)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054720               20054720     ($401.29)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054721               20054721     ($322.12)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054722               20054722     ($637.27)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054723               20054723     ($500.72)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20054724               20054724     ($369.19)       CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   20954457               20954457     ($49.42)        CHECK PAID           Check
26013576   XXXXXX8760   Checking      NORPAC PAYROLL     9/30/2019   ZBA-SWEEP TRANSFER F                $261,024.57     SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/6/2019    PACKAGING CORPORATIO   1            ($50,000.00)    OUTGOING WIRE        Wire    REF# 20190906B6B7261F002635TO: PACKAGING CORPORATION OF AMERICA ABA: 071000288BANK:
                                                                                                                                                      BMO HARRIS BANK NA        ACCT# 3713005
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/6/2019                                        $50,000.00      TRANSFER CREDIT              TRANSFER CR 0TRANSFER FROM:    XXXXXX8906
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/16/2019   1001                   1001         ($78,668.53)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/16/2019   1003                   1003         ($39,554.47)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/16/2019   1004                   1004         ($71,188.05)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/16/2019   1011                   1011         ($127,978.67)   CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/16/2019   1013                   1013         ($46,434.44)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/16/2019   1015                   1015         ($78,580.08)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/16/2019   1017                   1017         ($45,116.83)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/16/2019   1018                   1018         ($34,924.76)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/16/2019   1019                   1019         ($23,355.92)    CHECK PAID           Check




                                                                       Case 19-62584-pcm11                               Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                     UST-14A
Signature Bank                                                                                                           Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                      Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name        Post Date Reference                Additional   Amount          Description          Type    Text
Number     Number                                                                           Reference
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/16/2019   ZBA-SWEEP TRANSFER F                $545,801.75     SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM        8906
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/17/2019   1002                   1002         ($44,542.72)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/17/2019   1005                   1005         ($95,809.70)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/17/2019   1009                   1009         ($48,548.00)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/17/2019   1010                   1010         ($50,768.66)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/17/2019   1014                   1014         ($183,489.45)   CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/17/2019   1020                   1020         ($1,050.96)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/17/2019   1022                   1022         ($25,265.22)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/17/2019   1025                   1025         ($1,974.23)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/17/2019   1027                   1027         ($679.22)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/17/2019   1031                   1031         ($8,092.50)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/17/2019   1035                   1035         ($1,437.12)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/17/2019   1036                   1036         ($557.00)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/17/2019   1039                   1039         ($7,495.83)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/17/2019   ZBA-SWEEP TRANSFER F                $469,710.61     SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM        8906
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/18/2019   1006                   1006         ($23,790.44)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/18/2019   1016                   1016         ($37,085.13)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/18/2019   ZBA-SWEEP TRANSFER F                $60,875.57      SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM        8906
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/19/2019   1007                   1007         ($10,850.09)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/19/2019   1024                   1024         ($3,654.77)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/19/2019   1032                   1032         ($195.68)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/19/2019   ZBA-SWEEP TRANSFER F                $14,700.54      SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM        8906
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/20/2019   1026                   1026         ($1,513.28)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/20/2019   1034                   1034         ($3,173.70)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/20/2019   1038                   1038         ($263.57)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/20/2019   1041                   1041         ($26,881.60)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/20/2019   ZBA-SWEEP TRANSFER F                $31,832.15      SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM        8906
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/23/2019   1008                   1008         ($58,080.50)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/23/2019   1012                   1012         ($26,714.19)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/23/2019   1023                   1023         ($297.13)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/23/2019   1029                   1029         ($13.05)        CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/23/2019   ZBA-SWEEP TRANSFER F                $85,104.87      SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM        8906
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/25/2019   1043                   1043         ($592.06)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/25/2019   ZBA-SWEEP TRANSFER F                $592.06         SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM        8906
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/26/2019   WA DEPT REVENUETAX P                ($2,116.31)     ACH DEBIT            Ach     WA DEPT REVENUETAX PYMT 3365180
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/26/2019   1045                   1045         ($76,783.77)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/26/2019   1063                   1063         ($1,379.28)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/26/2019   1065                   1065         ($148.88)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/26/2019   1073                   1073         ($1,901.07)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/26/2019   1074                   1074         ($1,028.72)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/26/2019   1079                   1079         ($2,964.91)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/26/2019   1086                   1086         ($34,320.90)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/26/2019   ZBA-SWEEP TRANSFER F                $120,643.84     SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM        8906
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1047                   1047         ($1,060.76)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1048                   1048         ($343.75)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1050                   1050         ($3,144.27)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1053                   1053         ($146.12)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1054                   1054         ($288.70)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1056                   1056         ($105.85)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1057                   1057         ($284.11)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1058                   1058         ($621.88)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1059                   1059         ($10,281.60)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1060                   1060         ($197.25)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1062                   1062         ($385.42)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1068                   1068         ($8,092.50)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1071                   1071         ($2,380.00)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1075                   1075         ($7,254.96)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1080                   1080         ($822.18)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1081                   1081         ($7,945.50)     CHECK PAID           Check




                                                                       Case 19-62584-pcm11                               Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                     UST-14A
Signature Bank                                                                                                           Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                      Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name        Post Date Reference                Additional   Amount          Description          Type    Text
Number     Number                                                                           Reference
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1082                   1082         ($647.40)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   1085                   1085         ($200.00)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/27/2019   ZBA-SWEEP TRANSFER F                $44,202.25      SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM         8906
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   1046                   1046         ($141.41)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   1051                   1051         ($6,401.23)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   1052                   1052         ($446.69)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   1061                   1061         ($3,580.86)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   1064                   1064         ($2,057.10)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   1066                   1066         ($1,885.20)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   1067                   1067         ($460.83)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   1069                   1069         ($102.26)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   1076                   1076         ($340.87)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   1077                   1077         ($3,222.39)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   1088                   1088         ($2,457.02)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   1089                   1089         ($29,999.48)    CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   1111                   1111         ($1,853.18)     CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   1123                   1123         ($394.40)       CHECK PAID           Check
26013576   XXXXXX8795   Checking      QUINCY OPERATING   9/30/2019   ZBA-SWEEP TRANSFER F                $53,342.92      SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM         8906
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/17/2019   200050000              200050000    ($230.71)       CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/17/2019   ZBA-SWEEP TRANSFER F                $230.71         SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/18/2019   KRONOS SAASHR, INC.    1            ($500,894.19)   OUTGOING WIRE        Wire    REF# 20190918B6B7261F002189TO: KRONOS SAASHR, INC.   ABA: 042000314BANK: FIFTH
                                                                                                                                                      THIRD CINCI       ACCT# 7146798843
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/18/2019   ZBA-SWEEP TRANSFER F                $500,894.19     SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM          8906
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   50084                  50084        ($2,242.81)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   20050062               20050062     ($1,525.04)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050002              200050002    ($1,298.45)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050004              200050004    ($1,846.52)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050005              200050005    ($1,326.11)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050012              200050012    ($573.67)       CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050014              200050014    ($1,442.73)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050015              200050015    ($2,317.67)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050016              200050016    ($2,093.54)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050017              200050017    ($1,372.28)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050018              200050018    ($1,920.16)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050019              200050019    ($2,319.42)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050020              200050020    ($1,368.33)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050021              200050021    ($1,287.16)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050022              200050022    ($1,625.23)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050023              200050023    ($1,730.99)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050024              200050024    ($1,394.59)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050025              200050025    ($819.03)       CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050026              200050026    ($1,455.74)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050028              200050028    ($1,494.63)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050029              200050029    ($1,501.81)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050032              200050032    ($2,209.38)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050033              200050033    ($1,560.07)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050036              200050036    ($1,247.25)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050037              200050037    ($824.49)       CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050038              200050038    ($846.16)       CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050040              200050040    ($1,664.12)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050042              200050042    ($1,421.16)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050043              200050043    ($2,108.08)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050045              200050045    ($1,817.74)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050046              200050046    ($2,449.87)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050047              200050047    ($2,377.89)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050049              200050049    ($102.93)       CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050050              200050050    ($2,458.07)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050051              200050051    ($900.54)       CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL     9/23/2019   200050052              200050052    ($1,113.76)     CHECK PAID           Check




                                                                       Case 19-62584-pcm11                               Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                  UST-14A
Signature Bank                                                                                            Case Number:             Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                       Report Mo/Yr:            August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference     Additional   Amount        Description      Type    Text
Number     Number                                                              Reference
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050054   200050054    ($3,154.23)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050055   200050055    ($1,571.72)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050056   200050056    ($814.85)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050061   200050061    ($695.00)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050063   200050063    ($1,310.84)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050064   200050064    ($2,604.35)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050067   200050067    ($994.27)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050070   200050070    ($1,419.18)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050072   200050072    ($1,290.47)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050074   200050074    ($782.82)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050075   200050075    ($2,405.32)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050076   200050076    ($2,357.80)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050077   200050077    ($1,506.12)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050078   200050078    ($982.00)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050079   200050079    ($1,351.58)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050080   200050080    ($1,405.43)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050081   200050081    ($852.79)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050085   200050085    ($1,642.08)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050086   200050086    ($775.90)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050089   200050089    ($1,101.83)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050090   200050090    ($2,176.90)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050091   200050091    ($1,954.31)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050092   200050092    ($1,376.50)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050093   200050093    ($2,696.13)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050095   200050095    ($1,489.49)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050097   200050097    ($2,173.42)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050098   200050098    ($1,032.62)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050100   200050100    ($581.84)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050101   200050101    ($1,329.04)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050104   200050104    ($981.70)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050106   200050106    ($1,138.51)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050107   200050107    ($613.40)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050109   200050109    ($1,332.85)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050110   200050110    ($1,085.76)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050111   200050111    ($1,993.60)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050116   200050116    ($2,033.43)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050120   200050120    ($2,008.22)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050121   200050121    ($2,919.82)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050125   200050125    ($1,477.22)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050126   200050126    ($846.54)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050127   200050127    ($1,231.83)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050128   200050128    ($1,391.20)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050129   200050129    ($813.13)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050132   200050132    ($1,439.89)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050133   200050133    ($782.24)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050134   200050134    ($286.66)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050136   200050136    ($2,795.06)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050139   200050139    ($1,740.17)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050140   200050140    ($652.90)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050142   200050142    ($1,490.56)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050143   200050143    ($2,113.21)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050144   200050144    ($643.46)     CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050147   200050147    ($2,146.47)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050149   200050149    ($1,526.07)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050151   200050151    ($2,169.88)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050153   200050153    ($1,957.54)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050154   200050154    ($2,530.23)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050156   200050156    ($1,547.12)   CHECK PAID       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050160   200050160    ($860.30)     CHECK PAID       Check




                                                                     Case 19-62584-pcm11                  Doc 333         Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                 UST-14A
Signature Bank                                                                                                       Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                  Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference                Additional   Amount        Description          Type    Text
Number     Number                                                                         Reference
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050161              200050161    ($2,136.21)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050162              200050162    ($1,326.82)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050164              200050164    ($910.89)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050165              200050165    ($1,825.78)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050166              200050166    ($2,158.04)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050169              200050169    ($2,226.97)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050170              200050170    ($2,566.33)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050172              200050172    ($1,455.33)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050173              200050173    ($1,476.17)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050176              200050176    ($2,238.18)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   200050178              200050178    ($604.46)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   2000050048             2000050048   ($1,941.10)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/23/2019   ZBA-SWEEP TRANSFER F                $165,301.50   SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   20050138               20050138     ($1,007.99)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050001              200050001    ($1,287.91)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050007              200050007    ($1,595.59)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050039              200050039    ($1,862.52)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050041              200050041    ($1,676.31)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050053              200050053    ($1,386.59)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050057              200050057    ($1,318.97)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050058              200050058    ($2,098.16)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050060              200050060    ($2,173.02)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050083              200050083    ($1,415.99)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050087              200050087    ($1,426.70)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050096              200050096    ($778.49)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050103              200050103    ($1,354.77)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050108              200050108    ($1,554.39)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050130              200050130    ($1,489.49)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050141              200050141    ($1,234.67)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050152              200050152    ($1,405.63)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050155              200050155    ($1,579.04)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050158              200050158    ($438.28)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   200050177              200050177    ($1,976.72)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019                          200050023    $1,730.99     RETURNED CHECK       Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/24/2019   ZBA-SWEEP TRANSFER F                $27,330.24    SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/25/2019   200050008              200050008    ($1,049.56)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/25/2019   200050011              200050011    ($1,081.39)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/25/2019   200050059              200050059    ($1,593.58)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/25/2019   200050112              200050112    ($1,570.60)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/25/2019   200050114              200050114    ($1,576.41)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/25/2019   200050115              200050115    ($1,743.81)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/25/2019   200050117              200050117    ($1,604.48)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/25/2019   200050122              200050122    ($1,114.14)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/25/2019   200050131              200050131    ($340.51)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/25/2019   200050148              200050148    ($1,126.99)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/25/2019   200050180              200050180    ($257.43)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/25/2019   ZBA-SWEEP TRANSFER F                $13,058.90    SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/26/2019   200050030              200050030    ($1,617.14)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/26/2019   200050035              200050035    ($1,828.73)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/26/2019   200050094              200050094    ($1,329.19)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/26/2019   200050119              200050119    ($1,534.50)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/26/2019   200050179              200050179    ($180.61)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/26/2019   200050182              200050182    ($297.94)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/26/2019   ZBA-SWEEP TRANSFER F                $6,788.11     SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/27/2019   200050146              200050146    ($1,393.80)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/27/2019   200050159              200050159    ($1,164.78)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/27/2019   200050181              200050181    ($725.64)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/27/2019   200050183              200050183    ($656.36)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/27/2019   ZBA-SWEEP TRANSFER F                $3,940.58     SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906




                                                                     Case 19-62584-pcm11                             Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                 UST-14A
Signature Bank                                                                                                       Case Number:                 Lead: 19-62584-pcm11
UST-14A: Reciepts and Disbursements                                                                                  Report Mo/Yr:                August, 2019
9/01/2019- 9/30/2019

TRC        Account      Account Type Account Name      Post Date Reference                Additional   Amount        Description          Type    Text
Number     Number                                                                         Reference
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/30/2019   200050006              200050006    ($721.49)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/30/2019   200050013              200050013    ($104.87)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/30/2019   200050071              200050071    ($1,521.40)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/30/2019   200050099              200050099    ($1,563.24)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/30/2019   200050102              200050102    ($2,190.75)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/30/2019   200050135              200050135    ($1,854.17)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/30/2019   200050137              200050137    ($1,254.37)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/30/2019   200050157              200050157    ($1,484.00)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/30/2019   200050163              200050163    ($1,123.07)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/30/2019   200050171              200050171    ($2,376.68)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/30/2019   200050184              200050184    ($551.29)     CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/30/2019   200050185              200050185    ($1,730.99)   CHECK PAID           Check
26013576   XXXXXX8809   Checking      QUINCY PAYROLL   9/30/2019   ZBA-SWEEP TRANSFER F                $16,476.32    SWEEP TRANSFER IN            ZBA-SWEEP TRANSFER FROM   8906




                                                                     Case 19-62584-pcm11                             Doc 333             Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                         UST-14A
Wells Fargo                                                                                                                                                                             Case Number                       Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                      Report Mo/Yr                      August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                                   Opening      Closing      Running      BAI Type                                     Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name              Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                         Ref No      Bank Ref         Credit Amt   Debit Amt
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA090400000005   56128.73     0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            -55903.04    495        OUTGOING MONEY TRANSFER           0           IA009988282045   0            55903.04
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            -56128.73    495        OUTGOING MONEY TRANSFER           0           IA009988282073   0            225.69
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            -1711.69     475        CHECK PAID                        200000217   IA008314686368   0            743.83
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            -967.86      475        CHECK PAID                        200000220   IA008314686369   0            967.86
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA090600000009   1711.69      0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            -466.13      475        CHECK PAID                        200000219   IA008314969751   0            466.13
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA090900000005   466.13       0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            -1091.3      475        CHECK PAID                        200000218   IA008315139871   0            1091.3
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA091100000009   1091.3       0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            -951.48      475        CHECK PAID                        200000223   IA008515310786   0            951.48
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA091200000009   951.48       0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            -1126.72     475        CHECK PAID                        200000216   IA008315383671   0            1126.72
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA091300000009   1126.72      0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            -412.71      475        CHECK PAID                        200000221   IA008410502956   0            412.71
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA091900000009   412.71       0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            -1530.79     475        CHECK PAID                        200000222   IA008216559148   0            1530.79
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1017   COMMERCIAL DDA   HERMISTON FOODS, LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA093000000005   1530.79      0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -9008.64     475        CHECK PAID                        200003164   IA007646940171   0            748.96
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -9700.86     475        CHECK PAID                        200002870   IA008213645657   0            110.26
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -5950.92     475        CHECK PAID                        200003062   IA008213651980   0            1544.93
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -8259.68     475        CHECK PAID                        200003090   IA008213651987   0            874.33
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -7385.35     475        CHECK PAID                        200003213   IA008213775009   0            1434.43
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -2529.05     475        CHECK PAID                        401481      IA008314081899   0            2583
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -4405.99     475        CHECK PAID                        200003049   IA008547586916   0            1876.94
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -9725.04     475        CHECK PAID                        200002929   IA008774312167   0            24.18
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -9749.2      475        CHECK PAID                        200003117   IA008774312168   0            24.16
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -9590.6      475        CHECK PAID                        200003228   IA008774312190   0            581.96
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            53.95        475        CHECK PAID                        200003152   IA009930799275   0            1432.34
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA090300000007   9749.2       0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            1432.34      254        POSTING ERROR CORRECTION CREDIT   3152        IA009930797380   1432.34      0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            1486.29      254        POSTING ERROR CORRECTION CREDIT   10061085    IA009930802174   53.95        0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -484908.95   475        CHECK PAID                        401482      IA008358565046   0            592.06
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -479682.79   475        CHECK PAID                        10061080    IA008418831524   0            2710.73
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -483620.53   475        CHECK PAID                        401484      IA008471674515   0            1052.52
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -482568.01   475        CHECK PAID                        200002782   IA008471674548   0            1077.86
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -481490.15   475        CHECK PAID                        200003177   IA008471674549   0            1807.36
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -485049.46   475        CHECK PAID                        200002993   IA008471674550   0            140.51
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -484316.89   475        CHECK PAID                        401483      IA008745161326   0            696.36
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA090400000007   485049.46    0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -476972.06   495        OUTGOING MONEY TRANSFER           0           IA009988282003   0            476972.06
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -6357.12     475        CHECK PAID                        200002839   IA008418980731   0            1932.6
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -4424.52     475        CHECK PAID                        200003033   IA008418980732   0            1966.89
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -2457.63     475        CHECK PAID                        200003220   IA008418980733   0            2457.63
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA090500000009   6357.12      0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -3251.94     475        CHECK PAID                        200003126   IA001380684112   0            1584.56
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -1667.38     475        CHECK PAID                        200003320   IA001380684114   0            1667.38
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -107077.89   475        CHECK PAID                        200003385   IA001389640341   0            888.8
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -5097.84     475        CHECK PAID                        200003338   IA001389640499   0            308.73
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -4789.11     475        CHECK PAID                        200003308   IA003189408031   0            1537.17
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -5209.03     475        CHECK PAID                        200003299   IA003189408169   0            111.19
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -105264.63   475        CHECK PAID                        200003274   IA008113842675   0            924.72
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -59122.13    475        CHECK PAID                        200003334   IA008214260960   0            1686.66
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -45231.61    475        CHECK PAID                        200003276   IA008214263812   0            1774.79
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -99307.04    475        CHECK PAID                        200003323   IA008214263813   0            1068.03
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -8316.42     475        CHECK PAID                        200003291   IA008214263814   0            3107.39
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -86499.8     475        CHECK PAID                        200003272   IA008214263815   0            1374.3
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -26471.95    475        CHECK PAID                        200003422   IA008214263817   0            2067.98
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -34349.81    475        CHECK PAID                        200003396   IA008214263821   0            1930.88
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -111203.85   475        CHECK PAID                        500001579   IA008214263822   0            293.13
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -18097.93    475        CHECK PAID                        200003399   IA008214263823   0            2259.31
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -24403.97    475        CHECK PAID                        200003251   IA008214263824   0            2078.02
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC       USD        0            0            -13509.17    475        CHECK PAID                        200003332   IA008214277607   0            2512.74




                                                                                   Case 19-62584-pcm11                                Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                           UST-14A
Wells Fargo                                                                                                                                                                         Case Number             Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr            August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                           Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc               Ref No      Bank Ref         Credit Amt   Debit Amt
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -32418.93    475        CHECK PAID              200003384   IA008214277621   0            1959.9
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -85125.5     475        CHECK PAID              200003265   IA008214296196   0            1386.37
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -110910.72   475        CHECK PAID              200003300   IA008214296727   0            666.1
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -54044.46    475        CHECK PAID              200003418   IA008214296744   0            1741.74
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -111305.14   475        CHECK PAID              200003324   IA008214296745   0            101.29
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -98239.01    475        CHECK PAID              200003250   IA008314687909   0            1210.81
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -60807.03    475        CHECK PAID              200003411   IA008314687910   0            1684.9
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -94454.39    475        CHECK PAID              200003360   IA008314687912   0            1297.54
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -103405.95   475        CHECK PAID              200003314   IA008314687919   0            990.81
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -20230.99    475        CHECK PAID              200003416   IA008314687924   0            2133.06
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -10996.43    475        CHECK PAID              200003365   IA008314687935   0            2680.01
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -73573.18    475        CHECK PAID              200003258   IA008314687938   0            1534.12
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -65759.74    475        CHECK PAID              200003115   IA008314687941   0            1644.79
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -62463.83    475        CHECK PAID              200003309   IA008314687942   0            1656.8
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -48775.65    475        CHECK PAID              200003325   IA008314731603   0            1770.82
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -70492.61    475        CHECK PAID              200003264   IA008419113861   0            1551.4
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -79445.17    475        CHECK PAID              200003419   IA008419183516   0            1448.95
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -43456.82    475        CHECK PAID              200003266   IA008419183674   0            1775.9
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -102415.14   475        CHECK PAID              200003358   IA008419183760   0            1020.96
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -52302.72    475        CHECK PAID              200003412   IA008419184124   0            1760.16
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -55744.2     475        CHECK PAID              200003298   IA008419184665   0            1699.74
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -15838.62    475        CHECK PAID              200003259   IA008419184836   0            2329.45
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -36249.1     475        CHECK PAID              200003359   IA008419185918   0            1899.29
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -95741.85    475        CHECK PAID              200003346   IA008419186484   0            1287.46
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -57435.47    475        CHECK PAID              200003400   IA008419187359   0            1691.27
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -39898.75    475        CHECK PAID              200003392   IA008419189314   0            1794.27
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -80890.92    475        CHECK PAID              200003383   IA008419189596   0            1445.75
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -89194.35    475        CHECK PAID              200003343   IA008419189598   0            1344.28
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -82317.16    475        CHECK PAID              200003387   IA008419189937   0            1426.24
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -50542.56    475        CHECK PAID              200003313   IA008419190722   0            1766.91
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -41680.92    475        CHECK PAID              200003349   IA008419190783   0            1782.17
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -64114.95    475        CHECK PAID              200003262   IA008514561098   0            1651.12
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -90526.47    475        CHECK PAID              200003269   IA008514655518   0            1332.12
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -67386.63    475        CHECK PAID              200003301   IA008514700528   0            1626.89
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -100369.5    475        CHECK PAID              200003257   IA008514700529   0            1062.46
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -76543.74    475        CHECK PAID              200003344   IA008514700557   0            1476.05
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -75067.69    475        CHECK PAID              200003350   IA008514700558   0            1494.51
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -93156.85    475        CHECK PAID              200003277   IA008514700559   0            1305.1
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -77996.22    475        CHECK PAID              200003377   IA008514700560   0            1452.48
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -83739.13    475        CHECK PAID              200003382   IA008514700561   0            1421.97
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -91851.75    475        CHECK PAID              200003253   IA008514700582   0            1325.28
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -72039.06    475        CHECK PAID              200003292   IA008613723254   0            1546.45
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -22325.95    475        CHECK PAID              200003311   IA008714889895   0            2094.96
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -38104.48    475        CHECK PAID              200003252   IA008714889896   0            1855.38
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -30459.03    475        CHECK PAID              200003376   IA008714958188   0            1980.12
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -87850.07    475        CHECK PAID              200003317   IA008714975849   0            1350.27
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -104339.91   475        CHECK PAID              200003410   IA008714975851   0            933.96
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -109572.11   475        CHECK PAID              200003285   IA008810244061   0            820.65
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -68941.21    475        CHECK PAID              200003316   IA008810245704   0            1554.58
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -110244.62   475        CHECK PAID              200003348   IA008810252286   0            672.51
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -47004.83    475        CHECK PAID              200003303   IA008810379730   0            1773.22
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -97028.2     475        CHECK PAID              200003352   IA008810379731   0            1286.35
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -101394.18   475        CHECK PAID              200003306   IA008810379734   0            1024.68
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -28478.91    475        CHECK PAID              200003415   IA008810379735   0            2006.96
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -108751.46   475        CHECK PAID              200003370   IA008810379746   0            824.26
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -107927.2    475        CHECK PAID              200003405   IA008810379747   0            849.31
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -111381.21   475        CHECK PAID              200003021   IA008810379748   0            76.07
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -106189.09   475        CHECK PAID              200003373   IA008810381299   0            924.46
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT   0           IA090600000011   111381.21    0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -2584.96     475        CHECK PAID              200003381   IA001380684144   0            2584.96
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -88687.27    475        CHECK PAID              200002913   IA006386374226   0            606.21
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -4255.4      475        CHECK PAID              200003406   IA007646941745   0            1670.44
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -20729.96    475        CHECK PAID              200003386   IA008114030807   0            2162.65




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                         Case Number                       Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                      August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                     Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                         Ref No      Bank Ref         Credit Amt   Debit Amt
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -89535.6     475        CHECK PAID                        200003290   IA008114031997   0            397.63
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -90201.96    475        CHECK PAID                        200003372   IA008114031998   0            332.91
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -43869.66    475        CHECK PAID                        200003339   IA008114031999   0            1778.19
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -81993.29    475        CHECK PAID                        200003249   IA008114035360   0            1083.99
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -83075.2     475        CHECK PAID                        200002773   IA008114036614   0            1081.91
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -55376.52    475        CHECK PAID                        200002983   IA008114036615   0            1543.03
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -75013.56    475        CHECK PAID                        200003166   IA008114036616   0            1230.07
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -65781.21    475        CHECK PAID                        200003427   IA008114036617   0            1401.58
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -48987.9     475        CHECK PAID                        200003380   IA008114040314   0            1657.27
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -25014.44    475        CHECK PAID                        200003329   IA008158016893   0            2131.54
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -9295.94     475        CHECK PAID                        500003417   IA008158017003   0            2472.67
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -85080.67    475        CHECK PAID                        200003293   IA008158017008   0            965.73
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -31038.03    475        CHECK PAID                        200003305   IA008158017154   0            1937.58
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -27127.28    475        CHECK PAID                        200003336   IA008158017155   0            2112.84
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -86793.2     475        CHECK PAID                        200003389   IA008158017156   0            823.45
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -6823.27     475        CHECK PAID                        200003296   IA008158017157   0            2567.87
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -38479.58    475        CHECK PAID                        200003284   IA008214463355   0            1831.54
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -29100.45    475        CHECK PAID                        200003420   IA008214463358   0            1973.17
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -90657.07    475        CHECK PAID                        200003401   IA008214463980   0            144.15
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -22882.9     475        CHECK PAID                        200003423   IA008314822227   0            2152.94
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -68525.95    475        CHECK PAID                        200003367   IA008314945587   0            1364.84
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -13976.52    475        CHECK PAID                        200003330   IA008314994094   0            2316.71
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -45605.15    475        CHECK PAID                        200003275   IA008438650385   0            1735.49
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -61443.79    475        CHECK PAID                        200003109   IA008514827923   0            1492.56
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -50617.51    475        CHECK PAID                        200003304   IA008514827924   0            1629.61
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -76223.4     475        CHECK PAID                        200002920   IA008514827925   0            1209.84
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -52226.28    475        CHECK PAID                        200003403   IA008514932559   0            1608.77
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -58438.51    475        CHECK PAID                        200003331   IA008514932564   0            1521.15
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -69886.33    475        CHECK PAID                        200003241   IA008514932565   0            1360.38
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -90512.92    475        CHECK PAID                        200002874   IA008614135248   0            310.96
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -62927.07    475        CHECK PAID                        200003402   IA008674391347   0            1483.28
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -32962.02    475        CHECK PAID                        200003388   IA008674391348   0            1923.99
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -85969.75    475        CHECK PAID                        200003318   IA008674391384   0            889.08
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -88081.06    475        CHECK PAID                        200003248   IA008674391387   0            639.5
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -18567.31    475        CHECK PAID                        200003282   IA008674391555   0            2292.88
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -36648.04    475        CHECK PAID                        200003395   IA008674391556   0            1832.76
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -16274.43    475        CHECK PAID                        200003283   IA008674391557   0            2297.91
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -11659.81    475        CHECK PAID                        200003312   IA008674391558   0            2363.87
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -47330.63    475        CHECK PAID                        200003254   IA008674391559   0            1725.48
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -34815.28    475        CHECK PAID                        200003255   IA008674391560   0            1853.26
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -72523.44    475        CHECK PAID                        200003408   IA008674391609   0            1278.62
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -77422.71    475        CHECK PAID                        200003337   IA008674391610   0            1199.31
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -80909.3     475        CHECK PAID                        200003351   IA008674391884   0            1132.05
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -84114.94    475        CHECK PAID                        200003288   IA008674392624   0            1039.74
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -79777.25    475        CHECK PAID                        200003366   IA008674392625   0            1176.51
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -56917.36    475        CHECK PAID                        200003295   IA008674392626   0            1540.84
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -53833.49    475        CHECK PAID                        200003398   IA008674392627   0            1607.21
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -64379.63    475        CHECK PAID                        200003347   IA008674392631   0            1452.56
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -87441.56    475        CHECK PAID                        200003328   IA008715043748   0            648.36
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -89137.97    475        CHECK PAID                        200003379   IA008715101334   0            450.7
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -67161.11    475        CHECK PAID                        200003394   IA008810412598   0            1379.9
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -42091.47    475        CHECK PAID                        200003268   IA008835702292   0            1805.51
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -78600.74    475        CHECK PAID                        200003407   IA008835702294   0            1178.03
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -40285.96    475        CHECK PAID                        200003281   IA008835702299   0            1806.38
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -89869.05    475        CHECK PAID                        200003263   IA008835702327   0            333.45
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -73783.49    475        CHECK PAID                        200003322   IA008876442396   0            1260.05
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -59951.23    475        CHECK PAID                        200003260   IA008876442399   0            1512.72
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -71244.82    475        CHECK PAID                        200003327   IA008876442400   0            1358.49
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            475        CHECK PAID                        200001579   IA009930863783   0            293.13
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA090900000007   90657.07     0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            293.13       254        POSTING ERROR CORRECTION CREDIT   500001579   IA009930861942   293.13       0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -14952.39    475        CHECK PAID                        200003271   IA008214566614   0            1642.04
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -24170.16    475        CHECK PAID                        200003289   IA008214567078   0            1189.5




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                         Case Number                       Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                      August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                     Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                         Ref No      Bank Ref         Credit Amt   Debit Amt
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -27390.27    475        CHECK PAID                        200003431   IA008214588544   0            990.42
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -29685.23    475        CHECK PAID                        200003310   IA008419563620   0            600.17
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -25314.67    475        CHECK PAID                        200003279   IA008419563621   0            1144.51
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -17816.62    475        CHECK PAID                        200003247   IA008419563625   0            1394.72
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -9931.2      475        CHECK PAID                        200003297   IA008419563627   0            1754.48
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -19186.26    475        CHECK PAID                        200003353   IA008419563628   0            1369.64
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -30710.73    475        CHECK PAID                        200003315   IA008419563629   0            172.95
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -29085.06    475        CHECK PAID                        200003375   IA008419563636   0            757.3
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -20532.51    475        CHECK PAID                        200003273   IA008419563637   0            1346.25
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -6215.55     475        CHECK PAID                        200003357   IA008419563638   0            1970.48
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -11647.92    475        CHECK PAID                        200003356   IA008419563639   0            1716.72
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -26399.85    475        CHECK PAID                        200003246   IA008419563640   0            1085.18
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -4245.07     475        CHECK PAID                        200003321   IA008419563641   0            2110.74
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -13310.35    475        CHECK PAID                        200003319   IA008473120966   0            1662.43
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -8176.72     475        CHECK PAID                        200003345   IA008515021673   0            1961.17
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -30113.98    475        CHECK PAID                        200002661   IA008614277362   0            428.75
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -30537.78    475        CHECK PAID                        200003378   IA008649854503   0            423.8
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -28327.76    475        CHECK PAID                        200003242   IA008649854504   0            937.49
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -21756.59    475        CHECK PAID                        200003240   IA008649854652   0            1224.08
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -2134.33     475        CHECK PAID                        200003287   IA008752731718   0            2134.3
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -16421.9     475        CHECK PAID                        200003341   IA008752731958   0            1469.51
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -22980.66    475        CHECK PAID                        200003362   IA008810731166   0            1224.07
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -0.03        475        CHECK PAID                        200003283   IA009930879358   0            2297.94
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            2297.91      475        CHECK PAID                        200003417   IA009930879359   0            2472.67
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA091000000015   30710.73     0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            2297.91      254        POSTING ERROR CORRECTION CREDIT   200003283   IA009930876627   2297.91      0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            4770.58      254        POSTING ERROR CORRECTION CREDIT   500003417   IA009930876628   2472.67      0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -5462.55     475        CHECK PAID                        200003261   IA001387428495   0            316.76
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -3924.6      475        CHECK PAID                        200003364   IA008158729473   0            1944.06
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -4691.53     475        CHECK PAID                        200003428   IA008158729506   0            766.93
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -1980.54     475        CHECK PAID                        200003342   IA008419640094   0            1980.54
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -5145.79     475        CHECK PAID                        401485      IA008614345208   0            454.26
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -5772.91     475        CHECK PAID                        200003429   IA008745951584   0            310.36
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA091100000011   5772.91      0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -8293.3      475        CHECK PAID                        200002857   IA008158969110   0            98.18
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -8073.83     475        CHECK PAID                        200003132   IA008158969146   0            289.54
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -7784.29     475        CHECK PAID                        200003369   IA008158969820   0            419.78
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -4647.38     475        CHECK PAID                        200003307   IA008158969821   0            1319.08
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -1686.66     475        CHECK PAID                        200003374   IA008158969834   0            1686.66
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -3328.3      475        CHECK PAID                        200003363   IA008419750281   0            1641.64
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -7364.51     475        CHECK PAID                        200003430   IA008515299864   0            710.51
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -8195.12     475        CHECK PAID                        200003340   IA008515302363   0            121.29
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -5712.77     475        CHECK PAID                        200003409   IA008515350910   0            1065.39
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -6654        475        CHECK PAID                        200003335   IA008811032906   0            941.23
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA091200000011   8293.3       0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -1296.23     475        CHECK PAID                        200003244   IA001187130493   0            1296.23
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -11028.48    475        CHECK PAID                        200001694   IA008214976983   0            402.65
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -10625.83    475        CHECK PAID                        200003391   IA008214976986   0            1257.58
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -8091.02     475        CHECK PAID                        200003390   IA008315364483   0            1461.16
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -6629.86     475        CHECK PAID                        200003333   IA008315365256   0            1618.71
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -9368.25     475        CHECK PAID                        200003256   IA008419871250   0            1277.23
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -11323.59    475        CHECK PAID                        200002358   IA008419871251   0            295.11
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -11514.56    475        CHECK PAID                        200003233   IA008836340612   0            190.97
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -5011.15     475        CHECK PAID                        200003424   IA008836340678   0            1687.15
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -3324        475        CHECK PAID                        200003234   IA008836340679   0            2027.77
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA091300000011   11514.56     0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -306.94      475        CHECK PAID                        200003397   IA003189409791   0            306.94
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -6866.18     475        CHECK PAID                        200003280   IA008114755625   0            1116.56
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -5749.62     475        CHECK PAID                        200003085   IA008114755626   0            1482.17
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -7365.75     475        CHECK PAID                        200002915   IA008148172770   0            189.83
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -4267.45     475        CHECK PAID                        200003421   IA008159529683   0            1713.09
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -7175.92     475        CHECK PAID                        200002832   IA008159529684   0            309.74
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -7481.13     475        CHECK PAID                        200002747   IA008515784587   0            115.38




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                         Case Number                       Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                      August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                     Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                         Ref No      Bank Ref         Credit Amt   Debit Amt
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -7586.75     475        CHECK PAID                        200003204   IA008716046900   0            105.62
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -2554.36     475        CHECK PAID                        200003368   IA008811469703   0            2247.42
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA091600000015   7586.75      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -22.24       475        CHECK PAID                        200003138   IA008573435095   0            22.24
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA091700000019   22.24        0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -5597.74     475        CHECK PAID                        200003294   IA008115048990   0            5597.74
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -6179.65     475        CHECK PAID                        200002741   IA008115089194   0            213.92
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -5965.73     475        CHECK PAID                        200003393   IA008676461059   0            367.99
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA091800000005   6179.65      0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -1203.89     475        CHECK PAID                        200003425   IA008410687101   0            24.17
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -1179.72     475        CHECK PAID                        200003235   IA008410687102   0            302.32
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -468.13      475        CHECK PAID                        200001752   IA008716505915   0            468.13
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -877.4       475        CHECK PAID                        209001819   IA008716505916   0            409.27
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA092000000009   1203.89      0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -9877.57     475        CHECK PAID                        200003278   IA008150910177   0            368.99
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -9997.01     475        CHECK PAID                        200003052   IA008316223623   0            119.44
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -3673.25     475        CHECK PAID                        200003414   IA008516522009   0            1786.75
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -6940.95     475        CHECK PAID                        200003031   IA008516522010   0            1582.4
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -1886.5      475        CHECK PAID                        200003218   IA008516522011   0            1886.5
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -9508.58     475        CHECK PAID                        200002824   IA008516522012   0            1129.22
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -5358.55     475        CHECK PAID                        200003413   IA008516522015   0            1685.3
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -8379.36     475        CHECK PAID                        200003354   IA008516522018   0            1438.41
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -10112.38    475        CHECK PAID                        200002572   IA008615524306   0            115.37
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            475        CHECK PAID                        200001819   IA009931001036   0            409.27
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA092300000005   10112.38     0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            409.27       254        POSTING ERROR CORRECTION CREDIT   209001819   IA009930999365   409.27       0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -1446.1      475        CHECK PAID                        200003404   IA008516612278   0            1446.1
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -5920.83     475        CHECK PAID                        200001903   IA008812350702   0            880.91
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -3911.05     475        CHECK PAID                        200002387   IA008812350703   0            1156.88
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -5039.92     475        CHECK PAID                        200003243   IA008812350704   0            1128.87
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -6625.37     475        CHECK PAID                        200002140   IA008812350705   0            704.54
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -2754.17     475        CHECK PAID                        200003053   IA008812350706   0            1308.07
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -7259.75     475        CHECK PAID                        200001977   IA008812350707   0            634.38
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA092400000005   7259.75      0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -2250.44     475        CHECK PAID                        200002631   IA008115788395   0            1007.17
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -1243.27     475        CHECK PAID                        200002858   IA008115788396   0            1243.27
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA092500000005   2250.44      0
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -565.39      475        CHECK PAID                        200003236   IA008639793519   0            102.02
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -663.54      475        CHECK PAID                        200001507   IA008639793528   0            98.15
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -291.36      475        CHECK PAID                        200001201   IA008639793529   0            291.36
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -463.37      475        CHECK PAID                        200001900   IA008639793530   0            172.01
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA092600000009   663.54       0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -320.32      475        CHECK PAID                        200002805   IA008812775583   0            611.68
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA092700000009   320.32       0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            291.36       254        POSTING ERROR CORRECTION CREDIT   200001201   IA009931055505   291.36       0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            -1263.87     475        CHECK PAID                        200003286   IA008152331034   0            1263.87
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX1025   COMMERCIAL DDA   QUINCY FOODS LLC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0           IA093000000007   1263.87      0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -31469.36    475        CHECK PAID                        20028863    IA000285189189   0            632.77
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -96175.93    475        CHECK PAID                        20028760    IA000285228853   0            426.74
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -128753.01   475        CHECK PAID                        20029504    IA000474037246   0            210.55
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -103656.6    475        CHECK PAID                        20020413    IA000474098717   0            400.22
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -116684.45   475        CHECK PAID                        20021443    IA000474098719   0            348.91
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -124682.79   475        CHECK PAID                        20021984    IA000474098720   0            289.45
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -55071.8     475        CHECK PAID                        20023829    IA000474098721   0            543.3
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -49047       475        CHECK PAID                        20024929    IA000474098722   0            555.75
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -89494.82    475        CHECK PAID                        20026033    IA000474098723   0            462.82
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -48491.25    475        CHECK PAID                        20028241    IA000474098724   0            555.78
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -129929.04   475        CHECK PAID                        20029395    IA000474098725   0            189.59
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -41688.94    475        CHECK PAID                        20029180    IA000474124251   0            583.36
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -36371.36    475        CHECK PAID                        20029840    IA000474127525   0            600
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18491.12    475        CHECK PAID                        20029841    IA000474127598   0            2176.76
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -51799.55    475        CHECK PAID                        20029657    IA000570219395   0            548.05
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -130429.7    475        CHECK PAID                        20029036    IA000570243734   0            163.31




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -115985.11   475        CHECK PAID     20028728   IA000570460146   0            351.46
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -114572.04   475        CHECK PAID     20028951   IA000570463947   0            356.27
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -75956.22    475        CHECK PAID     20028878   IA000570633693   0            503.98
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -29548.19    475        CHECK PAID     20028784   IA000570767826   0            663.53
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -125797.15   475        CHECK PAID     20028466   IA000571291297   0            272.43
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -104451.05   475        CHECK PAID     20029716   IA000620436697   0            396.41
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -25486.53    475        CHECK PAID     20029337   IA000620436703   0            710.93
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -89955.62    475        CHECK PAID     20029067   IA000620436708   0            460.8
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -128121.36   475        CHECK PAID     20029317   IA000620436753   0            217.85
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -123196.17   475        CHECK PAID     20029658   IA000620437019   0            310.16
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -119046.91   475        CHECK PAID     20029755   IA000620437020   0            329.08
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -105233.3    475        CHECK PAID     20029774   IA000620437021   0            391.01
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -84316.9     475        CHECK PAID     20029139   IA000620437777   0            481.36
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -123808.26   475        CHECK PAID     20029633   IA000620437783   0            302.39
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -111685.22   475        CHECK PAID     20029793   IA001583178558   0            368
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1860.27     475        CHECK PAID     20029187   IA001583178896   0            621.59
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4206.12     475        CHECK PAID     20029461   IA001583178898   0            568.82
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -127459.06   475        CHECK PAID     20029204   IA001583417804   0            226.47
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -108689.76   475        CHECK PAID     20029615   IA001583418038   0            381.69
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -85272.43    475        CHECK PAID     20028471   IA001583418039   0            475.63
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132371.36   475        CHECK PAID     20027332   IA001583418040   0            77.87
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12576.63    475        CHECK PAID     20027259   IA001584196726   0            453.06
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12123.57    475        CHECK PAID     20028385   IA001584196727   0            486.39
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11637.18    475        CHECK PAID     20029536   IA001584196728   0            487.67
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -112051.71   475        CHECK PAID     20029733   IA001584196897   0            366.49
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15232.57    475        CHECK PAID     20029680   IA001585043136   0            333.29
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -21806.14    475        CHECK PAID     20028026   IA001585199439   0            817.13
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -20170.28    475        CHECK PAID     20029189   IA001585199440   0            832.2
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -26179.57    475        CHECK PAID     20029284   IA001585199556   0            693.04
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13832.69    475        CHECK PAID     20029675   IA001585733134   0            379.08
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1238.68     475        CHECK PAID     20029563   IA001586158168   0            622.73
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -121942.9    475        CHECK PAID     20029677   IA001586505087   0            315.24
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -103256.38   475        CHECK PAID     20028533   IA001586505089   0            400.35
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -106778.61   475        CHECK PAID     20027396   IA001586505092   0            383.52
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -72399.22    475        CHECK PAID     20028842   IA001586505100   0            513.81
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -55612.51    475        CHECK PAID     20027679   IA001586505101   0            540.71
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16107.62    475        CHECK PAID     20027692   IA001586505215   0            174.45
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -46819.05    475        CHECK PAID     20028984   IA001586505304   0            562.82
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9621.99     475        CHECK PAID     20029011   IA001586505383   0            516.24
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16314.36    475        CHECK PAID     20028802   IA001586505456   0            81.89
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10136.51    475        CHECK PAID     20029104   IA001587197407   0            514.52
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9105.75     475        CHECK PAID     20027696   IA001587197480   0            531.1
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -73933.62    475        CHECK PAID     20027076   IA001587197568   0            509.08
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -32101.87    475        CHECK PAID     20029342   IA001587197569   0            632.51
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -34555.43    475        CHECK PAID     20028171   IA001587197616   0            610.53
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -35165.96    475        CHECK PAID     20029327   IA001587197617   0            610.53
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6425.56     475        CHECK PAID     20029349   IA001587519245   0            546.22
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6968.32     475        CHECK PAID     20029354   IA001587519246   0            542.76
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4773.98     475        CHECK PAID     20029468   IA001587756115   0            567.86
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132780.74   475        CHECK PAID     20029166   IA001587756152   0            35.28
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -112416.01   475        CHECK PAID     20029164   IA001587756205   0            364.3
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10649.36    475        CHECK PAID     20029168   IA001587756559   0            512.85
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132449.18   475        CHECK PAID     20026851   IA001588015104   0            77.82
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -129155.58   475        CHECK PAID     20025767   IA001588015105   0            198.61
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16232.47    475        CHECK PAID     20028973   IA001588375735   0            124.85
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5329.73     475        CHECK PAID     20029587   IA001588855740   0            555.75
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2463.87     475        CHECK PAID     20029236   IA001588855960   0            603.6
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -615.95      475        CHECK PAID     402044     IA001588856153   0            721.85
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15540.28    475        CHECK PAID     20029732   IA001681100596   0            307.71
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11149.51    475        CHECK PAID     20029399   IA002489027661   0            500.15
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -66194.6     475        CHECK PAID     20029246   IA002489027664   0            521.06
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14899.28    475        CHECK PAID     20029278   IA002489028282   0            350.97
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -53439.72    475        CHECK PAID     20028987   IA003180984199   0            546.03




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14548.31    475        CHECK PAID     20029702   IA003543532686   0            353.67
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7506.57     475        CHECK PAID     20029089   IA003543532728   0            538.25
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8041.32     475        CHECK PAID     20029110   IA003543532731   0            534.75
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -102453.04   475        CHECK PAID     20028366   IA003681365672   0            405.44
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -67235.2     475        CHECK PAID     20029517   IA003681365673   0            519.78
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3637.3      475        CHECK PAID     20028764   IA003681365736   0            584.76
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3052.54     475        CHECK PAID     20028722   IA003681365738   0            588.67
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5879.34     475        CHECK PAID     20028992   IA003989236601   0            549.61
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15755.73    475        CHECK PAID     20029575   IA003989503241   0            215.45
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14194.64    475        CHECK PAID     20029705   IA003989572681   0            361.95
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -78960.27    475        CHECK PAID     20028874   IA004187731189   0            496.96
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13453.61    475        CHECK PAID     20029035   IA004187731208   0            433.61
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15933.17    475        CHECK PAID     20029046   IA004187731289   0            177.44
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -20989.01    475        CHECK PAID     20028970   IA004187731330   0            818.73
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -19338.08    475        CHECK PAID     20027809   IA004187731335   0            846.96
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -68790.36    475        CHECK PAID     20028964   IA004187731338   0            518.09
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -95749.19    475        CHECK PAID     20027860   IA004187731546   0            428.32
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -93133.61    475        CHECK PAID     20029022   IA004187731549   0            446.33
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -87635.68    475        CHECK PAID     20026988   IA004785133187   0            468.56
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -76961.63    475        CHECK PAID     20028100   IA004785133188   0            501.89
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -85747.72    475        CHECK PAID     20029261   IA004785133189   0            475.29
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8574.65     475        CHECK PAID     20029551   IA004785133248   0            533.33
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -124969.52   475        CHECK PAID     20029550   IA004785133415   0            286.73
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -125251.57   475        CHECK PAID     20028399   IA004785133416   0            282.05
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -104054.64   475        CHECK PAID     20029319   IA004785133651   0            398.04
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13020       475        CHECK PAID     20029310   IA004884865173   0            443.37
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -115280.55   475        CHECK PAID     20029760   IA005744335202   0            353.82
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -102047.6    475        CHECK PAID     20028069   IA006382179104   0            407.71
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -110200.76   475        CHECK PAID     29721      IA008113136312   0            374.03
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -117028.91   475        CHECK PAID     20029081   IA008113136314   0            344.46
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -113139.55   475        CHECK PAID     20028577   IA008113136318   0            361.39
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -60955.92    475        CHECK PAID     20029404   IA008113136782   0            528.94
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -39337.4     475        CHECK PAID     20029696   IA008113136783   0            590.67
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -91783.54    475        CHECK PAID     20029442   IA008113136784   0            455.34
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -56152.8     475        CHECK PAID     20028294   IA008113136785   0            540.29
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -58298.86    475        CHECK PAID     20029509   IA008113136791   0            534.54
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -78463.31    475        CHECK PAID     20028726   IA008113137311   0            499.19
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -80438.77    475        CHECK PAID     20028717   IA008113137579   0            489.33
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -113857.93   475        CHECK PAID     20028715   IA008113137580   0            358.74
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -24775.6     475        CHECK PAID     20028744   IA008113175324   0            718.14
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -47935.47    475        CHECK PAID     20028952   IA008113250905   0            556.41
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43419.66    475        CHECK PAID     20028940   IA008113251586   0            574.16
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -127684.93   475        CHECK PAID     20029193   IA008113332985   0            225.87
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -70855.29    475        CHECK PAID     20029590   IA008113333025   0            515.66
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -102856.03   475        CHECK PAID     20029064   IA008138529717   0            402.99
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -82386.36    475        CHECK PAID     20027083   IA008213468869   0            485.88
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -94017.71    475        CHECK PAID     2028193    IA008213468870   0            440.77
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -77964.12    475        CHECK PAID     20029350   IA008213468871   0            500.7
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -120664.6    475        CHECK PAID     20029381   IA008213482269   0            321.44
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -99571.32    475        CHECK PAID     20028227   IA008213482270   0            419.71
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -99991.02    475        CHECK PAID     20028223   IA008213482271   0            419.7
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -120986.04   475        CHECK PAID     20029377   IA008213482272   0            321.44
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -33332.47    475        CHECK PAID     20029210   IA008213548642   0            614.2
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -74946.84    475        CHECK PAID     20029553   IA008213642939   0            505.43
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -97455.55    475        CHECK PAID     20028855   IA008213693509   0            426.36
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -71370.94    475        CHECK PAID     20028980   IA008213693886   0            515.65
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -74441.41    475        CHECK PAID     20029205   IA008213709564   0            507.79
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -63060.85    475        CHECK PAID     20029373   IA008213740454   0            524.21
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -90871.87    475        CHECK PAID     20028622   IA008213747829   0            456.35
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -97029.19    475        CHECK PAID     20027486   IA008213747830   0            426.54
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -91328.2     475        CHECK PAID     20025281   IA008213747831   0            456.33
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -109451      475        CHECK PAID     20029766   IA008213747832   0            380.16
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -119696.18   475        CHECK PAID     20028881   IA008238977431   0            324.03




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -60426.98    475        CHECK PAID     20028975   IA008238977432   0            529.81
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -122257.96   475        CHECK PAID     20028824   IA008247194898   0            315.06
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -95320.87    475        CHECK PAID     20029052   IA008314026345   0            428.69
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -110573.11   475        CHECK PAID     20029714   IA008314034738   0            372.35
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132127.57   475        CHECK PAID     20028398   IA008314043860   0            85.88
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -33944.9     475        CHECK PAID     20028708   IA008314058224   0            612.43
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -89032       475        CHECK PAID     20028071   IA008314059416   0            464.28
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -100817.03   475        CHECK PAID     20028741   IA008314064749   0            412.24
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -131208.39   475        CHECK PAID     20029511   IA008314074254   0            150.3
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -53985.06    475        CHECK PAID     20027724   IA008314076554   0            545.34
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -128331.91   475        CHECK PAID     20029489   IA008314131127   0            210.55
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -70339.63    475        CHECK PAID     20029085   IA008314131145   0            515.96
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -128542.46   475        CHECK PAID     20029198   IA008314131146   0            210.55
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132041.69   475        CHECK PAID     20028845   IA008314174627   0            93.94
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -57228.34    475        CHECK PAID     20029286   IA008314262567   0            536.63
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -65673.54    475        CHECK PAID     20027782   IA008314262664   0            521.08
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -56691.71    475        CHECK PAID     20029584   IA008314312960   0            538.91
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -119372.15   475        CHECK PAID     20029782   IA008314313052   0            325.24
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -32718.27    475        CHECK PAID     20029163   IA008314313053   0            616.4
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -71885.41    475        CHECK PAID     20029090   IA008314313056   0            514.47
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -100404.79   475        CHECK PAID     20028485   IA008314313204   0            413.77
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -117371.58   475        CHECK PAID     20029629   IA008314313205   0            342.67
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -113499.19   475        CHECK PAID     20029715   IA008314313207   0            359.64
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -52347.45    475        CHECK PAID     20028780   IA008314313234   0            547.9
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -51251.5     475        CHECK PAID     20029227   IA008314313274   0            549.32
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -49600.47    475        CHECK PAID     20029179   IA008314313330   0            553.47
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -57764.32    475        CHECK PAID     20028015   IA008314313331   0            535.98
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -88567.72    475        CHECK PAID     20029448   IA008314313387   0            465.27
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -64107.63    475        CHECK PAID     20029214   IA008314313398   0            523.39
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -90415.52    475        CHECK PAID     20027965   IA008314313399   0            459.9
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -40517.56    475        CHECK PAID     20029126   IA008314313400   0            589.78
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -122572.12   475        CHECK PAID     20029196   IA008314313401   0            314.16
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132522.26   475        CHECK PAID     20029057   IA008314313402   0            73.08
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -30836.59    475        CHECK PAID     20029029   IA008314313410   0            644.2
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -97881.6     475        CHECK PAID     20029420   IA008339236717   0            426.05
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132805.74   475        CHECK PAID     10353618   IA008418590029   0            25
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -44559.59    475        CHECK PAID     20026188   IA008418591790   0            567.86
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -26860.37    475        CHECK PAID     20028727   IA008418689795   0            680.8
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -75452.24    475        CHECK PAID     20029434   IA008418715184   0            505.4
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -104842.29   475        CHECK PAID     20029730   IA008418765214   0            391.24
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -82869.95    475        CHECK PAID     20029641   IA008418765215   0            483.59
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -36970.88    475        CHECK PAID     20028498   IA008418765216   0            599.52
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -131744.83   475        CHECK PAID     20029789   IA008418765217   0            116.61
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -130266.39   475        CHECK PAID     20028646   IA008418765218   0            167.4
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -107161.6    475        CHECK PAID     20029698   IA008418765219   0            382.99
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -111317.22   475        CHECK PAID     20029697   IA008418765220   0            371.77
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -127903.51   475        CHECK PAID     20028432   IA008418778012   0            218.58
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -64630.67    475        CHECK PAID     20029446   IA008418778786   0            523.04
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -86222.72    475        CHECK PAID     20029097   IA008418778787   0            475
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -46256.23    475        CHECK PAID     20029347   IA008418778788   0            564.19
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -118051.76   475        CHECK PAID     20029371   IA008418778789   0            339.5
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -41105.58    475        CHECK PAID     20029506   IA008418778796   0            588.02
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -39927.78    475        CHECK PAID     20028434   IA008418778798   0            590.38
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -101639.89   475        CHECK PAID     20027297   IA008418778799   0            411.04
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -28884.66    475        CHECK PAID     20029322   IA008418778801   0            668.49
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -101228.85   475        CHECK PAID     20029771   IA008418778803   0            411.82
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -130592.05   475        CHECK PAID     20029765   IA008418778804   0            162.35
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -127232.59   475        CHECK PAID     20028795   IA008418778805   0            226.57
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -126316.72   475        CHECK PAID     20029605   IA008418778807   0            252.31
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -126778.33   475        CHECK PAID     20028865   IA008418778809   0            229.1
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -93576.94    475        CHECK PAID     20029425   IA008418778811   0            443.33
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -79949.44    475        CHECK PAID     20029072   IA008418778813   0            493.4
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132745.46   475        CHECK PAID     20028666   IA008418778840   0            36.31




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -65152.46    475        CHECK PAID     20028298   IA008418778842   0            521.79
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -99151.61    475        CHECK PAID     20029661   IA008418778975   0            422.47
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -45692.04    475        CHECK PAID     20029049   IA008418778976   0            564.59
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132709.15   475        CHECK PAID     20028936   IA008418778980   0            60.36
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -28216.17    475        CHECK PAID     20029138   IA008418779021   0            675.38
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -131848.75   475        CHECK PAID     402048     IA008418779023   0            103.92
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -131058.09   475        CHECK PAID     20028805   IA008418779110   0            150.64
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -38746.73    475        CHECK PAID     20028999   IA008418779111   0            590.85
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -106008.61   475        CHECK PAID     20028740   IA008418779112   0            387.5
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -123505.87   475        CHECK PAID     20028931   IA008418779113   0            309.7
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -109070.84   475        CHECK PAID     20028898   IA008418779114   0            381.08
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132293.49   475        CHECK PAID     20029019   IA008418779115   0            81.89
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -131498.95   475        CHECK PAID     20028814   IA008418779116   0            140.81
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -27540.79    475        CHECK PAID     20028947   IA008418779117   0            680.42
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -38155.88    475        CHECK PAID     20028893   IA008418779118   0            592.21
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -94892.18    475        CHECK PAID     20029602   IA008418779126   0            435.05
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            764.97       475        CHECK PAID     20028079   IA008513871086   0            569.96
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -42845.5     475        CHECK PAID     20028954   IA008514088375   0            577
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -69823.67    475        CHECK PAID     20029470   IA008514146271   0            516.65
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -69307.02    475        CHECK PAID     20028320   IA008514146272   0            516.66
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -87167.12    475        CHECK PAID     20029217   IA008514152943   0            469.66
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -67753.94    475        CHECK PAID     20028894   IA008514179795   0            518.74
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -63584.24    475        CHECK PAID     20029423   IA008514184788   0            523.39
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -112778.16   475        CHECK PAID     20026381   IA008514205386   0            362.15
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -22564       475        CHECK PAID     20029016   IA008514237328   0            757.86
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -76459.74    475        CHECK PAID     20029607   IA008514243723   0            503.52
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -79456.04    475        CHECK PAID     20028946   IA008514243724   0            495.77
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132648.79   475        CHECK PAID     20029453   IA008514243725   0            62.1
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -125524.72   475        CHECK PAID     20029510   IA008514243726   0            273.15
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -35771.36    475        CHECK PAID     20028870   IA008514243791   0            605.4
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -118385.45   475        CHECK PAID     20029355   IA008514243824   0            333.69
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -58832.38    475        CHECK PAID     20029160   IA008514243825   0            533.52
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -54528.5     475        CHECK PAID     20029578   IA008514243829   0            543.44
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -83353.02    475        CHECK PAID     20029577   IA008514243830   0            483.07
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -105621.11   475        CHECK PAID     20029447   IA008514243831   0            387.81
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -106395.09   475        CHECK PAID     20029541   IA008514243834   0            386.48
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -50702.18    475        CHECK PAID     20028831   IA008514243836   0            549.68
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -42268.5     475        CHECK PAID     20028963   IA008514243837   0            579.56
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -126064.41   475        CHECK PAID     20029776   IA008514244019   0            267.26
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -62011.73    475        CHECK PAID     20028872   IA008514250885   0            527.02
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -66715.42    475        CHECK PAID     20028933   IA008514250886   0            520.82
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -92237.09    475        CHECK PAID     20028932   IA008514250955   0            453.55
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -52893.69    475        CHECK PAID     20028967   IA008514250956   0            546.24
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23317.08    475        CHECK PAID     20028934   IA008514250999   0            753.08
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -118717.83   475        CHECK PAID     20029646   IA008514251717   0            332.38
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -114926.73   475        CHECK PAID     20029113   IA008514251744   0            354.69
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -116335.54   475        CHECK PAID     20029115   IA008514251946   0            350.43
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -73424.54    475        CHECK PAID     20029653   IA008514251948   0            511.69
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -47379.06    475        CHECK PAID     20029630   IA008514251958   0            560.01
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -80927.27    475        CHECK PAID     20029566   IA008547696066   0            488.5
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -50152.5     475        CHECK PAID     20029565   IA008613134439   0            552.03
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -121627.66   475        CHECK PAID     20029239   IA008613139741   0            320.33
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -84796.8     475        CHECK PAID     20028925   IA008613166675   0            479.9
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -131358.14   475        CHECK PAID     20029690   IA008613167457   0            149.75
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -59897.17    475        CHECK PAID     20028804   IA008613169627   0            531.27
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -108308.07   475        CHECK PAID     20029779   IA008613170131   0            381.71
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132211.6    475        CHECK PAID     20029838   IA008613171428   0            84.03
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -107543.98   475        CHECK PAID     20029669   IA008613250872   0            382.38
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -107926.36   475        CHECK PAID     20029670   IA008613250873   0            382.38
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43991.73    475        CHECK PAID     20029435   IA008613250874   0            572.07
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -37563.67    475        CHECK PAID     20029436   IA008613250875   0            592.79
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -129547.17   475        CHECK PAID     20029289   IA008613250885   0            194.41
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -98306.38    475        CHECK PAID     20029567   IA008613274920   0            424.78




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                         Case Number                       Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                      August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                     Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                         Ref No     Bank Ref         Credit Amt   Debit Amt
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -120343.16   475        CHECK PAID                        20029572   IA008613285855   0            322.99
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -131628.22   475        CHECK PAID                        20028676   IA008613287436   0            129.27
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -94457.13    475        CHECK PAID                        20029173   IA008637110308   0            439.42
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -129352.76   475        CHECK PAID                        20026487   IA008637110437   0            197.18
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -127006.02   475        CHECK PAID                        20025390   IA008637110438   0            227.69
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -72912.85    475        CHECK PAID                        20028254   IA008649056396   0            513.63
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -121307.33   475        CHECK PAID                        20029739   IA008649120127   0            321.29
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -62536.64    475        CHECK PAID                        20028730   IA008649120546   0            524.91
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -77463.42    475        CHECK PAID                        20027575   IA008649120547   0            501.79
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -130907.45   475        CHECK PAID                        20023899   IA008714416958   0            156.91
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -128956.97   475        CHECK PAID                        20025759   IA008714470634   0            203.96
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -98729.14    475        CHECK PAID                        20029225   IA008714471313   0            422.76
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -124103.48   475        CHECK PAID                        20029260   IA008714471337   0            295.22
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -115633.65   475        CHECK PAID                        20029326   IA008714471809   0            353.1
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -124393.34   475        CHECK PAID                        20029253   IA008714471875   0            289.86
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -81900.48    475        CHECK PAID                        20027906   IA008714474792   0            486.56
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -30192.39    475        CHECK PAID                        20028273   IA008714474851   0            644.2
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -109826.73   475        CHECK PAID                        20029549   IA008714476483   0            375.73
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -122886.01   475        CHECK PAID                        20029076   IA008714476543   0            313.89
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -81413.92    475        CHECK PAID                        20029521   IA008714477607   0            486.65
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -117712.26   475        CHECK PAID                        20029488   IA008714479313   0            340.68
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -61484.71    475        CHECK PAID                        20029525   IA008714481201   0            528.79
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -59365.9     475        CHECK PAID                        20025749   IA008714597052   0            533.52
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -45127.45    475        CHECK PAID                        20027939   IA008714597053   0            567.86
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -88102.45    475        CHECK PAID                        20029099   IA008714597054   0            466.77
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -129739.45   475        CHECK PAID                        20029610   IA008728039720   0            192.28
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -96602.65    475        CHECK PAID                        20028464   IA008728039722   0            426.72
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -68272.27    475        CHECK PAID                        20029609   IA008728039723   0            518.33
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -114215.77   475        CHECK PAID                        20029496   IA008819799923   0            357.84
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -110945.45   475        CHECK PAID                        20029650   IA008819828226   0            372.34
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -126549.23   475        CHECK PAID                        20029647   IA008819829469   0            232.51
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -83835.54    475        CHECK PAID                        20029382   IA008819830113   0            482.52
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -120020.17   475        CHECK PAID                        20027580   IA008819882745   0            323.99
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -131947.75   475        CHECK PAID                        20023416   IA008819882769   0            99
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -92687.28    475        CHECK PAID                        20029272   IA008819882786   0            450.19
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -130098.99   475        CHECK PAID                        20027000   IA008819882787   0            169.95
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -86697.46    475        CHECK PAID                        20027108   IA008819882807   0            474.74
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -130750.54   475        CHECK PAID                        20028219   IA008819882808   0            158.49
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132586.69   475        CHECK PAID                        20029424   IA008819901404   0            64.43
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -24057.46    475        CHECK PAID                        20029001   IA008834995186   0            740.38
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            105.9        475        CHECK PAID                        20026245   IA009930799350   0            311.07
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            416.97       475        CHECK PAID                        20029738   IA009930799351   0            348
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA090300000057   132805.74    0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            311.07       254        POSTING ERROR CORRECTION CREDIT   9999       IA009930797455   311.07       0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            659.07       254        POSTING ERROR CORRECTION CREDIT   20025738   IA009930797456   348          0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            669.07       254        POSTING ERROR CORRECTION CREDIT   10353177   IA009930802254   10           0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            719.07       254        POSTING ERROR CORRECTION CREDIT   10354008   IA009930802256   50           0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            1139.07      254        POSTING ERROR CORRECTION CREDIT   10354273   IA009930802258   420          0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            1334.93      254        POSTING ERROR CORRECTION CREDIT   10354331   IA009930802260   195.86       0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1001763.4   475        CHECK PAID                        20028757   IA000571642026   0            622.07
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4122.67     475        CHECK PAID                        20027440   IA001582586888   0            336.35
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3424.92     475        CHECK PAID                        20028576   IA001582586889   0            366.35
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4390.36     475        CHECK PAID                        20029722   IA001582586890   0            267.69
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4580.69     475        CHECK PAID                        20027643   IA001586505491   0            190.33
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2542.42     475        CHECK PAID                        20029513   IA001588856384   0            542.72
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1005997.8   475        CHECK PAID                        20029184   IA001589947367   0            590.38
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1005407.4   475        CHECK PAID                        20025830   IA001589947368   0            597.56
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3786.32     475        CHECK PAID                        20029759   IA003543533376   0            361.4
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1999.7      475        CHECK PAID                        20028181   IA003681366339   0            622.06
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3058.57     475        CHECK PAID                        20029338   IA003681366340   0            516.15
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1015037.7   475        CHECK PAID                        20029231   IA008113383118   0            500.87
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1023730.7   475        CHECK PAID                        20027481   IA008113557471   0            398.19
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1020884.2   475        CHECK PAID                        20028617   IA008113557472   0            423.62




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1019599.7   475        CHECK PAID     20025276   IA008113557473   0            431.74
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1025938.1   475        CHECK PAID     20029762   IA008113557474   0            356.06
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1026631.4   475        CHECK PAID     20026376   IA008113557475   0            340.16
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1031846.8   475        CHECK PAID     20029809   IA008113560147   0            106.06
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            171.44       475        CHECK PAID     20029490   IA008213469585   0            668.36
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1014536.9   475        CHECK PAID     20029275   IA008213779604   0            505.4
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -990050.89   475        CHECK PAID     20029265   IA008213779605   0            1042.54
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1020460.5   475        CHECK PAID     20029254   IA008213779685   0            430.06
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1002377     475        CHECK PAID     20029478   IA008213779686   0            613.67
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -993950.77   475        CHECK PAID     20028551   IA008213779738   0            849.37
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1000470.7   475        CHECK PAID     20029695   IA008213779739   0            674.51
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1015537.9   475        CHECK PAID     20029219   IA008213780992   0            500.15
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1010909.7   475        CHECK PAID     20029545   IA008213780996   0            527.05
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1012486.2   475        CHECK PAID     20028889   IA008213787137   0            522.69
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1018303.9   475        CHECK PAID     20027726   IA008213787138   0            433.44
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1008782.4   475        CHECK PAID     20029185   IA008213788466   0            542.24
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1029964.5   475        CHECK PAID     20029600   IA008213788471   0            235.32
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1029729.2   475        CHECK PAID     20029601   IA008213788472   0            240.54
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1009319.2   475        CHECK PAID     20029344   IA008213788635   0            536.83
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1022930.4   475        CHECK PAID     20029467   IA008213788779   0            402.12
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -994716.19   475        CHECK PAID     20028969   IA008213792398   0            765.42
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1030430.5   475        CHECK PAID     20028923   IA008213802076   0            230.65
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1004809.8   475        CHECK PAID     20029408   IA008213818104   0            601.26
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1020030.5   475        CHECK PAID     20028376   IA008213837107   0            430.78
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1032043.7   475        CHECK PAID     20028670   IA008213846258   0            92.59
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1031740.7   475        CHECK PAID     20028668   IA008213846259   0            119.17
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1031621.6   475        CHECK PAID     20028672   IA008213846260   0            119.87
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1032366.2   475        CHECK PAID     20028671   IA008213846261   0            28.5
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1032207.9   475        CHECK PAID     20028669   IA008213846262   0            80.08
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1030660.5   475        CHECK PAID     20029814   IA008213853685   0            230
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1008240.2   475        CHECK PAID     20029232   IA008213904183   0            547.23
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1032337.7   475        CHECK PAID     20029811   IA008239084199   0            50.5
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1028182.7   475        CHECK PAID     20027642   IA008325725469   0            289.32
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1377.64     475        CHECK PAID     20029723   IA008418705437   0            246.44
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1026967.7   475        CHECK PAID     20029473   IA008514288876   0            336.31
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1011436.7   475        CHECK PAID     20029271   IA008514289151   0            527.04
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1003602.1   475        CHECK PAID     20029209   IA008514289156   0            611.87
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1017870.4   475        CHECK PAID     20028736   IA008514354103   0            434.08
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1030199.8   475        CHECK PAID     20029116   IA008514355703   0            235.32
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1029000.3   475        CHECK PAID     20027956   IA008514355704   0            256.23
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -989008.35   475        CHECK PAID     20029843   IA008525555486   0            4816.92
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1004208.6   475        CHECK PAID     20029136   IA008613344565   0            606.46
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1009853.3   475        CHECK PAID     20027966   IA008613348118   0            534.04
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1010382.6   475        CHECK PAID     20029127   IA008613348119   0            529.37
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1016024.3   475        CHECK PAID     20028827   IA008613351379   0            486.41
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -995471.45   475        CHECK PAID     20028745   IA008613351390   0            755.26
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1032287.2   475        CHECK PAID     20022559   IA008613353436   0            79.39
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1031951.1   475        CHECK PAID     20023115   IA008613353437   0            104.27
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1026291.2   475        CHECK PAID     20029740   IA008613353478   0            353.15
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1019168     475        CHECK PAID     20025253   IA008613353479   0            431.74
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1031501.7   475        CHECK PAID     20029078   IA008613353486   0            132.68
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1017436.3   475        CHECK PAID     20026813   IA008613353487   0            465.81
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -992097.98   475        CHECK PAID     20028018   IA008613353488   0            1006.41
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -991091.57   475        CHECK PAID     20029182   IA008613353489   0            1040.68
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1021716.8   475        CHECK PAID     20029671   IA008613353993   0            410.04
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1021306.7   475        CHECK PAID     20029700   IA008613353994   0            422.57
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -993101.4    475        CHECK PAID     20029053   IA008613353998   0            1003.42
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1024480     475        CHECK PAID     20029701   IA008613353999   0            372.35
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1018736.2   475        CHECK PAID     20028891   IA008613354002   0            432.37
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1022528.3   475        CHECK PAID     20029005   IA008613354003   0            402.36
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -999108.16   475        CHECK PAID     20028948   IA008613354007   0            699.14
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1031230.3   475        CHECK PAID     20028860   IA008613354009   0            172.25
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1031369     475        CHECK PAID     20028790   IA008613354010   0            138.72




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                         Case Number                       Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                      August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                     Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                         Ref No     Bank Ref         Credit Amt   Debit Amt
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1016970.5   475        CHECK PAID                        20029215   IA008613354011   0            471.17
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1031058.1   475        CHECK PAID                        20029835   IA008613354012   0            179.64
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1011963.5   475        CHECK PAID                        20028912   IA008613354031   0            526.74
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -996225.38   475        CHECK PAID                        20029305   IA008613355708   0            753.93
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -997704.78   475        CHECK PAID                        20028148   IA008613355709   0            736.41
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1028465     475        CHECK PAID                        20029659   IA008613355787   0            282.36
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1007144.3   475        CHECK PAID                        20028195   IA008613355790   0            571.26
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1002990.2   475        CHECK PAID                        20029203   IA008613359214   0            613.21
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1007692.9   475        CHECK PAID                        20028861   IA008613359229   0            548.61
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1024107.6   475        CHECK PAID                        20029743   IA008613359240   0            376.87
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1022126     475        CHECK PAID                        20029757   IA008613359246   0            409.19
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1027291.2   475        CHECK PAID                        20029799   IA008613359260   0            323.46
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1024852     475        CHECK PAID                        20029325   IA008613359266   0            371.99
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1029244.7   475        CHECK PAID                        20029133   IA008613359267   0            244.36
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1006573.1   475        CHECK PAID                        20029315   IA008613359274   0            575.28
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1014031.5   475        CHECK PAID                        20029524   IA008613359279   0            512.85
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1013002.4   475        CHECK PAID                        20028919   IA008613472899   0            516.26
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -984191.43   475        CHECK PAID                        20029839   IA008613512910   0            5382.18
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -998409.02   475        CHECK PAID                        20028788   IA008613552250   0            704.24
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -996968.37   475        CHECK PAID                        20029191   IA008613552308   0            742.99
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1001141.3   475        CHECK PAID                        20027998   IA008613552312   0            670.55
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -999796.23   475        CHECK PAID                        20029158   IA008613552313   0            688.07
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1023332.6   475        CHECK PAID                        20027938   IA008714689715   0            402.11
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1013518.6   475        CHECK PAID                        20029098   IA008714689716   0            516.2
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1016499.4   475        CHECK PAID                        20029455   IA008714689731   0            475.06
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1027598.9   475        CHECK PAID                        20029619   IA008714689759   0            307.71
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1027893.4   475        CHECK PAID                        20028501   IA008714689963   0            294.49
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1030878.4   475        CHECK PAID                        20029644   IA008714689964   0            217.93
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1025582     475        CHECK PAID                        20029634   IA008810028416   0            360.47
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1025221.5   475        CHECK PAID                        20028704   IA008810125192   0            369.59
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1028744.1   475        CHECK PAID                        20029632   IA008810125193   0            279.08
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1032127.8   475        CHECK PAID                        20029816   IA008810129638   0            84.11
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -316.4       475        CHECK PAID                        20028113   IA008819882788   0            487.84
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1029488.7   475        CHECK PAID                        20029817   IA008835392097   0            243.95
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -757.17      475        CHECK PAID                        20028193   IA009930813529   0            440.77
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1131.2      475        CHECK PAID                        20029721   IA009930813530   0            374.03
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA090400000071   1032366.24   0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -972469.59   495        OUTGOING MONEY TRANSFER           0          IA009988281941   0            967888.9
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -978809.25   495        OUTGOING MONEY TRANSFER           0          IA009988281955   0            6339.66
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            374.03       254        POSTING ERROR CORRECTION CREDIT   29721      IA009930810570   374.03       0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            814.8        254        POSTING ERROR CORRECTION CREDIT   2028193    IA009930810571   440.77       0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            839.8        254        POSTING ERROR CORRECTION CREDIT   10353618   IA009930818729   25           0
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6886.65     475        CHECK PAID                        20029664   IA000572600720   0            555.05
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11980.38    475        CHECK PAID                        20028387   IA000572605396   0            459.89
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17137.54    475        CHECK PAID                        20029538   IA000572605397   0            240.55
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10549.85    475        CHECK PAID                        20027261   IA000572606203   0            509.91
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12846.51    475        CHECK PAID                        20028986   IA001288935550   0            423.61
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5190.89     475        CHECK PAID                        20029340   IA001585295749   0            642.79
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11520.49    475        CHECK PAID                        20027074   IA001585295751   0            483.17
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17825.09    475        CHECK PAID                        20030918   IA001588015863   0            219.45
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -216.27      475        CHECK PAID                        20029023   IA001588376032   0            216.27
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11037.32    475        CHECK PAID                        20029230   IA006384025952   0            487.47
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16071.32    475        CHECK PAID                        20022795   IA006384311016   0            318.2
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17605.64    475        CHECK PAID                        20028425   IA006384354588   0            232.5
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13632.45    475        CHECK PAID                        20029573   IA006384355824   0            383.63
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13248.82    475        CHECK PAID                        20030743   IA008113655934   0            402.31
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9004.56     475        CHECK PAID                        20030693   IA008214122645   0            521.08
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12422.9     475        CHECK PAID                        20028173   IA008214136484   0            442.52
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18387.33    475        CHECK PAID                        20029329   IA008214136485   0            53.68
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7961.33     475        CHECK PAID                        20029270   IA008314460546   0            527.04
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6331.6      475        CHECK PAID                        20028110   IA008314460547   0            565.12
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15088.59    475        CHECK PAID                        20029655   IA008314460568   0            354.49
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14734.1     475        CHECK PAID                        20029796   IA008418910040   0            363.13




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                           UST-14A
Wells Fargo                                                                                                                                                                         Case Number             Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr            August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                           Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc               Ref No     Bank Ref         Credit Amt   Debit Amt
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18154.36    475        CHECK PAID              20029812   IA008419005459   0            129.27
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7434.29     475        CHECK PAID              20028887   IA008514390603   0            547.64
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16628.68    475        CHECK PAID              20030737   IA008514498623   0            268.35
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17373.14    475        CHECK PAID              20029844   IA008514534691   0            235.6
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18409.83    475        CHECK PAID              10353603   IA008613615533   0            22.5
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5766.48     475        CHECK PAID              20028028   IA008613643988   0            575.59
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16896.99    475        CHECK PAID              20029190   IA008613643989   0            268.31
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16360.33    475        CHECK PAID              20028750   IA008714874226   0            289.01
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14004.86    475        CHECK PAID              20028798   IA008714874227   0            372.41
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14370.97    475        CHECK PAID              20028167   IA008714874271   0            366.11
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15753.12    475        CHECK PAID              20029068   IA008714874277   0            319.52
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8483.48     475        CHECK PAID              20029156   IA008810147601   0            522.15
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3752.17     475        CHECK PAID              20029140   IA008810147614   0            805.57
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15433.6     475        CHECK PAID              20029764   IA008810147615   0            345.01
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10039.94    475        CHECK PAID              20029407   IA008810147617   0            515.95
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2946.6      475        CHECK PAID              20028433   IA008810147618   0            1357.74
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1588.86     475        CHECK PAID              20029580   IA008810147619   0            1372.59
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18025.09    475        CHECK PAID              10354296   IA008810153657   0            200
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9523.99     475        CHECK PAID              20029519   IA008810211542   0            519.43
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4548.1      475        CHECK PAID              20028979   IA008820060811   0            795.93
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18333.65    475        CHECK PAID              20029820   IA008820063951   0            87.29
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18246.36    475        CHECK PAID              20029821   IA008820063952   0            92
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT   0          IA090500000059   18409.83     0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -121095.94   475        CHECK PAID              20029898   IA000386573526   0            644.21
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -303960.5    475        CHECK PAID              20029813   IA000387097098   0            105.62
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -198056.05   475        CHECK PAID              20030592   IA000475978373   0            517.26
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -68175.19    475        CHECK PAID              20030889   IA000476080164   0            6667.29
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -265301.41   475        CHECK PAID              20030210   IA000476451828   0            359.67
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -292086.03   475        CHECK PAID              20030591   IA000476627443   0            281.03
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -177003.37   475        CHECK PAID              20030333   IA000476648553   0            536.83
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -222476.26   475        CHECK PAID              20030278   IA000476661598   0            482.36
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -266020.71   475        CHECK PAID              20030873   IA000572827535   0            359.63
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -85762.35    475        CHECK PAID              20030438   IA000572844962   0            831.98
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -300628.44   475        CHECK PAID              20030312   IA000572980892   0            208.81
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -300837.25   475        CHECK PAID              20030668   IA000572980893   0            208.81
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -134835.68   475        CHECK PAID              20029914   IA000573141295   0            611.72
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -120451.73   475        CHECK PAID              20030434   IA000573204893   0            645.39
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -223912.11   475        CHECK PAID              20030747   IA000573295603   0            476.27
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -100200.08   475        CHECK PAID              20030253   IA000573298579   0            715.05
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -253967.63   475        CHECK PAID              20030445   IA000573299438   0            395.26
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -166664.05   475        CHECK PAID              20030104   IA000573321436   0            550.89
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -205194.32   475        CHECK PAID              20029886   IA000573393344   0            505.38
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -296061.61   475        CHECK PAID              20030795   IA001581346736   0            248.96
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -298438.74   475        CHECK PAID              20030366   IA001582587141   0            228.61
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -124906.72   475        CHECK PAID              20030372   IA001582587330   0            632.98
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -102334.5    475        CHECK PAID              20030311   IA001583179278   0            704.9
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -44646.95    475        CHECK PAID              20030630   IA001583179324   0            447.32
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -33417.54    475        CHECK PAID              20029464   IA001583179417   0            528.78
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -55881.26    475        CHECK PAID              20030553   IA001583179418   0            333.42
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -185529.6    475        CHECK PAID              20030406   IA001583179439   0            528.74
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -271344.59   475        CHECK PAID              20030875   IA001583179442   0            348.99
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -50824.74    475        CHECK PAID              20030218   IA001583179444   0            388.04
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -25909.72    475        CHECK PAID              20030556   IA001583418818   0            557.21
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -57493.84    475        CHECK PAID              20030764   IA001583654299   0            314.69
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -962.24      475        CHECK PAID              20030892   IA001584120979   0            1184.74
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18378.06    475        CHECK PAID              20030680   IA001584197887   0            617.79
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -21920.43    475        CHECK PAID              20030237   IA001584197990   0            583.47
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -39539.11    475        CHECK PAID              20030666   IA001584198036   0            481.91
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -49648.41    475        CHECK PAID              20030622   IA001584198130   0            397.97
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -50045.15    475        CHECK PAID              20029905   IA001584669672   0            396.74
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12014.47    475        CHECK PAID              20030417   IA001585065016   0            676.25
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -53065.39    475        CHECK PAID              20030728   IA001585190236   0            369.3
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -33941.01    475        CHECK PAID              20030568   IA001585190240   0            523.47




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -20752.97    475        CHECK PAID     20030567   IA001585190241   0            590.25
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2108.49     475        CHECK PAID     20030895   IA001585190255   0            1146.25
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -40491.74    475        CHECK PAID     20030035   IA001585295860   0            474.87
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -171605.53   475        CHECK PAID     20030517   IA001585295896   0            545.72
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -153730.24   475        CHECK PAID     20030588   IA001585295929   0            572.42
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -79652.45    475        CHECK PAID     20030547   IA001585295931   0            949.32
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -143255.16   475        CHECK PAID     20030552   IA001585295944   0            591.65
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -105107.31   475        CHECK PAID     20030382   IA001585733735   0            691.37
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -221509.72   475        CHECK PAID     20030619   IA001585774934   0            484.18
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -61440.71    475        CHECK PAID     20029939   IA001586505902   0            104.24
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17142.47    475        CHECK PAID     20030132   IA001586505916   0            622.38
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -45954.16    475        CHECK PAID     20030140   IA001586505919   0            430.1
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -20162.72    475        CHECK PAID     20029901   IA001586505931   0            592.41
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -58416.12    475        CHECK PAID     20029980   IA001586505944   0            303.25
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -36534.39    475        CHECK PAID     20029910   IA001586506006   0            509.91
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -88218.67    475        CHECK PAID     20030080   IA001586506020   0            806.18
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -150284.66   475        CHECK PAID     20030086   IA001586506040   0            579.57
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -232671.56   475        CHECK PAID     20030029   IA001586506043   0            453.52
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -104415.94   475        CHECK PAID     20029869   IA001586506055   0            692.66
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -139075.44   475        CHECK PAID     20030038   IA001586506064   0            601.8
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -245355.39   475        CHECK PAID     20029887   IA001586506067   0            423.94
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -208222.18   475        CHECK PAID     20030037   IA001586506070   0            503.69
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -242803.73   475        CHECK PAID     20030074   IA001586506079   0            430.12
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -201133.41   475        CHECK PAID     20030112   IA001586506110   0            509.73
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -54862.25    475        CHECK PAID     20028953   IA001586506122   0            348.28
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -115889.27   475        CHECK PAID     20028793   IA001586506169   0            657.55
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -77735.45    475        CHECK PAID     20030385   IA001587198528   0            986.4
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -173772.23   475        CHECK PAID     20030467   IA001587198545   0            540.02
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -34986.78    475        CHECK PAID     20030398   IA001587198560   0            522.65
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -294791.25   475        CHECK PAID     20030643   IA001587198616   0            263.08
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -157145.57   475        CHECK PAID     20030486   IA001587198633   0            567.77
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -193379.46   475        CHECK PAID     20030355   IA001587198638   0            521.07
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -36024.48    475        CHECK PAID     20030466   IA001587198664   0            515.95
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17760.27    475        CHECK PAID     20030204   IA001587198697   0            617.8
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -267815.72   475        CHECK PAID     20029712   IA001587198743   0            357.7
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -241942.25   475        CHECK PAID     20028567   IA001587198744   0            431.74
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -255939.72   475        CHECK PAID     20027430   IA001587198745   0            393.6
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -55547.84    475        CHECK PAID     20030796   IA001587198748   0            338.53
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -50436.7     475        CHECK PAID     20030357   IA001587198769   0            391.55
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -128054.82   475        CHECK PAID     20030436   IA001587198778   0            627.24
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -100915.13   475        CHECK PAID     20030432   IA001587198781   0            715.05
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -48852.37    475        CHECK PAID     402051     IA001587198795   0            401.98
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -38564.25    475        CHECK PAID     20030520   IA001587198855   0            505.4
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -28076.08    475        CHECK PAID     20030485   IA001587198876   0            537.61
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -187111.58   475        CHECK PAID     20030252   IA001587198887   0            526.53
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -262762.24   475        CHECK PAID     20030248   IA001587198890   0            366.52
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -174850.38   475        CHECK PAID     20030349   IA001587198913   0            539.07
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -35508.53    475        CHECK PAID     20030635   IA001587198931   0            521.75
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -37552.41    475        CHECK PAID     20029978   IA001587346675   0            508.39
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -46803       475        CHECK PAID     20030634   IA001587519559   0            420.14
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -252379.35   475        CHECK PAID     20030647   IA001587757236   0            400.46
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -30221.03    475        CHECK PAID     20030428   IA001587757247   0            535.2
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -24788.01    475        CHECK PAID     20030614   IA001587757249   0            570.91
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -161093.17   475        CHECK PAID     20030490   IA001587757257   0            561.35
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7719.24     475        CHECK PAID     20030518   IA001587757685   0            807.4
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -37044.02    475        CHECK PAID     20030838   IA001588002078   0            509.63
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -47217.28    475        CHECK PAID     20030768   IA001588002402   0            414.28
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14015.89    475        CHECK PAID     20030319   IA001588016222   0            663.53
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5123.52     475        CHECK PAID     20029997   IA001588376112   0            960.98
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -276758.32   475        CHECK PAID     20029891   IA001588376118   0            330.89
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -58112.87    475        CHECK PAID     20030106   IA001588376131   0            307.99
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -61486.71    475        CHECK PAID     20030127   IA001588376136   0            46
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -49250.44    475        CHECK PAID     20029923   IA001588376161   0            398.07




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -41432.81    475        CHECK PAID     20029896   IA001588376164   0            470.17
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -38058.85    475        CHECK PAID     20029927   IA001588376170   0            506.44
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -61336.47    475        CHECK PAID     20029846   IA001588376172   0            112.7
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -46382.86    475        CHECK PAID     20028713   IA001588376173   0            428.7
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -48450.39    475        CHECK PAID     20030099   IA001588376188   0            410.21
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -60978.82    475        CHECK PAID     20030045   IA001588376210   0            157.47
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -60821.35    475        CHECK PAID     20030120   IA001588376249   0            241.01
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -207718.49   475        CHECK PAID     20029989   IA001588376254   0            503.78
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -124273.74   475        CHECK PAID     20030055   IA001588376260   0            634.66
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18974.26    475        CHECK PAID     20030651   IA001588856951   0            596.2
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -147376.21   475        CHECK PAID     20030595   IA001588857025   0            583.44
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -51581.4     475        CHECK PAID     20030453   IA001588857030   0            375.64
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -56861.58    475        CHECK PAID     20029758   IA001681059332   0            320.58
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -53434.25    475        CHECK PAID     20028613   IA001681059333   0            368.86
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -58708.49    475        CHECK PAID     20030842   IA001681059334   0            292.37
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -113906.63   475        CHECK PAID     20030625   IA001681059345   0            667.53
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6911.84     475        CHECK PAID     20030244   IA001681059354   0            866.86
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -26454.36    475        CHECK PAID     20030418   IA001681059397   0            544.64
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -126799.98   475        CHECK PAID     20030454   IA001681059424   0            630.08
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15896.48    475        CHECK PAID     20030533   IA001681101174   0            623.61
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16520.09    475        CHECK PAID     20030495   IA001681101177   0            623.61
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -52325.62    475        CHECK PAID     20030543   IA001681101182   0            370.97
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -125539.15   475        CHECK PAID     20030341   IA001681101204   0            632.43
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15272.87    475        CHECK PAID     20030400   IA002247562438   0            627.6
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -47629.55    475        CHECK PAID     20030869   IA002247562480   0            412.27
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -192337.32   475        CHECK PAID     20030175   IA002247562484   0            521.07
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -53800.29    475        CHECK PAID     20029854   IA002247562487   0            366.04
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -40962.64    475        CHECK PAID     20029895   IA002247562488   0            470.9
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -196502.66   475        CHECK PAID     20030176   IA002247562512   0            519.46
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23072.12    475        CHECK PAID     20030456   IA002247562536   0            573.39
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -30755.98    475        CHECK PAID     20030527   IA002247562548   0            534.95
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -108529.18   475        CHECK PAID     20030391   IA002247562553   0            678.53
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -135447.28   475        CHECK PAID     20030446   IA002247562563   0            611.6
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -59285.48    475        CHECK PAID     20030655   IA002247562581   0            287.62
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -160531.82   475        CHECK PAID     20030354   IA002247562585   0            561.36
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -172691.5    475        CHECK PAID     20030301   IA002247562662   0            542.06
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -32356.15    475        CHECK PAID     20030174   IA002247562689   0            532.83
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -279712.56   475        CHECK PAID     20030604   IA002247562704   0            325.42
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9941.78     475        CHECK PAID     20030386   IA002247562757   0            710.93
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43751.03    475        CHECK PAID     20029936   IA002247562814   0            457.21
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -103029.53   475        CHECK PAID     20030220   IA002489029074   0            695.03
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -167764.58   475        CHECK PAID     20030306   IA002489029075   0            550.26
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -29685.83    475        CHECK PAID     20030558   IA002489029111   0            536.56
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -41902.02    475        CHECK PAID     20030620   IA002489029119   0            469.21
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -200113.09   475        CHECK PAID     20030183   IA002489029124   0            511.56
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -26996.42    475        CHECK PAID     20030528   IA002489029252   0            542.06
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -54513.97    475        CHECK PAID     20030589   IA002489029277   0            354.55
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -61104.56    475        CHECK PAID     20030461   IA002489029284   0            125.74
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -304584.27   475        CHECK PAID     20029334   IA002489029337   0            75.48
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -268172.85   475        CHECK PAID     20030264   IA002489029388   0            357.13
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -84090.02    475        CHECK PAID     20030286   IA002489029391   0            843.47
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -164450.15   475        CHECK PAID     20030231   IA002489029394   0            557.07
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11338.22    475        CHECK PAID     20026949   IA002489029408   0            685.52
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9230.85     475        CHECK PAID     20030317   IA002489029409   0            712.03
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -294528.17   475        CHECK PAID     20030324   IA002787742290   0            263.52
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -194421.35   475        CHECK PAID     20030279   IA002787742539   0            520.82
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -42835.48    475        CHECK PAID     20028853   IA003180984576   0            464.35
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43293.82    475        CHECK PAID     20029970   IA003180984577   0            458.34
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -56541       475        CHECK PAID     20030760   IA003180984653   0            329.64
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10652.7     475        CHECK PAID     20030205   IA003446290043   0            710.92
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -162776.18   475        CHECK PAID     20030343   IA003446290078   0            560.47
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -57804.88    475        CHECK PAID     20030569   IA003446290120   0            311.04
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -89825.83    475        CHECK PAID     20030229   IA003446299854   0            802.14




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -89023.69    475        CHECK PAID     20030287   IA003446299959   0            805.02
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -59563.21    475        CHECK PAID     20029922   IA003543533879   0            277.73
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -58997.86    475        CHECK PAID     20030689   IA003543533893   0            289.37
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -52696.09    475        CHECK PAID     20030189   IA003543533926   0            370.47
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -55209.31    475        CHECK PAID     20030211   IA003543533929   0            347.06
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -191295.17   475        CHECK PAID     20030392   IA003681366498   0            521.08
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14645.27    475        CHECK PAID     20030379   IA003681366502   0            629.38
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -34464.13    475        CHECK PAID     20026802   IA003681366526   0            523.12
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -21336.96    475        CHECK PAID     20030167   IA003681366527   0            583.99
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -25352.51    475        CHECK PAID     20025718   IA003681366528   0            564.5
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -137871.05   475        CHECK PAID     20030336   IA003989237388   0            603.61
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -32888.76    475        CHECK PAID     20030572   IA003989237391   0            532.61
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -29149.27    475        CHECK PAID     20030573   IA003989237392   0            536.56
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -57179.15    475        CHECK PAID     20030646   IA003989504581   0            317.57
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -19570.31    475        CHECK PAID     20030684   IA003989504688   0            596.05
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -45085.68    475        CHECK PAID     20030654   IA003989504991   0            438.73
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4162.54     475        CHECK PAID     20030040   IA003989505018   0            975.23
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8518.82     475        CHECK PAID     20030773   IA003989574000   0            799.58
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13352.36    475        CHECK PAID     20030688   IA003989574038   0            667.65
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -280682.36   475        CHECK PAID     20030763   IA003989574161   0            322.16
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -28612.71    475        CHECK PAID     20029223   IA003989574172   0            536.63
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -45524.06    475        CHECK PAID     20030323   IA003989574173   0            438.38
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -183941.93   475        CHECK PAID     20030395   IA003989574200   0            530.5
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -262028.35   475        CHECK PAID     20030767   IA003989574272   0            368.48
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -40016.87    475        CHECK PAID     20029924   IA004187731870   0            477.76
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -60085.9     475        CHECK PAID     20030090   IA004187731893   0            255.49
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -301937.58   475        CHECK PAID     20029883   IA004187731902   0            162.3
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -48040.18    475        CHECK PAID     20028724   IA004187731914   0            410.63
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -61223.77    475        CHECK PAID     20029856   IA004187731915   0            119.21
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -22498.73    475        CHECK PAID     20030009   IA004187731945   0            578.3
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -60580.34    475        CHECK PAID     20030150   IA004187731974   0            244.8
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6044.98     475        CHECK PAID     20029941   IA004187732005   0            921.46
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -31289.75    475        CHECK PAID     20030075   IA004187732008   0            533.77
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -56211.36    475        CHECK PAID     20030093   IA004187732027   0            330.1
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -231308.46   475        CHECK PAID     20030069   IA004187732029   0            455.68
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -244507.34   475        CHECK PAID     20030027   IA004187732032   0            424.77
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -60335.54    475        CHECK PAID     20030121   IA004187732034   0            249.64
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -116545.98   475        CHECK PAID     20030113   IA004187732040   0            656.71
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -97320.37    475        CHECK PAID     20030066   IA004187732043   0            728.4
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -54159.42    475        CHECK PAID     20030026   IA004187732046   0            359.13
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -27538.47    475        CHECK PAID     20027681   IA004187732053   0            542.05
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -42371.13    475        CHECK PAID     20029962   IA004187732054   0            469.11
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -302409.55   475        CHECK PAID     20030060   IA004187732056   0            152.5
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -51954.65    475        CHECK PAID     20029877   IA004187732058   0            373.25
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -112571.46   475        CHECK PAID     20030022   IA004187732103   0            668.47
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -110560.5    475        CHECK PAID     20028909   IA004187732104   0            675.2
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -44199.63    475        CHECK PAID     20030101   IA004187732110   0            448.6
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -39057.2     475        CHECK PAID     20030078   IA004187732118   0            492.95
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -157713.05   475        CHECK PAID     20030094   IA004187732127   0            567.48
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -251578.14   475        CHECK PAID     20029665   IA004187732165   0            401.11
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -282570.97   475        CHECK PAID     20030748   IA004187732166   0            312.34
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -24217.1     475        CHECK PAID     20030131   IA004785134114   0            572.42
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -230852.78   475        CHECK PAID     20030170   IA004785134207   0            456.52
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -59830.41    475        CHECK PAID     20030594   IA004785134210   0            267.2
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -31823.32    475        CHECK PAID     20030130   IA004785134213   0            533.57
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23644.68    475        CHECK PAID     20030222   IA004785134504   0            572.56
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -270296.06   475        CHECK PAID     20030879   IA004884865371   0            352.28
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -188684.53   475        CHECK PAID     20030407   IA004884865462   0            523.39
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -227644.17   475        CHECK PAID     20030519   IA004884865511   0            462.15
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12684.71    475        CHECK PAID     20030052   IA005940396136   0            670.24
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -192858.39   475        CHECK PAID     20030452   IA005940396163   0            521.07
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -51205.76    475        CHECK PAID     20030745   IA005940396321   0            381.02
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -69704.32    475        CHECK PAID     20030893   IA005940396346   0            1529.13




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -186057.54   475        CHECK PAID     20030674   IA006384606966   0            527.94
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -198572.89   475        CHECK PAID     20029161   IA006384692934   0            516.84
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -199087.22   475        CHECK PAID     20030261   IA006384693406   0            514.33
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -95126.93    475        CHECK PAID     20030487   IA006384791842   0            741.07
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -283192.99   475        CHECK PAID     20030134   IA006385257136   0            310.99
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -249953.71   475        CHECK PAID     20030725   IA007543320824   0            412.13
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -239330.4    475        CHECK PAID     20029642   IA007543320825   0            439.86
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -61507.9     475        CHECK PAID     20030266   IA007543320835   0            21.19
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3187.31     475        CHECK PAID     20030640   IA007543320914   0            1078.82
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -210723.09   475        CHECK PAID     20027886   IA008113724246   0            499.08
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -273067.92   475        CHECK PAID     20028806   IA008113724249   0            341.47
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -188161.14   475        CHECK PAID     20028910   IA008113724250   0            523.84
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -287464.16   475        CHECK PAID     20029039   IA008113724251   0            300.2
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -204688.94   475        CHECK PAID     20029494   IA008113726211   0            506.63
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -156577.8    475        CHECK PAID     20029938   IA008113726818   0            567.96
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -201641.8    475        CHECK PAID     20028787   IA008113726896   0            508.39
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -271692.13   475        CHECK PAID     20030638   IA008113754892   0            347.54
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -106486.78   475        CHECK PAID     20029918   IA008113762613   0            688.15
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -303125.87   475        CHECK PAID     20030147   IA008113783288   0            139.55
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -114570.16   475        CHECK PAID     30259      IA008113787366   0            663.53
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -174311.31   475        CHECK PAID     20029159   IA008113787367   0            539.08
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -283503.4    475        CHECK PAID     20030541   IA008113787372   0            310.41
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -254757.36   475        CHECK PAID     20030515   IA008113787373   0            394.81
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -156009.84   475        CHECK PAID     20030549   IA008113789391   0            568.51
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -238890.54   475        CHECK PAID     20030326   IA008113789393   0            440
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -285043.02   475        CHECK PAID     20030497   IA008113789453   0            305.97
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -155441.33   475        CHECK PAID     20030780   IA008113789454   0            569.42
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -177540      475        CHECK PAID     20030546   IA008113789458   0            536.63
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -257889.24   475        CHECK PAID     20026400   IA008113837383   0            388.15
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -226719.03   475        CHECK PAID     20027505   IA008113837384   0            463.03
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -216648.13   475        CHECK PAID     20025301   IA008113837385   0            488.9
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -260545.98   475        CHECK PAID     20029958   IA008113837386   0            372.88
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -74712.36    475        CHECK PAID     20029971   IA008113837400   0            1055.44
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -270645.96   475        CHECK PAID     20030133   IA008113837402   0            349.9
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -150860.98   475        CHECK PAID     20028262   IA008214144645   0            576.32
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -146205.26   475        CHECK PAID     20029413   IA008214144646   0            587.67
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -184471.91   475        CHECK PAID     20030627   IA008214220193   0            529.98
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -270995.6    475        CHECK PAID     20030584   IA008214227402   0            349.64
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -269591.11   475        CHECK PAID     20030864   IA008214258802   0            352.99
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -260918.08   475        CHECK PAID     20030833   IA008214300369   0            372.1
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -91397.23    475        CHECK PAID     20030825   IA008214300370   0            783.32
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -154301.54   475        CHECK PAID     20030328   IA008214300372   0            571.3
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -136662.62   475        CHECK PAID     20030551   IA008214300375   0            605.93
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -144436.83   475        CHECK PAID     20030368   IA008214300377   0            590.39
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -145027.21   475        CHECK PAID     20030667   IA008214300378   0            590.38
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -147959.64   475        CHECK PAID     20030612   IA008214300379   0            583.43
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -113239.1    475        CHECK PAID     20030403   IA008214300406   0            667.64
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -121734.12   475        CHECK PAID     20030585   IA008214300407   0            638.18
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -138473.64   475        CHECK PAID     20030621   IA008214300408   0            602.59
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -233124.83   475        CHECK PAID     20030251   IA008214300409   0            453.27
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -255546.12   475        CHECK PAID     20029151   IA008214300410   0            393.98
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -235356.67   475        CHECK PAID     20030234   IA008214300414   0            444.27
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -224385.72   475        CHECK PAID     20030494   IA008214300416   0            473.61
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -274086.33   475        CHECK PAID     20030812   IA008214300418   0            337.02
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -119159.68   475        CHECK PAID     402054     IA008214300420   0            651.32
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -258660.53   475        CHECK PAID     20030721   IA008214301976   0            385.23
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -304345.52   475        CHECK PAID     20030730   IA008214302176   0            88.49
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -304855.83   475        CHECK PAID     20029822   IA008222561563   0            65
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -304163.09   475        CHECK PAID     20029824   IA008222563975   0            97.65
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -304430.97   475        CHECK PAID     20029818   IA008222563976   0            85.45
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -302845.33   475        CHECK PAID     20029819   IA008222563977   0            142.02
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -204182.31   475        CHECK PAID     20030583   IA008239463398   0            507.59
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -170512.69   475        CHECK PAID     20030071   IA008239463473   0            548.27




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -212714.69   475        CHECK PAID     20030111   IA008239463474   0            496.53
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -139677.23   475        CHECK PAID     20030102   IA008239463475   0            601.79
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -249129.31   475        CHECK PAID     20029966   IA008239463485   0            414.89
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -87412.49    475        CHECK PAID     20030186   IA008239463620   0            823.12
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -175928.08   475        CHECK PAID     20030344   IA008239463621   0            538.63
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -243657.79   475        CHECK PAID     20030016   IA008239463654   0            424.78
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -189207.45   475        CHECK PAID     20029863   IA008247911983   0            522.92
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -250364.35   475        CHECK PAID     20030103   IA008247911990   0            410.64
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -209225.5    475        CHECK PAID     20029998   IA008314628081   0            501.2
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -211222.02   475        CHECK PAID     20030302   IA008314628082   0            498.93
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -141475.99   475        CHECK PAID     20029202   IA008314628083   0            596.88
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -214197.03   475        CHECK PAID     20030777   IA008314628100   0            492.14
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -263493.16   475        CHECK PAID     20030804   IA008314665167   0            365.25
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -297980.41   475        CHECK PAID     20030545   IA008314670262   0            230.85
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -300419.63   475        CHECK PAID     20030722   IA008314670263   0            216.23
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -296792.61   475        CHECK PAID     20029639   IA008314670264   0            241.79
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -298890.04   475        CHECK PAID     20030755   IA008314671436   0            224.27
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -257111.6    475        CHECK PAID     20030481   IA008314671437   0            390.06
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -286562.67   475        CHECK PAID     20030776   IA008314715924   0            302.31
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -237128.49   475        CHECK PAID     20030187   IA008314719344   0            441.39
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -146792.77   475        CHECK PAID     20030293   IA008314719348   0            587.51
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -253176.32   475        CHECK PAID     20030457   IA008314719356   0            398.15
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -244931.45   475        CHECK PAID     20030059   IA008314719376   0            424.11
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -230396.26   475        CHECK PAID     20030019   IA008314719413   0            456.72
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -166113.16   475        CHECK PAID     20028903   IA008314719424   0            553.17
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -293467.3    475        CHECK PAID     20030017   IA008314719425   0            272.16
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -117854.75   475        CHECK PAID     20030119   IA008314719432   0            653.81
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -303740.79   475        CHECK PAID     20030562   IA008314719436   0            115.43
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -234467.73   475        CHECK PAID     200308     IA008314719440   0            444.88
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -214688.36   475        CHECK PAID     20029967   IA008314719441   0            491.33
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -185000.86   475        CHECK PAID     20030361   IA008314719442   0            528.95
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -260173.1    475        CHECK PAID     20030870   IA008314719443   0            374.57
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -236687.1    475        CHECK PAID     20030687   IA008314719444   0            443.07
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -161654.52   475        CHECK PAID     20030670   IA008314719456   0            561.35
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -103723.28   475        CHECK PAID     20030215   IA008314719457   0            693.75
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -111902.99   475        CHECK PAID     20030178   IA008314719458   0            669.51
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132996.66   475        CHECK PAID     20030590   IA008314719459   0            613.67
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -278733.35   475        CHECK PAID     20030677   IA008314719480   0            327.16
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -268529.9    475        CHECK PAID     20030787   IA008314719484   0            357.05
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -289810.38   475        CHECK PAID     20030703   IA008314719507   0            291.15
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -266739.91   475        CHECK PAID     20030771   IA008314719509   0            359.58
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -272726.45   475        CHECK PAID     20030770   IA008314719520   0            343.78
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -179148.5    475        CHECK PAID     20030203   IA008314719542   0            535.71
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -290675.65   475        CHECK PAID     20030821   IA008314719637   0            285.81
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -275429.75   475        CHECK PAID     20030609   IA008314719664   0            335.08
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -119806.34   475        CHECK PAID     20030586   IA008314719667   0            646.66
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -288643.72   475        CHECK PAID     20030267   IA008314719672   0            292.33
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -285957.07   475        CHECK PAID     20030073   IA008314719695   0            303.54
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -220054.92   475        CHECK PAID     20028868   IA008314719696   0            485.46
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -301236.14   475        CHECK PAID     20029984   IA008314719697   0            192.35
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -194942.17   475        CHECK PAID     20028959   IA008314719700   0            520.82
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -276094.99   475        CHECK PAID     20027797   IA008314719701   0            332.54
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -220540.28   475        CHECK PAID     20028867   IA008314719706   0            485.36
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -301428.49   475        CHECK PAID     20029983   IA008314719707   0            192.35
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -247882      475        CHECK PAID     20030351   IA008314719714   0            419.14
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -221025.54   475        CHECK PAID     20030579   IA008314719715   0            485.26
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -234022.85   475        CHECK PAID     20030602   IA008314719718   0            447.07
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -304257.03   475        CHECK PAID     20027554   IA008314719719   0            93.94
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -302097.32   475        CHECK PAID     200303     IA008314719720   0            159.74
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -302257.05   475        CHECK PAID     20030424   IA008314719721   0            159.73
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -233575.78   475        CHECK PAID     20030480   IA008314719725   0            450.95
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -162215.71   475        CHECK PAID     20030160   IA008314719726   0            561.19
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -178076.63   475        CHECK PAID     20030582   IA008314719727   0            536.63




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -182347.15   475        CHECK PAID     20030571   IA008314719737   0            532.6
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -94385.86    475        CHECK PAID     20030213   IA008314719738   0            741.83
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -115231.72   475        CHECK PAID     20030381   IA008314719741   0            661.56
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -295053.01   475        CHECK PAID     20030405   IA008314719742   0            261.76
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -248298.41   475        CHECK PAID     20030705   IA008314719747   0            416.41
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -228563.35   475        CHECK PAID     20030874   IA008314719774   0            459.25
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -292921.15   475        CHECK PAID     20030884   IA008314719785   0            273.99
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -261659.87   475        CHECK PAID     20030088   IA008314719807   0            370.52
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -285653.53   475        CHECK PAID     20027950   IA008314719811   0            304.57
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -302986.32   475        CHECK PAID     20029111   IA008314719812   0            140.99
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -101629.6    475        CHECK PAID     20030117   IA008314725528   0            714.47
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -163334.88   475        CHECK PAID     20030115   IA008314727939   0            558.7
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -255152.14   475        CHECK PAID     20030295   IA008314728290   0            394.78
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -304790.83   475        CHECK PAID     402052     IA008314728604   0            65.01
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -142069.9    475        CHECK PAID     20030566   IA008314728607   0            593.91
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -186585.05   475        CHECK PAID     20030329   IA008314728633   0            527.51
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -216159.23   475        CHECK PAID     20030298   IA008314728634   0            489.12
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -258275.3    475        CHECK PAID     20030462   IA008314730059   0            386.06
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -280360.2    475        CHECK PAID     20030270   IA008314730473   0            322.33
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -264941.74   475        CHECK PAID     20030209   IA008314731551   0            359.97
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -169414.74   475        CHECK PAID     20030510   IA008314732288   0            549.7
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -163893.08   475        CHECK PAID     20030509   IA008314732593   0            558.2
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -75750.95    475        CHECK PAID     20030364   IA008314733210   0            1038.59
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -123004.17   475        CHECK PAID     20030374   IA008314733211   0            635.02
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -232218.04   475        CHECK PAID     20030628   IA008314733506   0            454.19
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -300203.4    475        CHECK PAID     20030345   IA008314733507   0            217.01
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -105798.63   475        CHECK PAID     20029618   IA008419038397   0            691.32
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -92900.12    475        CHECK PAID     20030702   IA008419038398   0            745.89
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -259798.53   475        CHECK PAID     20030165   IA008419044212   0            374.6
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -190774.09   475        CHECK PAID     20030155   IA008419046563   0            521.08
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -253572.37   475        CHECK PAID     20029849   IA008419068006   0            396.05
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -262395.72   475        CHECK PAID     20030299   IA008419072064   0            367.37
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -299330.05   475        CHECK PAID     20030752   IA008419072067   0            220
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -299110.05   475        CHECK PAID     20030753   IA008419072068   0            220.01
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -90613.91    475        CHECK PAID     20030404   IA008419072069   0            788.08
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -167214.32   475        CHECK PAID     20030608   IA008419072070   0            550.27
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -149705.09   475        CHECK PAID     20030531   IA008419072071   0            580.52
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -298210.13   475        CHECK PAID     20029872   IA008419078104   0            229.72
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -122369.15   475        CHECK PAID     20030232   IA008419079178   0            635.03
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -264220.27   475        CHECK PAID     20030662   IA008419081015   0            362.65
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -195462.94   475        CHECK PAID     20030427   IA008419083377   0            520.77
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -281002.3    475        CHECK PAID     20030710   IA008419084922   0            319.94
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -283813.1    475        CHECK PAID     20030709   IA008419084923   0            309.7
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -291523.65   475        CHECK PAID     20029426   IA008419103825   0            281.8
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -268884.1    475        CHECK PAID     20030883   IA008419113645   0            354.2
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -76749.05    475        CHECK PAID     20030897   IA008419125773   0            998.1
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -129920.22   475        CHECK PAID     20030206   IA008419125827   0            616.89
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -218111.62   475        CHECK PAID     20030208   IA008419125938   0            487.25
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -278077.41   475        CHECK PAID     20030822   IA008419143261   0            329.27
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -151436.6    475        CHECK PAID     20030778   IA008419143262   0            575.62
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -303625.36   475        CHECK PAID     20030139   IA008419169771   0            116.65
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -109207.56   475        CHECK PAID     20030124   IA008419169774   0            678.38
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -203674.72   475        CHECK PAID     20030639   IA008419169916   0            508.06
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -172149.44   475        CHECK PAID     20030437   IA008419169926   0            543.91
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -229939.54   475        CHECK PAID     20030850   IA008419169927   0            458.33
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -200623.68   475        CHECK PAID     20030294   IA008419169928   0            510.59
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -159970.46   475        CHECK PAID     20030250   IA008419169929   0            562.01
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -277088.31   475        CHECK PAID     20030750   IA008419169940   0            329.99
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -136056.69   475        CHECK PAID     20030249   IA008419170215   0            609.41
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -213704.89   475        CHECK PAID     20030057   IA008419170323   0            494.1
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -247042.27   475        CHECK PAID     20029878   IA008419170324   0            420.9
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -72420.43    475        CHECK PAID     20030162   IA008419170327   0            1322.59
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -218598.03   475        CHECK PAID     20029873   IA008419170330   0            486.41




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -165559.99   475        CHECK PAID     20029874   IA008419170331   0            554.38
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -251177.03   475        CHECK PAID     20029994   IA008419170332   0            402.12
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -248714.42   475        CHECK PAID     20029932   IA008419170344   0            416.01
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -179682.03   475        CHECK PAID     20029915   IA008419170416   0            533.53
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -223435.84   475        CHECK PAID     20029864   IA008419170549   0            478.87
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -109885.3    475        CHECK PAID     20029947   IA008419170551   0            677.74
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -299986.39   475        CHECK PAID     20030581   IA008419170972   0            218.24
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -242373.61   475        CHECK PAID     20030051   IA008419171050   0            431.36
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -240205.28   475        CHECK PAID     20030861   IA008419181768   0            437.11
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -168865.04   475        CHECK PAID     20030637   IA008419181826   0            550.2
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -207214.71   475        CHECK PAID     20030539   IA008419181827   0            504.87
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -275762.45   475        CHECK PAID     20029770   IA008419181950   0            332.7
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -281630.73   475        CHECK PAID     20030853   IA008419181951   0            314.08
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -228104.1    475        CHECK PAID     20030197   IA008419182240   0            459.93
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -165005.61   475        CHECK PAID     20030415   IA008419182241   0            555.46
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -224858.34   475        CHECK PAID     20030698   IA008419182242   0            472.62
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -291241.85   475        CHECK PAID     20030161   IA008419182340   0            282.51
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -295560.57   475        CHECK PAID     20030273   IA008419182962   0            253.78
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -304655.49   475        CHECK PAID     20030922   IA008419183658   0            71.22
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -297514.25   475        CHECK PAID     20029861   IA008419183659   0            239.39
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -187637.3    475        CHECK PAID     20029055   IA008419183662   0            525.72
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -154871.91   475        CHECK PAID     20030158   IA008419183663   0            570.37
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -263857.62   475        CHECK PAID     20030145   IA008419183730   0            364.46
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -238010.5    475        CHECK PAID     20030362   IA008419185742   0            440.84
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -297274.86   475        CHECK PAID     20029346   IA008419187386   0            240.61
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -296550.82   475        CHECK PAID     20030439   IA008419187387   0            243.52
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -297749.56   475        CHECK PAID     20030471   IA008419188295   0            235.31
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -280037.87   475        CHECK PAID     20029892   IA008419189215   0            325.31
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -251978.89   475        CHECK PAID     20029965   IA008419189519   0            400.75
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -285348.96   475        CHECK PAID     20030820   IA008419189612   0            305.94
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -282258.63   475        CHECK PAID     20030322   IA008419190637   0            313.9
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -182879.49   475        CHECK PAID     20030673   IA008419190638   0            532.34
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -291805      475        CHECK PAID     20030663   IA008419191297   0            281.35
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -219569.46   475        CHECK PAID     20030532   IA008419191298   0            485.71
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -123639.08   475        CHECK PAID     20030350   IA008514556898   0            634.91
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -266380.33   475        CHECK PAID     20030790   IA008514559523   0            359.62
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -294001.07   475        CHECK PAID     20030563   IA008514561868   0            264.4
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -225324.59   475        CHECK PAID     20029916   IA008514648341   0            466.25
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -240641.53   475        CHECK PAID     20028786   IA008514648357   0            436.25
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -273749.31   475        CHECK PAID     20030826   IA008514650167   0            340.53
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -269943.78   475        CHECK PAID     20030707   IA008514650220   0            352.67
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -259042.91   475        CHECK PAID     20029624   IA008514650221   0            382.38
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -137267.44   475        CHECK PAID     20030691   IA008514650235   0            604.82
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -181814.55   475        CHECK PAID     20030192   IA008514655522   0            532.61
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -171059.81   475        CHECK PAID     20030194   IA008514656148   0            547.12
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -190253.01   475        CHECK PAID     20030653   IA008514656149   0            522.64
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -93644.03    475        CHECK PAID     20030564   IA008514656161   0            743.91
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -197538.79   475        CHECK PAID     20030559   IA008514659641   0            517.84
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -295306.79   475        CHECK PAID     20030182   IA008514661754   0            253.78
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -272038.32   475        CHECK PAID     20029546   IA008514661755   0            346.19
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -274758.99   475        CHECK PAID     20030629   IA008514661756   0            335.7
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -292367.03   475        CHECK PAID     20028956   IA008514661871   0            281
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -140278.56   475        CHECK PAID     20029920   IA008514661874   0            601.33
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -111233.48   475        CHECK PAID     20029859   IA008514661875   0            672.98
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -303508.71   475        CHECK PAID     20023327   IA008514661878   0            122.02
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -243233.01   475        CHECK PAID     20029976   IA008514661882   0            429.28
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -237569.66   475        CHECK PAID     20029929   IA008514683895   0            441.17
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -303262.74   475        CHECK PAID     20030774   IA008514687468   0            136.87
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -264581.77   475        CHECK PAID     20029985   IA008514703908   0            361.5
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -238450.54   475        CHECK PAID     20030021   IA008514703918   0            440.04
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -149124.57   475        CHECK PAID     20029968   IA008514703920   0            582.29
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -288058.84   475        CHECK PAID     20030049   IA008514703922   0            296
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -86589.37    475        CHECK PAID     20030031   IA008514703972   0            827.02




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -269238.12   475        CHECK PAID     20030020   IA008514703977   0            354.02
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -84930.37    475        CHECK PAID     20029951   IA008514703985   0            840.35
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -152585.4    475        CHECK PAID     20030082   IA008514703988   0            573.51
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -195983.2    475        CHECK PAID     20029851   IA008514703990   0            520.26
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -202150.18   475        CHECK PAID     20028885   IA008514703994   0            508.38
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -290959.34   475        CHECK PAID     20030050   IA008514703998   0            283.69
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -71097.84    475        CHECK PAID     20029944   IA008514703999   0            1393.52
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -241510.51   475        CHECK PAID     20030107   IA008514704007   0            433.36
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -140879.11   475        CHECK PAID     20030236   IA008514704011   0            600.55
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -282882      475        CHECK PAID     20030685   IA008514704088   0            311.03
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -277748.14   475        CHECK PAID     20029045   IA008514704822   0            329.89
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -304508.79   475        CHECK PAID     20029414   IA008514704952   0            77.82
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -227182.02   475        CHECK PAID     20030195   IA008514707887   0            462.99
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -244082.57   475        CHECK PAID     20029940   IA008514707893   0            424.78
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -215670.11   475        CHECK PAID     20030512   IA008514707906   0            490.42
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -83246.55    475        CHECK PAID     20030245   IA008514707910   0            866.86
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -212218.16   475        CHECK PAID     20030307   IA008514707912   0            497.99
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -261289.35   475        CHECK PAID     20030221   IA008514707918   0            371.27
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -81502.48    475        CHECK PAID     20030425   IA008514707967   0            904.1
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -210224.01   475        CHECK PAID     20028914   IA008514707977   0            499.18
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -241077.15   475        CHECK PAID     20030834   IA008514710756   0            435.62
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -217624.37   475        CHECK PAID     20030554   IA008514710757   0            487.59
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -286260.36   475        CHECK PAID     20030196   IA008514710758   0            303.29
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -92154.23    475        CHECK PAID     20030376   IA008514710760   0            757
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -99485.03    475        CHECK PAID     20030367   IA008514710761   0            715.21
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -295812.65   475        CHECK PAID     20030053   IA008514710765   0            252.08
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -274423.29   475        CHECK PAID     20030738   IA008514710802   0            336.96
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -284737.05   475        CHECK PAID     20030832   IA008514710803   0            306.28
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -168314.84   475        CHECK PAID     20030230   IA008514710805   0            550.26
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -126169.9    475        CHECK PAID     20030479   IA008514710807   0            630.75
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -117200.94   475        CHECK PAID     20030577   IA008514710809   0            654.96
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -107171.56   475        CHECK PAID     20030455   IA008514710820   0            684.78
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -143846.44   475        CHECK PAID     20030511   IA008514710822   0            591.28
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -293736.67   475        CHECK PAID     20030856   IA008514710823   0            269.37
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -293195.14   475        CHECK PAID     20030855   IA008514710824   0            273.99
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -289519.23   475        CHECK PAID     20030858   IA008514710829   0            291.26
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -290101.44   475        CHECK PAID     20030809   IA008514710831   0            291.06
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -277418.25   475        CHECK PAID     20030742   IA008514710834   0            329.94
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -78703.13    475        CHECK PAID     20030469   IA008514710835   0            967.68
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -290389.84   475        CHECK PAID     20030803   IA008514710843   0            288.4
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -292647.16   475        CHECK PAID     20030840   IA008514710846   0            280.13
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -267099.29   475        CHECK PAID     20030682   IA008514710848   0            359.38
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -173232.21   475        CHECK PAID     20027611   IA008514710849   0            540.71
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -208724.3    475        CHECK PAID     20028768   IA008514710850   0            502.12
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -252778.17   475        CHECK PAID     20026513   IA008514710851   0            398.82
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -131153.65   475        CHECK PAID     20030578   IA008514710854   0            616.7
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -304065.44   475        CHECK PAID     20024786   IA008514710855   0            104.94
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -273408.78   475        CHECK PAID     20027476   IA008514710861   0            340.86
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -245778.74   475        CHECK PAID     20030872   IA008514710862   0            423.35
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -130536.95   475        CHECK PAID     20029992   IA008514710870   0            616.73
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -272382.67   475        CHECK PAID     20030851   IA008514710872   0            344.35
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -213210.79   475        CHECK PAID     20028858   IA008514710877   0            496.1
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -249541.58   475        CHECK PAID     20029990   IA008514710885   0            412.27
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -302556.84   475        CHECK PAID     20030610   IA008514710891   0            147.29
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -284430.77   475        CHECK PAID     20030389   IA008514710892   0            308.63
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -181281.94   475        CHECK PAID     20030227   IA008514713006   0            532.88
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -180749.06   475        CHECK PAID     20029383   IA008514713011   0            533.51
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -180215.55   475        CHECK PAID     20030474   IA008514713012   0            533.52
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -265661.08   475        CHECK PAID     20030412   IA008514713013   0            359.67
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -209724.83   475        CHECK PAID     20030496   IA008514713023   0            499.33
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -145617.59   475        CHECK PAID     20030513   IA008514713028   0            590.38
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -158843.87   475        CHECK PAID     20027982   IA008514713033   0            564.67
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -152011.89   475        CHECK PAID     20029143   IA008514713034   0            575.29




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -246200.14   475        CHECK PAID     20030243   IA008514713035   0            421.4
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -133610.33   475        CHECK PAID     20030565   IA008514713038   0            613.67
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -297034.25   475        CHECK PAID     20030365   IA008514713052   0            241.64
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -226256      475        CHECK PAID     20029595   IA008514713058   0            465.33
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -189730.37   475        CHECK PAID     20030683   IA008514713059   0            522.92
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -98045.84    475        CHECK PAID     20030289   IA008514713062   0            725.47
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -281944.73   475        CHECK PAID     20025793   IA008514713064   0            314
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -131768.33   475        CHECK PAID     20027981   IA008514713066   0            614.68
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -229022.33   475        CHECK PAID     20030242   IA008514713067   0            458.98
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -132382.99   475        CHECK PAID     20029142   IA008514713068   0            614.66
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -215179.69   475        CHECK PAID     20030281   IA008514713075   0            491.33
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -142663.51   475        CHECK PAID     20030636   IA008514713079   0            593.61
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -197020.95   475        CHECK PAID     20030193   IA008514713083   0            518.29
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -134223.96   475        CHECK PAID     20030411   IA008514713635   0            613.63
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -222956.97   475        CHECK PAID     20030797   IA008514713659   0            480.71
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -235800.94   475        CHECK PAID     20030058   IA008514713680   0            444.27
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -263127.91   475        CHECK PAID     20030720   IA008514713687   0            365.67
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -202658.56   475        CHECK PAID     20029917   IA008514713699   0            508.38
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -98769.82    475        CHECK PAID     20028895   IA008514714749   0            723.98
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -118508.36   475        CHECK PAID     20028884   IA008514714773   0            653.61
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -286863.7    475        CHECK PAID     20028775   IA008514714774   0            301.03
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -199601.53   475        CHECK PAID     20029051   IA008514714777   0            514.31
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -288351.39   475        CHECK PAID     20029982   IA008538324956   0            292.55
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -205699.65   475        CHECK PAID     20028916   IA008538324958   0            505.33
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -239768.17   475        CHECK PAID     20030030   IA008538324959   0            437.77
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -275094.67   475        CHECK PAID     20030792   IA008613722735   0            335.68
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -298665.77   475        CHECK PAID     20030291   IA008613815860   0            227.03
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -96591.97    475        CHECK PAID     20030087   IA008627016055   0            728.61
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -219083.75   475        CHECK PAID     20030308   IA008627016692   0            485.72
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -203166.66   475        CHECK PAID     20029964   IA008627020804   0            508.1
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -296307.3    475        CHECK PAID     20029948   IA008637631432   0            245.69
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -256330.98   475        CHECK PAID     500        IA008649598779   0            391.26
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -221993.9    475        CHECK PAID     166        IA008649598880   0            484.18
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -158279.2    475        CHECK PAID     20030360   IA008714889648   0            566.15
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -153157.82   475        CHECK PAID     20030235   IA008714912170   0            572.42
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -175389.45   475        CHECK PAID     20030065   IA008714938149   0            539.07
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -206709.84   475        CHECK PAID     20029858   IA008714938150   0            504.97
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -276427.43   475        CHECK PAID     20029668   IA008714944849   0            332.44
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -284122.14   475        CHECK PAID     20030751   IA008714944850   0            309.04
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -257501.09   475        CHECK PAID     20030711   IA008714947072   0            389.49
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -211720.17   475        CHECK PAID     20029943   IA008734915898   0            498.15
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -206204.87   475        CHECK PAID     20029953   IA008734915900   0            505.22
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -191816.25   475        CHECK PAID     20029934   IA008734915901   0            521.08
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -234912.4    475        CHECK PAID     20030876   IA008734916658   0            444.67
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -267458.02   475        CHECK PAID     20028840   IA008734916859   0            358.73
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -231763.85   475        CHECK PAID     20027677   IA008734916860   0            455.39
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -259423.93   475        CHECK PAID     20030860   IA008734916874   0            381.02
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -148542.28   475        CHECK PAID     20030105   IA008810248359   0            582.64
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -80598.38    475        CHECK PAID     20030793   IA008810282315   0            945.93
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -127427.58   475        CHECK PAID     20030164   IA008810365767   0            627.6
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -183411.43   475        CHECK PAID     20030783   IA008810366267   0            531.94
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -95863.36    475        CHECK PAID     20030125   IA008810366268   0            736.43
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -299768.15   475        CHECK PAID     20030847   IA008810366271   0            218.99
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -303386.69   475        CHECK PAID     402053     IA008810366272   0            123.95
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -169964.42   475        CHECK PAID     20030464   IA008810366273   0            549.68
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -254362.55   475        CHECK PAID     20030184   IA008810366342   0            394.92
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -236244.03   475        CHECK PAID     20030449   IA008810377000   0            443.09
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -178612.79   475        CHECK PAID     20030202   IA008810377001   0            536.16
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -301775.28   475        CHECK PAID     20029500   IA008810383760   0            166.45
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -303854.88   475        CHECK PAID     20030810   IA008810384385   0            114.09
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -279387.14   475        CHECK PAID     20030819   IA008810384386   0            326.73
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -289227.97   475        CHECK PAID     20030716   IA008810384387   0            292.11
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -246621.37   475        CHECK PAID     20030756   IA008810384388   0            421.23




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                         Case Number                       Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                      August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                     Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                         Ref No     Bank Ref         Credit Amt   Debit Amt
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -159408.45   475        CHECK PAID                        20030882   IA008810384389   0            564.58
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -176466.54   475        CHECK PAID                        20030791   IA008810384390   0            538.46
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -287163.96   475        CHECK PAID                        20030772   IA008810384392   0            300.26
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -301043.79   475        CHECK PAID                        20030759   IA008810384394   0            206.54
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -287762.84   475        CHECK PAID                        20030859   IA008810384396   0            298.68
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -107850.65   475        CHECK PAID                        20030207   IA008810384397   0            679.09
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -288935.86   475        CHECK PAID                        20030831   IA008810384398   0            292.14
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -129303.33   475        CHECK PAID                        20030863   IA008810384400   0            623.44
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -278406.19   475        CHECK PAID                        20030813   IA008810384401   0            328.78
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -281316.65   475        CHECK PAID                        20030729   IA008810384403   0            314.35
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -304725.82   475        CHECK PAID                        20030775   IA008810384404   0            70.33
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -299549.16   475        CHECK PAID                        20029691   IA008810384405   0            219.11
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -225790.67   475        CHECK PAID                        20030880   IA008810384406   0            466.08
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -256721.54   475        CHECK PAID                        20030704   IA008810384407   0            390.56
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -279060.41   475        CHECK PAID                        20030808   IA008810384408   0            327.06
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -301608.83   475        CHECK PAID                        20030741   IA008810384409   0            180.34
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -294264.65   475        CHECK PAID                        20030788   IA008810384410   0            263.58
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -82379.69    475        CHECK PAID                        20030529   IA008810384412   0            877.21
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -128679.89   475        CHECK PAID                        20030123   IA008810384413   0            625.07
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -247462.86   475        CHECK PAID                        20030005   IA008810394676   0            420.59
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -229481.21   475        CHECK PAID                        20030039   IA008810395268   0            458.88
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -250774.91   475        CHECK PAID                        20029933   IA008810395271   0            410.56
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -217136.78   475        CHECK PAID                        20030179   IA008810396753   0            488.65
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -73656.92    475        CHECK PAID                        20030894   IA008820203290   0            1236.49
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -302703.31   475        CHECK PAID                        20030157   IA008845157806   0            146.47
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -193900.53   475        CHECK PAID                        20030146   IA008845157823   0            521.07
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA090600000059   304855.83    0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            22.5         254        POSTING ERROR CORRECTION CREDIT   10353603   IA009930852917   22.5         0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            222.5        254        POSTING ERROR CORRECTION CREDIT   10354296   IA009930852919   200          0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -39430.75    475        CHECK PAID                        20029979   IA000387698859   0            614.25
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -109843.16   475        CHECK PAID                        20029889   IA000387699814   0            243.62
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -51430.54    475        CHECK PAID                        20029274   IA000477193204   0            549.32
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -97536.46    475        CHECK PAID                        20030817   IA000477428240   0            349.05
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -87232.49    475        CHECK PAID                        20030686   IA000573412521   0            397.43
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -103148.6    475        CHECK PAID                        20030276   IA000573452787   0            312.18
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -110308.91   475        CHECK PAID                        20029178   IA000573452788   0            232.5
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -81819.22    475        CHECK PAID                        20030740   IA000573529271   0            434.91
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -37574.89    475        CHECK PAID                        20029988   IA000574223161   0            622.16
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -64506.51    475        CHECK PAID                        20028873   IA000574223162   0            505.4
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -45866.35    475        CHECK PAID                        20028830   IA000620461792   0            561.36
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -91438.08    475        CHECK PAID                        20030857   IA000620462905   0            373
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -111801.47   475        CHECK PAID                        20030095   IA000620463777   0            195.06
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -25999.45    475        CHECK PAID                        20029893   IA000620463778   0            867.78
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11868.09    475        CHECK PAID                        20030499   IA001582587526   0            512.58
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -19108.42    475        CHECK PAID                        20029406   IA001582587527   0            207.36
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8019.66     475        CHECK PAID                        20030396   IA001582587540   0            577.51
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -40651.68    475        CHECK PAID                        20030358   IA001582587557   0            607.26
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -36952.73    475        CHECK PAID                        20030429   IA001582587573   0            627.23
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14136.54    475        CHECK PAID                        20029336   IA001582587575   0            425.4
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -90689.3     475        CHECK PAID                        20030321   IA001585065106   0            376.39
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1721.26     475        CHECK PAID                        20030886   IA001585191010   0            760.04
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12831.52    475        CHECK PAID                        20029038   IA001586159521   0            451.81
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18901.06    475        CHECK PAID                        20030143   IA001586159522   0            224.49
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16827.01    475        CHECK PAID                        20030163   IA001586506217   0            353.85
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6863.5      475        CHECK PAID                        20030108   IA001586506239   0            586.81
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -102208.99   475        CHECK PAID                        20029960   IA001586506270   0            316.48
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -20578.43    475        CHECK PAID                        20030890   IA001586506464   0            1408.64
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -111606.41   475        CHECK PAID                        20029959   IA001586506475   0            202.99
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -33770.04    475        CHECK PAID                        20029991   IA001586506481   0            666.13
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -28258.93    475        CHECK PAID                        20030018   IA001586506484   0            710.89
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17178.63    475        CHECK PAID                        20026293   IA001587199078   0            351.62
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14550.27    475        CHECK PAID                        20027397   IA001587199079   0            413.73
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13711.14    475        CHECK PAID                        20028534   IA001587199080   0            437.88




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16473.16    475        CHECK PAID     20029678   IA001587199081   0            371.3
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -19169.79    475        CHECK PAID     20030762   IA001587199082   0            61.37
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -57861.18    475        CHECK PAID     20030335   IA001587199226   0            518
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18415.32    475        CHECK PAID     20030681   IA001587758431   0            290.22
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -115035.86   475        CHECK PAID     20023549   IA001588002612   0            77.87
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -109354.62   475        CHECK PAID     20030769   IA001588002987   0            249.65
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -108071.28   475        CHECK PAID     20029685   IA001588002988   0            267.19
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -114877.47   475        CHECK PAID     20030375   IA001588016550   0            96.41
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9170.68     475        CHECK PAID     20030478   IA001588016621   0            573.51
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11355.51    475        CHECK PAID     20030171   IA001588016637   0            525.74
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -76527.16    475        CHECK PAID     20029885   IA001588376289   0            448.61
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -47549.29    475        CHECK PAID     20029888   IA001588376290   0            560.74
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -80073.66    475        CHECK PAID     20029993   IA001588376293   0            438.7
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -36325.5     475        CHECK PAID     20030014   IA001588376319   0            632.05
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18125.1     475        CHECK PAID     20030761   IA001588376354   0            297.26
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15723.45    475        CHECK PAID     20030521   IA001588857257   0            381.78
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14948.46    475        CHECK PAID     20029753   IA001588857394   0            398.19
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16101.86    475        CHECK PAID     20030837   IA001588857395   0            378.41
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -114009.66   475        CHECK PAID     20027235   IA001588857446   0            144.68
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -115184.18   475        CHECK PAID     20028357   IA001588857447   0            73.16
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17509.82    475        CHECK PAID     20030723   IA001589390328   0            331.19
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2458.44     475        CHECK PAID     20029894   IA001680864531   0            737.18
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -961.22      475        CHECK PAID     20030097   IA001680864569   0            961.02
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -102523.07   475        CHECK PAID     20030172   IA001681059835   0            314.08
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -106701.95   475        CHECK PAID     20030304   IA001988059012   0            279.99
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -114478.44   475        CHECK PAID     20030223   IA001988059087   0            110.03
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -113397.14   475        CHECK PAID     20029526   IA001988059164   0            164.46
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18676.57    475        CHECK PAID     20030815   IA002247562962   0            261.25
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17827.84    475        CHECK PAID     20030789   IA002247563388   0            318.02
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -27548.04    475        CHECK PAID     20030388   IA002247563396   0            710.94
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8597.17     475        CHECK PAID     20030408   IA002489020255   0            577.51
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10829.77    475        CHECK PAID     20030633   IA002489029763   0            534.49
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -113864.98   475        CHECK PAID     20030921   IA003180984813   0            147.11
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -79634.96    475        CHECK PAID     20030096   IA003180984814   0            439.11
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -70954.14    475        CHECK PAID     20030700   IA003180984939   0            482.58
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -100932.47   475        CHECK PAID     20030701   IA003180984940   0            327.41
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10295.28    475        CHECK PAID     20030672   IA003446290319   0            555.78
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12379.71    475        CHECK PAID     20029852   IA003446290349   0            511.62
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -44158.5     475        CHECK PAID     20029437   IA003543534275   0            574.16
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -97884.55    475        CHECK PAID     20030526   IA003543534276   0            348.09
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13273.26    475        CHECK PAID     20030697   IA003543534627   0            441.74
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -107535.21   475        CHECK PAID     20030483   IA003681366868   0            275.55
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -111196.14   475        CHECK PAID     20029391   IA003681366869   0            212.4
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3145.58     475        CHECK PAID     20030423   IA003989237798   0            687.14
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4452.33     475        CHECK PAID     20030265   IA003989238038   0            631.55
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -84788.22    475        CHECK PAID     20030138   IA003989574479   0            416.95
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3820.78     475        CHECK PAID     20030296   IA003989574772   0            675.2
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6276.69     475        CHECK PAID     20030098   IA004086760876   0            600.19
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7442.15     475        CHECK PAID     20029902   IA004187732222   0            578.65
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -98578.05    475        CHECK PAID     20029912   IA004187732291   0            346.09
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -56823.74    475        CHECK PAID     20030346   IA005744336402   0            521.08
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5676.5      475        CHECK PAID     20030254   IA005940396424   0            602.59
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -110076.41   475        CHECK PAID     20029963   IA006385322692   0            233.25
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -93630.52    475        CHECK PAID     20030330   IA006385336976   0            359.68
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -59923.62    475        CHECK PAID     20029897   IA006385564218   0            514.18
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -72393.66    475        CHECK PAID     20029900   IA006385835250   0            478.7
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -109599.54   475        CHECK PAID     20026224   IA006385962084   0            244.92
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -68518.48    475        CHECK PAID     20027327   IA006385962284   0            498.13
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -105275.76   475        CHECK PAID     20028467   IA006385962498   0            301.86
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -115252.48   475        CHECK PAID     20029611   IA006385962712   0            68.3
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -78754.69    475        CHECK PAID     20030696   IA006385963708   0            442.84
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15341.67    475        CHECK PAID     20030645   IA007543321528   0            393.21
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9739.5      475        CHECK PAID     20030550   IA007543321654   0            568.82




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5073.91     475        CHECK PAID     20030285   IA007543321656   0            621.58
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -32434.48    475        CHECK PAID     20030623   IA008113899314   0            684.46
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -48667.15    475        CHECK PAID     20029540   IA008113899315   0            558.27
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -103455.63   475        CHECK PAID     20030318   IA008113964523   0            307.03
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -92540.16    475        CHECK PAID     20030733   IA008114019193   0            366.43
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -86835.06    475        CHECK PAID     20030076   IA008114020472   0            406.07
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -111403.42   475        CHECK PAID     20029936   IA008114020473   0            207.28
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -84371.27    475        CHECK PAID     20029871   IA008114020474   0            417.52
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -110983.74   475        CHECK PAID     20030013   IA008114020475   0            219.8
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -74256.21    475        CHECK PAID     20030516   IA008114020532   0            462.15
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -71435.5     475        CHECK PAID     20030239   IA008114029480   0            481.36
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -114781.06   475        CHECK PAID     20029518   IA008114035586   0            99.04
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -80948.34    475        CHECK PAID     20029050   IA008114040084   0            436.3
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -114130.51   475        CHECK PAID     20030153   IA008114040085   0            120.85
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -45304.99    475        CHECK PAID     20027925   IA008114040351   0            572.34
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -62988.71    475        CHECK PAID     20030305   IA008114076556   0            507.11
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -86022.84    475        CHECK PAID     20030694   IA008124535077   0            408.88
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -106140.72   475        CHECK PAID     20030441   IA008214322268   0            281.65
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -92906.48    475        CHECK PAID     20030798   IA008214329774   0            366.32
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -86428.99    475        CHECK PAID     20029784   IA008214474903   0            406.15
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -38816.5     475        CHECK PAID     20030779   IA008314731550   0            619.56
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -82253.79    475        CHECK PAID     20030083   IA008314780332   0            434.57
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -28969.49    475        CHECK PAID     20029875   IA008314819670   0            710.56
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -35058.43    475        CHECK PAID     20029017   IA008314961221   0            638.82
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -76974.94    475        CHECK PAID     20030126   IA008314961222   0            447.78
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -95426.08    475        CHECK PAID     20029636   IA008314966936   0            357.71
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -99258.4     475        CHECK PAID     20030719   IA008314966937   0            340.16
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -114682.02   475        CHECK PAID     20030706   IA008314966938   0            101.3
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -29667.46    475        CHECK PAID     20030043   IA008314969890   0            697.97
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -98918.24    475        CHECK PAID     20029987   IA008314969908   0            340.19
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -74716.95    475        CHECK PAID     20030041   IA008314969909   0            460.74
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -71914.96    475        CHECK PAID     20030077   IA008314969911   0            479.46
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -41841.67    475        CHECK PAID     20030042   IA008314969912   0            588.54
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -115305.15   475        CHECK PAID     20030574   IA008314970804   0            52.67
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -54162.42    475        CHECK PAID     20030692   IA008314970805   0            544.19
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43007.58    475        CHECK PAID     20029986   IA008314970874   0            582.55
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -92173.73    475        CHECK PAID     20030054   IA008314970894   0            367.46
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -49777.02    475        CHECK PAID     20029865   IA008314970902   0            553.46
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -112365.48   475        CHECK PAID     20030599   IA008314970923   0            182.55
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -88403.19    475        CHECK PAID     20030448   IA008314971043   0            388.71
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -46988.55    475        CHECK PAID     20030260   IA008314971044   0            560.85
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -65011.74    475        CHECK PAID     20030536   IA008314971055   0            505.23
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -67021.94    475        CHECK PAID     20030736   IA008314971058   0            500.7
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -89553.55    475        CHECK PAID     20030661   IA008314971060   0            382.47
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -115353.82   475        CHECK PAID     20030542   IA008314971067   0            48.67
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -85204.21    475        CHECK PAID     20030624   IA008314971068   0            415.99
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -61973.41    475        CHECK PAID     20030713   IA008314971111   0            510.23
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -115111.02   475        CHECK PAID     20030597   IA008314971721   0            75.16
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -81384.31    475        CHECK PAID     20030216   IA008314971727   0            435.97
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -75627.48    475        CHECK PAID     20029950   IA008314971734   0            454.52
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -88788.09    475        CHECK PAID     20030072   IA008314971735   0            384.9
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -93990.2     475        CHECK PAID     20030502   IA008419235362   0            359.68
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -60951.18    475        CHECK PAID     20030503   IA008419279770   0            513.68
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -58378.73    475        CHECK PAID     20028256   IA008419279771   0            517.55
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -57343.18    475        CHECK PAID     20029409   IA008419279772   0            519.44
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -114368.41   475        CHECK PAID     20029954   IA008419279784   0            118.06
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -77422.21    475        CHECK PAID     20028835   IA008419279785   0            447.27
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -104671.21   475        CHECK PAID     20029911   IA008419279786   0            302.71
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -69497.57    475        CHECK PAID     20030626   IA008419279797   0            487.99
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -102836.42   475        CHECK PAID     20030739   IA008419279806   0            313.35
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -100270.65   475        CHECK PAID     20029656   IA008419279807   0            334.96
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -96485.34    475        CHECK PAID     20030766   IA008419279818   0            352.87
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -50881.22    475        CHECK PAID     20030198   IA008419279849   0            550.87




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -101892.51   475        CHECK PAID     20029651   IA008419279881   0            317.86
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -112543.85   475        CHECK PAID     20030734   IA008419279882   0            178.37
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -56302.66    475        CHECK PAID     20030263   IA008419279889   0            521.72
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -88014.48    475        CHECK PAID     20030269   IA008419279895   0            389.58
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -70471.56    475        CHECK PAID     20029973   IA008419289632   0            486.24
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -113232.68   475        CHECK PAID     20028856   IA008419289633   0            164.66
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -113557.6    475        CHECK PAID     20029823   IA008419336697   0            160.46
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -115388.7    475        CHECK PAID     20022878   IA008419476868   0            34.88
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -114250.35   475        CHECK PAID     20029903   IA008419477041   0            119.84
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -51979.86    475        CHECK PAID     20030327   IA008419477061   0            549.32
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -76078.55    475        CHECK PAID     20028066   IA008419477062   0            451.07
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -80512.04    475        CHECK PAID     20030191   IA008419477068   0            438.38
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -94709.51    475        CHECK PAID     20030799   IA008419477131   0            359.63
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -77868.97    475        CHECK PAID     20030537   IA008419477136   0            446.76
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -109104.97   475        CHECK PAID     20030142   IA008419477147   0            251.97
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -87624.9     475        CHECK PAID     20027255   IA008419477156   0            392.41
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -66019.44    475        CHECK PAID     20028380   IA008419477157   0            502.84
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -62481.6     475        CHECK PAID     20029531   IA008419477158   0            508.19
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -64001.11    475        CHECK PAID     20030615   IA008419477159   0            505.95
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -78311.85    475        CHECK PAID     20030136   IA008419477185   0            442.88
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43584.34    475        CHECK PAID     20029351   IA008438718972   0            576.76
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -94349.88    475        CHECK PAID     20030444   IA008438718973   0            359.68
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -83535.93    475        CHECK PAID     20028194   IA008438718974   0            418.08
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -75172.96    475        CHECK PAID     20030530   IA008514707960   0            456.01
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -113068.02   475        CHECK PAID     20029710   IA008514710762   0            173.99
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -108338.39   475        CHECK PAID     20030794   IA008514710763   0            267.11
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -54705.02    475        CHECK PAID     20026877   IA008514713065   0            542.6
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -42425.03    475        CHECK PAID     20030648   IA008514728261   0            583.36
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -111995.88   475        CHECK PAID     20030316   IA008514761558   0            194.41
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -65516.6     475        CHECK PAID     20029845   IA008514770144   0            504.86
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -46427.7     475        CHECK PAID     20029949   IA008514829794   0            561.35
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -63495.16    475        CHECK PAID     20030420   IA008514838948   0            506.45
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -53072.9     475        CHECK PAID     20029459   IA008514841911   0            545.92
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -52526.98    475        CHECK PAID     20030548   IA008514841912   0            547.12
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -61463.18    475        CHECK PAID     20029853   IA008514846406   0            512
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -59409.44    475        CHECK PAID     20028720   IA008514846407   0            514.32
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -50330.35    475        CHECK PAID     20028774   IA008514846408   0            553.33
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -112894.03   475        CHECK PAID     20029904   IA008514846409   0            174.92
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -107804.09   475        CHECK PAID     20030828   IA008514872666   0            268.88
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -21948.09    475        CHECK PAID     20029974   IA008514932946   0            1369.66
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -95779.44    475        CHECK PAID     20029955   IA008514932998   0            353.36
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -105859.07   475        CHECK PAID     20030421   IA008514933074   0            287.86
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -60437.5     475        CHECK PAID     20030370   IA008514933152   0            513.88
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -41253.13    475        CHECK PAID     20030393   IA008514933391   0            601.45
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -69985.32    475        CHECK PAID     20030757   IA008514933402   0            487.75
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -55247.38    475        CHECK PAID     20030224   IA008514933424   0            542.36
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -31750.02    475        CHECK PAID     20029125   IA008514933425   0            690.63
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -30365.21    475        CHECK PAID     20030225   IA008514933426   0            697.75
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -97187.41    475        CHECK PAID     20030492   IA008514933427   0            349.39
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -108599.38   475        CHECK PAID     20030726   IA008514933435   0            260.99
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -106981.02   475        CHECK PAID     20029643   IA008514933436   0            279.07
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -58895.12    475        CHECK PAID     20030228   IA008514933458   0            516.39
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -95068.37    475        CHECK PAID     20030827   IA008514933462   0            358.86
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -100605.06   475        CHECK PAID     20030717   IA008613885261   0            334.41
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -91065.08    475        CHECK PAID     20030534   IA008613918499   0            375.78
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -83953.75    475        CHECK PAID     20030473   IA008614002328   0            417.82
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -106421.96   475        CHECK PAID     20030613   IA008614018610   0            281.24
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -104973.9    475        CHECK PAID     20030576   IA008614018620   0            302.69
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -89935.26    475        CHECK PAID     20030862   IA008614020225   0            381.71
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -79195.85    475        CHECK PAID     20029477   IA008614120451   0            441.16
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -83117.85    475        CHECK PAID     20030353   IA008614120544   0            431.23
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -69009.58    475        CHECK PAID     20030489   IA008614120587   0            491.1
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -24148.37    475        CHECK PAID     20030888   IA008614129739   0            1002.64




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                         Case Number                       Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                      August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                     Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                         Ref No     Bank Ref         Credit Amt   Debit Amt
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -113717.87   475        CHECK PAID                        20030151   IA008649834099   0            160.27
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -68020.35    475        CHECK PAID                        20029047   IA008649834100   0            499.09
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -53618.23    475        CHECK PAID                        20030002   IA008715031264   0            545.33
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -38196.94    475        CHECK PAID                        20030523   IA008715035977   0            622.05
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -96838.02    475        CHECK PAID                        20030332   IA008715037892   0            352.68
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -93270.84    475        CHECK PAID                        20030805   IA008715042778   0            364.36
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -31059.39    475        CHECK PAID                        20030089   IA008715042782   0            694.18
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -55780.94    475        CHECK PAID                        20030470   IA008715042818   0            533.56
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -99598.19    475        CHECK PAID                        20030596   IA008715042836   0            339.79
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -112182.93   475        CHECK PAID                        20029850   IA008715042885   0            187.05
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -48108.88    475        CHECK PAID                        20030340   IA008715043155   0            559.59
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -66521.24    475        CHECK PAID                        20030067   IA008715084275   0            501.8
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -107259.66   475        CHECK PAID                        20030678   IA008715096227   0            278.64
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -101574.65   475        CHECK PAID                        20030652   IA008715097073   0            319.07
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -112719.11   475        CHECK PAID                        20030575   IA008715098641   0            175.26
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -108853      475        CHECK PAID                        20029621   IA008715099685   0            253.62
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -114957.99   475        CHECK PAID                        20030214   IA008715100285   0            80.52
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -104368.5    475        CHECK PAID                        20030177   IA008715101932   0            303.52
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -110763.94   475        CHECK PAID                        20030181   IA008715102041   0            224.86
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -34419.61    475        CHECK PAID                        20030033   IA008715128352   0            649.57
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -26837.1     475        CHECK PAID                        20030141   IA008715199214   0            837.65
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -25131.67    475        CHECK PAID                        20030003   IA008715199596   0            983.3
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -44732.65    475        CHECK PAID                        20030048   IA008715200248   0            574.15
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -35693.45    475        CHECK PAID                        20030217   IA008715200509   0            635.02
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -82686.62    475        CHECK PAID                        20030601   IA008715200590   0            432.83
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -49223.56    475        CHECK PAID                        20030061   IA008715200926   0            556.41
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -104064.98   475        CHECK PAID                        20030148   IA008715200927   0            303.53
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -103761.45   475        CHECK PAID                        20030118   IA008715260976   0            305.82
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -33103.91    475        CHECK PAID                        20030401   IA008728910198   0            669.43
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -105571.21   475        CHECK PAID                        20029946   IA008734896848   0            295.45
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -96132.47    475        CHECK PAID                        20029945   IA008734896876   0            353.03
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -67521.26    475        CHECK PAID                        20030501   IA008745760888   0            499.32
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -85613.96    475        CHECK PAID                        20030426   IA008810416222   0            409.75
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -99935.69    475        CHECK PAID                        20030331   IA008810417026   0            337.5
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23145.73    475        CHECK PAID                        20030887   IA008810442836   0            1197.64
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -90312.91    475        CHECK PAID                        20029433   IA008810500641   0            377.65
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -73794.06    475        CHECK PAID                        20028803   IA008810525841   0            462.89
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -73331.17    475        CHECK PAID                        20030724   IA008810525843   0            466.07
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -114580.72   475        CHECK PAID                        20030871   IA008810525844   0            102.28
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -89171.08    475        CHECK PAID                        20030782   IA008810525845   0            382.99
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -98231.96    475        CHECK PAID                        20030781   IA008810525846   0            347.41
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -91806.27    475        CHECK PAID                        20030814   IA008810525847   0            368.19
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -110539.08   475        CHECK PAID                        20030765   IA008810525855   0            230.17
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -40044.42    475        CHECK PAID                        20030603   IA008810527169   0            613.67
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -101255.58   475        CHECK PAID                        20030616   IA008810527200   0            323.11
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -72865.1     475        CHECK PAID                        20030188   IA008810562958   0            471.44
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            159.54       475        CHECK PAID                        20029892   IA009930863871   0            325.51
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            1321.19      475        CHECK PAID                        20030166   IA009930863872   0            484.18
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            1805.37      475        CHECK PAID                        20030259   IA009930863873   0            663.53
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -0.2         475        CHECK PAID                        20030337   IA009930863874   0            159.74
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            485.05       475        CHECK PAID                        20030500   IA009930863875   0            391.26
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            876.31       475        CHECK PAID                        20030836   IA009930863876   0            444.88
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA090900000053   115388.7     0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            484.18       254        POSTING ERROR CORRECTION CREDIT   166        IA009930862030   484.18       0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            875.44       254        POSTING ERROR CORRECTION CREDIT   500        IA009930862031   391.26       0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            1538.97      254        POSTING ERROR CORRECTION CREDIT   30259      IA009930862032   663.53       0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            1698.71      254        POSTING ERROR CORRECTION CREDIT   200303     IA009930862033   159.74       0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            2143.59      254        POSTING ERROR CORRECTION CREDIT   200308     IA009930862034   444.88       0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            2468.9       254        POSTING ERROR CORRECTION CREDIT   20029892   IA009930862035   325.31       0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -30555.29    475        CHECK PAID                        20030451   IA000574986920   0            412.81
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -36700.45    475        CHECK PAID                        20030414   IA000620470910   0            322.33
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -37661.6     475        CHECK PAID                        20030800   IA000620470930   0            317.53
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12703.52    475        CHECK PAID                        20030430   IA000620470931   0            652.43




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                  UST-14A
Wells Fargo                                                                                                                                                                         Case Number    Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr   August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                  Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc      Ref No     Bank Ref         Credit Amt   Debit Amt
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -39167.35    475        CHECK PAID     20030816   IA001585191161   0            290.17
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -42091.45    475        CHECK PAID     20030008   IA001586506583   0            158.9
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1933.19     475        CHECK PAID     20029928   IA001586506676   0            71.24
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7355.76     475        CHECK PAID     20028688   IA001586506701   0            1089.29
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1500.88     475        CHECK PAID     20030356   IA001588857763   0            453.27
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1861.95     475        CHECK PAID     20030758   IA001589947835   0            361.07
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15253.2     475        CHECK PAID     20030257   IA002247563462   0            628.46
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -29724.78    475        CHECK PAID     20030352   IA003543534782   0            445.11
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1047.61     475        CHECK PAID     20029530   IA003989505856   0            645.39
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43335.9     475        CHECK PAID     20029815   IA008114149776   0            96
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -42542.57    475        CHECK PAID     20030070   IA008114203872   0            147.15
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -40995.74    475        CHECK PAID     20030898   IA008114233148   0            205.15
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18815.11    475        CHECK PAID     20028732   IA008114255180   0            577.75
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -42906.58    475        CHECK PAID     20030675   IA008114260441   0            113.08
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -24561.56    475        CHECK PAID     20030032   IA008114295429   0            495.71
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13991.92    475        CHECK PAID     20029396   IA008214566598   0            644.19
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43425.11    475        CHECK PAID     402056     IA008214590062   0            89.21
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43591.45    475        CHECK PAID     20030904   IA008214596579   0            11.83
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43502.55    475        CHECK PAID     20030908   IA008214602421   0            77.44
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -26982.58    475        CHECK PAID     20030128   IA008315014633   0            473.81
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -42677.69    475        CHECK PAID     20030159   IA008315014634   0            135.12
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -40137.29    475        CHECK PAID     20029937   IA008315073504   0            226.95
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14624.74    475        CHECK PAID     20029868   IA008315073507   0            632.82
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -40359.53    475        CHECK PAID     20030493   IA008315079932   0            222.24
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -36378.12    475        CHECK PAID     20030598   IA008315079933   0            330.24
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -26508.77    475        CHECK PAID     20030524   IA008315089683   0            480.59
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -20483.6     475        CHECK PAID     20028837   IA008330032760   0            545.33
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -28830.31    475        CHECK PAID     20029956   IA008330032761   0            451.33
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12051.09    475        CHECK PAID     20030110   IA008346732702   0            691.26
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43579.62    475        CHECK PAID     20030903   IA008346891182   0            35.25
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10666.09    475        CHECK PAID     20030402   IA008419512869   0            736.96
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3567.05     475        CHECK PAID     20028692   IA008419512918   0            1633.86
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -26028.18    475        CHECK PAID     20030397   IA008419512931   0            484.22
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -31752.92    475        CHECK PAID     20030274   IA008419566055   0            397.06
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -40578.81    475        CHECK PAID     20030010   IA008514934871   0            219.28
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -27455.18    475        CHECK PAID     20030784   IA008514937148   0            472.6
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -31355.86    475        CHECK PAID     20030754   IA008514937152   0            399.86
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8341.68     475        CHECK PAID     20030156   IA008514937153   0            985.92
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -33259.31    475        CHECK PAID     20030785   IA008514937154   0            363.98
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -29279.67    475        CHECK PAID     20030006   IA008514937155   0            449.36
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -36047.88    475        CHECK PAID     20030818   IA008514937162   0            332.89
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11359.83    475        CHECK PAID     20030056   IA008514937164   0            693.74
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -33977.99    475        CHECK PAID     20030149   IA008514937165   0            358.79
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -32895.33    475        CHECK PAID     20029795   IA008514937168   0            363.99
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -35033.68    475        CHECK PAID     20030877   IA008514937169   0            341.16
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43130.48    475        CHECK PAID     20029942   IA008514937238   0            111.12
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -34336.49    475        CHECK PAID     20029930   IA008514937240   0            358.5
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43544.37    475        CHECK PAID     20030025   IA008514937241   0            41.82
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -38585.19    475        CHECK PAID     20028991   IA008514941203   0            302.68
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9160.84     475        CHECK PAID     20030100   IA008514941208   0            819.16
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -39910.34    475        CHECK PAID     20030735   IA008514942272   0            232.06
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -33619.2     475        CHECK PAID     20030001   IA008514942290   0            359.89
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9929.13     475        CHECK PAID     20029876   IA008514942296   0            768.29
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -25543.96    475        CHECK PAID     20030275   IA008514942529   0            488.64
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -37022.59    475        CHECK PAID     20030718   IA008514945488   0            322.14
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -35714.99    475        CHECK PAID     20029635   IA008514945489   0            340.16
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -24065.85    475        CHECK PAID     20030201   IA008514947579   0            497.97
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5161.96     475        CHECK PAID     20030896   IA008514951672   0            1594.91
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6266.47     475        CHECK PAID     20028695   IA008514951673   0            1104.51
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -22565.74    475        CHECK PAID     20029234   IA008514952381   0            503.5
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23567.88    475        CHECK PAID     20030525   IA008515013399   0            498.74
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -41932.55    475        CHECK PAID     20029879   IA008515013413   0            167.62
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18237.36    475        CHECK PAID     20030079   IA008614276775   0            589.47




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                         Case Number                       Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                      August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                     Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                         Ref No     Bank Ref         Credit Amt   Debit Amt
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -194.94      475        CHECK PAID                        20029919   IA008715260985   0            402.22
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -19938.27    475        CHECK PAID                        20030185   IA008715321017   0            558.58
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -41764.93    475        CHECK PAID                        20030514   IA008715321021   0            174.48
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -38877.18    475        CHECK PAID                        20029890   IA008715366559   0            291.99
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -42793.5     475        CHECK PAID                        20030920   IA008715366560   0            115.81
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -30142.48    475        CHECK PAID                        20029880   IA008715366561   0            417.7
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43019.36    475        CHECK PAID                        20030023   IA008715427090   0            112.78
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17057.51    475        CHECK PAID                        20029581   IA008715428708   0            590.38
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -42395.42    475        CHECK PAID                        20030233   IA008715428715   0            150.94
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -35374.83    475        CHECK PAID                        20030786   IA008715428716   0            341.15
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -43239.9     475        CHECK PAID                        20030419   IA008715428727   0            109.42
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17647.89    475        CHECK PAID                        20030665   IA008715428730   0            590.38
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -39445.97    475        CHECK PAID                        20030506   IA008715428733   0            278.62
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -37344.07    475        CHECK PAID                        20029981   IA008715428742   0            321.48
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -39678.28    475        CHECK PAID                        20030690   IA008715428744   0            232.31
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -38282.51    475        CHECK PAID                        20030114   IA008715428745   0            309.54
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -30956       475        CHECK PAID                        20030854   IA008715428749   0            400.71
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -28378.98    475        CHECK PAID                        20030593   IA008715428751   0            461.61
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -41393.48    475        CHECK PAID                        20030144   IA008715428757   0            198.76
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -41590.45    475        CHECK PAID                        20030650   IA008715434242   0            196.97
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13347.73    475        CHECK PAID                        20030440   IA008715434243   0            644.21
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -32144.82    475        CHECK PAID                        20030463   IA008715434244   0            391.9
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -22062.24    475        CHECK PAID                        20030535   IA008715434245   0            507.56
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -40790.59    475        CHECK PAID                        20030491   IA008715434246   0            211.78
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -19379.69    475        CHECK PAID                        20030152   IA008715434257   0            564.58
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23069.14    475        CHECK PAID                        20030744   IA008715434262   0            503.4
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -25055.32    475        CHECK PAID                        20030122   IA008715434307   0            493.76
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -42244.48    475        CHECK PAID                        10353591   IA008715435490   0            153.03
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16467.13    475        CHECK PAID                        20030309   IA008715435492   0            601.11
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -34692.52    475        CHECK PAID                        20030004   IA008715439024   0            356.03
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15866.02    475        CHECK PAID                        20029999   IA008715439026   0            612.82
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -21027.13    475        CHECK PAID                        20030064   IA008810642371   0            543.53
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -32531.34    475        CHECK PAID                        20030310   IA008810655521   0            386.52
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -41194.72    475        CHECK PAID                        20030727   IA008810755820   0            198.98
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -37972.97    475        CHECK PAID                        20029385   IA008810758108   0            311.37
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -21554.68    475        CHECK PAID                        20030477   IA008810758109   0            527.55
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -27917.37    475        CHECK PAID                        20030544   IA008810758126   0            462.19
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -402.22      475        CHECK PAID                        20029996   IA009930879504   0            207.28
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA091000000063   43591.45     0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            207.28       254        POSTING ERROR CORRECTION CREDIT   20029936   IA009930876773   207.28       0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16035.18    475        CHECK PAID                        20030905   IA000286705504   0            106.53
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13215.46    475        CHECK PAID                        20030839   IA000520012563   0            311.07
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10805.6     475        CHECK PAID                        20030169   IA000520015543   0            401.18
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9097.9      475        CHECK PAID                        20030644   IA000575168503   0            473.11
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1515.78     475        CHECK PAID                        20030447   IA001583907052   0            534.52
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -981.26      475        CHECK PAID                        20030442   IA001583907053   0            543.91
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5927.64     475        CHECK PAID                        20029921   IA001586506730   0            635.91
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8624.79     475        CHECK PAID                        20029612   IA001587758680   0            485.82
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -437.35      475        CHECK PAID                        20029548   IA003543535020   0            590.38
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2031.07     475        CHECK PAID                        20030631   IA003543535021   0            515.29
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13525.91    475        CHECK PAID                        20029649   IA004388953695   0            310.45
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16508.86    475        CHECK PAID                        2002980    IA008114332300   0            62.68
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16531.2     475        CHECK PAID                        20029807   IA008114332301   0            22.34
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16224.13    475        CHECK PAID                        20029806   IA008114332302   0            92.6
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7637.45     475        CHECK PAID                        20030315   IA008214706595   0            503.25
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15822.1     475        CHECK PAID                        20030915   IA008315120263   0            160.46
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15661.64    475        CHECK PAID                        20028706   IA008346866851   0            221.82
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16306.02    475        CHECK PAID                        20030034   IA008419642762   0            81.89
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15928.65    475        CHECK PAID                        20030901   IA008419659476   0            106.55
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3056.95     475        CHECK PAID                        20030280   IA008515083849   0            1025.88
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3847.43     475        CHECK PAID                        20030240   IA008515083870   0            790.48
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7134.2      475        CHECK PAID                        20030303   IA008515084083   0            578.96
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14138.22    475        CHECK PAID                        20030618   IA008515084102   0            305.06




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                         Case Number                       Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                      August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                     Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                         Ref No     Bank Ref         Credit Amt   Debit Amt
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11576.22    475        CHECK PAID                        20030413   IA008515084103   0            377.84
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5291.73     475        CHECK PAID                        20030342   IA008515084106   0            680.33
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12904.39    475        CHECK PAID                        20028643   IA008515084280   0            326.81
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12577.58    475        CHECK PAID                        20030868   IA008515084281   0            327.48
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11916.68    475        CHECK PAID                        20029786   IA008515084282   0            340.46
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9560.55     475        CHECK PAID                        20029995   IA008515144559   0            462.65
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14440.91    475        CHECK PAID                        20030297   IA008515145563   0            302.69
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16446.18    475        CHECK PAID                        20030914   IA008526438191   0            65
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16381.18    475        CHECK PAID                        20030649   IA008548704629   0            75.16
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14979.72    475        CHECK PAID                        20030909   IA008548737944   0            246.26
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16131.53    475        CHECK PAID                        20030910   IA008548737982   0            96.35
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15439.82    475        CHECK PAID                        20030906   IA008715457909   0            230
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12250.1     475        CHECK PAID                        20030611   IA008810827836   0            333.42
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6555.24     475        CHECK PAID                        20029908   IA008810967989   0            627.6
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4611.4      475        CHECK PAID                        20029907   IA008810967990   0            763.97
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9991.01     475        CHECK PAID                        20030256   IA008810967996   0            430.46
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8138.97     475        CHECK PAID                        20030570   IA008810975279   0            501.52
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10404.42    475        CHECK PAID                        20029483   IA008810975282   0            413.41
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15209.82    475        CHECK PAID                        20030538   IA008810975352   0            230.1
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11198.38    475        CHECK PAID                        20029751   IA008810975371   0            392.78
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13833.16    475        CHECK PAID                        20030865   IA008810975372   0            307.25
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14733.46    475        CHECK PAID                        20030000   IA008810975947   0            292.55
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA091100000065   16531.2      0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            153.03       254        POSTING ERROR CORRECTION CREDIT   10353591   IA009930910198   153.03       0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1362.47     475        CHECK PAID                        20020926   IA001582587745   0            443.62
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1595.72     475        CHECK PAID                        20028901   IA001582587874   0            233.25
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -471.79      475        CHECK PAID                        20027737   IA001582587875   0            471.79
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1879.65     475        CHECK PAID                        20022697   IA001587759039   0            59.54
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -918.85      475        CHECK PAID                        20028725   IA001588376791   0            447.06
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1820.11     475        CHECK PAID                        20029857   IA001588376792   0            224.39
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6467.76     475        CHECK PAID                        20030433   IA003446291799   0            523.55
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10928.08    475        CHECK PAID                        20030841   IA003989238845   0            291.3
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11922.6     475        CHECK PAID                        20030657   IA006388089228   0            166.41
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9730.8      475        CHECK PAID                        20026804   IA008114402787   0            313.24
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5409.01     475        CHECK PAID                        20027290   IA008315208980   0            537.85
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6987.84     475        CHECK PAID                        20030292   IA008315251840   0            520.08
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2560.72     475        CHECK PAID                        20030284   IA008419777440   0            681.07
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11192.61    475        CHECK PAID                        20026204   IA008515348705   0            264.53
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7457.06     475        CHECK PAID                        20030676   IA008515348706   0            469.22
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5944.21     475        CHECK PAID                        20029591   IA008515348707   0            535.2
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4330.97     475        CHECK PAID                        20027306   IA008515348708   0            578.15
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8709.51     475        CHECK PAID                        20025103   IA008515348709   0            388.69
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3752.82     475        CHECK PAID                        20028444   IA008515348710   0            585.2
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11756.19    475        CHECK PAID                        402057     IA008515352429   0            166.7
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12063.81    475        CHECK PAID                        20030642   IA008526564686   0            141.21
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11395.08    475        CHECK PAID                        20030460   IA008526564687   0            202.47
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12436.65    475        CHECK PAID                        20030911   IA008526565452   0            87.14
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12256.22    475        CHECK PAID                        20030913   IA008526565453   0            93.33
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12349.51    475        CHECK PAID                        20030912   IA008526565454   0            93.29
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12162.89    475        CHECK PAID                        20030916   IA008526565455   0            99.08
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10339.64    475        CHECK PAID                        20030823   IA008548884582   0            300.14
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7904.83     475        CHECK PAID                        20030325   IA008614383911   0            447.77
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9095.44     475        CHECK PAID                        20030314   IA008614388293   0            385.93
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10636.78    475        CHECK PAID                        20030746   IA008614496549   0            297.14
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3167.62     475        CHECK PAID                        20030507   IA008715678591   0            606.9
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10039.5     475        CHECK PAID                        20029881   IA008811076841   0            308.7
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8320.82     475        CHECK PAID                        20029862   IA008811076842   0            415.99
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4871.16     475        CHECK PAID                        20029925   IA008811076852   0            540.19
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9417.56     475        CHECK PAID                        20030881   IA008811081975   0            322.12
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11589.49    475        CHECK PAID                        20029969   IA008811082322   0            194.41
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            475        CHECK PAID                        20029808   IA009930912955   0            62.68
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA091200000063   12436.65     0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            62.68        254        POSTING ERROR CORRECTION CREDIT   2002980    IA009930911805   62.68        0




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                           UST-14A
Wells Fargo                                                                                                                                                                         Case Number             Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr            August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                           Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc               Ref No     Bank Ref         Credit Amt   Debit Amt
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -22964.22    475        CHECK PAID              20030708   IA000620486558   0            261.07
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17818.17    475        CHECK PAID              20030137   IA001582953292   0            402.12
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -920.78      475        CHECK PAID              20028131   IA001585296435   0            920.78
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1751.14     475        CHECK PAID              20027017   IA001585296436   0            830.36
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2462.07     475        CHECK PAID              20024809   IA001585296451   0            710.93
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16201.22    475        CHECK PAID              20030409   IA001587759120   0            425.96
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14461.58    475        CHECK PAID              20030498   IA001587759289   0            489.09
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -21473.49    475        CHECK PAID              20029961   IA001588376999   0            333.32
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4740.12     475        CHECK PAID              20030866   IA002247564443   0            234
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3955.42     475        CHECK PAID              20029783   IA002247564444   0            316.8
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12964.2     475        CHECK PAID              20030504   IA002489021113   0            513.75
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2886.85     475        CHECK PAID              20030373   IA003446292191   0            424.78
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4233.97     475        CHECK PAID              20030063   IA004187732995   0            278.55
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4961.74     475        CHECK PAID              20028328   IA005744337824   0            221.62
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3274.81     475        CHECK PAID              20029804   IA005940396981   0            387.96
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3638.62     475        CHECK PAID              20030885   IA005940396982   0            363.81
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4506.12     475        CHECK PAID              20030806   IA005940396995   0            272.15
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23895.8     475        CHECK PAID              20030845   IA008114540729   0            224.27
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7005.26     475        CHECK PAID              20030238   IA008114591354   0            657.85
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9798.83     475        CHECK PAID              20029119   IA008125155535   0            546.2
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8702.38     475        CHECK PAID              20030219   IA008125155536   0            550.88
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -21786       475        CHECK PAID              20027260   IA008214883099   0            312.51
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -22098.51    475        CHECK PAID              20028714   IA008214883100   0            312.51
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -22411.02    475        CHECK PAID              20029847   IA008214883101   0            312.51
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23671.53    475        CHECK PAID              20030807   IA008214898833   0            228.91
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12450.45    475        CHECK PAID              20030465   IA008214965540   0            519.45
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -24458.09    475        CHECK PAID              402058     IA008214965543   0            180.33
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -20115.91    475        CHECK PAID              20030801   IA008347243662   0            373.15
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17013.36    475        CHECK PAID              20029717   IA008347243663   0            403.09
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -24095.45    475        CHECK PAID              20030811   IA008347304481   0            199.65
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11931       475        CHECK PAID              20030522   IA008419862033   0            523.38
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10344.84    475        CHECK PAID              20030348   IA008419862246   0            546.01
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9252.63     475        CHECK PAID              20030606   IA008419864084   0            550.25
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5684.03     475        CHECK PAID              20029884   IA008419936570   0            722.29
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6347.41     475        CHECK PAID              20028754   IA008419936571   0            663.38
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13474.09    475        CHECK PAID              20029909   IA008419936623   0            509.89
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13972.49    475        CHECK PAID              20028778   IA008419936624   0            498.4
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -20802.86    475        CHECK PAID              20030824   IA008419936631   0            340.17
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18602.26    475        CHECK PAID              20030835   IA008419936642   0            388.4
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23442.62    475        CHECK PAID              20030475   IA008419936647   0            231.32
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8151.5      475        CHECK PAID              20028924   IA008419936816   0            551.6
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15775.26    475        CHECK PAID              20030036   IA008419936817   0            426.36
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -24277.76    475        CHECK PAID              20030363   IA008515398502   0            182.31
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23211.3     475        CHECK PAID              20030387   IA008515398750   0            247.08
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -20462.69    475        CHECK PAID              20030180   IA008515400660   0            346.78
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -22703.15    475        CHECK PAID              20030732   IA008515454137   0            292.13
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -21140.17    475        CHECK PAID              20030878   IA008614526535   0            337.31
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -19742.76    475        CHECK PAID              20030505   IA008614596596   0            375.77
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10881.1     475        CHECK PAID              20030277   IA008614596636   0            536.26
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7599.9      475        CHECK PAID              20030255   IA008638600664   0            594.64
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17416.05    475        CHECK PAID              20030476   IA008715741951   0            402.69
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -24504.92    475        CHECK PAID              20027865   IA008715741952   0            46.83
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18990.6     475        CHECK PAID              20030555   IA008715834932   0            388.34
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15348.9     475        CHECK PAID              20030923   IA008811082325   0            427.1
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18213.86    475        CHECK PAID              20029975   IA008811264705   0            395.69
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16610.27    475        CHECK PAID              20030671   IA008811269294   0            409.05
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14921.8     475        CHECK PAID              20030641   IA008811269296   0            460.22
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11407.62    475        CHECK PAID              20030443   IA008811269314   0            526.52
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -24514.92    475        CHECK PAID              10354009   IA008811269327   0            10
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -19366.99    475        CHECK PAID              20030334   IA008811269345   0            376.39
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT   0          IA091300000057   24514.92     0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4378.43     475        CHECK PAID              20030383   IA000470702373   0            668.36
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3710.07     475        CHECK PAID              20030482   IA000470965715   0            692.91




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                         Case Number                       Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                      August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                     Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                         Ref No     Bank Ref         Credit Amt   Debit Amt
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -21729.32    475        CHECK PAID                        20030338   IA000471544447   0            298.03
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -21431.29    475        CHECK PAID                        20029860   IA000577085570   0            320.61
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -22025.23    475        CHECK PAID                        20030081   IA000620493865   0            295.91
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16469.55    475        CHECK PAID                        20030431   IA001582588437   0            510.59
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17454.79    475        CHECK PAID                        20030359   IA001584190095   0            485.72
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2466.59     475        CHECK PAID                        20030458   IA001585296560   0            276
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2742.59     475        CHECK PAID                        20030459   IA001585296561   0            276
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10710.79    475        CHECK PAID                        20026916   IA001585296757   0            541.49
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6790.62     475        CHECK PAID                        20030282   IA001585296758   0            590.38
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1449.42     475        CHECK PAID                        20029212   IA001587190311   0            473.39
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -498.75      475        CHECK PAID                        20030313   IA001587190312   0            498.75
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23347.65    475        CHECK PAID                        3984       IA001587190631   0            156.91
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8521.76     475        CHECK PAID                        20027652   IA001588377050   0            574.98
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3017.16     475        CHECK PAID                        20029935   IA001588377052   0            274.57
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -976.03      475        CHECK PAID                        20028811   IA001588377053   0            477.28
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7369.21     475        CHECK PAID                        402055     IA001588858423   0            578.59
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1858.46     475        CHECK PAID                        20030399   IA001588858546   0            409.04
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2190.59     475        CHECK PAID                        20030369   IA003681367539   0            332.13
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -20445.46    475        CHECK PAID                        20030416   IA004785136467   0            403.06
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7946.78     475        CHECK PAID                        20030450   IA005744338272   0            577.57
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14407.54    475        CHECK PAID                        20029931   IA006388930488   0            518.83
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11249.87    475        CHECK PAID                        20028185   IA006389989976   0            539.08
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18377.6     475        CHECK PAID                        20030435   IA006389990968   0            456.16
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23500.86    475        CHECK PAID                        20029906   IA008114647756   0            153.21
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15958.96    475        CHECK PAID                        20030168   IA008215136002   0            516.56
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15442.4     475        CHECK PAID                        20029066   IA008215136003   0            516.57
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12325.1     475        CHECK PAID                        20030283   IA008215147202   0            537.61
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23700.85    475        CHECK PAID                        20030899   IA008315479808   0            91.09
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23937.29    475        CHECK PAID                        20030900   IA008410004323   0            23.07
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23862.39    475        CHECK PAID                        20029848   IA008515612742   0            77.76
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9082.37     475        CHECK PAID                        20027706   IA008515624853   0            560.61
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23784.63    475        CHECK PAID                        20028871   IA008515624854   0            83.78
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16969.07    475        CHECK PAID                        20029576   IA008515770129   0            499.52
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -19637.15    475        CHECK PAID                        20030660   IA008515770130   0            406.92
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -18814.23    475        CHECK PAID                        20030384   IA008515770182   0            436.63
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14925.83    475        CHECK PAID                        20030605   IA008614649315   0            518.29
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -20781.59    475        CHECK PAID                        20030371   IA008614689088   0            336.13
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23030.65    475        CHECK PAID                        20030656   IA008614689138   0            218.24
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23190.74    475        CHECK PAID                        20030607   IA008614721849   0            160.09
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -22812.41    475        CHECK PAID                        20026148   IA008614724065   0            223.47
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -22588.94    475        CHECK PAID                        20030339   IA008715944084   0            271.37
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -19230.23    475        CHECK PAID                        20029972   IA008716017179   0            416
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10169.3     475        CHECK PAID                        20029416   IA008716066918   0            542.23
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9627.07     475        CHECK PAID                        20028266   IA008716066919   0            544.7
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11787.49    475        CHECK PAID                        20030508   IA008716066920   0            537.62
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13368.11    475        CHECK PAID                        20029926   IA008716067153   0            521.16
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -17921.44    475        CHECK PAID                        20029141   IA008716067557   0            466.65
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -22317.57    475        CHECK PAID                        20030241   IA008716067558   0            292.34
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12846.95    475        CHECK PAID                        20028382   IA008716067921   0            521.85
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13888.71    475        CHECK PAID                        20029533   IA008716067923   0            520.6
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23609.76    475        CHECK PAID                        20030669   IA008716067926   0            108.9
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -20042.4     475        CHECK PAID                        20028487   IA008811298541   0            405.25
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -21110.68    475        CHECK PAID                        20029631   IA008811298542   0            329.09
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23914.22    475        CHECK PAID                        20024649   IA008811317748   0            51.83
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -23945.34    475        CHECK PAID                        20023563   IA008811317749   0            8.05
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5000.26     475        CHECK PAID                        20030580   IA008811484296   0            621.83
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5609.25     475        CHECK PAID                        20029172   IA008811484299   0            608.99
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6200.24     475        CHECK PAID                        20030271   IA008811484300   0            590.99
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            475        CHECK PAID                        20027560   IA009930935321   0            312.51
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA091600000071   23945.34     0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            312.51       254        POSTING ERROR CORRECTION CREDIT   20027260   IA009930933443   312.51       0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -887.19      475        CHECK PAID                        20030422   IA001582588575   0            610.53
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6814.96     475        CHECK PAID                        20030380   IA001587191029   0            516.25




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                         Case Number                       Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                      August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                     Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                         Ref No     Bank Ref         Credit Amt   Debit Amt
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2384.96     475        CHECK PAID                        20029828   IA002247564898   0            308.49
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2076.47     475        CHECK PAID                        20029065   IA003681367846   0            594.63
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1481.84     475        CHECK PAID                        20027904   IA003681367847   0            594.65
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10017.09    475        CHECK PAID                        20030468   IA008114863162   0            271.82
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11242.65    475        CHECK PAID                        20030377   IA008114922306   0            70.59
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11002.97    475        CHECK PAID                        20023486   IA008114973545   0            205.59
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9408.81     475        CHECK PAID                        20030116   IA008223636210   0            370.96
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11306       475        CHECK PAID                        20024831   IA008315659038   0            63.35
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8270.12     475        CHECK PAID                        20030199   IA008410197455   0            466.76
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10288.91    475        CHECK PAID                        20030472   IA008410217696   0            271.82
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11088.86    475        CHECK PAID                        20023983   IA008515881493   0            85.89
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4489.98     475        CHECK PAID                        20030011   IA008515895306   0            689.76
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9745.27     475        CHECK PAID                        20030268   IA008515895471   0            336.46
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3800.22     475        CHECK PAID                        20030664   IA008515897173   0            1415.26
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6298.71     475        CHECK PAID                        20030617   IA008515903077   0            517.24
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7803.36     475        CHECK PAID                        20030540   IA008515904941   0            493.37
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11172.06    475        CHECK PAID                        20029080   IA008614967223   0            83.2
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5159.41     475        CHECK PAID                        20029303   IA008628289994   0            669.43
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -119.75      475        CHECK PAID                        20026930   IA008715837714   0            276.66
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8661.78     475        CHECK PAID                        20030587   IA008716077263   0            391.66
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10797.38    475        CHECK PAID                        20029977   IA008716080570   0            247.4
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10549.98    475        CHECK PAID                        20030715   IA008716080578   0            261.07
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9037.85     475        CHECK PAID                        20029837   IA008716183847   0            376.07
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7309.99     475        CHECK PAID                        20030484   IA008716187450   0            495.03
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5781.47     475        CHECK PAID                        20029392   IA008716187451   0            622.06
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -276.66      475        CHECK PAID                        20023984   IA009930949152   0            156.91
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA091700000057   11306        0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            156.91       254        POSTING ERROR CORRECTION CREDIT   3984       IA009930946406   156.91       0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9134.17     475        CHECK PAID                        20028734   IA000578652524   0            390.24
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10082.48    475        CHECK PAID                        20029866   IA000578652525   0            276.46
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8330.78     475        CHECK PAID                        20028917   IA000620510870   0            418.38
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -409.52      475        CHECK PAID                        20024360   IA004187733679   0            409.52
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -660.96      475        CHECK PAID                        20030561   IA004785137313   0            251.44
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2619.92     475        CHECK PAID                        20030200   IA008115044950   0            644.2
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1975.72     475        CHECK PAID                        20029100   IA008115044951   0            644.22
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6432.41     475        CHECK PAID                        20027817   IA008215378961   0            503.56
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6935.96     475        CHECK PAID                        20028977   IA008215378962   0            503.55
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5928.85     475        CHECK PAID                        20030085   IA008215378963   0            503.57
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7912.4      475        CHECK PAID                        20025626   IA008215378964   0            475
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10358.88    475        CHECK PAID                        20030907   IA008315699515   0            96
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9483.16     475        CHECK PAID                        20030829   IA008315720008   0            348.99
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7437.4      475        CHECK PAID                        20029745   IA008315720009   0            501.44
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9806.02     475        CHECK PAID                        20030154   IA008515895317   0            322.86
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3187.79     475        CHECK PAID                        20025087   IA008515960419   0            567.87
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4323.52     475        CHECK PAID                        20028426   IA008515960420   0            567.86
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3755.66     475        CHECK PAID                        20029574   IA008515960421   0            567.87
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4891.38     475        CHECK PAID                        20030658   IA008515960422   0            567.86
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10262.88    475        CHECK PAID                        20026908   IA008716248493   0            180.4
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8743.93     475        CHECK PAID                        20030226   IA008811849793   0            413.15
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10412.56    475        CHECK PAID                        20027067   IA008811849830   0            53.68
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5425.28     475        CHECK PAID                        20030190   IA008811849831   0            533.9
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1331.5      475        CHECK PAID                        20030258   IA008811883181   0            670.54
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA091800000063   10412.56     0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1472.8      475        CHECK PAID                        20027665   IA000520020555   0            26.84
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -310.02      475        CHECK PAID                        20030600   IA003543536135   0            310.02
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1445.96     475        CHECK PAID                        20030212   IA008315835115   0            129
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1316.96     475        CHECK PAID                        20023822   IA008410475400   0            215.79
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1101.17     475        CHECK PAID                        20029855   IA008716420682   0            280.24
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -820.93      475        CHECK PAID                        20030109   IA008811883120   0            510.91
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA091900000069   1472.8       0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16026.95    475        CHECK PAID                        20029221   IA000473173912   0            112.76
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12358.32    475        CHECK PAID                        20029471   IA000520027704   0            370.15
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5973.89     475        CHECK PAID                        20030560   IA000520027705   0            575.58




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                           UST-14A
Wells Fargo                                                                                                                                                                         Case Number             Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr            August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                           Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc               Ref No      Bank Ref         Credit Amt   Debit Amt
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -5398.31     475        CHECK PAID              20028321    IA000520027706   0            575.59
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8133.24     475        CHECK PAID              20027205    IA000520027707   0            527.2
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1109.18     475        CHECK PAID              20029313    IA001582588847   0            544.36
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1653.53     475        CHECK PAID              20030410    IA001582588848   0            544.35
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2836.45     475        CHECK PAID              20030891    IA001586507644   0            1089.29
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -564.82      475        CHECK PAID              20030394    IA001681051907   0            564.82
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -6542.45     475        CHECK PAID              20029597    IA003681368695   0            568.56
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14465.24    475        CHECK PAID              20030679    IA003989230449   0            268.03
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1747.16     475        CHECK PAID              20029870    IA004187734184   0            93.63
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9994.24     475        CHECK PAID              20030129    IA004187734231   0            429.4
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14718.7     475        CHECK PAID              20030731    IA008115319495   0            253.46
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15422.1     475        CHECK PAID              20028735    IA008115324984   0            209.52
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15779.3     475        CHECK PAID              20029867    IA008115324985   0            169.76
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9564.84     475        CHECK PAID              20030173    IA008115325150   0            442.87
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7075.02     475        CHECK PAID              20028782    IA008115325381   0            532.57
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15212.58    475        CHECK PAID              20029913    IA008115325382   0            246.67
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4822.72     475        CHECK PAID              20028937    IA008315960758   0            592.06
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14197.21    475        CHECK PAID              20029830    IA008315960759   0            272.16
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15609.54    475        CHECK PAID              20030802    IA008410723504   0            187.44
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -15914.19    475        CHECK PAID              20029718    IA008410723505   0            134.89
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -16032.36    475        CHECK PAID              20027496    IA008410723507   0            5.41
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13022.26    475        CHECK PAID              20030852    IA008516217449   0            327.48
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13638.66    475        CHECK PAID              20030320    IA008615298330   0            304.04
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4230.66     475        CHECK PAID              20029280    IA008716441347   0            687.78
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3542.88     475        CHECK PAID              20030378    IA008716441348   0            706.43
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -12694.78    475        CHECK PAID              20030262    IA008812073562   0            336.46
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -8646.09     475        CHECK PAID              20029162    IA008812073563   0            512.85
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11227.37    475        CHECK PAID              20024770    IA008812078831   0            399.07
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -14965.91    475        CHECK PAID              20025886    IA008812078832   0            247.21
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10415.8     475        CHECK PAID              20026974    IA008812078833   0            421.56
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -7606.04     475        CHECK PAID              20028086    IA008812078834   0            531.02
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11616.77    475        CHECK PAID              20029247    IA008812078835   0            389.4
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -11988.17    475        CHECK PAID              20030347    IA008812078836   0            371.4
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13925.05    475        CHECK PAID              20024960    IA008812078924   0            286.39
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -10828.3     475        CHECK PAID              20030028    IA008812079042   0            412.5
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -9121.97     475        CHECK PAID              20030247    IA008812079159   0            475.88
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -13334.62    475        CHECK PAID              20029596    IA008812079162   0            312.36
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT   0           IA092000000071   16032.36     0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4225.23     475        CHECK PAID              20030844    IA000570184360   0            336.35
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4510.05     475        CHECK PAID              20025826    IA008115409441   0            83.66
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4585.88     475        CHECK PAID              20026912    IA008115409442   0            75.83
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2483.14     475        CHECK PAID              10353666    IA008224210197   0            424
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -622.07      475        CHECK PAID              20028285    IA008316095740   0            622.07
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3208        475        CHECK PAID              20025303    IA008410928109   0            350.65
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1599.01     475        CHECK PAID              20030390    IA008615396630   0            487.17
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3888.88     475        CHECK PAID              20029352    IA008615420132   0            338.2
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3550.68     475        CHECK PAID              20030712    IA008615489121   0            342.68
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2857.35     475        CHECK PAID              20030695    IA008615489257   0            374.21
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4426.39     475        CHECK PAID              20027431    IA008615540296   0            201.16
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2059.14     475        CHECK PAID              20027702    IA008716572664   0            460.13
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1111.84     475        CHECK PAID              20027703    IA008716572665   0            489.77
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT   0           IA092300000055   4585.88      0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            320.33       475        CHECK PAID              20024599    IA003543537307   0            103.67
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1743.83     475        CHECK PAID              20030848    IA008115708369   0            306.7
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2690.35     475        CHECK PAID              3.003E+09   IA008115712323   0            162.82
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -447.31      475        CHECK PAID              20030246    IA008615579437   0            355.53
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2041.35     475        CHECK PAID              20024460    IA008716720851   0            297.52
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1122.11     475        CHECK PAID              20030044    IA008716720852   0            325.32
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -91.78       475        CHECK PAID              20028935    IA008716720853   0            412.11
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2318.35     475        CHECK PAID              20026672    IA008716720854   0            277
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2527.53     475        CHECK PAID              20027772    IA008716720855   0            209.18
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1437.13     475        CHECK PAID              20025583    IA008716720856   0            315.02
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -796.79      475        CHECK PAID              20030843    IA008716724101   0            349.48




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                     UST-14A
Wells Fargo                                                                                                                                                                         Case Number                       Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                      August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                     Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                         Ref No     Bank Ref         Credit Amt   Debit Amt
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2695.53     475        CHECK PAID                        20030557   IA008837593164   0            5.18
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA092400000053   2695.53      0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            424          254        POSTING ERROR CORRECTION CREDIT   10353666   IA009931018032   424          0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2817.27     475        CHECK PAID                        20027921   IA001584124024   0            83.2
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -543.85      475        CHECK PAID                        20025847   IA002489023517   0            543.85
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2359.51     475        CHECK PAID                        20026933   IA002489023518   0            379.31
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2734.07     475        CHECK PAID                        20028038   IA002489023519   0            374.56
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1511.76     475        CHECK PAID                        20029200   IA002489023520   0            481.66
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1030.1      475        CHECK PAID                        20023644   IA002489023524   0            486.25
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1980.2      475        CHECK PAID                        20030300   IA002489023527   0            468.44
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3549.87     475        CHECK PAID                        20029899   IA008411133563   0            83.03
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3466.84     475        CHECK PAID                        20030488   IA008812461684   0            649.57
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA092500000055   3549.87      0
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3470.09     475        CHECK PAID                        20021388   IA000572200001   0            474.87
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1531.7      475        CHECK PAID                        20028030   IA000572200002   0            763.49
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2995.22     475        CHECK PAID                        20026925   IA000572200004   0            725.5
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -768.21      475        CHECK PAID                        20024722   IA000572200005   0            768.21
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3871.35     475        CHECK PAID                        20029323   IA008516816323   0            16.11
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2269.72     475        CHECK PAID                        20030084   IA008716987957   0            738.02
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3855.24     475        CHECK PAID                        20024948   IA008812632285   0            385.15
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA092600000049   3871.35      0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -55.37       475        CHECK PAID                        20023664   IA001586153212   0            55.37
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1782.58     475        CHECK PAID                        10353187   IA008240171806   0            21.05
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1275.66     475        CHECK PAID                        20028939   IA008316694619   0            517.21
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1761.53     475        CHECK PAID                        20030047   IA008316694620   0            485.87
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -758.45      475        CHECK PAID                        20029957   IA008316694643   0            703.08
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA092700000067   1782.58      0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -1548.88     475        CHECK PAID                        20030290   IA000574189818   0            780.31
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2312.38     475        CHECK PAID                        20025839   IA000574189819   0            763.5
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -768.57      475        CHECK PAID                        20029192   IA000574189822   0            789.62
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3873.62     475        CHECK PAID                        20028833   IA001681104759   0            377.94
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -3495.68     475        CHECK PAID                        20029952   IA001681104762   0            532.74
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4684.24     475        CHECK PAID                        20030917   IA008116281581   0            108.32
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4575.92     475        CHECK PAID                        20030846   IA008216560186   0            340.17
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -4235.75     475        CHECK PAID                        20030849   IA008316716628   0            362.13
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            -2962.94     475        CHECK PAID                        20027167   IA008411433630   0            650.56
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            0            275        INDIVIDUAL ZBA CREDIT             0          IA093000000071   4684.24      0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   OR      XXXXXX6125   COMMERCIAL DDA   NORPAC FOODS INC   USD        0            0            21.05        254        POSTING ERROR CORRECTION CREDIT   10353187   IA009931066260   21.05        0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5345622.02   301        COMMERCIAL DEPOSIT                0          IA004388950862   395892.69    0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5375469.5    208        INTL MONEY TRANSFER CREDIT        0          IA009987504228   29847.48     0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6944698.54   115        LOCKBOX DEPOSIT                   201257     IA007382841118   277137.1     0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7034601.88   115        LOCKBOX DEPOSIT                   72371      IA007482686829   89903.34     0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6576655.51   169        MISCELLANEOUS ACH CREDIT          0          IA000011952683   47602.29     0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6529053.22   169        MISCELLANEOUS ACH CREDIT          0          IA000012064906   53211.9      0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6295018.7    169        MISCELLANEOUS ACH CREDIT          0          IA000012064907   139308.74    0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6667561.44   169        MISCELLANEOUS ACH CREDIT          0          IA000012268412   277.25       0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5737469.22   169        MISCELLANEOUS ACH CREDIT          0          IA000012904331   361999.72    0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6399630.09   169        MISCELLANEOUS ACH CREDIT          0          IA000012929270   104611.39    0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6655796.53   169        MISCELLANEOUS ACH CREDIT          0          IA000014502485   10880.79     0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6633998.64   169        MISCELLANEOUS ACH CREDIT          0          IA000014681728   12071.23     0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6004741.42   169        MISCELLANEOUS ACH CREDIT          0          IA000015185287   267272.2     0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6155709.96   169        MISCELLANEOUS ACH CREDIT          0          IA000018323843   150968.54    0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6607752.41   169        MISCELLANEOUS ACH CREDIT          0          IA000019901248   31096.9      0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6644915.74   169        MISCELLANEOUS ACH CREDIT          0          IA000021391696   10917.1      0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6665909.54   169        MISCELLANEOUS ACH CREDIT          0          IA000025907186   10113.01     0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6667284.19   169        MISCELLANEOUS ACH CREDIT          0          IA000028827691   1374.65      0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6621927.41   169        MISCELLANEOUS ACH CREDIT          0          IA000284966215   14175        0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6475841.32   169        MISCELLANEOUS ACH CREDIT          0          IA071753500840   76211.23     0
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7024852.68   577        ZBA DEBIT TRANSFER                0          IA090300000006   0            9749.2
20190903     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6892046.94   577        ZBA DEBIT TRANSFER                0          IA090300000056   0            132805.74
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      8131268.23   115        LOCKBOX DEPOSIT                   201257     IA007382097466   90997.86     0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      8208244.18   115        LOCKBOX DEPOSIT                   72371      IA007482785789   76975.95     0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      8038739.17   169        MISCELLANEOUS ACH CREDIT          0          IA000010362772   3221.4       0




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                              UST-14A
Wells Fargo                                                                                                                                                                         Case Number                Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr               August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                              Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                  Ref No     Bank Ref         Credit Amt   Debit Amt
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7637175.49   169        MISCELLANEOUS ACH CREDIT   0          IA000011984389   65307.75     0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7741457.33   169        MISCELLANEOUS ACH CREDIT   0          IA000012912134   48507        0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      8040270.37   169        MISCELLANEOUS ACH CREDIT   0          IA000012983556   379.2        0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      8039891.17   169        MISCELLANEOUS ACH CREDIT   0          IA000013496921   1152         0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7692950.33   169        MISCELLANEOUS ACH CREDIT   0          IA000014036862   55774.84     0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7819155.11   169        MISCELLANEOUS ACH CREDIT   0          IA000014036863   38234.5      0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7991696.66   169        MISCELLANEOUS ACH CREDIT   0          IA000014762391   7193.04      0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7318316.15   169        MISCELLANEOUS ACH CREDIT   0          IA000015429964   426269.21    0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7910133.65   169        MISCELLANEOUS ACH CREDIT   0          IA000016195262   24380.65     0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7780920.61   169        MISCELLANEOUS ACH CREDIT   0          IA000018941965   39463.28     0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7928761.49   169        MISCELLANEOUS ACH CREDIT   0          IA000021141400   18627.84     0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7975337.57   169        MISCELLANEOUS ACH CREDIT   0          IA000023597659   10113.01     0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      8021645.19   169        MISCELLANEOUS ACH CREDIT   0          IA000026749285   5282.34      0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7998870.46   169        MISCELLANEOUS ACH CREDIT   0          IA000026752037   7173.8       0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7954153.81   169        MISCELLANEOUS ACH CREDIT   0          IA000026752162   11986.5      0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7984503.62   169        MISCELLANEOUS ACH CREDIT   0          IA000026752471   9166.05      0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      8031689.95   169        MISCELLANEOUS ACH CREDIT   0          IA000026752587   4996.59      0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      8004933.26   169        MISCELLANEOUS ACH CREDIT   0          IA000026752740   6062.8       0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      8026693.36   169        MISCELLANEOUS ACH CREDIT   0          IA000026752862   5048.17      0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      8035517.77   169        MISCELLANEOUS ACH CREDIT   0          IA000026752961   3827.82      0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      8010802.32   169        MISCELLANEOUS ACH CREDIT   0          IA000026753025   5869.06      0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      8016362.85   169        MISCELLANEOUS ACH CREDIT   0          IA000026753090   5560.53      0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7965224.56   169        MISCELLANEOUS ACH CREDIT   0          IA000026757229   11070.75     0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7571867.74   169        MISCELLANEOUS ACH CREDIT   0          IA000282232457   124813.06    0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7447054.68   169        MISCELLANEOUS ACH CREDIT   0          IA000282232458   128738.53    0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7885753      169        MISCELLANEOUS ACH CREDIT   0          IA071754308390   32219.34     0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7853533.66   169        MISCELLANEOUS ACH CREDIT   0          IA100204087363   34378.55     0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7942167.31   169        MISCELLANEOUS ACH CREDIT   0          IA500124187643   13405.82     0
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      8152115.45   577        ZBA DEBIT TRANSFER         0          IA090400000004   0            56128.73
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7667065.99   577        ZBA DEBIT TRANSFER         0          IA090400000006   0            485049.46
20190904     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6634699.75   577        ZBA DEBIT TRANSFER         0          IA090400000070   0            1032366.24
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7251781.44   115        LOCKBOX DEPOSIT            201257     IA007382308741   220975.81    0
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7304778.07   115        LOCKBOX DEPOSIT            201257     IA007382308745   52996.63     0
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7018427.5    169        MISCELLANEOUS ACH CREDIT   0          IA000014593688   19947.36     0
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6968633.39   169        MISCELLANEOUS ACH CREDIT   0          IA000014745125   56244.08     0
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6912389.31   169        MISCELLANEOUS ACH CREDIT   0          IA000015594828   68898.68     0
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7030805.63   169        MISCELLANEOUS ACH CREDIT   0          IA000015598035   1997.58      0
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6998480.14   169        MISCELLANEOUS ACH CREDIT   0          IA000015612450   29846.75     0
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6843490.63   169        MISCELLANEOUS ACH CREDIT   0          IA000016573514   194841.88    0
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      7028808.05   169        MISCELLANEOUS ACH CREDIT   0          IA000023476958   10380.55     0
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6648648.75   169        MISCELLANEOUS ACH CREDIT   0          IA070382329863   13949        0
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2304778.07   495        OUTGOING MONEY TRANSFER    0          IA009988872941   0            5000000
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2298420.95   577        ZBA DEBIT TRANSFER         0          IA090500000008   0            6357.12
20190905     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2280011.12   577        ZBA DEBIT TRANSFER         0          IA090500000058   0            18409.83
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2393702.63   301        COMMERCIAL DEPOSIT         0          IA002787742415   113691.51    0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3234913.88   115        LOCKBOX DEPOSIT            201257     IA007382427335   36566.12     0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3239596.68   115        LOCKBOX DEPOSIT            72371      IA007482856872   4682.8       0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2946628.97   169        MISCELLANEOUS ACH CREDIT   0          IA000012778221   70503.8      0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3195132.34   169        MISCELLANEOUS ACH CREDIT   0          IA000012874663   1546.5       0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2727224.76   169        MISCELLANEOUS ACH CREDIT   0          IA000012991285   146902.4     0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2803631.08   169        MISCELLANEOUS ACH CREDIT   0          IA000014500437   76406.32     0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3141791.66   169        MISCELLANEOUS ACH CREDIT   0          IA000016867968   16561.79     0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3125229.87   169        MISCELLANEOUS ACH CREDIT   0          IA000017288033   39911.65     0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2993356.59   169        MISCELLANEOUS ACH CREDIT   0          IA000017388615   46727.62     0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3190887.9    169        MISCELLANEOUS ACH CREDIT   0          IA000017934292   2795.8       0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3188092.1    169        MISCELLANEOUS ACH CREDIT   0          IA000018857396   6405.21      0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3165604.78   169        MISCELLANEOUS ACH CREDIT   0          IA000024988105   9698.12      0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3196664.34   169        MISCELLANEOUS ACH CREDIT   0          IA000025179365   1532         0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3175195.37   169        MISCELLANEOUS ACH CREDIT   0          IA000027768773   9590.59      0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3181686.89   169        MISCELLANEOUS ACH CREDIT   0          IA000027768847   6491.52      0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2580322.36   169        MISCELLANEOUS ACH CREDIT   0          IA000288210711   186619.73    0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2876125.17   169        MISCELLANEOUS ACH CREDIT   0          IA000288210712   72494.09     0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3197837.98   169        MISCELLANEOUS ACH CREDIT   0          IA000288210713   1173.64      0




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                UST-14A
Wells Fargo                                                                                                                                                                         Case Number                  Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                 August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                    Ref No      Bank Ref         Credit Amt   Debit Amt
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3155906.66   169        MISCELLANEOUS ACH CREDIT     0           IA000288287918   14115        0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3193585.84   169        MISCELLANEOUS ACH CREDIT     0           IA100204385871   2697.94      0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3198347.76   169        MISCELLANEOUS ACH CREDIT     0           IA100204385909   509.78       0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3039435.83   169        MISCELLANEOUS ACH CREDIT     0           IA137520996023   46079.24     0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3085318.22   169        MISCELLANEOUS ACH CREDIT     0           IA500120125824   45882.39     0
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3237884.99   577        ZBA DEBIT TRANSFER           0           IA090600000008   0            1711.69
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3126503.78   577        ZBA DEBIT TRANSFER           0           IA090600000010   0            111381.21
20190906     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2821647.95   577        ZBA DEBIT TRANSFER           0           IA090600000058   0            304855.83
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3047924.07   301        COMMERCIAL DEPOSIT           0           IA004388952889   226276.12    0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4257195.77   115        LOCKBOX DEPOSIT              201257      IA007382591132   163351.44    0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4388351.98   115        LOCKBOX DEPOSIT              72371       IA007482950416   131156.21    0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3349072.12   169        MISCELLANEOUS ACH CREDIT     0           IA000011816072   301148.05    0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3593654.04   169        MISCELLANEOUS ACH CREDIT     0           IA000013779872   244581.92    0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3961294.02   169        MISCELLANEOUS ACH CREDIT     0           IA000015178475   83587.54     0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3877706.48   169        MISCELLANEOUS ACH CREDIT     0           IA000015633003   101233.83    0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4093454.41   169        MISCELLANEOUS ACH CREDIT     0           IA000016502036   1484         0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3999651.47   169        MISCELLANEOUS ACH CREDIT     0           IA000018211579   38357.45     0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4051362.3    169        MISCELLANEOUS ACH CREDIT     0           IA000018798505   24050.74     0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3776472.65   169        MISCELLANEOUS ACH CREDIT     0           IA000018798506   182818.61    0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4091970.41   169        MISCELLANEOUS ACH CREDIT     0           IA000021848665   2616.8       0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4089353.61   169        MISCELLANEOUS ACH CREDIT     0           IA000021848942   6246.38      0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4027311.56   169        MISCELLANEOUS ACH CREDIT     0           IA000021950632   27660.09     0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4093844.33   169        MISCELLANEOUS ACH CREDIT     0           IA000023009754   389.92       0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4083107.23   169        MISCELLANEOUS ACH CREDIT     0           IA000288287953   14154        0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4068953.23   169        MISCELLANEOUS ACH CREDIT     0           IA071758321457   17590.93     0
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4387885.85   577        ZBA DEBIT TRANSFER           0           IA090900000004   0            466.13
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4297228.78   577        ZBA DEBIT TRANSFER           0           IA090900000006   0            90657.07
20190909     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4181840.08   577        ZBA DEBIT TRANSFER           0           IA090900000052   0            115388.7
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4195751.68   301        COMMERCIAL DEPOSIT           2.532E+09   IA005940358501   13911.6      0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5566991.94   115        LOCKBOX DEPOSIT              201257      IA007382825268   518476.78    0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5665701.09   115        LOCKBOX DEPOSIT              72371       IA007482053172   98709.15     0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4873679.33   169        MISCELLANEOUS ACH CREDIT     0           IA000011301374   42420.62     0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4831258.71   169        MISCELLANEOUS ACH CREDIT     0           IA000011332402   42834.58     0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4531914.01   169        MISCELLANEOUS ACH CREDIT     0           IA000012598424   161810.62    0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5009075.73   169        MISCELLANEOUS ACH CREDIT     0           IA000012820947   27807.19     0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5048515.16   169        MISCELLANEOUS ACH CREDIT     0           IA000012820955   39.28        0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5026513.23   169        MISCELLANEOUS ACH CREDIT     0           IA000013283573   17437.5      0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4370103.39   169        MISCELLANEOUS ACH CREDIT     0           IA000014346470   174351.71    0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4981268.54   169        MISCELLANEOUS ACH CREDIT     0           IA000016722019   33726.67     0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4947541.87   169        MISCELLANEOUS ACH CREDIT     0           IA000017659856   36443.13     0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5048475.88   169        MISCELLANEOUS ACH CREDIT     0           IA000026729543   7857         0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4911098.74   169        MISCELLANEOUS ACH CREDIT     0           IA000282558959   37419.41     0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4685664.22   169        MISCELLANEOUS ACH CREDIT     0           IA000282558960   153750.21    0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4788424.13   169        MISCELLANEOUS ACH CREDIT     0           IA071756402860   102759.91    0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5040618.88   169        MISCELLANEOUS ACH CREDIT     0           IA100202705939   14105.65     0
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1665701.09   495        OUTGOING MONEY TRANSFER      0           IA009989996898   0            4000000
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1634990.36   577        ZBA DEBIT TRANSFER           0           IA091000000014   0            30710.73
20190910     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1591398.91   577        ZBA DEBIT TRANSFER           0           IA091000000062   0            43591.45
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1633981.74   301        COMMERCIAL DEPOSIT           0           IA001585776090   42582.83     0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1664876.5    208        INTL MONEY TRANSFER CREDIT   0           IA009990227719   30894.76     0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2599837.66   115        LOCKBOX DEPOSIT              201257      IA007382000312   242144.34    0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2622913.92   115        LOCKBOX DEPOSIT              72371       IA007482097990   23076.26     0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2357693.32   169        MISCELLANEOUS ACH CREDIT     0           IA000010647059   1462.5       0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2037928.46   169        MISCELLANEOUS ACH CREDIT     0           IA000010729155   68321.22     0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2099145.58   169        MISCELLANEOUS ACH CREDIT     0           IA000010729156   61217.12     0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2156047.93   169        MISCELLANEOUS ACH CREDIT     0           IA000010892023   56902.35     0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2292198.86   169        MISCELLANEOUS ACH CREDIT     0           IA000011990971   21422.31     0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2351579.46   169        MISCELLANEOUS ACH CREDIT     0           IA000012852974   4831.66      0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1850812.26   169        MISCELLANEOUS ACH CREDIT     0           IA000013773959   185935.76    0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1969607.24   169        MISCELLANEOUS ACH CREDIT     0           IA000015260953   118794.98    0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2356230.82   169        MISCELLANEOUS ACH CREDIT     0           IA000022888973   4651.36      0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2321275.06   169        MISCELLANEOUS ACH CREDIT     0           IA000022889137   8826.33      0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2312448.73   169        MISCELLANEOUS ACH CREDIT     0           IA000022889301   9301.69      0




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                              UST-14A
Wells Fargo                                                                                                                                                                         Case Number                Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr               August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                              Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                  Ref No     Bank Ref         Credit Amt   Debit Amt
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2303147.04   169        MISCELLANEOUS ACH CREDIT   0          IA000022889607   10948.18     0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2346747.8    169        MISCELLANEOUS ACH CREDIT   0          IA000022889654   5300.01      0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2270776.55   169        MISCELLANEOUS ACH CREDIT   0          IA000022893208   24298.12     0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2341447.79   169        MISCELLANEOUS ACH CREDIT   0          IA000022896068   5760.23      0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2208608.43   169        MISCELLANEOUS ACH CREDIT   0          IA100208429442   52560.5      0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2329108.06   169        MISCELLANEOUS ACH CREDIT   0          IA100789739947   7833         0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2335687.56   169        MISCELLANEOUS ACH CREDIT   0          IA301793253981   6579.5       0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2246478.43   169        MISCELLANEOUS ACH CREDIT   0          IA500128851451   37870        0
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2617900.83   698        MISCELLANEOUS FEE DEBIT    0          IA000018740141   0            5013.09
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2616809.53   577        ZBA DEBIT TRANSFER         0          IA091100000008   0            1091.3
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2611036.62   577        ZBA DEBIT TRANSFER         0          IA091100000010   0            5772.91
20190911     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2594505.42   577        ZBA DEBIT TRANSFER         0          IA091100000064   0            16531.2
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2660843.06   301        COMMERCIAL DEPOSIT         0          IA001588004497   66337.64     0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3331608.46   115        LOCKBOX DEPOSIT            201257     IA007382122859   79641.05     0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3387357.39   115        LOCKBOX DEPOSIT            201257     IA007382122863   55748.93     0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3418702.36   115        LOCKBOX DEPOSIT            72371      IA007482131289   31344.97     0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3111620.24   169        MISCELLANEOUS ACH CREDIT   0          IA000010875988   108755.15    0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3218820.89   169        MISCELLANEOUS ACH CREDIT   0          IA000010884476   27885.24     0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3242978.92   169        MISCELLANEOUS ACH CREDIT   0          IA000011191674   24158.03     0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2857536.29   169        MISCELLANEOUS ACH CREDIT   0          IA000011191675   196693.23    0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3249202.31   169        MISCELLANEOUS ACH CREDIT   0          IA000013500525   6223.39      0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3251967.41   169        MISCELLANEOUS ACH CREDIT   0          IA000013506230   1            0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3002865.09   169        MISCELLANEOUS ACH CREDIT   0          IA000015271571   145328.8     0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3152191.11   169        MISCELLANEOUS ACH CREDIT   0          IA000017491705   40570.87     0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3251753.31   169        MISCELLANEOUS ACH CREDIT   0          IA000023976483   2551         0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3251966.41   169        MISCELLANEOUS ACH CREDIT   0          IA000027354777   213.1        0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3190935.65   169        MISCELLANEOUS ACH CREDIT   0          IA100203748944   38744.54     0
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3417726.5    469        MISCELLANEOUS ACH DEBIT    0          IA000021166906   0            975.86
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3416775.02   577        ZBA DEBIT TRANSFER         0          IA091200000008   0            951.48
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3408481.72   577        ZBA DEBIT TRANSFER         0          IA091200000010   0            8293.3
20190912     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3396045.07   577        ZBA DEBIT TRANSFER         0          IA091200000062   0            12436.65
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3520577.27   168        ACH RETURN ITEM CREDIT     0          IA000014266989   975.86       0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3410830.33   301        COMMERCIAL DEPOSIT         0          IA002787744434   14785.26     0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3519601.41   195        INCOMING MONEY TRANSFER    0          IA009991060911   42407        0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3477194.41   195        INCOMING MONEY TRANSFER    0          IA009991273318   66364.08     0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4976163.93   115        LOCKBOX DEPOSIT            201257     IA007382229231   347993.51    0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4987835.83   115        LOCKBOX DEPOSIT            72371      IA007482177688   11671.9      0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4603129.96   169        MISCELLANEOUS ACH CREDIT   0          IA000013263986   10140.21     0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4533612.99   169        MISCELLANEOUS ACH CREDIT   0          IA000013935223   34576.94     0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4499036.05   169        MISCELLANEOUS ACH CREDIT   0          IA000013935224   37536        0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3773333.6    169        MISCELLANEOUS ACH CREDIT   0          IA000014460752   252756.33    0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4625328.54   169        MISCELLANEOUS ACH CREDIT   0          IA000014619267   6223.39      0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4592989.75   169        MISCELLANEOUS ACH CREDIT   0          IA000014623878   13093.44     0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3997079.63   169        MISCELLANEOUS ACH CREDIT   0          IA000014671652   223746.03    0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4205491.97   169        MISCELLANEOUS ACH CREDIT   0          IA000016074298   208412.34    0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4560375.89   169        MISCELLANEOUS ACH CREDIT   0          IA000018478871   26762.9      0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4611212.05   169        MISCELLANEOUS ACH CREDIT   0          IA000020422344   8082.09      0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4579896.31   169        MISCELLANEOUS ACH CREDIT   0          IA000020547474   19520.42     0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4407978.84   169        MISCELLANEOUS ACH CREDIT   0          IA000288278525   202486.87    0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4461500.05   169        MISCELLANEOUS ACH CREDIT   0          IA000288278526   53521.21     0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4628170.42   169        MISCELLANEOUS ACH CREDIT   0          IA000288278527   2841.88      0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4619105.15   169        MISCELLANEOUS ACH CREDIT   0          IA318090301207   7893.1       0
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4986709.11   577        ZBA DEBIT TRANSFER         0          IA091300000008   0            1126.72
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4975194.55   577        ZBA DEBIT TRANSFER         0          IA091300000010   0            11514.56
20190913     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4950679.63   577        ZBA DEBIT TRANSFER         0          IA091300000056   0            24514.92
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6349438.61   115        LOCKBOX DEPOSIT            201257     IA007382435655   107459.57    0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6442619.74   115        LOCKBOX DEPOSIT            72371      IA007482268570   93181.13     0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6180592.11   169        MISCELLANEOUS ACH CREDIT   0          IA000010088592   39782.16     0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5816185.56   169        MISCELLANEOUS ACH CREDIT   0          IA000010990439   265380.91    0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5968553.66   169        MISCELLANEOUS ACH CREDIT   0          IA000011072125   152368.1     0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5281169.73   169        MISCELLANEOUS ACH CREDIT   0          IA000012326253   329500.6     0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6140809.95   169        MISCELLANEOUS ACH CREDIT   0          IA000012920493   59635.44     0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5550804.65   169        MISCELLANEOUS ACH CREDIT   0          IA000014568887   269634.92    0




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                UST-14A
Wells Fargo                                                                                                                                                                         Case Number                  Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                 August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                    Ref No     Bank Ref         Credit Amt   Debit Amt
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6214368      169        MISCELLANEOUS ACH CREDIT     0          IA000015512996   33775.89     0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6081174.51   169        MISCELLANEOUS ACH CREDIT     0          IA000018863479   112620.85    0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6239822.3    169        MISCELLANEOUS ACH CREDIT     0          IA000022720326   4958.52      0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6234863.78   169        MISCELLANEOUS ACH CREDIT     0          IA000022720396   5621.2       0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6229242.58   169        MISCELLANEOUS ACH CREDIT     0          IA000022723824   7377.83      0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6221864.75   169        MISCELLANEOUS ACH CREDIT     0          IA000022725059   7496.75      0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      6241979.04   169        MISCELLANEOUS ACH CREDIT     0          IA000025428430   2156.74      0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4951669.13   169        MISCELLANEOUS ACH CREDIT     0          IA004093038166   989.5        0
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1442619.74   495        OUTGOING MONEY TRANSFER      0          IA009991791285   0            5000000
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1435032.99   577        ZBA DEBIT TRANSFER           0          IA091600000014   0            7586.75
20190916     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1411087.65   577        ZBA DEBIT TRANSFER           0          IA091600000070   0            23945.34
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2577508.25   115        LOCKBOX DEPOSIT              201257     IA007382636215   108741.43    0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2627564.4    115        LOCKBOX DEPOSIT              72371      IA007482395640   50056.15     0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2300708.1    169        MISCELLANEOUS ACH CREDIT     0          IA000011677797   44270.89     0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2391123.7    169        MISCELLANEOUS ACH CREDIT     0          IA000011964690   18215.3      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2335345.6    169        MISCELLANEOUS ACH CREDIT     0          IA000012785953   34637.5      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2071600.3    169        MISCELLANEOUS ACH CREDIT     0          IA000012885057   135852.18    0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1768449.95   169        MISCELLANEOUS ACH CREDIT     0          IA000014236055   335716.26    0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2256437.21   169        MISCELLANEOUS ACH CREDIT     0          IA000017564094   52504.56     0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2410624.16   169        MISCELLANEOUS ACH CREDIT     0          IA000025538089   8020.36      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2460285.29   169        MISCELLANEOUS ACH CREDIT     0          IA000025538132   5253.48      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2431730.18   169        MISCELLANEOUS ACH CREDIT     0          IA000025538434   6418.45      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2468766.82   169        MISCELLANEOUS ACH CREDIT     0          IA000025538532   127.48       0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2418580.31   169        MISCELLANEOUS ACH CREDIT     0          IA000025538913   7956.15      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2402603.8    169        MISCELLANEOUS ACH CREDIT     0          IA000025538997   11480.1      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2464578.12   169        MISCELLANEOUS ACH CREDIT     0          IA000025539115   4292.83      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2425311.73   169        MISCELLANEOUS ACH CREDIT     0          IA000025539266   6731.42      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2468498.54   169        MISCELLANEOUS ACH CREDIT     0          IA000025539414   3920.42      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2449674.15   169        MISCELLANEOUS ACH CREDIT     0          IA000025539510   5928.36      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2443745.79   169        MISCELLANEOUS ACH CREDIT     0          IA000025540076   5948.22      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2437797.57   169        MISCELLANEOUS ACH CREDIT     0          IA000025541691   6067.39      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2468639.34   169        MISCELLANEOUS ACH CREDIT     0          IA000025542103   140.8        0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2354678.04   169        MISCELLANEOUS ACH CREDIT     0          IA000025543416   19332.44     0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2455031.81   169        MISCELLANEOUS ACH CREDIT     0          IA000025544346   5357.66      0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2203932.65   169        MISCELLANEOUS ACH CREDIT     0          IA000283188531   132332.35    0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1935748.12   169        MISCELLANEOUS ACH CREDIT     0          IA000283188532   167298.17    0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1432733.69   169        MISCELLANEOUS ACH CREDIT     0          IA004099304942   21646.04     0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2372908.4    169        MISCELLANEOUS ACH CREDIT     0          IA071758663452   18230.36     0
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2627542.16   577        ZBA DEBIT TRANSFER           0          IA091700000018   0            22.24
20190917     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2616236.16   577        ZBA DEBIT TRANSFER           0          IA091700000056   0            11306
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2632691.24   208        INTL MONEY TRANSFER CREDIT   0          IA009992676321   16455.08     0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3252815.04   115        LOCKBOX DEPOSIT              201257     IA007382814593   178490.77    0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3266879.67   115        LOCKBOX DEPOSIT              72371      IA007482436228   14064.63     0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2738933.84   169        MISCELLANEOUS ACH CREDIT     0          IA000011057893   106242.6     0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3037380.64   169        MISCELLANEOUS ACH CREDIT     0          IA000012355073   41521.93     0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3064542.64   169        MISCELLANEOUS ACH CREDIT     0          IA000012584113   7197.13      0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3057345.51   169        MISCELLANEOUS ACH CREDIT     0          IA000012589449   19964.87     0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2995858.71   169        MISCELLANEOUS ACH CREDIT     0          IA000013390725   53487.08     0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2823099.84   169        MISCELLANEOUS ACH CREDIT     0          IA000014168507   84166        0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2887558.82   169        MISCELLANEOUS ACH CREDIT     0          IA000015397852   64458.98     0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3069582.64   169        MISCELLANEOUS ACH CREDIT     0          IA000019187456   5040         0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3074324.27   169        MISCELLANEOUS ACH CREDIT     0          IA000023966315   4741.63      0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2942371.63   169        MISCELLANEOUS ACH CREDIT     0          IA100200123474   54812.81     0
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3260700.02   577        ZBA DEBIT TRANSFER           0          IA091800000004   0            6179.65
20190918     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3250287.46   577        ZBA DEBIT TRANSFER           0          IA091800000062   0            10412.56
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3801984.11   115        LOCKBOX DEPOSIT              201257     IA007382926419   10383.69     0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3762259.89   115        LOCKBOX DEPOSIT              201257     IA007382926422   71286.19     0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3791600.42   115        LOCKBOX DEPOSIT              72371      IA007482467230   29340.53     0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3607784.69   169        MISCELLANEOUS ACH CREDIT     0          IA000010885405   35192.77     0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3690972.7    169        MISCELLANEOUS ACH CREDIT     0          IA000010885421   764.64       0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3686052.46   169        MISCELLANEOUS ACH CREDIT     0          IA000012394433   10884.88     0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3645779.05   169        MISCELLANEOUS ACH CREDIT     0          IA000013218927   15757.38     0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3517035.8    169        MISCELLANEOUS ACH CREDIT     0          IA000015133733   65940.74     0




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                UST-14A
Wells Fargo                                                                                                                                                                         Case Number                  Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                 August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                    Ref No     Bank Ref         Credit Amt   Debit Amt
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3690208.06   169        MISCELLANEOUS ACH CREDIT     0          IA000018793250   1157.47      0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3675167.58   169        MISCELLANEOUS ACH CREDIT     0          IA000018955860   13702.5      0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3384490.24   169        MISCELLANEOUS ACH CREDIT     0          IA000018955861   126080.3     0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3690973.7    169        MISCELLANEOUS ACH CREDIT     0          IA000019412259   1            0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3630021.67   169        MISCELLANEOUS ACH CREDIT     0          IA000025386101   22236.98     0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3661465.08   169        MISCELLANEOUS ACH CREDIT     0          IA000028338372   15686.03     0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3258409.94   169        MISCELLANEOUS ACH CREDIT     0          IA004093049291   120.28       0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3258289.66   169        MISCELLANEOUS ACH CREDIT     0          IA070385788138   8002.2       0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3451095.06   169        MISCELLANEOUS ACH CREDIT     0          IA100203855736   66604.82     0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3572591.92   169        MISCELLANEOUS ACH CREDIT     0          IA270410964228   55556.12     0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3689050.59   169        MISCELLANEOUS ACH CREDIT     0          IA901688690871   2998.13      0
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3801571.4    577        ZBA DEBIT TRANSFER           0          IA091900000008   0            412.71
20190919     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3800098.6    577        ZBA DEBIT TRANSFER           0          IA091900000068   0            1472.8
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3894079.49   301        COMMERCIAL DEPOSIT           0          IA001585779562   93980.89     0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3969498.49   195        INCOMING MONEY TRANSFER      0          IA009993347796   75419        0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3994548.49   195        INCOMING MONEY TRANSFER      0          IA009993569805   25050        0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4020642.89   208        INTL MONEY TRANSFER CREDIT   0          IA009993167654   26094.4      0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5585986.46   115        LOCKBOX DEPOSIT              201257     IA007382043932   341075.24    0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5000619.9    169        MISCELLANEOUS ACH CREDIT     0          IA000010653745   64990.31     0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5244911.22   169        MISCELLANEOUS ACH CREDIT     0          IA000013105616   9900.23      0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5212774.01   169        MISCELLANEOUS ACH CREDIT     0          IA000013193499   27456.92     0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5157135.15   169        MISCELLANEOUS ACH CREDIT     0          IA000013193500   29178.6      0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4724066.24   169        MISCELLANEOUS ACH CREDIT     0          IA000013573939   210583.36    0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4842560.1    169        MISCELLANEOUS ACH CREDIT     0          IA000014873317   118493.86    0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4513482.88   169        MISCELLANEOUS ACH CREDIT     0          IA000015227700   225592.38    0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4935629.59   169        MISCELLANEOUS ACH CREDIT     0          IA000019105203   93069.49     0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5235010.99   169        MISCELLANEOUS ACH CREDIT     0          IA000021667668   22236.98     0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4287890.5    169        MISCELLANEOUS ACH CREDIT     0          IA000289112708   267247.61    0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5051151.69   169        MISCELLANEOUS ACH CREDIT     0          IA000289112709   50531.79     0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5091155.39   169        MISCELLANEOUS ACH CREDIT     0          IA071758056358   40003.7      0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5127956.55   169        MISCELLANEOUS ACH CREDIT     0          IA100206812671   36801.16     0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5185317.09   169        MISCELLANEOUS ACH CREDIT     0          IA137522513921   28181.94     0
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1585986.46   495        OUTGOING MONEY TRANSFER      0          IA009993354838   0            4000000
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1584782.57   577        ZBA DEBIT TRANSFER           0          IA092000000008   0            1203.89
20190920     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1568750.21   577        ZBA DEBIT TRANSFER           0          IA092000000070   0            16032.36
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1657908.78   208        INTL MONEY TRANSFER CREDIT   0          IA009993608658   89158.57     0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2959575.38   115        LOCKBOX DEPOSIT              201257     IA007382286243   463293.3     0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3067796.42   115        LOCKBOX DEPOSIT              72371      IA007482604040   108221.04    0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2408022.94   169        MISCELLANEOUS ACH CREDIT     0          IA000011026697   25314.72     0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2039212.12   169        MISCELLANEOUS ACH CREDIT     0          IA000011706670   166712.4     0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2449039.84   169        MISCELLANEOUS ACH CREDIT     0          IA000011891433   20484.66     0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2307851.76   169        MISCELLANEOUS ACH CREDIT     0          IA000012879694   71095.42     0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1872499.72   169        MISCELLANEOUS ACH CREDIT     0          IA000013920368   214590.94    0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2348187.97   169        MISCELLANEOUS ACH CREDIT     0          IA000016657800   40336.21     0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2146129.25   169        MISCELLANEOUS ACH CREDIT     0          IA000017169630   106917.13    0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2428555.18   169        MISCELLANEOUS ACH CREDIT     0          IA000018264783   20532.24     0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2236756.34   169        MISCELLANEOUS ACH CREDIT     0          IA000018264784   90627.09     0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2472975.05   169        MISCELLANEOUS ACH CREDIT     0          IA000020735799   9760.21      0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2382708.22   169        MISCELLANEOUS ACH CREDIT     0          IA000028618273   34520.25     0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2496282.08   169        MISCELLANEOUS ACH CREDIT     0          IA000028620082   6747.89      0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2481319.3    169        MISCELLANEOUS ACH CREDIT     0          IA000028623769   8344.25      0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2463214.84   169        MISCELLANEOUS ACH CREDIT     0          IA000286607227   14175        0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2489534.19   169        MISCELLANEOUS ACH CREDIT     0          IA071753250538   8214.89      0
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3057684.04   577        ZBA DEBIT TRANSFER           0          IA092300000004   0            10112.38
20190923     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3053098.16   577        ZBA DEBIT TRANSFER           0          IA092300000054   0            4585.88
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4389499.23   115        LOCKBOX DEPOSIT              201257     IA007382560266   189609.9     0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4422095.91   115        LOCKBOX DEPOSIT              201257     IA007382560271   32596.68     0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3960936.04   169        MISCELLANEOUS ACH CREDIT     0          IA000011763217   41006.24     0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3995573.54   169        MISCELLANEOUS ACH CREDIT     0          IA000012501034   34637.5      0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3871660.81   169        MISCELLANEOUS ACH CREDIT     0          IA000012577213   57643.87     0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3814016.94   169        MISCELLANEOUS ACH CREDIT     0          IA000013417974   74693.44     0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3345136.69   169        MISCELLANEOUS ACH CREDIT     0          IA000013424056   292038.53    0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3919929.8    169        MISCELLANEOUS ACH CREDIT     0          IA000015320816   48268.99     0




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                UST-14A
Wells Fargo                                                                                                                                                                         Case Number                  Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                 August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                    Ref No     Bank Ref         Credit Amt   Debit Amt
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4085476.69   169        MISCELLANEOUS ACH CREDIT     0          IA000015422113   22153.82     0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4063322.87   169        MISCELLANEOUS ACH CREDIT     0          IA000017513457   33503.17     0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3642822.42   169        MISCELLANEOUS ACH CREDIT     0          IA000018744044   108519.63    0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4139112.76   169        MISCELLANEOUS ACH CREDIT     0          IA000021712969   15523.48     0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4029819.7    169        MISCELLANEOUS ACH CREDIT     0          IA000021713034   34246.16     0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4158255.14   169        MISCELLANEOUS ACH CREDIT     0          IA000021713253   9283.15      0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4166862.32   169        MISCELLANEOUS ACH CREDIT     0          IA000021713596   8607.18      0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4199889.33   169        MISCELLANEOUS ACH CREDIT     0          IA000021713626   3089.59      0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4174907.92   169        MISCELLANEOUS ACH CREDIT     0          IA000021713656   8045.6       0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4148971.99   169        MISCELLANEOUS ACH CREDIT     0          IA000021717460   9859.23      0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4186932.85   169        MISCELLANEOUS ACH CREDIT     0          IA000021719647   5749.04      0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4192216.39   169        MISCELLANEOUS ACH CREDIT     0          IA000021723807   5283.54      0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4123589.28   169        MISCELLANEOUS ACH CREDIT     0          IA000029850338   17595.5      0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4181183.81   169        MISCELLANEOUS ACH CREDIT     0          IA000282985051   6275.89      0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3534302.79   169        MISCELLANEOUS ACH CREDIT     0          IA000282985052   189166.1     0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3739323.5    169        MISCELLANEOUS ACH CREDIT     0          IA071750987747   96501.08     0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4105993.78   169        MISCELLANEOUS ACH CREDIT     0          IA100205097888   20517.09     0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4196799.74   169        MISCELLANEOUS ACH CREDIT     0          IA100606924300   4583.35      0
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4378847.03   699        MISCELLANEOUS DEBIT          201257     IA009942930733   0            43248.88
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4371587.28   577        ZBA DEBIT TRANSFER           0          IA092400000004   0            7259.75
20190924     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4368891.75   577        ZBA DEBIT TRANSFER           0          IA092400000052   0            2695.53
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4395271.75   195        INCOMING MONEY TRANSFER      0          IA009994480593   26380        0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4421480.07   208        INTL MONEY TRANSFER CREDIT   0          IA009994453363   26208.32     0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5165950.65   115        LOCKBOX DEPOSIT              201257     IA007382712072   273629.64    0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5234472.54   115        LOCKBOX DEPOSIT              201257     IA007382712077   11853.11     0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5222619.43   115        LOCKBOX DEPOSIT              72371      IA007482743389   56668.78     0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4821595.13   169        MISCELLANEOUS ACH CREDIT     0          IA000010879095   27594.06     0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4891391.81   169        MISCELLANEOUS ACH CREDIT     0          IA000011006363   3413.36      0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4847198.27   169        MISCELLANEOUS ACH CREDIT     0          IA000011017377   25603.14     0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4794001.07   169        MISCELLANEOUS ACH CREDIT     0          IA000012809924   48692.61     0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4745308.46   169        MISCELLANEOUS ACH CREDIT     0          IA000014505681   106968.22    0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4638340.24   169        MISCELLANEOUS ACH CREDIT     0          IA000014513154   216860.17    0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4892321.01   169        MISCELLANEOUS ACH CREDIT     0          IA000015604859   929.2        0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4884335.59   169        MISCELLANEOUS ACH CREDIT     0          IA000025032888   6555.61      0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4877779.98   169        MISCELLANEOUS ACH CREDIT     0          IA000027033051   9760.21      0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4887978.45   169        MISCELLANEOUS ACH CREDIT     0          IA100201090730   3642.86      0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      4868019.77   169        MISCELLANEOUS ACH CREDIT     0          IA500126249795   20821.5      0
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5232222.1    577        ZBA DEBIT TRANSFER           0          IA092500000004   0            2250.44
20190925     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5228672.23   577        ZBA DEBIT TRANSFER           0          IA092500000054   0            3549.87
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5453339.48   169        MISCELLANEOUS ACH CREDIT     0          IA000011482627   37168.17     0
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5378284.25   169        MISCELLANEOUS ACH CREDIT     0          IA000013402752   42501.61     0
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5502166.94   169        MISCELLANEOUS ACH CREDIT     0          IA000013517550   5201.82      0
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5476984.27   169        MISCELLANEOUS ACH CREDIT     0          IA000013576153   23644.79     0
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5335782.64   169        MISCELLANEOUS ACH CREDIT     0          IA000015090649   94862.41     0
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5416171.31   169        MISCELLANEOUS ACH CREDIT     0          IA000017491547   37887.06     0
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5491159.27   169        MISCELLANEOUS ACH CREDIT     0          IA000287588312   14175        0
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5240920.23   169        MISCELLANEOUS ACH CREDIT     0          IA070384064440   12248        0
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      5496965.12   169        MISCELLANEOUS ACH CREDIT     0          IA100204653321   5805.85      0
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      502166.94    495        OUTGOING MONEY TRANSFER      0          IA009995093165   0            5000000
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      501503.4     577        ZBA DEBIT TRANSFER           0          IA092600000008   0            663.54
20190926     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      497632.05    577        ZBA DEBIT TRANSFER           0          IA092600000048   0            3871.35
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      578593.24    301        COMMERCIAL DEPOSIT           0          IA001588009073   80961.19     0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      653400.61    195        INCOMING MONEY TRANSFER      0          IA009995665826   25050        0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      679495.01    208        INTL MONEY TRANSFER CREDIT   0          IA009995356336   26094.4      0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      680811.21    208        INTL MONEY TRANSFER CREDIT   0          IA009995662429   1316.2       0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2176444.81   115        LOCKBOX DEPOSIT              201257     IA007382924796   405639.35    0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2211796.39   115        LOCKBOX DEPOSIT              72371      IA007482813205   35351.58     0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1162012.12   169        MISCELLANEOUS ACH CREDIT     0          IA000010502091   234998.39    0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1749085.24   169        MISCELLANEOUS ACH CREDIT     0          IA000011056132   19652.22     0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1770805.46   169        MISCELLANEOUS ACH CREDIT     0          IA000011214867   3556.05      0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1629686.82   169        MISCELLANEOUS ACH CREDIT     0          IA000013188145   67717        0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1761184.78   169        MISCELLANEOUS ACH CREDIT     0          IA000013424803   12099.54     0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1767249.41   169        MISCELLANEOUS ACH CREDIT     0          IA000013477522   6064.63      0




                                                                                   Case 19-62584-pcm11                            Doc 333                   Filed 11/04/19
Norpac Foods, Inc. (Consolidated)                                                                                                                                                                                UST-14A
Wells Fargo                                                                                                                                                                         Case Number                  Lead 19-62584-pcm11
UST-14A Reciepts and Disbursements                                                                                                                                                  Report Mo/Yr                 August, 2019
9/01/2019- 9/30/2019


             As-Of-                                                                                                               Opening      Closing      Running      BAI Type                                Customer
As-Of Date   Time       Bank ID      Bank Name                State   Acct No      Acct Type        Acct Name          Currency   Ledger Bal   Ledger Bal   Ledger Bal   Code       Tran Desc                    Ref No     Bank Ref         Credit Amt   Debit Amt
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      927013.73    169        MISCELLANEOUS ACH CREDIT     0          IA000013928362   246202.52    0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1561969.82   169        MISCELLANEOUS ACH CREDIT     0          IA000014341606   74822.88     0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1709707.19   169        MISCELLANEOUS ACH CREDIT     0          IA000018693366   27372.6      0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1387164.59   169        MISCELLANEOUS ACH CREDIT     0          IA000289563195   225152.47    0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1487146.94   169        MISCELLANEOUS ACH CREDIT     0          IA000289563196   99982.35     0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      628350.61    169        MISCELLANEOUS ACH CREDIT     0          IA004099319465   49757.37     0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1682334.59   169        MISCELLANEOUS ACH CREDIT     0          IA100208023067   52647.77     0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      1729433.02   169        MISCELLANEOUS ACH CREDIT     0          IA500121572487   19725.83     0
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2211476.07   577        ZBA DEBIT TRANSFER           0          IA092700000008   0            320.32
20190927     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2209693.49   577        ZBA DEBIT TRANSFER           0          IA092700000066   0            1782.58
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2325502.46   195        INCOMING MONEY TRANSFER      0          IA009995955874   115808.97    0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2351710.78   208        INTL MONEY TRANSFER CREDIT   0          IA009995912404   26208.32     0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3765410.45   115        LOCKBOX DEPOSIT              201257     IA007382127076   41872.19     0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3723538.26   115        LOCKBOX DEPOSIT              72371      IA007482908693   111479.54    0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3262565.72   169        MISCELLANEOUS ACH CREDIT     0          IA000014073363   152839.5     0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3351702.91   169        MISCELLANEOUS ACH CREDIT     0          IA000014091731   89137.19     0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3599818.39   169        MISCELLANEOUS ACH CREDIT     0          IA000014950280   6223.39      0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3429046.21   169        MISCELLANEOUS ACH CREDIT     0          IA000015013994   77343.3      0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3550937.51   169        MISCELLANEOUS ACH CREDIT     0          IA000015013995   18215.3      0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      2850278.94   169        MISCELLANEOUS ACH CREDIT     0          IA000016684363   498568.16    0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3532722.21   169        MISCELLANEOUS ACH CREDIT     0          IA000018876142   50518.05     0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3585621.96   169        MISCELLANEOUS ACH CREDIT     0          IA000018880330   9606.48      0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3109726.22   169        MISCELLANEOUS ACH CREDIT     0          IA000018918615   259447.28    0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3608448.22   169        MISCELLANEOUS ACH CREDIT     0          IA000026869343   3953.47      0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3576015.48   169        MISCELLANEOUS ACH CREDIT     0          IA000026869624   9707.41      0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3604494.75   169        MISCELLANEOUS ACH CREDIT     0          IA000026870196   4676.36      0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3593595      169        MISCELLANEOUS ACH CREDIT     0          IA000026872289   7973.04      0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3566308.07   169        MISCELLANEOUS ACH CREDIT     0          IA000026877747   15370.56     0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3482204.16   169        MISCELLANEOUS ACH CREDIT     0          IA071754664760   53157.95     0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3612058.72   169        MISCELLANEOUS ACH CREDIT     0          IA071756341835   3610.5       0
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3763879.66   577        ZBA DEBIT TRANSFER           0          IA093000000004   0            1530.79
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3762615.79   577        ZBA DEBIT TRANSFER           0          IA093000000006   0            1263.87
20190930     23 59 00   121000248    WELLS FARGO BANK, N.A.   CA      XXXXXX9073   COMMERCIAL DDA   NORPAC FOODS INC   USD        9329743      3757932      3757931.55   577        ZBA DEBIT TRANSFER           0          IA093000000070   0            4684.24




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Norpac Foods, Inc.                                                                                         UST-14A
UST-14A: Statement of Receipts and Disbursements                                      Case Number:         19-62584-pcm11
9/01/2019- 9/30/2019                                                                  Report Mo/Yr:        September, 2019


      Bank Name                                    Wells Fargo       Wells Fargo      Signature Bank       Signature Bank     Signature Bank
      Account Number                               XXXXXX6125        XXXXXX9073       XXXXXX8752           XXXXXX8760         XXXXXX8906
      Account Type                                 Operating         Concentration    Operating            Payroll            Concentration

      BEGINNING BANK BALANCE                                     -     4,949,729.33                -                   -         8,883,115.43
      ADD:
       TRANFERS IN                                   1,785,239.07     18,166,182.74     11,545,477.64        3,135,173.37       23,221,801.95
       RECIEPTS DEPOSITED                                     -        6,336,264.32               -                   -          1,373,666.89
       OTHER- Posting Error Correction Edit              6,203.59               -
       Total Reciepts                                1,791,442.66     24,502,447.06     11,545,477.64        3,135,173.37       24,595,468.84

      SUBTRACT:
       TRANSFERS OUT                                   (974,228.56) (25,645,007.01)       (1,289,309.31)               -       (16,834,734.79)
       DISBURSEMENTS MADE BY CHECK/DEBIT               (817,214.10)            -        (10,256,168.33)      (3,135,173.37)      (8,471,734.24)
       OTHER- ACH Fees, Misapplied Payment                     -        (49,237.83)                 -                  -                   -
       Total Disbursements                           (1,791,442.66) (25,694,244.84)     (11,545,477.64)      (3,135,173.37)    (25,306,469.03)

      ENDING BANK BALANCE                                        -     3,757,931.55                -                   -         8,172,115.24




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              DDA Cycled Statement Report
              Custom
              As of 10/01/2019
              Company: NORPAC FOODS INC
              User: Tammy Roebke                                                                                        10/02/2019 02:09 PM ET
              Commercial Electronic Office®                                                                      Treasury Information Reporting

                                                        Statement Start Date: 09/01/2019
                                                        Statement End Date: 09/30/2019
Currency: USD
Bank: 121000248                                                                                                     WELLS FARGO BANK, N.A.
Account:       1017(OR)                                                                                              HERMISTON FOODS, LLC
Account Overview
         Beginning Ledger Balance                                                                                                           .00
                Deposits                                                                                                                    .00
                Electronic Deposits/Bank Credits                                                                                      63,419.55
         Total Credits                                                                                                                63,419.55
                Electronic Debits/Bank Debits                                                                                         56,128.73
                Checks Paid                                                                                                            7,290.82
         Total Debits                                                                                                                 63,419.55
         Ending Ledger Balance                                                                                                              .00


Credits
  Electronic Deposits/Bank Credits
     Effective Date Posted Date                  Amount     Transaction Detail
                     09/04/2019                 56,128.73   ZBA BALANCE ACCOUNT TRANSFER FROM                    9073
                     09/06/2019                  1,711.69   ZBA BALANCE ACCOUNT TRANSFER FROM                    9073
                     09/09/2019                    466.13   ZBA BALANCE ACCOUNT TRANSFER FROM                    9073
                     09/11/2019                  1,091.30   ZBA BALANCE ACCOUNT TRANSFER FROM                    9073
                     09/12/2019                    951.48   ZBA BALANCE ACCOUNT TRANSFER FROM                    9073
                     09/13/2019                  1,126.72   ZBA BALANCE ACCOUNT TRANSFER FROM                    9073
                     09/19/2019                    412.71   ZBA BALANCE ACCOUNT TRANSFER FROM                    9073
                     09/30/2019                  1,530.79   ZBA BALANCE ACCOUNT TRANSFER FROM                    9073

                                                63,419.55   Total Electronic Deposits/Bank Credits

                                                63,419.55   Total Credits

Debits
  Electronic Debits/Bank Debits
     Effective Date Posted Date                  Amount     Transaction Detail
                     09/04/2019                 55,903.04   WT FED#01426 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                            SRF# 201909
                                                            0400006805 TRN#190904102383 RFB#     450474844
                     09/04/2019                    225.69   WT FED#01315 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                            SRF# 201909
                                                            0400006807 TRN#190904102396 RFB#     450474844

                                                56,128.73   Total Electronic Debits/Bank Debits

Checks Paid
Check                                            Check                                            Check
Number      Date                     Amount      Number         Date                   Amount     Number         Date                  Amount
200000216     09/13/2019             1,126.72    200000219      09/09/2019              466.13    200000222      09/30/2019            1,530.79
200000217     09/06/2019               743.83    200000220      09/06/2019              967.86    200000223      09/12/2019              951.48
200000218     09/11/2019             1,091.30    200000221      09/19/2019              412.71

                                                                                       7,290.82   Total Checks Paid

                                                                                      63,419.55   Total Debits

Daily Ledger Balance Summary
              Date                              Balance      Date                           Balance      Date                          Balance

               09/03/2019                            .00     09/12/2019                           .00    09/23/2019                         .00
               09/04/2019                            .00     09/13/2019                           .00    09/24/2019                         .00
               09/05/2019                            .00     09/16/2019                           .00    09/25/2019                         .00
               09/06/2019                            .00     09/17/2019                           .00    09/26/2019                         .00
               09/09/2019                            .00     09/18/2019                           .00    09/27/2019                         .00
               09/10/2019                            .00     09/19/2019                           .00    09/30/2019                         .00
               09/11/2019                            .00     09/20/2019                           .00

                                                                                                  .00    Average Daily Ledger Balance


                                                            ---- END OF REPORT ----




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                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             HERMISTON FOODS LLC DIP                 9-161
             CASE # 19-33102
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                     See Back for Important Information


                                                                    Primary Account:         8787         6

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              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      8787      BANKRUPTCY CHECKING                                        .00                           .00

              RELATIONSHIP             TOTAL                                                             .00




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                                                                                    PRIVATE CLIENT GROUP 161
                                                                                    565 FIFTH AVENUE
                                                                                    NEW YORK, NY 10017




             HERMISTON FOODS LLC DIP                       9-161
             CASE # 19-33102
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                     999                           See Back for Important Information


                                                                           Primary Account:       8787            6


BANKRUPTCY CHECKING                     8787




Summary

 Previous Balance as of September 01, 2019                                                                     .00
        4 Credits                                                                                        67,849.88
        8 Debits                                                                                         67,849.88
 Ending Balance as of   September 30, 2019                                                                     .00


Deposits and Other Credits
 Sep 17 ZBA/TBA TRANSFER IN                                                                              61,538.16
         ZBA/SWEEP TRANSFER FROM               8906
 Sep 23 ZBA/TBA TRANSFER IN                                                                               4,715.08
         ZBA/SWEEP TRANSFER FROM               8906
 Sep 24 ZBA/TBA TRANSFER IN                                                                                   351.63
         ZBA/SWEEP TRANSFER FROM               8906
 Sep 30 ZBA/TBA TRANSFER IN                                                                               1,245.01
         ZBA/SWEEP TRANSFER FROM               8906

Withdrawals and Other Debits
 Sep 17 OUTGOING WIRE XFER                                                                                    225.69
         REF# 20190917B6B7261F002131
         TO:   KRONOS SAASHR, INC.                      ABA:   042000314
         BANK: FIFTH THIRD CINCI                      ACCT# 7146798843
 Sep 17 OUTGOING WIRE XFER                                                                               61,312.47
         REF# 20190917B6B7261F002143
         TO:   KRONOS SAASHR, INC.                      ABA:   042000314
         BANK: FIFTH THIRD CINCI                      ACCT# 7146798843

Checks by Serial Number
 Sep 24 200050000                    351.63       Sep 23    200050003               1,156.59
 Sep 23 200050001                  1,711.37       Sep 23    200050004                 976.06
 Sep 23 200050002                    871.06       Sep 30    200050007 *             1,245.01

                 * Indicates break in check sequence




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                                                                     PRIVATE CLIENT GROUP 161
                                                                     565 FIFTH AVENUE
                                                                     NEW YORK, NY 10017




             HERMISTON FOODS LLC DIP           9-161
             CASE # 19-33102
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309            999                     See Back for Important Information


                                                            Primary Account:       8787         6


Daily Balances
 Aug 31                  .00




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                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             HERMISTON FOODS LLC DIP                 9-161
             CASE # 19-33102
             OPERATING ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                     See Back for Important Information


                                                                    Primary Account:         8779         6

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              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      8779      BANKRUPTCY CHECKING                                        .00                           .00

              RELATIONSHIP             TOTAL                                                             .00




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                                                                                     PRIVATE CLIENT GROUP 161
                                                                                     565 FIFTH AVENUE
                                                                                     NEW YORK, NY 10017




             HERMISTON FOODS LLC DIP                      9-161
             CASE # 19-33102
             OPERATING ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                             See Back for Important Information


                                                                            Primary Account:       8779            6


BANKRUPTCY CHECKING                    8779




Summary

 Previous Balance as of September 01, 2019                                                                     .00
        5 Credits                                                                                         1,048.86
        6 Debits                                                                                          1,048.86
 Ending Balance as of   September 30, 2019                                                                     .00


Deposits and Other Credits
 Sep 17 ZBA/TBA TRANSFER IN                                                                                    140.00
         ZBA/SWEEP TRANSFER FROM              8906
 Sep 18 ZBA/TBA TRANSFER IN                                                                                    509.82
         ZBA/SWEEP TRANSFER FROM              8906
 Sep 26 ZBA/TBA TRANSFER IN                                                                                     25.56
         ZBA/SWEEP TRANSFER FROM              8906
 Sep 27 ZBA/TBA TRANSFER IN                                                                                     95.60
         ZBA/SWEEP TRANSFER FROM              8906
 Sep 30 ZBA/TBA TRANSFER IN                                                                                    277.88
         ZBA/SWEEP TRANSFER FROM              8906

Checks by Serial Number
 Sep 18       1001                 414.82        Sep 30           1004                 277.88
 Sep 18       1002                  95.00        Sep 26           1005                  25.56
 Sep 17       1003                 140.00        Sep 27           1006                  95.60

Daily Balances
 Aug 31                   .00




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              Custom
              As of 10/01/2019
              Company: NORPAC FOODS INC
              User: Tammy Roebke                                                                               10/02/2019 02:11 PM ET
              Commercial Electronic Office®                                                             Treasury Information Reporting

                                                        Statement Start Date: 09/01/2019
                                                        Statement End Date: 09/30/2019
Currency: USD
Bank: 121000248                                                                                            WELLS FARGO BANK, N.A.
Account:       6125(OR)                                                                                        NORPAC FOODS INC
Account Overview
         Beginning Ledger Balance                                                                                                  .00
                Deposits                                                                                                      6,203.59
                Electronic Deposits/Bank Credits                                                                          1,785,239.07
         Total Credits                                                                                                    1,791,442.66
                Electronic Debits/Bank Debits                                                                               974,228.56
                Checks Paid                                                                                                 817,214.10
         Total Debits                                                                                                     1,791,442.66
         Ending Ledger Balance                                                                                                     .00


Credits
  Deposits
     Effective Date Posted Date                Amount       Transaction Detail
     08/30/2019      09/03/2019                    420.00   REVERSAL OF CHECK POSTED 8-30-19 PAYMENT NOT AUTHORIZED
                                                            (REF OUR REF: 8-30
                                                            -19 00000000
     08/30/2019      09/03/2019                    348.00   REVERSAL OF CHECK POSTED 8-30-19 REPOSTED 9-03-19 AS SERIAL
                                                            0020029738 OUR REF: 8-30
                                                            -19
                                                            00000000
     08/30/2019      09/03/2019                    311.07   REVERSAL OF CHECK POSTED 8-30-19 REPOSTED 9-03-19 AS SERIAL
                                                            0020026245 OUR REF: 8-30
                                                            -19
                                                            00000000
     08/30/2019      09/03/2019                    195.86   REVERSAL OF CHECK POSTED 8-30-19 PAYMENT NOT AUTHORIZED
                                                            (REF OUR REF: 8-30
                                                            -19 00000000
     08/30/2019      09/03/2019                     50.00   REVERSAL OF CHECK POSTED 8-30-19 PAYMENT NOT AUTHORIZED
                                                            (REF OUR REF: 8-30
                                                            -19 00000000
     08/30/2019      09/03/2019                     10.00   REVERSAL OF CHECK POSTED 8-30-19 PAYMENT NOT AUTHORIZED
                                                            (REF OUR REF: 8-30
                                                            -19 00000000
     09/03/2019      09/04/2019                    440.77   REVERSAL OF CHECK POSTED 9-03-19 REPOSTED 9-04-19 AS SERIAL
                                                            0020028193 OUR REF: 9-03
                                                            -19
                                                            00000000
     09/03/2019      09/04/2019                    374.03   REVERSAL OF CHECK POSTED 9-03-19 REPOSTED 9-04-19 AS SERIAL
                                                            0020029721 OUR REF: 9-03
                                                            -19
                                                            00000000
     09/03/2019      09/04/2019                     25.00   REVERSAL OF CHECK POSTED 9-03-19 PAYMENT NOT AUTHORIZED
                                                            (REF OUR REF: 9-03
                                                            -19 00000000
     09/05/2019      09/06/2019                    200.00   REVERSAL OF CHECK POSTED 9-05-19 REFER TO MAKER OUR REF:
                                                            9-05
                                                            -19 00000000
     09/05/2019      09/06/2019                     22.50   REVERSAL OF CHECK POSTED 9-05-19 REFER TO MAKER OUR REF:
                                                            9-05
                                                            -19 00000000
     09/06/2019      09/09/2019                    663.53   REVERSAL OF CHECK POSTED 9-06-19 REPOSTED 9-09-19 AS SERIAL
                                                            0020030259 OUR REF: 9-06
                                                            -19
                                                            00000000
     09/06/2019      09/09/2019                    484.18   REVERSAL OF CHECK POSTED 9-06-19 REPOSTED 9-09-19 AS SERIAL
                                                            0020030166 OUR REF: 9-06
                                                            -19
                                                            00000000
     09/06/2019      09/09/2019                    444.88   REVERSAL OF CHECK POSTED 9-06-19 REPOSTED 9-09-19 AS SERIAL
                                                            0020030836 OUR REF: 9-06
                                                            -19
                                                            00000000
     09/06/2019      09/09/2019                    391.26   REVERSAL OF CHECK POSTED 9-06-19 REPOSTED 9-09-19 AS SERIAL
                                                            0020030500 OUR REF: 9-06
                                                            -19
                                                            00000000
     09/06/2019      09/09/2019                    325.31   REVERSAL OF CHECK POSTED 9-06-19 REPOSTED 9-09-19 AS SERIAL
                                                            0020029892 OUR REF: 9-06




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             Company: NORPAC FOODS INC
             User: Tammy Roebke                                                                            10/02/2019 02:11 PM ET
             Commercial Electronic Office®                                                          Treasury Information Reporting

                                                        -19
                                                        00000000
     09/06/2019    09/09/2019                 159.74    REVERSAL OF CHECK POSTED 9-06-19 REPOSTED 9-09-19 AS SERIAL
                                                        0020030337 OUR REF: 9-06
                                                        -19
                                                        00000000
     09/09/2019    09/10/2019                 207.28    REVERSAL OF CHECK POSTED 9-09-19 REPOSTED 9-10-19 AS SERIAL
                                                        0020029996 OUR REF: 9-09
                                                        -19
                                                        00000000
     09/10/2019    09/11/2019                 153.03    REVERSAL OF CHECK POSTED 9-10-19 PAYMENT NOT AUTHORIZED
                                                        (REF OUR REF: 9-10
                                                        -19 00000000
     09/11/2019    09/12/2019                  62.68    REVERSAL OF CHECK POSTED 9-11-19 REPOSTED 9-12-19 AS SERIAL
                                                        0020029808 OUR REF: 9-11
                                                        -19
                                                        00000000
     09/13/2019    09/16/2019                 312.51    REVERSAL OF CHECK POSTED 9-13-19 REPOSTED 9-16-19 AS SERIAL
                                                        0020027560 OUR REF: 9-13
                                                        -19
                                                        00000000
     09/16/2019    09/17/2019                 156.91    REVERSAL OF CHECK POSTED 9-16-19 REPOSTED 9-17-19 AS SERIAL
                                                        0020023984 OUR REF: 9-16
                                                        -19
                                                        00000000
     09/23/2019    09/24/2019                 424.00    REVERSAL OF CHECK POSTED 9-23-19 PAYMENT NOT AUTHORIZED
                                                        (REF OUR REF: 9-23
                                                        -19 00000000
     09/27/2019    09/30/2019                  21.05    REVERSAL OF CHECK POSTED 9-27-19 REFER TO MAKER OUR REF:
                                                        9-27
                                                        -19 00000000

                                             6,203.59   Total Deposits

  Electronic Deposits/Bank Credits
     Effective Date Posted Date              Amount     Transaction Detail
                   09/03/2019            132,805.74     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/04/2019          1,032,366.24     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/05/2019             18,409.83     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/06/2019            304,855.83     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/09/2019            115,388.70     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/10/2019             43,591.45     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/11/2019             16,531.20     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/12/2019             12,436.65     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/13/2019             24,514.92     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/16/2019             23,945.34     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/17/2019             11,306.00     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/18/2019             10,412.56     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/19/2019              1,472.80     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/20/2019             16,032.36     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/23/2019              4,585.88     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/24/2019              2,695.53     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/25/2019              3,549.87     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/26/2019              3,871.35     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/27/2019              1,782.58     ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                   09/30/2019              4,684.24     ZBA BALANCE ACCOUNT TRANSFER FROM           9073

                                       1,785,239.07     Total Electronic Deposits/Bank Credits

                                       1,791,442.66     Total Credits

Debits
  Electronic Debits/Bank Debits
     Effective Date Posted Date              Amount     Transaction Detail
                   09/04/2019           967,888.90      WT FED#01333 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                        SRF# 201909
                                                        0400006802 TRN#190904102336 RFB#     450474844
                   09/04/2019                6,339.66   WT FED#01334 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                        SRF# 201909
                                                        0400006803 TRN#190904102342 RFB#     450474844

                                        974,228.56      Total Electronic Debits/Bank Debits




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Checks Paid
Check                                       Check                               Check
Number      Date                Amount      Number      Date         Amount     Number     Date                  Amount
166         09/06/2019            484.18    20029536*   09/03/2019     487.67   20030305   09/09/2019              507.11
500*        09/06/2019            391.26    20029538*   09/05/2019     240.55   20030306   09/06/2019              550.26
3984*       09/16/2019            156.91    20029540*   09/09/2019     558.27   20030307   09/06/2019              497.99
29721*      09/03/2019            374.03    20029541    09/03/2019     386.48   20030308   09/06/2019              485.72
30259*      09/06/2019            663.53    20029545*   09/04/2019     527.05   20030309   09/10/2019              601.11
200303*     09/06/2019            159.74    20029546    09/06/2019     346.19   20030310   09/10/2019              386.52
200308*     09/06/2019            444.88    20029548*   09/11/2019     590.38   20030311   09/06/2019              704.90
402044*     09/03/2019            721.85    20029549    09/03/2019     375.73   20030312   09/06/2019              208.81
402048*     09/03/2019            103.92    20029550    09/03/2019     286.73   20030313   09/16/2019              498.75
402051*     09/06/2019            401.98    20029551    09/03/2019     533.33   20030314   09/12/2019              385.93
402052      09/06/2019             65.01    20029553*   09/03/2019     505.43   20030315   09/11/2019              503.25
402053      09/06/2019            123.95    20029563*   09/03/2019     622.73   20030316   09/09/2019              194.41
402054      09/06/2019            651.32    20029565*   09/03/2019     552.03   20030317   09/06/2019              712.03
402055      09/16/2019            578.59    20029566    09/03/2019     488.50   20030318   09/09/2019              307.03
402056      09/10/2019             89.21    20029567    09/03/2019     424.78   20030319   09/06/2019              663.53
402057      09/12/2019            166.70    20029572*   09/03/2019     322.99   20030320   09/20/2019              304.04
402058      09/13/2019            180.33    20029573    09/05/2019     383.63   20030321   09/09/2019              376.39
2002980*    09/11/2019             62.68    20029574    09/18/2019     567.87   20030322   09/06/2019              313.90
2028193*    09/03/2019            440.77    20029575    09/03/2019     215.45   20030323   09/06/2019              438.38
10353187*   09/27/2019             21.05    20029576    09/16/2019     499.52   20030324   09/06/2019              263.52
10353591*   09/10/2019            153.03    20029577    09/03/2019     483.07   20030325   09/12/2019              447.77
10353603*   09/05/2019             22.50    20029578    09/03/2019     543.44   20030326   09/06/2019              440.00
10353618*   09/03/2019             25.00    20029580*   09/05/2019   1,372.59   20030327   09/09/2019              549.32
10353666*   09/23/2019            424.00    20029581    09/10/2019     590.38   20030328   09/06/2019              571.30
10354009*   09/13/2019             10.00    20029584*   09/03/2019     538.91   20030329   09/06/2019              527.51
10354296*   09/05/2019            200.00    20029587*   09/03/2019     555.75   20030330   09/09/2019              359.68
20020413*   09/03/2019            400.22    20029590*   09/03/2019     515.66   20030331   09/09/2019              337.50
20020926*   09/12/2019            443.62    20029591    09/12/2019     535.20   20030332   09/09/2019              352.68
20021388*   09/26/2019            474.87    20029595*   09/06/2019     465.33   20030333   09/06/2019              536.83
20021443*   09/03/2019            348.91    20029596    09/20/2019     312.36   20030334   09/13/2019              376.39
20021984*   09/03/2019            289.45    20029597    09/20/2019     568.56   20030335   09/09/2019              518.00
20022559*   09/04/2019             79.39    20029600*   09/04/2019     235.32   20030336   09/06/2019              603.61
20022697*   09/12/2019             59.54    20029601    09/04/2019     240.54   20030337   09/09/2019              159.74
20022795*   09/05/2019            318.20    20029602    09/03/2019     435.05   20030338   09/16/2019              298.03
20022878*   09/09/2019             34.88    20029605*   09/03/2019     252.31   20030339   09/16/2019              271.37
20023115*   09/04/2019            104.27    20029607*   09/03/2019     503.52   20030340   09/09/2019              559.59
20023327*   09/06/2019            122.02    20029609*   09/03/2019     518.33   20030341   09/06/2019              632.43
20023416*   09/03/2019             99.00    20029610    09/03/2019     192.28   20030342   09/11/2019              680.33
20023486*   09/17/2019            205.59    20029611    09/09/2019      68.30   20030343   09/06/2019              560.47
20023549*   09/09/2019             77.87    20029612    09/11/2019     485.82   20030344   09/06/2019              538.63
20023563*   09/16/2019              8.05    20029615*   09/03/2019     381.69   20030345   09/06/2019              217.01
20023644*   09/25/2019            486.25    20029618*   09/06/2019     691.32   20030346   09/09/2019              521.08
20023664*   09/27/2019             55.37    20029619    09/04/2019     307.71   20030347   09/20/2019              371.40
20023822*   09/19/2019            215.79    20029621*   09/09/2019     253.62   20030348   09/13/2019              546.01
20023829*   09/03/2019            543.30    20029624*   09/06/2019     382.38   20030349   09/06/2019              539.07
20023899*   09/03/2019            156.91    20029629*   09/03/2019     342.67   20030350   09/06/2019              634.91
20023983*   09/17/2019             85.89    20029630    09/03/2019     560.01   20030351   09/06/2019              419.14
20023984    09/17/2019            156.91    20029631    09/16/2019     329.09   20030352   09/10/2019              445.11
20024360*   09/18/2019            409.52    20029632    09/04/2019     279.08   20030353   09/09/2019              431.23
20024460*   09/24/2019            297.52    20029633    09/03/2019     302.39   20030354   09/06/2019              561.36
20024599*   09/24/2019            103.67    20029634    09/04/2019     360.47   20030355   09/06/2019              521.07
20024649*   09/16/2019             51.83    20029635    09/10/2019     340.16   20030356   09/10/2019              453.27
20024722*   09/26/2019            768.21    20029636    09/09/2019     357.71   20030357   09/06/2019              391.55
20024770*   09/20/2019            399.07    20029639*   09/06/2019     241.79   20030358   09/09/2019              607.26
20024786*   09/06/2019            104.94    20029641*   09/03/2019     483.59   20030359   09/16/2019              485.72
20024809*   09/13/2019            710.93    20029642    09/06/2019     439.86   20030360   09/06/2019              566.15
20024831*   09/17/2019             63.35    20029643    09/09/2019     279.07   20030361   09/06/2019              528.95
20024929*   09/03/2019            555.75    20029644    09/04/2019     217.93   20030362   09/06/2019              440.84
20024948*   09/26/2019            385.15    20029646*   09/03/2019     332.38   20030363   09/13/2019              182.31
20024960*   09/20/2019            286.39    20029647    09/03/2019     232.51   20030364   09/06/2019            1,038.59
20025087*   09/18/2019            567.87    20029649*   09/11/2019     310.45   20030365   09/06/2019              241.64
20025103*   09/12/2019            388.69    20029650    09/03/2019     372.34   20030366   09/06/2019              228.61
20025253*   09/04/2019            431.74    20029651    09/09/2019     317.86   20030367   09/06/2019              715.21
20025276*   09/04/2019            431.74    20029653*   09/03/2019     511.69   20030368   09/06/2019              590.39
20025281*   09/03/2019            456.33    20029655*   09/05/2019     354.49   20030369   09/16/2019              332.13
20025301*   09/06/2019            488.90    20029656    09/09/2019     334.96   20030370   09/09/2019              513.88
20025303*   09/23/2019            350.65    20029657    09/03/2019     548.05   20030371   09/16/2019              336.13
20025390*   09/03/2019            227.69    20029658    09/03/2019     310.16   20030372   09/06/2019              632.98
20025583*   09/24/2019            315.02    20029659    09/04/2019     282.36   20030373   09/13/2019              424.78
20025626*   09/18/2019            475.00    20029661*   09/03/2019     422.47   20030374   09/06/2019              635.02
20025718*   09/06/2019            564.50    20029664*   09/05/2019     555.05   20030375   09/09/2019               96.41
20025749*   09/03/2019            533.52    20029665    09/06/2019     401.11   20030376   09/06/2019              757.00




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20025759*   09/03/2019            203.96    20029668*   09/06/2019   332.44   20030377   09/17/2019              70.59
20025767*   09/03/2019            198.61    20029669    09/03/2019   382.38   20030378   09/20/2019             706.43
20025793*   09/06/2019            314.00    20029670    09/03/2019   382.38   20030379   09/06/2019             629.38
20025826*   09/23/2019             83.66    20029671    09/04/2019   410.04   20030380   09/17/2019             516.25
20025830*   09/04/2019            597.56    20029675*   09/03/2019   379.08   20030381   09/06/2019             661.56
20025839*   09/30/2019            763.50    20029677*   09/03/2019   315.24   20030382   09/06/2019             691.37
20025847*   09/25/2019            543.85    20029678    09/09/2019   371.30   20030383   09/16/2019             668.36
20025886*   09/20/2019            247.21    20029680*   09/03/2019   333.29   20030384   09/16/2019             436.63
20026033*   09/03/2019            462.82    20029685*   09/09/2019   267.19   20030385   09/06/2019             986.40
20026148*   09/16/2019            223.47    20029690*   09/03/2019   149.75   20030386   09/06/2019             710.93
20026188*   09/03/2019            567.86    20029691    09/06/2019   219.11   20030387   09/13/2019             247.08
20026204*   09/12/2019            264.53    20029695*   09/04/2019   674.51   20030388   09/09/2019             710.94
20026224*   09/09/2019            244.92    20029696    09/03/2019   590.67   20030389   09/06/2019             308.63
20026245*   09/03/2019            311.07    20029697    09/03/2019   371.77   20030390   09/23/2019             487.17
20026293*   09/09/2019            351.62    20029698    09/03/2019   382.99   20030391   09/06/2019             678.53
20026376*   09/04/2019            340.16    20029700*   09/04/2019   422.57   20030392   09/06/2019             521.08
20026381*   09/03/2019            362.15    20029701    09/04/2019   372.35   20030393   09/09/2019             601.45
20026400*   09/06/2019            388.15    20029702    09/03/2019   353.67   20030394   09/20/2019             564.82
20026487*   09/03/2019            197.18    20029705*   09/03/2019   361.95   20030395   09/06/2019             530.50
20026513*   09/06/2019            398.82    20029710*   09/09/2019   173.99   20030396   09/09/2019             577.51
20026672*   09/24/2019            277.00    20029712*   09/06/2019   357.70   20030397   09/10/2019             484.22
20026802*   09/06/2019            523.12    20029714*   09/03/2019   372.35   20030398   09/06/2019             522.65
20026804*   09/12/2019            313.24    20029715    09/03/2019   359.64   20030399   09/16/2019             409.04
20026813*   09/04/2019            465.81    20029716    09/03/2019   396.41   20030400   09/06/2019             627.60
20026851*   09/03/2019             77.82    20029717    09/13/2019   403.09   20030401   09/09/2019             669.43
20026877*   09/09/2019            542.60    20029718    09/20/2019   134.89   20030402   09/10/2019             736.96
20026908*   09/18/2019            180.40    20029721*   09/04/2019   374.03   20030403   09/06/2019             667.64
20026912*   09/23/2019             75.83    20029722    09/04/2019   267.69   20030404   09/06/2019             788.08
20026916*   09/16/2019            541.49    20029723    09/04/2019   246.44   20030405   09/06/2019             261.76
20026925*   09/26/2019            725.50    20029730*   09/03/2019   391.24   20030406   09/06/2019             528.74
20026930*   09/17/2019            276.66    20029732*   09/03/2019   307.71   20030407   09/06/2019             523.39
20026933*   09/25/2019            379.31    20029733    09/03/2019   366.49   20030408   09/09/2019             577.51
20026949*   09/06/2019            685.52    20029738*   09/03/2019   348.00   20030409   09/13/2019             425.96
20026974*   09/20/2019            421.56    20029739    09/03/2019   321.29   20030410   09/20/2019             544.35
20026988*   09/03/2019            468.56    20029740    09/04/2019   353.15   20030411   09/06/2019             613.63
20027000*   09/03/2019            169.95    20029743*   09/04/2019   376.87   20030412   09/06/2019             359.67
20027017*   09/13/2019            830.36    20029745*   09/18/2019   501.44   20030413   09/11/2019             377.84
20027067*   09/18/2019             53.68    20029751*   09/11/2019   392.78   20030414   09/10/2019             322.33
20027074*   09/05/2019            483.17    20029753*   09/09/2019   398.19   20030415   09/06/2019             555.46
20027076*   09/03/2019            509.08    20029755*   09/03/2019   329.08   20030416   09/16/2019             403.06
20027083*   09/03/2019            485.88    20029757*   09/04/2019   409.19   20030417   09/06/2019             676.25
20027108*   09/03/2019            474.74    20029758    09/06/2019   320.58   20030418   09/06/2019             544.64
20027167*   09/30/2019            650.56    20029759    09/04/2019   361.40   20030419   09/10/2019             109.42
20027205*   09/20/2019            527.20    20029760    09/03/2019   353.82   20030420   09/09/2019             506.45
20027235*   09/09/2019            144.68    20029762*   09/04/2019   356.06   20030421   09/09/2019             287.86
20027255*   09/09/2019            392.41    20029764*   09/05/2019   345.01   20030422   09/17/2019             610.53
20027259*   09/03/2019            453.06    20029765    09/03/2019   162.35   20030423   09/09/2019             687.14
20027260    09/13/2019            312.51    20029766    09/03/2019   380.16   20030424   09/06/2019             159.73
20027261    09/05/2019            509.91    20029770*   09/06/2019   332.70   20030425   09/06/2019             904.10
20027290*   09/12/2019            537.85    20029771    09/03/2019   411.82   20030426   09/09/2019             409.75
20027297*   09/03/2019            411.04    20029774*   09/03/2019   391.01   20030427   09/06/2019             520.77
20027306*   09/12/2019            578.15    20029776*   09/03/2019   267.26   20030428   09/06/2019             535.20
20027327*   09/09/2019            498.13    20029779*   09/03/2019   381.71   20030429   09/09/2019             627.23
20027332*   09/03/2019             77.87    20029782*   09/03/2019   325.24   20030430   09/10/2019             652.43
20027396*   09/03/2019            383.52    20029783    09/13/2019   316.80   20030431   09/16/2019             510.59
20027397    09/09/2019            413.73    20029784    09/09/2019   406.15   20030432   09/06/2019             715.05
20027430*   09/06/2019            393.60    20029786*   09/11/2019   340.46   20030433   09/12/2019             523.55
20027431    09/23/2019            201.16    20029789*   09/03/2019   116.61   20030434   09/06/2019             645.39
20027440*   09/04/2019            336.35    20029793*   09/03/2019   368.00   20030435   09/16/2019             456.16
20027476*   09/06/2019            340.86    20029795*   09/10/2019   363.99   20030436   09/06/2019             627.24
20027481*   09/04/2019            398.19    20029796    09/05/2019   363.13   20030437   09/06/2019             543.91
20027486*   09/03/2019            426.54    20029799*   09/04/2019   323.46   20030438   09/06/2019             831.98
20027496*   09/20/2019              5.41    20029804*   09/13/2019   387.96   20030439   09/06/2019             243.52
20027505*   09/06/2019            463.03    20029806*   09/11/2019    92.60   20030440   09/10/2019             644.21
20027554*   09/06/2019             93.94    20029807    09/11/2019    22.34   20030441   09/09/2019             281.65
20027560*   09/16/2019            312.51    20029808    09/12/2019    62.68   20030442   09/11/2019             543.91
20027575*   09/03/2019            501.79    20029809    09/04/2019   106.06   20030443   09/13/2019             526.52
20027580*   09/03/2019            323.99    20029811*   09/04/2019    50.50   20030444   09/09/2019             359.68
20027611*   09/06/2019            540.71    20029812    09/05/2019   129.27   20030445   09/06/2019             395.26
20027642*   09/04/2019            289.32    20029813    09/06/2019   105.62   20030446   09/06/2019             611.60
20027643    09/04/2019            190.33    20029814    09/04/2019   230.00   20030447   09/11/2019             534.52
20027652*   09/16/2019            574.98    20029815    09/10/2019    96.00   20030448   09/09/2019             388.71
20027665*   09/19/2019             26.84    20029816    09/04/2019    84.11   20030449   09/06/2019             443.09
20027677*   09/06/2019            455.39    20029817    09/04/2019   243.95   20030450   09/16/2019             577.57
20027679*   09/03/2019            540.71    20029818    09/06/2019    85.45   20030451   09/10/2019             412.81




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            User: Tammy Roebke                                                                    10/02/2019 02:11 PM ET
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20027681*   09/06/2019            542.05    20029819    09/06/2019     142.02   20030452   09/06/2019             521.07
20027692*   09/03/2019            174.45    20029820    09/05/2019      87.29   20030453   09/06/2019             375.64
20027696*   09/03/2019            531.10    20029821    09/05/2019      92.00   20030454   09/06/2019             630.08
20027702*   09/23/2019            460.13    20029822    09/06/2019      65.00   20030455   09/06/2019             684.78
20027703    09/23/2019            489.77    20029823    09/09/2019     160.46   20030456   09/06/2019             573.39
20027706*   09/16/2019            560.61    20029824    09/06/2019      97.65   20030457   09/06/2019             398.15
20027724*   09/03/2019            545.34    20029828*   09/17/2019     308.49   20030458   09/16/2019             276.00
20027726*   09/04/2019            433.44    20029830*   09/20/2019     272.16   20030459   09/16/2019             276.00
20027737*   09/12/2019            471.79    20029835*   09/04/2019     179.64   20030460   09/12/2019             202.47
20027772*   09/24/2019            209.18    20029837*   09/17/2019     376.07   20030461   09/06/2019             125.74
20027782*   09/03/2019            521.08    20029838    09/03/2019      84.03   20030462   09/06/2019             386.06
20027797*   09/06/2019            332.54    20029839    09/04/2019   5,382.18   20030463   09/10/2019             391.90
20027809*   09/03/2019            846.96    20029840    09/03/2019     600.00   20030464   09/06/2019             549.68
20027817*   09/18/2019            503.56    20029841    09/03/2019   2,176.76   20030465   09/13/2019             519.45
20027860*   09/03/2019            428.32    20029843*   09/04/2019   4,816.92   20030466   09/06/2019             515.95
20027865*   09/13/2019             46.83    20029844    09/05/2019     235.60   20030467   09/06/2019             540.02
20027886*   09/06/2019            499.08    20029845    09/09/2019     504.86   20030468   09/17/2019             271.82
20027904*   09/17/2019            594.65    20029846    09/06/2019     112.70   20030469   09/06/2019             967.68
20027906*   09/03/2019            486.56    20029847    09/13/2019     312.51   20030470   09/09/2019             533.56
20027921*   09/25/2019             83.20    20029848    09/16/2019      77.76   20030471   09/06/2019             235.31
20027925*   09/09/2019            572.34    20029849    09/06/2019     396.05   20030472   09/17/2019             271.82
20027938*   09/04/2019            402.11    20029850    09/09/2019     187.05   20030473   09/09/2019             417.82
20027939    09/03/2019            567.86    20029851    09/06/2019     520.26   20030474   09/06/2019             533.52
20027950*   09/06/2019            304.57    20029852    09/09/2019     511.62   20030475   09/13/2019             231.32
20027956*   09/04/2019            256.23    20029853    09/09/2019     512.00   20030476   09/13/2019             402.69
20027965*   09/03/2019            459.90    20029854    09/06/2019     366.04   20030477   09/10/2019             527.55
20027966    09/04/2019            534.04    20029855    09/19/2019     280.24   20030478   09/09/2019             573.51
20027981*   09/06/2019            614.68    20029856    09/06/2019     119.21   20030479   09/06/2019             630.75
20027982    09/06/2019            564.67    20029857    09/12/2019     224.39   20030480   09/06/2019             450.95
20027998*   09/04/2019            670.55    20029858    09/06/2019     504.97   20030481   09/06/2019             390.06
20028015*   09/03/2019            535.98    20029859    09/06/2019     672.98   20030482   09/16/2019             692.91
20028018*   09/04/2019          1,006.41    20029860    09/16/2019     320.61   20030483   09/09/2019             275.55
20028026*   09/03/2019            817.13    20029861    09/06/2019     239.39   20030484   09/17/2019             495.03
20028028*   09/05/2019            575.59    20029862    09/12/2019     415.99   20030485   09/06/2019             537.61
20028030*   09/26/2019            763.49    20029863    09/06/2019     522.92   20030486   09/06/2019             567.77
20028038*   09/25/2019            374.56    20029864    09/06/2019     478.87   20030487   09/06/2019             741.07
20028066*   09/09/2019            451.07    20029865    09/09/2019     553.46   20030488   09/25/2019             649.57
20028069*   09/03/2019            407.71    20029866    09/18/2019     276.46   20030489   09/09/2019             491.10
20028071*   09/03/2019            464.28    20029867    09/20/2019     169.76   20030490   09/06/2019             561.35
20028079*   09/03/2019            569.96    20029868    09/10/2019     632.82   20030491   09/10/2019             211.78
20028086*   09/20/2019            531.02    20029869    09/06/2019     692.66   20030492   09/09/2019             349.39
20028100*   09/03/2019            501.89    20029870    09/20/2019      93.63   20030493   09/10/2019             222.24
20028110*   09/05/2019            565.12    20029871    09/09/2019     417.52   20030494   09/06/2019             473.61
20028113*   09/04/2019            487.84    20029872    09/06/2019     229.72   20030495   09/06/2019             623.61
20028131*   09/13/2019            920.78    20029873    09/06/2019     486.41   20030496   09/06/2019             499.33
20028148*   09/04/2019            736.41    20029874    09/06/2019     554.38   20030497   09/06/2019             305.97
20028167*   09/05/2019            366.11    20029875    09/09/2019     710.56   20030498   09/13/2019             489.09
20028171*   09/03/2019            610.53    20029876    09/10/2019     768.29   20030499   09/09/2019             512.58
20028173*   09/05/2019            442.52    20029877    09/06/2019     373.25   20030500   09/09/2019             391.26
20028181*   09/04/2019            622.06    20029878    09/06/2019     420.90   20030501   09/09/2019             499.32
20028185*   09/16/2019            539.08    20029879    09/10/2019     167.62   20030502   09/09/2019             359.68
20028193*   09/04/2019            440.77    20029880    09/10/2019     417.70   20030503   09/09/2019             513.68
20028194    09/09/2019            418.08    20029881    09/12/2019     308.70   20030504   09/13/2019             513.75
20028195    09/04/2019            571.26    20029883*   09/06/2019     162.30   20030505   09/13/2019             375.77
20028219*   09/03/2019            158.49    20029884    09/13/2019     722.29   20030506   09/10/2019             278.62
20028223*   09/03/2019            419.70    20029885    09/09/2019     448.61   20030507   09/12/2019             606.90
20028227*   09/03/2019            419.71    20029886    09/06/2019     505.38   20030508   09/16/2019             537.62
20028241*   09/03/2019            555.78    20029887    09/06/2019     423.94   20030509   09/06/2019             558.20
20028254*   09/03/2019            513.63    20029888    09/09/2019     560.74   20030510   09/06/2019             549.70
20028256*   09/09/2019            517.55    20029889    09/09/2019     243.62   20030511   09/06/2019             591.28
20028262*   09/06/2019            576.32    20029890    09/10/2019     291.99   20030512   09/06/2019             490.42
20028266*   09/16/2019            544.70    20029891    09/06/2019     330.89   20030513   09/06/2019             590.38
20028273*   09/03/2019            644.20    20029892    09/06/2019     325.31   20030514   09/10/2019             174.48
20028285*   09/23/2019            622.07    20029892*   09/09/2019     325.51   20030515   09/06/2019             394.81
20028294*   09/03/2019            540.29    20029893    09/09/2019     867.78   20030516   09/09/2019             462.15
20028298*   09/03/2019            521.79    20029894    09/09/2019     737.18   20030517   09/06/2019             545.72
20028320*   09/03/2019            516.66    20029895    09/06/2019     470.90   20030518   09/06/2019             807.40
20028321    09/20/2019            575.59    20029896    09/06/2019     470.17   20030519   09/06/2019             462.15
20028328*   09/13/2019            221.62    20029897    09/09/2019     514.18   20030520   09/06/2019             505.40
20028357*   09/09/2019             73.16    20029898    09/06/2019     644.21   20030521   09/09/2019             381.78
20028366*   09/03/2019            405.44    20029899    09/25/2019      83.03   20030522   09/13/2019             523.38
20028376*   09/04/2019            430.78    20029900    09/09/2019     478.70   20030523   09/09/2019             622.05
20028380*   09/09/2019            502.84    20029901    09/06/2019     592.41   20030524   09/10/2019             480.59
20028382*   09/16/2019            521.85    20029902    09/09/2019     578.65   20030525   09/10/2019             498.74
20028385*   09/03/2019            486.39    20029903    09/09/2019     119.84   20030526   09/09/2019             348.09




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            DDA Cycled Statement Report
            Custom
            As of 10/01/2019
            Company: NORPAC FOODS INC
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20028387*   09/05/2019            459.89    20029904    09/09/2019     174.92   20030527   09/06/2019             534.95
20028398*   09/03/2019             85.88    20029905    09/06/2019     396.74   20030528   09/06/2019             542.06
20028399    09/03/2019            282.05    20029906    09/16/2019     153.21   20030529   09/06/2019             877.21
20028425*   09/05/2019            232.50    20029907    09/11/2019     763.97   20030530   09/09/2019             456.01
20028426    09/18/2019            567.86    20029908    09/11/2019     627.60   20030531   09/06/2019             580.52
20028432*   09/03/2019            218.58    20029909    09/13/2019     509.89   20030532   09/06/2019             485.71
20028433    09/05/2019          1,357.74    20029910    09/06/2019     509.91   20030533   09/06/2019             623.61
20028434    09/03/2019            590.38    20029911    09/09/2019     302.71   20030534   09/09/2019             375.78
20028444*   09/12/2019            585.20    20029912    09/09/2019     346.09   20030535   09/10/2019             507.56
20028464*   09/03/2019            426.72    20029913    09/20/2019     246.67   20030536   09/09/2019             505.23
20028466*   09/03/2019            272.43    20029914    09/06/2019     611.72   20030537   09/09/2019             446.76
20028467    09/09/2019            301.86    20029915    09/06/2019     533.53   20030538   09/11/2019             230.10
20028471*   09/03/2019            475.63    20029916    09/06/2019     466.25   20030539   09/06/2019             504.87
20028485*   09/03/2019            413.77    20029917    09/06/2019     508.38   20030540   09/17/2019             493.37
20028487*   09/16/2019            405.25    20029918    09/06/2019     688.15   20030541   09/06/2019             310.41
20028498*   09/03/2019            599.52    20029919    09/10/2019     402.22   20030542   09/09/2019              48.67
20028501*   09/04/2019            294.49    20029920    09/06/2019     601.33   20030543   09/06/2019             370.97
20028533*   09/03/2019            400.35    20029921    09/11/2019     635.91   20030544   09/10/2019             462.19
20028534    09/09/2019            437.88    20029922    09/06/2019     277.73   20030545   09/06/2019             230.85
20028551*   09/04/2019            849.37    20029923    09/06/2019     398.07   20030546   09/06/2019             536.63
20028567*   09/06/2019            431.74    20029924    09/06/2019     477.76   20030547   09/06/2019             949.32
20028576*   09/04/2019            366.35    20029925    09/12/2019     540.19   20030548   09/09/2019             547.12
20028577    09/03/2019            361.39    20029926    09/16/2019     521.16   20030549   09/06/2019             568.51
20028613*   09/06/2019            368.86    20029927    09/06/2019     506.44   20030550   09/09/2019             568.82
20028617*   09/04/2019            423.62    20029928    09/10/2019      71.24   20030551   09/06/2019             605.93
20028622*   09/03/2019            456.35    20029929    09/06/2019     441.17   20030552   09/06/2019             591.65
20028643*   09/11/2019            326.81    20029930    09/10/2019     358.50   20030553   09/06/2019             333.42
20028646*   09/03/2019            167.40    20029931    09/16/2019     518.83   20030554   09/06/2019             487.59
20028666*   09/03/2019             36.31    20029932    09/06/2019     416.01   20030555   09/13/2019             388.34
20028668*   09/04/2019            119.17    20029933    09/06/2019     410.56   20030556   09/06/2019             557.21
20028669    09/04/2019             80.08    20029934    09/06/2019     521.08   20030557   09/24/2019               5.18
20028670    09/04/2019             92.59    20029935    09/16/2019     274.57   20030558   09/06/2019             536.56
20028671    09/04/2019             28.50    20029936    09/06/2019     457.21   20030559   09/06/2019             517.84
20028672    09/04/2019            119.87    20029936*   09/09/2019     207.28   20030560   09/20/2019             575.58
20028676*   09/03/2019            129.27    20029937    09/10/2019     226.95   20030561   09/18/2019             251.44
20028688*   09/10/2019          1,089.29    20029938    09/06/2019     567.96   20030562   09/06/2019             115.43
20028692*   09/10/2019          1,633.86    20029939    09/06/2019     104.24   20030563   09/06/2019             264.40
20028695*   09/10/2019          1,104.51    20029940    09/06/2019     424.78   20030564   09/06/2019             743.91
20028704*   09/04/2019            369.59    20029941    09/06/2019     921.46   20030565   09/06/2019             613.67
20028706*   09/11/2019            221.82    20029942    09/10/2019     111.12   20030566   09/06/2019             593.91
20028708*   09/03/2019            612.43    20029943    09/06/2019     498.15   20030567   09/06/2019             590.25
20028713*   09/06/2019            428.70    20029944    09/06/2019   1,393.52   20030568   09/06/2019             523.47
20028714    09/13/2019            312.51    20029945    09/09/2019     353.03   20030569   09/06/2019             311.04
20028715    09/03/2019            358.74    20029946    09/09/2019     295.45   20030570   09/11/2019             501.52
20028717*   09/03/2019            489.33    20029947    09/06/2019     677.74   20030571   09/06/2019             532.60
20028720*   09/09/2019            514.32    20029948    09/06/2019     245.69   20030572   09/06/2019             532.61
20028722*   09/03/2019            588.67    20029949    09/09/2019     561.35   20030573   09/06/2019             536.56
20028724*   09/06/2019            410.63    20029950    09/09/2019     454.52   20030574   09/09/2019              52.67
20028725    09/12/2019            447.06    20029951    09/06/2019     840.35   20030575   09/09/2019             175.26
20028726    09/03/2019            499.19    20029952    09/30/2019     532.74   20030576   09/09/2019             302.69
20028727    09/03/2019            680.80    20029953    09/06/2019     505.22   20030577   09/06/2019             654.96
20028728    09/03/2019            351.46    20029954    09/09/2019     118.06   20030578   09/06/2019             616.70
20028730*   09/03/2019            524.91    20029955    09/09/2019     353.36   20030579   09/06/2019             485.26
20028732*   09/10/2019            577.75    20029956    09/10/2019     451.33   20030580   09/16/2019             621.83
20028734*   09/18/2019            390.24    20029957    09/27/2019     703.08   20030581   09/06/2019             218.24
20028735    09/20/2019            209.52    20029958    09/06/2019     372.88   20030582   09/06/2019             536.63
20028736    09/04/2019            434.08    20029959    09/09/2019     202.99   20030583   09/06/2019             507.59
20028740*   09/03/2019            387.50    20029960    09/09/2019     316.48   20030584   09/06/2019             349.64
20028741    09/03/2019            412.24    20029961    09/13/2019     333.32   20030585   09/06/2019             638.18
20028744*   09/03/2019            718.14    20029962    09/06/2019     469.11   20030586   09/06/2019             646.66
20028745    09/04/2019            755.26    20029963    09/09/2019     233.25   20030587   09/17/2019             391.66
20028750*   09/05/2019            289.01    20029964    09/06/2019     508.10   20030588   09/06/2019             572.42
20028754*   09/13/2019            663.38    20029965    09/06/2019     400.75   20030589   09/06/2019             354.55
20028757*   09/04/2019            622.07    20029966    09/06/2019     414.89   20030590   09/06/2019             613.67
20028760*   09/03/2019            426.74    20029967    09/06/2019     491.33   20030591   09/06/2019             281.03
20028764*   09/03/2019            584.76    20029968    09/06/2019     582.29   20030592   09/06/2019             517.26
20028768*   09/06/2019            502.12    20029969    09/12/2019     194.41   20030593   09/10/2019             461.61
20028774*   09/09/2019            553.33    20029970    09/06/2019     458.34   20030594   09/06/2019             267.20
20028775    09/06/2019            301.03    20029971    09/06/2019   1,055.44   20030595   09/06/2019             583.44
20028778*   09/13/2019            498.40    20029972    09/16/2019     416.00   20030596   09/09/2019             339.79
20028780*   09/03/2019            547.90    20029973    09/09/2019     486.24   20030597   09/09/2019              75.16
20028782*   09/20/2019            532.57    20029974    09/09/2019   1,369.66   20030598   09/10/2019             330.24
20028784*   09/03/2019            663.53    20029975    09/13/2019     395.69   20030599   09/09/2019             182.55
20028786*   09/06/2019            436.25    20029976    09/06/2019     429.28   20030600   09/19/2019             310.02
20028787    09/06/2019            508.39    20029977    09/17/2019     247.40   20030601   09/09/2019             432.83




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            DDA Cycled Statement Report
            Custom
            As of 10/01/2019
            Company: NORPAC FOODS INC
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20028788    09/04/2019            704.24    20029978    09/06/2019   508.39   20030602    09/06/2019              447.07
20028790*   09/04/2019            138.72    20029979    09/09/2019   614.25   20030603    09/09/2019              613.67
20028793*   09/06/2019            657.55    20029980    09/06/2019   303.25   20030604    09/06/2019              325.42
20028795*   09/03/2019            226.57    20029981    09/10/2019   321.48   20030605    09/16/2019              518.29
20028798*   09/05/2019            372.41    20029982    09/06/2019   292.55   20030606    09/13/2019              550.25
20028802*   09/03/2019             81.89    20029983    09/06/2019   192.35   20030607    09/16/2019              160.09
20028803    09/09/2019            462.89    20029984    09/06/2019   192.35   20030608    09/06/2019              550.27
20028804    09/03/2019            531.27    20029985    09/06/2019   361.50   20030609    09/06/2019              335.08
20028805    09/03/2019            150.64    20029986    09/09/2019   582.55   20030610    09/06/2019              147.29
20028806    09/06/2019            341.47    20029987    09/09/2019   340.19   20030611    09/11/2019              333.42
20028811*   09/16/2019            477.28    20029988    09/09/2019   622.16   20030612    09/06/2019              583.43
20028814*   09/03/2019            140.81    20029989    09/06/2019   503.78   20030613    09/09/2019              281.24
20028824*   09/03/2019            315.06    20029990    09/06/2019   412.27   20030614    09/06/2019              570.91
20028827*   09/04/2019            486.41    20029991    09/09/2019   666.13   20030615    09/09/2019              505.95
20028830*   09/09/2019            561.36    20029992    09/06/2019   616.73   20030616    09/09/2019              323.11
20028831    09/03/2019            549.68    20029993    09/09/2019   438.70   20030617    09/17/2019              517.24
20028833*   09/30/2019            377.94    20029994    09/06/2019   402.12   20030618    09/11/2019              305.06
20028835*   09/09/2019            447.27    20029995    09/11/2019   462.65   20030619    09/06/2019              484.18
20028837*   09/10/2019            545.33    20029996    09/10/2019   207.28   20030620    09/06/2019              469.21
20028840*   09/06/2019            358.73    20029997    09/06/2019   960.98   20030621    09/06/2019              602.59
20028842*   09/03/2019            513.81    20029998    09/06/2019   501.20   20030622    09/06/2019              397.97
20028845*   09/03/2019             93.94    20029999    09/10/2019   612.82   20030623    09/09/2019              684.46
20028853*   09/06/2019            464.35    20030000    09/11/2019   292.55   20030624    09/09/2019              415.99
20028855*   09/03/2019            426.36    20030001    09/10/2019   359.89   20030625    09/06/2019              667.53
20028856    09/09/2019            164.66    20030002    09/09/2019   545.33   20030626    09/09/2019              487.99
20028858*   09/06/2019            496.10    20030003    09/09/2019   983.30   20030627    09/06/2019              529.98
20028860*   09/04/2019            172.25    20030004    09/10/2019   356.03   20030628    09/06/2019              454.19
20028861    09/04/2019            548.61    20030005    09/06/2019   420.59   20030629    09/06/2019              335.70
20028863*   09/03/2019            632.77    20030006    09/10/2019   449.36   20030630    09/06/2019              447.32
20028865*   09/03/2019            229.10    20030008*   09/10/2019   158.90   20030631    09/11/2019              515.29
20028867*   09/06/2019            485.36    20030009    09/06/2019   578.30   20030633*   09/09/2019              534.49
20028868    09/06/2019            485.46    20030010    09/10/2019   219.28   20030634    09/06/2019              420.14
20028870*   09/03/2019            605.40    20030011    09/17/2019   689.76   20030635    09/06/2019              521.75
20028871    09/16/2019             83.78    20030013*   09/09/2019   219.80   20030636    09/06/2019              593.61
20028872    09/03/2019            527.02    20030014    09/09/2019   632.05   20030637    09/06/2019              550.20
20028873    09/09/2019            505.40    20030016*   09/06/2019   424.78   20030638    09/06/2019              347.54
20028874    09/03/2019            496.96    20030017    09/06/2019   272.16   20030639    09/06/2019              508.06
20028878*   09/03/2019            503.98    20030018    09/09/2019   710.89   20030640    09/06/2019            1,078.82
20028881*   09/03/2019            324.03    20030019    09/06/2019   456.72   20030641    09/13/2019              460.22
20028884*   09/06/2019            653.61    20030020    09/06/2019   354.02   20030642    09/12/2019              141.21
20028885    09/06/2019            508.38    20030021    09/06/2019   440.04   20030643    09/06/2019              263.08
20028887*   09/05/2019            547.64    20030022    09/06/2019   668.47   20030644    09/11/2019              473.11
20028889*   09/04/2019            522.69    20030023    09/10/2019   112.78   20030645    09/09/2019              393.21
20028891*   09/04/2019            432.37    20030025*   09/10/2019    41.82   20030646    09/06/2019              317.57
20028893*   09/03/2019            592.21    20030026    09/06/2019   359.13   20030647    09/06/2019              400.46
20028894    09/03/2019            518.74    20030027    09/06/2019   424.77   20030648    09/09/2019              583.36
20028895    09/06/2019            723.98    20030028    09/20/2019   412.50   20030649    09/11/2019               75.16
20028898*   09/03/2019            381.08    20030029    09/06/2019   453.52   20030650    09/10/2019              196.97
20028901*   09/12/2019            233.25    20030030    09/06/2019   437.77   20030651    09/06/2019              596.20
20028903*   09/06/2019            553.17    20030031    09/06/2019   827.02   20030652    09/09/2019              319.07
20028909*   09/06/2019            675.20    20030032    09/10/2019   495.71   20030653    09/06/2019              522.64
20028910    09/06/2019            523.84    20030033    09/09/2019   649.57   20030654    09/06/2019              438.73
20028912*   09/04/2019            526.74    20030034    09/11/2019    81.89   20030655    09/06/2019              287.62
20028914*   09/06/2019            499.18    20030035    09/06/2019   474.87   20030656    09/16/2019              218.24
20028916*   09/06/2019            505.33    20030036    09/13/2019   426.36   20030657    09/12/2019              166.41
20028917    09/18/2019            418.38    20030037    09/06/2019   503.69   20030658    09/18/2019              567.86
20028919*   09/04/2019            516.26    20030038    09/06/2019   601.80   20030660*   09/16/2019              406.92
20028923*   09/04/2019            230.65    20030039    09/06/2019   458.88   20030661    09/09/2019              382.47
20028924    09/13/2019            551.60    20030040    09/06/2019   975.23   20030662    09/06/2019              362.65
20028925    09/03/2019            479.90    20030041    09/09/2019   460.74   20030663    09/06/2019              281.35
20028931*   09/03/2019            309.70    20030042    09/09/2019   588.54   20030664    09/17/2019            1,415.26
20028932    09/03/2019            453.55    20030043    09/09/2019   697.97   20030665    09/10/2019              590.38
20028933    09/03/2019            520.82    20030044    09/24/2019   325.32   20030666    09/06/2019              481.91
20028934    09/03/2019            753.08    20030045    09/06/2019   157.47   20030667    09/06/2019              590.38
20028935    09/24/2019            412.11    20030047*   09/27/2019   485.87   20030668    09/06/2019              208.81
20028936    09/03/2019             60.36    20030048    09/09/2019   574.15   20030669    09/16/2019              108.90
20028937    09/20/2019            592.06    20030049    09/06/2019   296.00   20030670    09/06/2019              561.35
20028939*   09/27/2019            517.21    20030050    09/06/2019   283.69   20030671    09/13/2019              409.05
20028940    09/03/2019            574.16    20030051    09/06/2019   431.36   20030672    09/09/2019              555.78
20028946*   09/03/2019            495.77    20030052    09/06/2019   670.24   20030673    09/06/2019              532.34
20028947    09/03/2019            680.42    20030053    09/06/2019   252.08   20030674    09/06/2019              527.94
20028948    09/04/2019            699.14    20030054    09/09/2019   367.46   20030675    09/10/2019              113.08
20028951*   09/03/2019            356.27    20030055    09/06/2019   634.66   20030676    09/12/2019              469.22
20028952    09/03/2019            556.41    20030056    09/10/2019   693.74   20030677    09/06/2019              327.16
20028953    09/06/2019            348.28    20030057    09/06/2019   494.10   20030678    09/09/2019              278.64




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            DDA Cycled Statement Report
            Custom
            As of 10/01/2019
            Company: NORPAC FOODS INC
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            Commercial Electronic Office®                                                 Treasury Information Reporting

20028954    09/03/2019            577.00    20030058    09/06/2019   444.27   20030679    09/20/2019             268.03
20028956*   09/06/2019            281.00    20030059    09/06/2019   424.11   20030680    09/06/2019             617.79
20028959*   09/06/2019            520.82    20030060    09/06/2019   152.50   20030681    09/09/2019             290.22
20028963*   09/03/2019            579.56    20030061    09/09/2019   556.41   20030682    09/06/2019             359.38
20028964    09/03/2019            518.09    20030063*   09/13/2019   278.55   20030683    09/06/2019             522.92
20028967*   09/03/2019            546.24    20030064    09/10/2019   543.53   20030684    09/06/2019             596.05
20028969*   09/04/2019            765.42    20030065    09/06/2019   539.07   20030685    09/06/2019             311.03
20028970    09/03/2019            818.73    20030066    09/06/2019   728.40   20030686    09/09/2019             397.43
20028973*   09/03/2019            124.85    20030067    09/09/2019   501.80   20030687    09/06/2019             443.07
20028975*   09/03/2019            529.81    20030069*   09/06/2019   455.68   20030688    09/06/2019             667.65
20028977*   09/18/2019            503.55    20030070    09/10/2019   147.15   20030689    09/06/2019             289.37
20028979*   09/05/2019            795.93    20030071    09/06/2019   548.27   20030690    09/10/2019             232.31
20028980    09/03/2019            515.65    20030072    09/09/2019   384.90   20030691    09/06/2019             604.82
20028984*   09/03/2019            562.82    20030073    09/06/2019   303.54   20030692    09/09/2019             544.19
20028986*   09/05/2019            423.61    20030074    09/06/2019   430.12   20030693    09/05/2019             521.08
20028987    09/03/2019            546.03    20030075    09/06/2019   533.77   20030694    09/09/2019             408.88
20028991*   09/10/2019            302.68    20030076    09/09/2019   406.07   20030695    09/23/2019             374.21
20028992    09/03/2019            549.61    20030077    09/09/2019   479.46   20030696    09/09/2019             442.84
20028999*   09/03/2019            590.85    20030078    09/06/2019   492.95   20030697    09/09/2019             441.74
20029001*   09/03/2019            740.38    20030079    09/10/2019   589.47   20030698    09/06/2019             472.62
20029005*   09/04/2019            402.36    20030080    09/06/2019   806.18   20030700*   09/09/2019             482.58
20029011*   09/03/2019            516.24    20030081    09/16/2019   295.91   20030701    09/09/2019             327.41
20029016*   09/03/2019            757.86    20030082    09/06/2019   573.51   20030702    09/06/2019             745.89
20029017    09/09/2019            638.82    20030083    09/09/2019   434.57   20030703    09/06/2019             291.15
20029019*   09/03/2019             81.89    20030084    09/26/2019   738.02   20030704    09/06/2019             390.56
20029022*   09/03/2019            446.33    20030085    09/18/2019   503.57   20030705    09/06/2019             416.41
20029023    09/05/2019            216.27    20030086    09/06/2019   579.57   20030706    09/09/2019             101.30
20029029*   09/03/2019            644.20    20030087    09/06/2019   728.61   20030707    09/06/2019             352.67
20029035*   09/03/2019            433.61    20030088    09/06/2019   370.52   20030708    09/13/2019             261.07
20029036    09/03/2019            163.31    20030089    09/09/2019   694.18   20030709    09/06/2019             309.70
20029038*   09/09/2019            451.81    20030090    09/06/2019   255.49   20030710    09/06/2019             319.94
20029039    09/06/2019            300.20    20030093*   09/06/2019   330.10   20030711    09/06/2019             389.49
20029045*   09/06/2019            329.89    20030094    09/06/2019   567.48   20030712    09/23/2019             342.68
20029046    09/03/2019            177.44    20030095    09/09/2019   195.06   20030713    09/09/2019             510.23
20029047    09/09/2019            499.09    20030096    09/09/2019   439.11   20030715*   09/17/2019             261.07
20029049*   09/03/2019            564.59    20030097    09/09/2019   961.02   20030716    09/06/2019             292.11
20029050    09/09/2019            436.30    20030098    09/09/2019   600.19   20030717    09/09/2019             334.41
20029051    09/06/2019            514.31    20030099    09/06/2019   410.21   20030718    09/10/2019             322.14
20029052    09/03/2019            428.69    20030100    09/10/2019   819.16   20030719    09/09/2019             340.16
20029053    09/04/2019          1,003.42    20030101    09/06/2019   448.60   20030720    09/06/2019             365.67
20029055*   09/06/2019            525.72    20030102    09/06/2019   601.79   20030721    09/06/2019             385.23
20029057*   09/03/2019             73.08    20030103    09/06/2019   410.64   20030722    09/06/2019             216.23
20029064*   09/03/2019            402.99    20030104    09/06/2019   550.89   20030723    09/09/2019             331.19
20029065    09/17/2019            594.63    20030105    09/06/2019   582.64   20030724    09/09/2019             466.07
20029066    09/16/2019            516.57    20030106    09/06/2019   307.99   20030725    09/06/2019             412.13
20029067    09/03/2019            460.80    20030107    09/06/2019   433.36   20030726    09/09/2019             260.99
20029068    09/05/2019            319.52    20030108    09/09/2019   586.81   20030727    09/10/2019             198.98
20029072*   09/03/2019            493.40    20030109    09/19/2019   510.91   20030728    09/06/2019             369.30
20029076*   09/03/2019            313.89    20030110    09/10/2019   691.26   20030729    09/06/2019             314.35
20029078*   09/04/2019            132.68    20030111    09/06/2019   496.53   20030730    09/06/2019              88.49
20029080*   09/17/2019             83.20    20030112    09/06/2019   509.73   20030731    09/20/2019             253.46
20029081    09/03/2019            344.46    20030113    09/06/2019   656.71   20030732    09/13/2019             292.13
20029085*   09/03/2019            515.96    20030114    09/10/2019   309.54   20030733    09/09/2019             366.43
20029089*   09/03/2019            538.25    20030115    09/06/2019   558.70   20030734    09/09/2019             178.37
20029090    09/03/2019            514.47    20030116    09/17/2019   370.96   20030735    09/10/2019             232.06
20029097*   09/03/2019            475.00    20030117    09/06/2019   714.47   20030736    09/09/2019             500.70
20029098    09/04/2019            516.20    20030118    09/09/2019   305.82   20030737    09/05/2019             268.35
20029099    09/03/2019            466.77    20030119    09/06/2019   653.81   20030738    09/06/2019             336.96
20029100    09/18/2019            644.22    20030120    09/06/2019   241.01   20030739    09/09/2019             313.35
20029104*   09/03/2019            514.52    20030121    09/06/2019   249.64   20030740    09/09/2019             434.91
20029110*   09/03/2019            534.75    20030122    09/10/2019   493.76   20030741    09/06/2019             180.34
20029111    09/06/2019            140.99    20030123    09/06/2019   625.07   20030742    09/06/2019             329.94
20029113*   09/03/2019            354.69    20030124    09/06/2019   678.38   20030743    09/05/2019             402.31
20029115*   09/03/2019            350.43    20030125    09/06/2019   736.43   20030744    09/10/2019             503.40
20029116    09/04/2019            235.32    20030126    09/09/2019   447.78   20030745    09/06/2019             381.02
20029119*   09/13/2019            546.20    20030127    09/06/2019    46.00   20030746    09/12/2019             297.14
20029125*   09/09/2019            690.63    20030128    09/10/2019   473.81   20030747    09/06/2019             476.27
20029126    09/03/2019            589.78    20030129    09/20/2019   429.40   20030748    09/06/2019             312.34
20029127    09/04/2019            529.37    20030130    09/06/2019   533.57   20030750*   09/06/2019             329.99
20029133*   09/04/2019            244.36    20030131    09/06/2019   572.42   20030751    09/06/2019             309.04
20029136*   09/04/2019            606.46    20030132    09/06/2019   622.38   20030752    09/06/2019             220.00
20029138*   09/03/2019            675.38    20030133    09/06/2019   349.90   20030753    09/06/2019             220.01
20029139    09/03/2019            481.36    20030134    09/06/2019   310.99   20030754    09/10/2019             399.86
20029140    09/05/2019            805.57    20030136*   09/09/2019   442.88   20030755    09/06/2019             224.27
20029141    09/16/2019            466.65    20030137    09/13/2019   402.12   20030756    09/06/2019             421.23




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            DDA Cycled Statement Report
            Custom
            As of 10/01/2019
            Company: NORPAC FOODS INC
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20029142    09/06/2019            614.66    20030138   09/09/2019     416.95   20030757    09/09/2019             487.75
20029143    09/06/2019            575.29    20030139   09/06/2019     116.65   20030758    09/10/2019             361.07
20029151*   09/06/2019            393.98    20030140   09/06/2019     430.10   20030759    09/06/2019             206.54
20029156*   09/05/2019            522.15    20030141   09/09/2019     837.65   20030760    09/06/2019             329.64
20029158*   09/04/2019            688.07    20030142   09/09/2019     251.97   20030761    09/09/2019             297.26
20029159    09/06/2019            539.08    20030143   09/09/2019     224.49   20030762    09/09/2019              61.37
20029160    09/03/2019            533.52    20030144   09/10/2019     198.76   20030763    09/06/2019             322.16
20029161    09/06/2019            516.84    20030145   09/06/2019     364.46   20030764    09/06/2019             314.69
20029162    09/20/2019            512.85    20030146   09/06/2019     521.07   20030765    09/09/2019             230.17
20029163    09/03/2019            616.40    20030147   09/06/2019     139.55   20030766    09/09/2019             352.87
20029164    09/03/2019            364.30    20030148   09/09/2019     303.53   20030767    09/06/2019             368.48
20029166*   09/03/2019             35.28    20030149   09/10/2019     358.79   20030768    09/06/2019             414.28
20029168*   09/03/2019            512.85    20030150   09/06/2019     244.80   20030769    09/09/2019             249.65
20029172*   09/16/2019            608.99    20030151   09/09/2019     160.27   20030770    09/06/2019             343.78
20029173    09/03/2019            439.42    20030152   09/10/2019     564.58   20030771    09/06/2019             359.58
20029178*   09/09/2019            232.50    20030153   09/09/2019     120.85   20030772    09/06/2019             300.26
20029179    09/03/2019            553.47    20030154   09/18/2019     322.86   20030773    09/06/2019             799.58
20029180    09/03/2019            583.36    20030155   09/06/2019     521.08   20030774    09/06/2019             136.87
20029182*   09/04/2019          1,040.68    20030156   09/10/2019     985.92   20030775    09/06/2019              70.33
20029184*   09/04/2019            590.38    20030157   09/06/2019     146.47   20030776    09/06/2019             302.31
20029185    09/04/2019            542.24    20030158   09/06/2019     570.37   20030777    09/06/2019             492.14
20029187*   09/03/2019            621.59    20030159   09/10/2019     135.12   20030778    09/06/2019             575.62
20029189*   09/03/2019            832.20    20030160   09/06/2019     561.19   20030779    09/09/2019             619.56
20029190    09/05/2019            268.31    20030161   09/06/2019     282.51   20030780    09/06/2019             569.42
20029191    09/04/2019            742.99    20030162   09/06/2019   1,322.59   20030781    09/09/2019             347.41
20029192    09/30/2019            789.62    20030163   09/09/2019     353.85   20030782    09/09/2019             382.99
20029193    09/03/2019            225.87    20030164   09/06/2019     627.60   20030783    09/06/2019             531.94
20029196*   09/03/2019            314.16    20030165   09/06/2019     374.60   20030784    09/10/2019             472.60
20029198*   09/03/2019            210.55    20030166   09/09/2019     484.18   20030785    09/10/2019             363.98
20029200*   09/25/2019            481.66    20030167   09/06/2019     583.99   20030786    09/10/2019             341.15
20029202*   09/06/2019            596.88    20030168   09/16/2019     516.56   20030787    09/06/2019             357.05
20029203    09/04/2019            613.21    20030169   09/11/2019     401.18   20030788    09/06/2019             263.58
20029204    09/03/2019            226.47    20030170   09/06/2019     456.52   20030789    09/09/2019             318.02
20029205    09/03/2019            507.79    20030171   09/09/2019     525.74   20030790    09/06/2019             359.62
20029209*   09/04/2019            611.87    20030172   09/09/2019     314.08   20030791    09/06/2019             538.46
20029210    09/03/2019            614.20    20030173   09/20/2019     442.87   20030792    09/06/2019             335.68
20029212*   09/16/2019            473.39    20030174   09/06/2019     532.83   20030793    09/06/2019             945.93
20029214*   09/03/2019            523.39    20030175   09/06/2019     521.07   20030794    09/09/2019             267.11
20029215    09/04/2019            471.17    20030176   09/06/2019     519.46   20030795    09/06/2019             248.96
20029217*   09/03/2019            469.66    20030177   09/09/2019     303.52   20030796    09/06/2019             338.53
20029219*   09/04/2019            500.15    20030178   09/06/2019     669.51   20030797    09/06/2019             480.71
20029221*   09/20/2019            112.76    20030179   09/06/2019     488.65   20030798    09/09/2019             366.32
20029223*   09/06/2019            536.63    20030180   09/13/2019     346.78   20030799    09/09/2019             359.63
20029225*   09/03/2019            422.76    20030181   09/09/2019     224.86   20030800    09/10/2019             317.53
20029227*   09/03/2019            549.32    20030182   09/06/2019     253.78   20030801    09/13/2019             373.15
20029230*   09/05/2019            487.47    20030183   09/06/2019     511.56   20030802    09/20/2019             187.44
20029231    09/04/2019            500.87    20030184   09/06/2019     394.92   20030803    09/06/2019             288.40
20029232    09/04/2019            547.23    20030185   09/10/2019     558.58   20030804    09/06/2019             365.25
20029234*   09/10/2019            503.50    20030186   09/06/2019     823.12   20030805    09/09/2019             364.36
20029236*   09/03/2019            603.60    20030187   09/06/2019     441.39   20030806    09/13/2019             272.15
20029239*   09/03/2019            320.33    20030188   09/09/2019     471.44   20030807    09/13/2019             228.91
20029246*   09/03/2019            521.06    20030189   09/06/2019     370.47   20030808    09/06/2019             327.06
20029247    09/20/2019            389.40    20030190   09/18/2019     533.90   20030809    09/06/2019             291.06
20029253*   09/03/2019            289.86    20030191   09/09/2019     438.38   20030810    09/06/2019             114.09
20029254    09/04/2019            430.06    20030192   09/06/2019     532.61   20030811    09/13/2019             199.65
20029260*   09/03/2019            295.22    20030193   09/06/2019     518.29   20030812    09/06/2019             337.02
20029261    09/03/2019            475.29    20030194   09/06/2019     547.12   20030813    09/06/2019             328.78
20029265*   09/04/2019          1,042.54    20030195   09/06/2019     462.99   20030814    09/09/2019             368.19
20029270*   09/05/2019            527.04    20030196   09/06/2019     303.29   20030815    09/09/2019             261.25
20029271    09/04/2019            527.04    20030197   09/06/2019     459.93   20030816    09/10/2019             290.17
20029272    09/03/2019            450.19    20030198   09/09/2019     550.87   20030817    09/09/2019             349.05
20029274*   09/09/2019            549.32    20030199   09/17/2019     466.76   20030818    09/10/2019             332.89
20029275    09/04/2019            505.40    20030200   09/18/2019     644.20   20030819    09/06/2019             326.73
20029278*   09/03/2019            350.97    20030201   09/10/2019     497.97   20030820    09/06/2019             305.94
20029280*   09/20/2019            687.78    20030202   09/06/2019     536.16   20030821    09/06/2019             285.81
20029284*   09/03/2019            693.04    20030203   09/06/2019     535.71   20030822    09/06/2019             329.27
20029286*   09/03/2019            536.63    20030204   09/06/2019     617.80   20030823    09/12/2019             300.14
20029289*   09/03/2019            194.41    20030205   09/06/2019     710.92   20030824    09/13/2019             340.17
20029303*   09/17/2019            669.43    20030206   09/06/2019     616.89   20030825    09/06/2019             783.32
20029305*   09/04/2019            753.93    20030207   09/06/2019     679.09   20030826    09/06/2019             340.53
20029310*   09/03/2019            443.37    20030208   09/06/2019     487.25   20030827    09/09/2019             358.86
20029313*   09/20/2019            544.36    20030209   09/06/2019     359.97   20030828    09/09/2019             268.88
20029315*   09/04/2019            575.28    20030210   09/06/2019     359.67   20030829    09/18/2019             348.99
20029317*   09/03/2019            217.85    20030211   09/06/2019     347.06   20030831*   09/06/2019             292.14
20029319*   09/03/2019            398.04    20030212   09/19/2019     129.00   20030832    09/06/2019             306.28




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20029322*   09/03/2019            668.49    20030213    09/06/2019     741.83   20030833    09/06/2019              372.10
20029323    09/26/2019             16.11    20030214    09/09/2019      80.52   20030834    09/06/2019              435.62
20029325*   09/04/2019            371.99    20030215    09/06/2019     693.75   20030835    09/13/2019              388.40
20029326    09/03/2019            353.10    20030216    09/09/2019     435.97   20030836    09/09/2019              444.88
20029327    09/03/2019            610.53    20030217    09/09/2019     635.02   20030837    09/09/2019              378.41
20029329*   09/05/2019             53.68    20030218    09/06/2019     388.04   20030838    09/06/2019              509.63
20029334*   09/06/2019             75.48    20030219    09/13/2019     550.88   20030839    09/11/2019              311.07
20029336*   09/09/2019            425.40    20030220    09/06/2019     695.03   20030840    09/06/2019              280.13
20029337    09/03/2019            710.93    20030221    09/06/2019     371.27   20030841    09/12/2019              291.30
20029338    09/04/2019            516.15    20030222    09/06/2019     572.56   20030842    09/06/2019              292.37
20029340*   09/05/2019            642.79    20030223    09/09/2019     110.03   20030843    09/24/2019              349.48
20029342*   09/03/2019            632.51    20030224    09/09/2019     542.36   20030844    09/23/2019              336.35
20029344*   09/04/2019            536.83    20030225    09/09/2019     697.75   20030845    09/13/2019              224.27
20029346*   09/06/2019            240.61    20030226    09/18/2019     413.15   20030846    09/30/2019              340.17
20029347    09/03/2019            564.19    20030227    09/06/2019     532.88   20030847    09/06/2019              218.99
20029349*   09/03/2019            546.22    20030228    09/09/2019     516.39   20030848    09/24/2019              306.70
20029350    09/03/2019            500.70    20030229    09/06/2019     802.14   20030849    09/30/2019              362.13
20029351    09/09/2019            576.76    20030230    09/06/2019     550.26   20030850    09/06/2019              458.33
20029352    09/23/2019            338.20    20030231    09/06/2019     557.07   20030851    09/06/2019              344.35
20029354*   09/03/2019            542.76    20030232    09/06/2019     635.03   20030852    09/20/2019              327.48
20029355    09/03/2019            333.69    20030233    09/10/2019     150.94   20030853    09/06/2019              314.08
20029371*   09/03/2019            339.50    20030234    09/06/2019     444.27   20030854    09/10/2019              400.71
20029373*   09/03/2019            524.21    20030235    09/06/2019     572.42   20030855    09/06/2019              273.99
20029377*   09/03/2019            321.44    20030236    09/06/2019     600.55   20030856    09/06/2019              269.37
20029381*   09/03/2019            321.44    20030237    09/06/2019     583.47   20030857    09/09/2019              373.00
20029382    09/03/2019            482.52    20030238    09/13/2019     657.85   20030858    09/06/2019              291.26
20029383    09/06/2019            533.51    20030239    09/09/2019     481.36   20030859    09/06/2019              298.68
20029385*   09/10/2019            311.37    20030240    09/11/2019     790.48   20030860    09/06/2019              381.02
20029391*   09/09/2019            212.40    20030241    09/16/2019     292.34   20030861    09/06/2019              437.11
20029392    09/17/2019            622.06    20030242    09/06/2019     458.98   20030862    09/09/2019              381.71
20029395*   09/03/2019            189.59    20030243    09/06/2019     421.40   20030863    09/06/2019              623.44
20029396    09/10/2019            644.19    20030244    09/06/2019     866.86   20030864    09/06/2019              352.99
20029399*   09/03/2019            500.15    20030245    09/06/2019     866.86   20030865    09/11/2019              307.25
20029404*   09/03/2019            528.94    20030246    09/24/2019     355.53   20030866    09/13/2019              234.00
20029406*   09/09/2019            207.36    20030247    09/20/2019     475.88   20030868*   09/11/2019              327.48
20029407    09/05/2019            515.95    20030248    09/06/2019     366.52   20030869    09/06/2019              412.27
20029408    09/04/2019            601.26    20030249    09/06/2019     609.41   20030870    09/06/2019              374.57
20029409    09/09/2019            519.44    20030250    09/06/2019     562.01   20030871    09/09/2019              102.28
20029413*   09/06/2019            587.67    20030251    09/06/2019     453.27   20030872    09/06/2019              423.35
20029414    09/06/2019             77.82    20030252    09/06/2019     526.53   20030873    09/06/2019              359.63
20029416*   09/16/2019            542.23    20030253    09/06/2019     715.05   20030874    09/06/2019              459.25
20029420*   09/03/2019            426.05    20030254    09/09/2019     602.59   20030875    09/06/2019              348.99
20029423*   09/03/2019            523.39    20030255    09/13/2019     594.64   20030876    09/06/2019              444.67
20029424    09/03/2019             64.43    20030256    09/11/2019     430.46   20030877    09/10/2019              341.16
20029425    09/03/2019            443.33    20030257    09/10/2019     628.46   20030878    09/13/2019              337.31
20029426    09/06/2019            281.80    20030258    09/18/2019     670.54   20030879    09/06/2019              352.28
20029433*   09/09/2019            377.65    20030259    09/09/2019     663.53   20030880    09/06/2019              466.08
20029434    09/03/2019            505.40    20030260    09/09/2019     560.85   20030881    09/12/2019              322.12
20029435    09/03/2019            572.07    20030261    09/06/2019     514.33   20030882    09/06/2019              564.58
20029436    09/03/2019            592.79    20030262    09/20/2019     336.46   20030883    09/06/2019              354.20
20029437    09/09/2019            574.16    20030263    09/09/2019     521.72   20030884    09/06/2019              273.99
20029442*   09/03/2019            455.34    20030264    09/06/2019     357.13   20030885    09/13/2019              363.81
20029446*   09/03/2019            523.04    20030265    09/09/2019     631.55   20030886    09/09/2019              760.04
20029447    09/03/2019            387.81    20030266    09/06/2019      21.19   20030887    09/09/2019            1,197.64
20029448    09/03/2019            465.27    20030267    09/06/2019     292.33   20030888    09/09/2019            1,002.64
20029453*   09/03/2019             62.10    20030268    09/17/2019     336.46   20030889    09/06/2019            6,667.29
20029455*   09/04/2019            475.06    20030269    09/09/2019     389.58   20030890    09/09/2019            1,408.64
20029459*   09/09/2019            545.92    20030270    09/06/2019     322.33   20030891    09/20/2019            1,089.29
20029461*   09/03/2019            568.82    20030271    09/16/2019     590.99   20030892    09/06/2019            1,184.74
20029464*   09/06/2019            528.78    20030273*   09/06/2019     253.78   20030893    09/06/2019            1,529.13
20029467*   09/04/2019            402.12    20030274    09/10/2019     397.06   20030894    09/06/2019            1,236.49
20029468    09/03/2019            567.86    20030275    09/10/2019     488.64   20030895    09/06/2019            1,146.25
20029470*   09/03/2019            516.65    20030276    09/09/2019     312.18   20030896    09/10/2019            1,594.91
20029471    09/20/2019            370.15    20030277    09/13/2019     536.26   20030897    09/06/2019              998.10
20029473*   09/04/2019            336.31    20030278    09/06/2019     482.36   20030898    09/10/2019              205.15
20029477*   09/09/2019            441.16    20030279    09/06/2019     520.82   20030899    09/16/2019               91.09
20029478    09/04/2019            613.67    20030280    09/11/2019   1,025.88   20030900    09/16/2019               23.07
20029483*   09/11/2019            413.41    20030281    09/06/2019     491.33   20030901    09/11/2019              106.55
20029488*   09/03/2019            340.68    20030282    09/16/2019     590.38   20030903*   09/10/2019               35.25
20029489    09/03/2019            210.55    20030283    09/16/2019     537.61   20030904    09/10/2019               11.83
20029490    09/04/2019            668.36    20030284    09/12/2019     681.07   20030905    09/11/2019              106.53
20029494*   09/06/2019            506.63    20030285    09/09/2019     621.58   20030906    09/11/2019              230.00
20029496*   09/03/2019            357.84    20030286    09/06/2019     843.47   20030907    09/18/2019               96.00
20029500*   09/06/2019            166.45    20030287    09/06/2019     805.02   20030908    09/10/2019               77.44
20029504*   09/03/2019            210.55    20030289*   09/06/2019     725.47   20030909    09/11/2019              246.26




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20029506*    09/03/2019            588.02    20030290      09/30/2019             780.31    20030910       09/11/2019              96.35
20029509*    09/03/2019            534.54    20030291      09/06/2019             227.03    20030911       09/12/2019              87.14
20029510     09/03/2019            273.15    20030292      09/12/2019             520.08    20030912       09/12/2019              93.29
20029511     09/03/2019            150.30    20030293      09/06/2019             587.51    20030913       09/12/2019              93.33
20029513*    09/04/2019            542.72    20030294      09/06/2019             510.59    20030914       09/11/2019              65.00
20029517*    09/03/2019            519.78    20030295      09/06/2019             394.78    20030915       09/11/2019             160.46
20029518     09/09/2019             99.04    20030296      09/09/2019             675.20    20030916       09/12/2019              99.08
20029519     09/05/2019            519.43    20030297      09/11/2019             302.69    20030917       09/30/2019             108.32
20029521*    09/03/2019            486.65    20030298      09/06/2019             489.12    20030918       09/05/2019             219.45
20029524*    09/04/2019            512.85    20030299      09/06/2019             367.37    20030920*      09/10/2019             115.81
20029525     09/03/2019            528.79    20030300      09/25/2019             468.44    20030921       09/09/2019             147.11
20029526     09/09/2019            164.46    20030301      09/06/2019             542.06    20030922       09/06/2019              71.22
20029530*    09/10/2019            645.39    20030302      09/06/2019             498.93    20030923       09/13/2019             427.10
20029531     09/09/2019            508.19    20030303      09/11/2019             578.96    3003303698*    09/24/2019             162.82
20029533*    09/16/2019            520.60    20030304      09/09/2019             279.99

* Gap in check sequence                                                       817,214.10    Total Checks Paid

                                                                             1,791,442.66   Total Debits

Daily Ledger Balance Summary
              Date                           Balance    Date                          Balance      Date                          Balance

              09/03/2019                         .00    09/12/2019                          .00    09/23/2019                         .00
              09/04/2019                         .00    09/13/2019                          .00    09/24/2019                         .00
              09/05/2019                         .00    09/16/2019                          .00    09/25/2019                         .00
              09/06/2019                         .00    09/17/2019                          .00    09/26/2019                         .00
              09/09/2019                         .00    09/18/2019                          .00    09/27/2019                         .00
              09/10/2019                         .00    09/19/2019                          .00    09/30/2019                         .00
              09/11/2019                         .00    09/20/2019                          .00

                                                                                            .00    Average Daily Ledger Balance


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                                                     Statement Start Date: 09/01/2019
                                                     Statement End Date: 09/30/2019
Currency: USD
Bank: 121000248                                                                                              WELLS FARGO BANK, N.A.
Account:       9073(CA)                                                                                          NORPAC FOODS INC
Account Overview
         Beginning Ledger Balance                                                                                         4,949,729.33
                Deposits                                                                                                  6,322,352.72
                Electronic Deposits/Bank Credits                                                                         18,180,094.34
         Total Credits                                                                                                   24,502,447.06
                Electronic Debits/Bank Debits                                                                            25,694,244.84
                Checks Paid                                                                                                        .00
         Total Debits                                                                                                    25,694,244.84
         Ending Ledger Balance                                                                                            3,757,931.55


Credits
  Deposits
     Effective Date Posted Date                Amount    Transaction Detail
                     09/03/2019             395,892.69   DEPOSIT
                     09/03/2019             277,137.10   WHOLESALE LOCKBOX DEPOSIT
                     09/03/2019              89,903.34   WHOLESALE LOCKBOX DEPOSIT
                     09/04/2019              90,997.86   WHOLESALE LOCKBOX DEPOSIT
                     09/04/2019              76,975.95   WHOLESALE LOCKBOX DEPOSIT
                     09/05/2019             220,975.81   WHOLESALE LOCKBOX DEPOSIT
                     09/05/2019              52,996.63   WHOLESALE LOCKBOX DEPOSIT
                     09/06/2019             113,691.51   DEPOSIT
                     09/06/2019              36,566.12   WHOLESALE LOCKBOX DEPOSIT
                     09/06/2019               4,682.80   WHOLESALE LOCKBOX DEPOSIT
                     09/09/2019             226,276.12   DEPOSIT
                     09/09/2019             163,351.44   WHOLESALE LOCKBOX DEPOSIT
                     09/09/2019             131,156.21   WHOLESALE LOCKBOX DEPOSIT
                     09/10/2019             518,476.78   WHOLESALE LOCKBOX DEPOSIT
                     09/10/2019              98,709.15   WHOLESALE LOCKBOX DEPOSIT
                     09/11/2019             242,144.34   WHOLESALE LOCKBOX DEPOSIT
                     09/11/2019              42,582.83   DEPOSIT
                     09/11/2019              23,076.26   WHOLESALE LOCKBOX DEPOSIT
                     09/12/2019              79,641.05   WHOLESALE LOCKBOX DEPOSIT
                     09/12/2019              66,337.64   DEPOSIT
                     09/12/2019              55,748.93   WHOLESALE LOCKBOX DEPOSIT
                     09/12/2019              31,344.97   WHOLESALE LOCKBOX DEPOSIT
                     09/13/2019             347,993.51   WHOLESALE LOCKBOX DEPOSIT
                     09/13/2019              14,785.26   DEPOSIT
                     09/13/2019              11,671.90   WHOLESALE LOCKBOX DEPOSIT
                     09/16/2019             107,459.57   WHOLESALE LOCKBOX DEPOSIT
                     09/16/2019              93,181.13   WHOLESALE LOCKBOX DEPOSIT
                     09/17/2019             108,741.43   WHOLESALE LOCKBOX DEPOSIT
                     09/17/2019              50,056.15   WHOLESALE LOCKBOX DEPOSIT
                     09/18/2019             178,490.77   WHOLESALE LOCKBOX DEPOSIT
                     09/18/2019              14,064.63   WHOLESALE LOCKBOX DEPOSIT
                     09/19/2019              71,286.19   WHOLESALE LOCKBOX DEPOSIT
                     09/19/2019              29,340.53   WHOLESALE LOCKBOX DEPOSIT
                     09/19/2019              10,383.69   WHOLESALE LOCKBOX DEPOSIT
                     09/20/2019             341,075.24   WHOLESALE LOCKBOX DEPOSIT
                     09/20/2019              93,980.89   DEPOSIT
                     09/23/2019             463,293.30   WHOLESALE LOCKBOX DEPOSIT
                     09/23/2019             108,221.04   WHOLESALE LOCKBOX DEPOSIT
                     09/24/2019             189,609.90   WHOLESALE LOCKBOX DEPOSIT
                     09/24/2019              32,596.68   WHOLESALE LOCKBOX DEPOSIT
                     09/25/2019             273,629.64   WHOLESALE LOCKBOX DEPOSIT
                     09/25/2019              56,668.78   WHOLESALE LOCKBOX DEPOSIT
                     09/25/2019              11,853.11   WHOLESALE LOCKBOX DEPOSIT
                     09/27/2019             405,639.35   WHOLESALE LOCKBOX DEPOSIT
                     09/27/2019              80,961.19   DEPOSIT
                     09/27/2019              35,351.58   WHOLESALE LOCKBOX DEPOSIT
                     09/30/2019             111,479.54   WHOLESALE LOCKBOX DEPOSIT
                     09/30/2019              41,872.19   WHOLESALE LOCKBOX DEPOSIT

                                          6,322,352.72   Total Deposits

  Electronic Deposits/Bank Credits
     Effective Date Posted Date                Amount    Transaction Detail
                     09/03/2019             361,999.72   Costco Wholesale EDI PYMNTS 0007269874
                                                         0808\ADX*0*WH\SE*86*000000606\GE*1*1\IEA*1*070514



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      09/03/2019           267,272.20      WAL-MART STORES TRADE PYMT 398370 TRN*1*4275621\
      09/03/2019           150,968.54      KROGER VENDOR PAY E672233
                                           003*20190820\SE*72*03323087\GE*1*3323\IEA*1*00000
      09/03/2019           139,308.74      J R SIMPLOT COMP AP ACH PMT 190830 00860852
                                           *20190802\SE*26*0001\GE*1*0001\IEA*1*000000000\
      09/03/2019           104,611.39      US FOODS DIRECT PAY 190902 0634186 0000NORPAC FOODS INC
      09/03/2019            76,211.23      Gordon Food Serv ACCTS PAY 571395
                                           M*003*20190828\SE*68*000000011\GE*1*2687\IEA*1*00
      09/03/2019            53,211.90      J R SIMPLOT COMP AP ACH PMT 190830 00860851
                                           DTM*003*20190802\SE*18*0001\GE*1*0001\IEA*1*00000
      09/03/2019            47,602.29      SIMPLOT - RDO LL AP ACH PMT 190830 00860305
                                           \GE*1*0001\IEA*1*000000000\
      09/03/2019            31,096.90      WINCO FOODS LLC EDIPAYMENT 000003874000062
                                           190813\ADX*295.56*L7*TN*19045397\SE*19*000140091\
      09/03/2019            29,847.48      WT FED#01421 HSBC BANK (TAIWAN) /ORG=ILHA FORMOSA HOLDINGS
                                           LIMITED SRF#
                                           246466569 TRN#190903026439 RFB# TT TAO832033MNYN
      09/03/2019            14,175.00      SINGLE SOURCE PAYMENTJNL 190828 V000640 0000NORPAC FOODS,
                                           IN
      09/03/2019            12,071.23      NICHOLAS AND CO PAYABLES 083019 0048115 0000NORPAC FOODS.
                                           IN
      09/03/2019            10,917.10      SYSCO PAYMENTS 190830 052CA000907714 NORPAC FOODS INC
      09/03/2019            10,880.79      NICHOLAS AND CO PAYABLES 083019 0048115 0000NORPAC FOODS.
                                           IN
      09/03/2019            10,113.01      Publix Super Mar PAYMENTS 190903 2006156351
                                           TRN*1*2006156351*3006922009\
      09/03/2019             1,374.65      THE SYGMA NETWOR INVOICEPMT 090319 0000NORPAC SERVICES,
      09/03/2019               277.25      US Cold Storage EDI PYMNTS 224190 A*1*076853012\
      09/04/2019           426,269.21      WAL-MART STORES TRADE PYMT 398370 TRN*1*4282083\
      09/04/2019           128,738.53      GOLDEN BAY USF PAYMENTS 190904 195-01 NORPAC
      09/04/2019           124,813.06      GOLDEN BAY USF PAYMENTS 190904 195 NORPAC
      09/04/2019            65,307.75      Costco Wholesale EDI PYMNTS 0001504239
                                           H\SE*58*000000496\GE*1*1\IEA*1*062910005\
      09/04/2019            55,774.84      J R SIMPLOT COMP AP ACH PMT 190903 00861400
                                           DTM*003*20190805\SE*18*0001\GE*1*0001\IEA*1*00000
      09/04/2019            48,507.00      CAMPBELL SOUP SU FUNB EDI 2000647101 NORPAC FOODS INC
      09/04/2019            39,463.28      MARTIN BROTHERS ACH ALL 512 NORPAC FOOD INC
      09/04/2019            38,234.50      J R SIMPLOT COMP AP ACH PMT 190903 00861401
                                           1966961\DTM*003*20190619\SE*14*0001\GE*1*0001\IEA
      09/04/2019            34,378.55      NESTLE 2814 EDI PAYMNT SEP 03 2000291996US169
                                           964\DTM*003*20190801\SE*25*000000948\GE*000001*07
      09/04/2019            32,219.34      Gordon Food Serv ACCTS PAY 571862 A*1*000001381\
      09/04/2019            24,380.65      ALPINE FOOD DIST NORPAC            9073 NORPAC FOODS INC
      09/04/2019            18,627.84      JACOB FLEISHMAN ACH Pmt 190904 5227854899 Inv 19046515
      09/04/2019            13,405.82      CTI ARLINGT0555 VOUCHERPMT 1 NORPAC SERVICES INC.
      09/04/2019            11,986.50      SYSCO PAYMENTS 190903 015CA000156080 NORPAC SALES & SERVICE
      09/04/2019            11,070.75      SYSCO PAYMENTS 190903 022CA000198154
                                           190525\SE*13*000007991\GE*1*20344\IEA*1*000020344
      09/04/2019            10,113.01      Publix Super Mar PAYMENTS 190904 2006160895
                                           TRN*1*2006160895*3006922009\
      09/04/2019                9,166.05   SYSCO PAYMENTS 190903 037CA000012731 NORPAC SALES & SERVICE
      09/04/2019                7,193.04   US FOODS DIRECT PAY 190904 0634879 0000NORPAC FOODS INC
      09/04/2019                7,173.80   SYSCO PAYMENTS 190903 010CA000315089 NORPAC SALES & SERVICE
      09/04/2019                6,062.80   SYSCO PAYMENTS 190903 050CA000323562 NORPAC FOOD INC
      09/04/2019                5,869.06   SYSCO PAYMENTS 190903 064CA000087946 NORPAC SALES & SERVICE
      09/04/2019                5,560.53   SYSCO PAYMENTS 190903 067CA000237583 NORPAC SALES & SERVICE
      09/04/2019                5,282.34   SYSCO PAYMENTS 190903 164CA000071031
                                           TM*003*20190820\SE*13*000009217\GE*1*20344\IEA*1*
      09/04/2019                5,048.17   SYSCO PAYMENTS 190903 055CA000216519 NORPAC FOODS INC
      09/04/2019                4,996.59   SYSCO PAYMENTS 190903 045CA000311352 NORPAC FOOD INC
      09/04/2019                3,827.82   SYSCO PAYMENTS 190903 059CA000031552 NORPAC FOODS INC
      09/04/2019                3,221.40   SENECA FOODS COR INVOICE 190903 1011685
                                           V*11-19044221**3221.40*3221.40*0.00\SE*8*0184\GE*
      09/04/2019                1,152.00   SIMPLOT - RDO LL AP ACH PMT 190903 00861116
                                           0*0001\GE*1*0001\IEA*1*000000000\
      09/04/2019               379.20      KROGER VENDOR PAY E673176 6\
      09/05/2019           194,841.88      WAL-MART STORES TRADE PYMT 398370 TRN*1*4290350\
      09/05/2019            68,898.68      MARTIN BROTHERS ACH ALL 512 NORPAC FOOD INC
      09/05/2019            56,244.08      J R SIMPLOT COMP AP ACH PMT 190904 00861829
                                           DTM*003*20190806\SE*18*0001\GE*1*0001\IEA*1*00000
      09/05/2019            29,846.75      NICHOLAS AND CO PAYABLES 090419 0048115 0000NORPAC FOODS.
                                           IN
      09/05/2019            19,947.36      SIMPLOT - RDO LL AP ACH PMT 190904 00861589
                                           10*0001\GE*1*0001\IEA*1*000000000\
      09/05/2019            13,949.00      OFD FOODS ACH 16625 NORPAC FOODS INC




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      09/05/2019            10,380.55      Publix Super Mar PAYMENTS 190905 2006161432
                                           TRN*1*2006161432*3006922009\
      09/05/2019             1,997.58      KROGER VENDOR PAY E674079 329076\GE*1*3329\IEA*1*000005002\
      09/06/2019           186,619.73      GOLDEN BAY USF PAYMENTS 190906 195 NORPAC
      09/06/2019           146,902.40      J R SIMPLOT COMP AP ACH PMT 190905 00862317
                                           3*20190807\SE*26*0001\GE*1*0001\IEA*1*000000000\
      09/06/2019            76,406.32      WAL-MART STORES TRADE PYMT 398370 TRN*1*4295926\
      09/06/2019            72,494.09      GOLDEN BAY USF PAYMENTS 190906 195-01 NORPAC
      09/06/2019            70,503.80      Costco Wholesale EDI PYMNTS 0001545092
                                           082538\DTM*003*20190904\ADX*-0*WH\SE*46*000000386
      09/06/2019            46,727.62      KROGER VENDOR PAY E674728
                                           0190827\SE*25*03331077\GE*1*3331\IEA*1*000005005\
      09/06/2019            46,079.24      FRESHLYINC0350 MD - 09/06             9073 Norpac Foods, Inc.
      09/06/2019            45,882.39      CTI ARLINGT0555 VOUCHERPMT 4 NORPAC SERVICES INC.
      09/06/2019            39,911.65      US FOODS DIRECT PAY 190906 0635324 0000NORPAC FOODS INC
      09/06/2019            16,561.79      DARDEN DIRECT LO WF-ACH-PAY 190905 00931820
                                           \REF*PO*03379625\DTM*003*190827\SE*8*0001\GE*1*00
      09/06/2019            14,115.00      SINGLE SOURCE PAYMENTJNL 190905 V000640 0000NORPAC FOODS,
                                           IN
      09/06/2019                9,698.12   Publix Super Mar PAYMENTS 190906 2006162342
                                           TRN*1*2006162342*3006922009\
      09/06/2019                9,590.59   SYSCO PAYMENTS 190905 102CA000595823 NORPAC FOODS INC
      09/06/2019                6,491.52   SYSCO PAYMENTS 190905 320CA000123995 NORPAC FOOD INC
      09/06/2019                6,405.21   SENECA FOODS COR INVOICE 190905 1011685
                                           V*11-19044900**6405.21*6405.21*0.00\SE*8*0239\GE*
      09/06/2019                2,795.80   WA ST DOC VENDOR PAY 190831 087308! NORPAC FOODS INC
      09/06/2019                2,697.94   NESTLE 2814 EDI PAYMNT SEP 05 2000295975US169
                                           0001*073308168\
      09/06/2019                1,546.50   SIMPLOT - RDO LL AP ACH PMT 190905 00862008
                                           0*0001\GE*1*0001\IEA*1*000000000\
      09/06/2019                1,532.00   AMERICOLD LOGIST PAYMENTS 190905 10002001124920
                                           TM*003*20190814\SE*27*000009676\GE*1*0\IEA*1*0000
      09/06/2019                1,173.64   GOLDEN BAY USF PAYMENTS 190906 195-F NORPAC
      09/06/2019                  509.78   NESTLE 2814 EDI PAYMNT SEP 05 2000295990US169
                                           001*073308168\
      09/09/2019           301,148.05      Costco Wholesale EDI PYMNTS 0001565022
                                           *WH\SE*108*000000598\GE*1*1\IEA*1*008061610\
      09/09/2019           244,581.92      WAL-MART STORES TRADE PYMT 398370 TRN*1*4301683\
      09/09/2019           182,818.61      J R SIMPLOT COMP AP ACH PMT 190906 00862861
                                           90808\SE*30*0001\GE*1*0001\IEA*1*000000000\
      09/09/2019           101,233.83      KROGER VENDOR PAY E675422
                                           2.83\REF*BT*019245\DTM*003*20190826\SE*125*033330
      09/09/2019            83,587.54      US FOODS DIRECT PAY 190909 0635817 0000NORPAC FOODS INC
      09/09/2019            38,357.45      BASHAS' INC. EDI PYMNTS 165195 8\GE*1*7101\IEA*1*000007101\
      09/09/2019            27,660.09      THE SYGMA NETWOR INVOICEPMT 090919 0000NORPAC SERVICES,
      09/09/2019            24,050.74      J R SIMPLOT COMP AP ACH PMT 190906 00862860
                                           O*02003597\DTM*003*20190806\SE*10*0001\GE*1*0001\
      09/09/2019            17,590.93      Gordon Food Serv ACCTS PAY 573290
                                           8*000000011\GE*1*2692\IEA*1*000001385\
      09/09/2019            14,154.00      SINGLE SOURCE PAYMENTJNL 190905 V000640 0000NORPAC FOODS,
                                           IN
      09/09/2019                6,246.38   SYSCO PAYMENTS 190906 031CA000177141 NORPAC FOOD INC
      09/09/2019                2,616.80   SYSCO PAYMENTS 190906 001CA000101147 NORPAC SALES & SERVICE
      09/09/2019                1,484.00   WA ST DOC VENDOR PAY 190905 095326! NORPAC FOODS INC
      09/09/2019                  389.92   INGREDION INCORP CORP PYMNT 2000983910
                                           *0001*15738¬IEA*0001*000105738¬
      09/10/2019           174,351.71      WAL-MART STORES TRADE PYMT 398370 TRN*1*4308072\
      09/10/2019           161,810.62      Costco Wholesale EDI PYMNTS 0001594153
                                           *20190816\ADX*0*WH\SE*62*000000413\GE*1*1\IEA*1*0
      09/10/2019           153,750.21      GOLDEN BAY USF PAYMENTS 190910 195-01 NORPAC
      09/10/2019           102,759.91      Gordon Food Serv ACCTS PAY 573714 6\
      09/10/2019            42,834.58      JB WHOLESALE PAYMENTS 3040
                                           3040-AUG19*-18444.02*20190824*-18444.02*NORPAC SE
      09/10/2019            42,420.62      J R SIMPLOT COMP AP ACH PMT 190909 00863269
                                           PO*01987231\DTM*003*20190809\SE*10*0001\GE*1*0001
      09/10/2019            37,419.41      GOLDEN BAY USF PAYMENTS 190910 195 NORPAC
      09/10/2019            36,443.13      MARTIN BROTHERS ACH ALL 512 NORPAC FOOD INC
      09/10/2019            33,726.67      KROGER VENDOR PAY E676340
                                           019247\DTM*003*20190829\SE*19*03335077\GE*1*3335\
      09/10/2019            27,807.19      ALPINE FOOD DIST NORPAC               9073 NORPAC FOODS INC
      09/10/2019            17,437.50      CAMPBELL SOUP SU FUNB EDI 2000647750 NORPAC FOODS INC
      09/10/2019            14,105.65      NESTLE 2814 EDI PAYMNT SEP 09 2000300614US169 \
      09/10/2019            13,911.60      eDeposit in Branch/Store 09/10/19 04:36:42 PM 12926
                                           MUKILTEO SPEEDWAY LYNNWOOD WA
      09/10/2019                7,857.00   TYSON PAYMENTS 190910 2002986118 NORPAC FOODS INC




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      09/10/2019                39.28      ALPINE FOOD DIST NORPAC            9073 NORPAC FOODS INC
      09/11/2019           185,935.76      WAL-MART STORES TRADE PYMT 398370 TRN*1*4316017\
      09/11/2019           118,794.98      US FOODS DIRECT PAY 190911 0636324 0000NORPAC FOODS INC
      09/11/2019            68,321.22      J R SIMPLOT COMP AP ACH PMT 190910 00863674
                                           M*003*20190812\SE*22*0001\GE*1*0001\IEA*1*0000000
      09/11/2019            61,217.12      J R SIMPLOT COMP AP ACH PMT 190910 00863675
                                           1987232\DTM*003*20190812\SE*14*0001\GE*1*0001\IEA
      09/11/2019            56,902.35      FOOD SERVICES OF ACCTS PAY 190910 418889 NORPAC FOODS INC
      09/11/2019            52,560.50      NESTLE 2814 EDI PAYMNT SEP 10 2000301844US169
                                           471\DTM*003*20190812\SE*25*000000102\GE*000001*07
      09/11/2019            37,870.00      CTI ARLINGT0555 VOUCHERPMT 4 NORPAC SERVICES INC.
      09/11/2019            30,894.76      WT FED#00255 HSBC BANK (TAIWAN) /ORG=ILHA FORMOSA HOLDINGS
                                           LIMITED SRF#
                                           254335129 TRN#190911008982 RFB# TT TAO832699MNYN
      09/11/2019            24,298.12      SYSCO PAYMENTS 190909 016CA000247634
                                           90830\SE*10*000014621\GE*1*20357\IEA*1*000020357\
      09/11/2019            21,422.31      Costco Wholesale EDI PYMNTS 0001613998
                                           0190909\ADX*-0*WH\SE*46*000000365\GE*1*1\IEA*1*07
      09/11/2019            10,948.18      SYSCO PAYMENTS 190909 052CA000908033 NORPAC FOODS INC
      09/11/2019             9,301.69      SYSCO PAYMENTS 190909 037CA000012957 NORPAC SALES & SERVICE
      09/11/2019             8,826.33      SYSCO PAYMENTS 190909 024CA000203530 NORPAC SALES & SERVICE
      09/11/2019             7,833.00      Del Monaco Foods PAYMENT 190910 NOR115 1-19041833 :
                                           7833.00*
      09/11/2019                6,579.50   KETTLE CUISINE ACH PAYMNT Sep 10 102634ACH Norpac Foods,
                                           Inc
      09/11/2019                5,760.23   SYSCO PAYMENTS 190909 039CA000097068
                                           10*000015042\GE*1*20357\IEA*1*000020357\
      09/11/2019                5,300.01   SYSCO PAYMENTS 190909 057CA000182634 NORPAC SALES & SERVICE
      09/11/2019                4,831.66   SENECA FOODS COR INVOICE 190910 1011685
                                           V*11-19043678**4831.66*4831.66*0.00\SE*8*0200\GE*
      09/11/2019                4,651.36   SYSCO PAYMENTS 190909 013CA000221166 NORPAC SALES & SERVICE
      09/11/2019                1,462.50   SIMPLOT - RDO LL AP ACH PMT 190910 00863409
                                           *0001\GE*1*0001\IEA*1*000000000\
      09/12/2019           196,693.23      J R SIMPLOT COMP AP ACH PMT 190911 00864075
                                           38*0001\GE*1*0001\IEA*1*000000000\
      09/12/2019           145,328.80      WAL-MART STORES TRADE PYMT 398370 TRN*1*4320783\
      09/12/2019           108,755.15      FOOD SERVICES OF ACCTS PAY 190911 418889 NORPAC FOODS INC
      09/12/2019            40,570.87      MARTIN BROTHERS ACH ALL 512 NORPAC FOOD INC
      09/12/2019            38,744.54      NESTLE 2814 EDI PAYMNT SEP 11 2000302615US169 73459552\
      09/12/2019            27,885.24      SYSTEMS SERVICES ACCTS PAY 190911 418889 NORPAC FOODS INC
      09/12/2019            24,158.03      J R SIMPLOT COMP AP ACH PMT 190911 00864074
                                           03345\DTM*003*20190813\SE*14*0001\GE*1*0001\IEA*1
      09/12/2019                6,223.39   NICHOLAS AND CO PAYABLES 091119 0048115 0000NORPAC FOODS.
                                           IN
      09/12/2019                2,551.00   THE SYGMA NETWOR INVOICEPMT 091219 0000NORPAC SERVICES,
      09/12/2019                  213.10   THE DISTRIBUTION CORP PAY 190912 32715 NORPAC FOODS INC
      09/12/2019                    1.00   KROGER VENDOR PAY E677748
                                           20190830\ADX*-42*ZZ\SE*20*03339071\GE*1*3339\IEA*
      09/13/2019           252,756.33      Costco Wholesale EDI PYMNTS 0001660536
                                           *86*000000389\GE*1*1\IEA*1*076474697\
      09/13/2019           223,746.03      WINCO FOODS LLC EDIPAYMENT 000003882000062
                                           0830\ADX*1597.01*L7*TN*19048080\SE*51*000140740\G
      09/13/2019           208,412.34      WAL-MART STORES TRADE PYMT 398370 TRN*1*4326132\
      09/13/2019           202,486.87      GOLDEN BAY USF PAYMENTS 190913 195 NORPAC
      09/13/2019            66,364.08      WT FED#05839 BBVA BANCOMER, S.A /ORG=1/B G FOODS
                                           MANUFACTURING MEXICO SRF# F9S190
                                           9133327200 TRN#190913108878 RFB#
      09/13/2019            53,521.21      GOLDEN BAY USF PAYMENTS 190913 195-01 NORPAC
      09/13/2019            42,407.00      WT 216TTJ-23265152 SUMITOMO MITSUI /ORG=NICHIREI FOODS INC.
                                           0216-00262291 SRF# 216TT
                                           J-23265152 TRN#190913015949 RFB# 150190913MT02705
      09/13/2019            37,536.00      J R SIMPLOT COMP AP ACH PMT 190912 00864541
                                           02004528\DTM*003*20190814\SE*14*0001\GE*1*0001\IE
      09/13/2019            34,576.94      J R SIMPLOT COMP AP ACH PMT 190912 00864540
                                           O*02003780\DTM*003*20190814\SE*10*0001\GE*1*0001\
      09/13/2019            26,762.90      ORCA BAY FOODS ACH ITEM NORPAC FOODS
      09/13/2019            19,520.42      THE SYGMA NETWOR INVOICEPMT 091319 0000NORPAC SERVICES,
      09/13/2019            13,093.44      NICHOLAS AND CO PAYABLES 091219 0048115 0000NORPAC FOODS.
                                           IN
      09/13/2019            10,140.21      KROGER VENDOR PAY E678372
                                           \DTM*003*20190826\SE*67*03341078\GE*1*3341\IEA*1*
      09/13/2019                8,082.09   SYSCO PAYMENTS 190912 005CA000034482 NORPAC FOODS INC
      09/13/2019                7,893.10   HILLCREST EGG & Vendors1 Sep 13 625 21404
      09/13/2019                6,223.39   NICHOLAS AND CO PAYABLES 091219 0048115 0000NORPAC FOODS.
                                           IN




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      09/13/2019             2,841.88      GOLDEN BAY USF PAYMENTS 190913 195-F NORPAC
      09/13/2019               975.86      NCH MARKETING HIST RTN 190913 XXXXX5600 NORPAC
      09/16/2019           329,500.60      Costco Wholesale EDI PYMNTS 0001681823
                                           \ADX*0*WH\SE*86*000000569\GE*1*1\IEA*1*097883691\
      09/16/2019           269,634.92      WAL-MART STORES TRADE PYMT 398370 TRN*1*4331920\
      09/16/2019           265,380.91      KROGER VENDOR PAY E679101 1*000005023\
      09/16/2019           152,368.10      J R SIMPLOT COMP AP ACH PMT 190913 00865050
                                           0815\SE*30*0001\GE*1*0001\IEA*1*000000000\
      09/16/2019           112,620.85      US FOODS DIRECT PAY 190916 0637327 0000NORPAC FOODS INC
      09/16/2019            59,635.44      WINCO FOODS LLC EDIPAYMENT 000003883000062
                                           40811\GE*1*4007\IEA*1*000004008\
      09/16/2019            39,782.16      BASHAS' INC. EDI PYMNTS 165795
                                           16\GE*1*7120\IEA*1*000007120\
      09/16/2019            33,775.89      FOOD SERVICES OF ACCTS PAY 190913 418889 NORPAC FOODS INC
      09/16/2019             7,496.75      SYSCO PAYMENTS 190913 061CA000211404
                                           798\GE*1*20369\IEA*1*000020369\
      09/16/2019                7,377.83   SYSCO PAYMENTS 190913 043CA000160022
                                           4549\GE*1*20369\IEA*1*000020369\
      09/16/2019                5,621.20   SYSCO PAYMENTS 190913 040CA000015019 NORPAC FOODS INC
      09/16/2019                4,958.52   SYSCO PAYMENTS 190913 031CA000177343 NORPAC FOOD INC
      09/16/2019                2,156.74   THE DISTRIBUTION CORP PAY 190916 32715 NORPAC FOODS INC
      09/16/2019                  989.50   Nestle Canada In ACH CR 190916 2000027624CA109 NORPAC FOODS
                                           INC
      09/17/2019           335,716.26      WAL-MART STORES TRADE PYMT 398370 TRN*1*4338508\
      09/17/2019           167,298.17      GOLDEN BAY USF PAYMENTS 190917 195-01 NORPAC
      09/17/2019           135,852.18      WINCO FOODS LLC EDIPAYMENT 000003884000062
                                           903\ADX*346.7*L7*TN*19048734\SE*39*000140894\GE*1
      09/17/2019           132,332.35      GOLDEN BAY USF PAYMENTS 190917 195 NORPAC
      09/17/2019            52,504.56      FOOD SERVICES OF ACCTS PAY 190916 418889 NORPAC FOODS INC
      09/17/2019            44,270.89      Costco Wholesale EDI PYMNTS 0001708325
                                           92\DTM*003*20190822\ADX*0*WH\SE*38*000000431\GE*1
      09/17/2019            34,637.50      CAMPBELL SOUP SU FUNB EDI 2000648439 NORPAC FOODS INC
      09/17/2019            21,646.04      DOT FOODS CANADA Food Purch 190917 NORPAC FOODS, I NORPAC
                                           FOODS, INC
      09/17/2019            19,332.44      SYSCO PAYMENTS 190916 022CA000198636
                                           03*20190904\SE*16*000011710\GE*1*20372\IEA*1*0000
      09/17/2019            18,230.36      Gordon Food Serv ACCTS PAY 575821
                                           *70*000000012\GE*1*2698\IEA*1*000001391\
      09/17/2019            18,215.30      J R SIMPLOT COMP AP ACH PMT 190916 00865488
                                           PO*01983421\DTM*003*20190815\SE*10*0001\GE*1*0001
      09/17/2019            11,480.10      SYSCO PAYMENTS 190916 057CA000182811 NORPAC SALES & SERVICE
      09/17/2019             8,020.36      SYSCO PAYMENTS 190916 005CA000034598 NORPAC FOODS INC
      09/17/2019             7,956.15      SYSCO PAYMENTS 190916 052CA000908284 NORPAC FOODS INC
      09/17/2019             6,731.42      SYSCO PAYMENTS 190916 075CA000260641 NORPAC SALES & SERVICE
      09/17/2019             6,418.45      SYSCO PAYMENTS 190916 024CA000203877 NORPAC SALES & SERVICE
      09/17/2019             6,067.39      SYSCO PAYMENTS 190916 011CA000123879
                                           0904\SE*16*000011397\GE*1*20372\IEA*1*000020372\
      09/17/2019                5,948.22   SYSCO PAYMENTS 190916 002CA000779908
                                           TM*003*20190905\SE*10*000011076\GE*1*20372\IEA*1*
      09/17/2019                5,928.36   SYSCO PAYMENTS 190916 320CA000124388 NORPAC FOOD INC
      09/17/2019                5,357.66   SYSCO PAYMENTS 190916 032CA000125996
                                           190904\SE*10*000011862\GE*1*20372\IEA*1*000020372
      09/17/2019                5,253.48   SYSCO PAYMENTS 190916 006CA000027363 NORPAC FOODS INC
      09/17/2019                4,292.83   SYSCO PAYMENTS 190916 064CA000088174 NORPAC SALES & SERVICE
      09/17/2019                3,920.42   SYSCO PAYMENTS 190916 195CA000093234 NORPAC FOODS INC
      09/17/2019                  140.80   SYSCO PAYMENTS 190916 014CA000728740
                                           .26\DTM*003*20190829\SE*16*000011479\GE*1*20372\I
      09/17/2019               127.48      SYSCO PAYMENTS 190916 031CA000177392 NORPAC FOOD INC
      09/18/2019           106,242.60      J R SIMPLOT COMP AP ACH PMT 190917 00865925
                                           78\DTM*003*20190813\SE*18*0001\GE*1*0001\IEA*1*00
      09/18/2019            84,166.00      WAL-MART STORES TRADE PYMT 398370 TRN*1*4346509\
      09/18/2019            64,458.98      US FOODS DIRECT PAY 190918 0637830 0000NORPAC FOODS INC
      09/18/2019            54,812.81      NESTLE 2814 EDI PAYMNT SEP 17 2000309662US169 73608169\
      09/18/2019            53,487.08      WINCO FOODS LLC EDIPAYMENT 000003885000062 0\
      09/18/2019            41,521.93      Costco Wholesale EDI PYMNTS 0001729815
                                           190916\ADX*-0*WH\SE*32*000000369\GE*1*1\IEA*1*073
      09/18/2019            19,964.87      NICHOLAS AND CO PAYABLES 091719 0048115 0000NORPAC FOODS.
                                           IN
      09/18/2019            16,455.08      WT FED#01691 ARUBA BANK /ORG=TEC SRF# 201909
                                           1800426384 TRN#190918150046 RFB#          005144636
      09/18/2019                7,197.13   NICHOLAS AND CO PAYABLES 091719 0048115 0000NORPAC FOODS.
                                           IN
      09/18/2019                5,040.00   SENECA FOODS COR INVOICE 190917 1011685
                                           V*11-19047112**5040.00*5040.00*0.00\SE*8*0201\GE*
      09/18/2019                4,741.63   SYSCO PAYMENTS 190917 059CA000032167 NORPAC FOODS INC




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      09/19/2019           126,080.30      J R SIMPLOT COMP AP ACH PMT 190918 00866398
                                           3*20190820\SE*26*0001\GE*1*0001\IEA*1*000000000\
      09/19/2019            66,604.82      NESTLE 2814 EDI PAYMNT SEP 18 2000310630US169
      09/19/2019            65,940.74      WAL-MART STORES TRADE PYMT 398370 TRN*1*4351154\
      09/19/2019            55,556.12      Wood Fruitticher ACCTS PAY 190919 ACH_EFT816885 0000Wood
                                           Fruitticher
      09/19/2019            35,192.77      ALPINE FOOD DIST NORPAC S           9073 NORPAC FOODS INC
      09/19/2019            22,236.98      THE SYGMA NETWOR INVOICEPMT 091919 0000NORPAC SERVICES,
      09/19/2019            15,757.38      Costco Wholesale EDI PYMNTS 0001750988 \
      09/19/2019            15,686.03      SYSCO PAYMENTS 190918 011CA000123934
                                           90905\SE*10*000006050\GE*1*20379\IEA*1*000020379\
      09/19/2019            13,702.50      J R SIMPLOT COMP AP ACH PMT 190918 00866397
                                           PO*02003169\DTM*003*20190816\SE*10*0001\GE*1*0001
      09/19/2019            10,884.88      MSU PAYMENTS VENDOR# 5584 NORPAC FOODS, INC.
      09/19/2019             8,002.20      OFD FOODS ACH 16625 NORPAC FOODS INC
      09/19/2019             2,998.13      NED BAKER REAL E OWNERFUNDS 190918 241 NORPAC FOOD NORPAC
                                           FOODS INC
      09/19/2019                1,157.47   SIMPLOT - RDO LL AP ACH PMT 190918 00866097
                                           0*0001\GE*1*0001\IEA*1*000000000\
      09/19/2019                 764.64    ALPINE FOOD DIST NORPAC RE            9073 NORPAC FOODS INC
      09/19/2019                 120.28    Nestle Canada In ACH CR 190919 2000028143CA109 NORPAC FOODS
                                           INC
      09/19/2019                 1.00      KROGER VENDOR PAY E681368 *1*100000002\
      09/20/2019           267,247.61      GOLDEN BAY USF PAYMENTS 190920 195 NORPAC
      09/20/2019           225,592.38      WAL-MART STORES TRADE PYMT 398370 TRN*1*4356863\
      09/20/2019           210,583.36      Costco Wholesale EDI PYMNTS 0001772321
                                           DX*0*WH\SE*54*000000388\GE*1*1\IEA*1*027236473\
      09/20/2019           118,493.86      WinCo EDI PYMNTS 000003888000062
                                           978.35*L7*TN*19048993\SE*22*000000050\GE*1*1\IEA*
      09/20/2019            93,069.49      KROGER VENDOR PAY E682065
                                           2*3383246\GE*1*3389\IEA*1*100000005\
      09/20/2019            75,419.00      WT FED#04842 BBVA BANCOMER, S.A /ORG=1/B G FOODS
                                           MANUFACTURING MEXICO SRF# F9S190
                                           9202927100 TRN#190920090295 RFB#
      09/20/2019            64,990.31      US FOODS DIRECT PAY 190920 0638267 0000NORPAC FOODS INC
      09/20/2019            50,531.79      GOLDEN BAY USF PAYMENTS 190920 195-01 NORPAC
      09/20/2019            40,003.70      Gordon Food Serv ACCTS PAY 577157
                                           000000013\GE*1*2701\IEA*1*000001394\
      09/20/2019            36,801.16      NESTLE 2814 EDI PAYMNT SEP 19 2000314666US169
      09/20/2019            29,178.60      J R SIMPLOT COMP AP ACH PMT 190919 00866932
                                           PO*01992399\DTM*003*20190821\SE*10*0001\GE*1*0001
      09/20/2019            28,181.94      FRESHLYINC9143 AZ - 9/20         9073 Norpac Foods, Inc.
      09/20/2019            27,456.92      J R SIMPLOT COMP AP ACH PMT 190919 00866931
                                           O*01998291\DTM*003*20190805\SE*10*0001\GE*1*0001\
      09/20/2019            26,094.40      WT FED#00867 KEB HANA BANK /ORG=1/COSTCO WHOLESALE KOREA
                                           SRF# 201909
                                           2000039251 TRN#190920011171 RFB# 1284OTT190900472
      09/20/2019            25,050.00      WT FED#04537 COMPASS BANK WTD /ORG=SANA INTERNACIONAL S DE
                                           RL DE CV SRF# 190920
                                           145018CA24 TRN#190920183633 RFB#
      09/20/2019            22,236.98      THE SYGMA NETWOR INVOICEPMT 092019 0000NORPAC SERVICES,
      09/20/2019             9,900.23      BYU AP/ACH PYMNT ACH PYMNT 190920 0000006415 NORPAC FOODS
                                           INC
      09/23/2019           214,590.94      WAL-MART STORES TRADE PYMT 398370 TRN*1*4362677\
      09/23/2019           166,712.40      Costco Wholesale EDI PYMNTS 0001793613 1*1\IEA*1*047260785\
      09/23/2019           106,917.13      US FOODS DIRECT PAY 190923 0638753 0000NORPAC FOODS INC
      09/23/2019            90,627.09      J R SIMPLOT COMP AP ACH PMT 190920 00867432
                                           7\DTM*003*20190821\SE*18*0001\GE*1*0001\IEA*1*000
      09/23/2019            89,158.57      WT FED#00385 HSBC BANK (TAIWAN) /ORG=ILHA FORMOSA HOLDINGS
                                           LIMITED SRF#
                                           266357949 TRN#190923011105 RFB# TT TAO833547MNYN
      09/23/2019            71,095.42      WinCo EDI PYMNTS 000003889000062 099927608\
      09/23/2019            40,336.21      KROGER VENDOR PAY E682751
                                           E*163*3383937\GE*1*3390\IEA*1*100000006\
      09/23/2019            34,520.25      SYSCO PAYMENTS 190920 017CA000020541 NORPAC FOODS INC
      09/23/2019            25,314.72      SYSTEMS SERVICES ACCTS PAY 190920 418889 NORPAC FOODS INC
      09/23/2019            20,532.24      J R SIMPLOT COMP AP ACH PMT 190920 00867431
                                           O*01981973\DTM*003*20190821\SE*10*0001\GE*1*0001\
      09/23/2019            20,484.66      NICHOLAS AND CO PAYABLES 092019 0048115 0000NORPAC FOODS.
                                           IN
      09/23/2019            14,175.00      SINGLE SOURCE PAYMENTJNL 190918 V000640 0000NORPAC FOODS,
                                           IN
      09/23/2019                9,760.21   THE SYGMA NETWOR INVOICEPMT 092319 0000NORPAC SERVICES,
      09/23/2019                8,344.25   SYSCO PAYMENTS 190920 061CA000211699
                                           4080\GE*1*20385\IEA*1*000020385\




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      09/23/2019                8,214.89   Gordon Food Serv ACCTS PAY 577627 IEA*1*000001395\
      09/23/2019                6,747.89   SYSCO PAYMENTS 190920 012CA000171608
                                           0\SE*10*000003365\GE*1*20385\IEA*1*000020385\
      09/24/2019           292,038.53      WAL-MART STORES TRADE PYMT 398370 TRN*1*4369013\
      09/24/2019           189,166.10      GOLDEN BAY USF PAYMENTS 190924 195-01 NORPAC
      09/24/2019           108,519.63      MARTIN BROTHERS ACH ALL 512 NORPAC FOOD INC
      09/24/2019            96,501.08      Gordon Food Serv ACCTS PAY 578114
                                           REF*PO*74135130\DTM*003*20190916\SE*56*000000012\
      09/24/2019            74,693.44      WinCo EDI PYMNTS 000003890000062
                                           7*TN*19048992\SE*22*000000059\GE*1*1\IEA*1*043575
      09/24/2019            57,643.87      FOOD SERVICES OF ACCTS PAY 190923 418889 NORPAC FOODS INC
      09/24/2019            48,268.99      US FOODS DIRECT PAY 190924 0639216 0000NORPAC FOODS INC
      09/24/2019            41,006.24      Costco Wholesale EDI PYMNTS 0001824254
                                           0813200\DTM*003*20190826\ADX*0*WH\SE*38*000000421
      09/24/2019            34,637.50      CAMPBELL SOUP SU FUNB EDI 2000649195 NORPAC FOODS INC
      09/24/2019            34,246.16      SYSCO PAYMENTS 190923 017CA000020562 NORPAC FOODS INC
      09/24/2019            33,503.17      KROGER VENDOR PAY E683665 *3391\IEA*1*100000008\
      09/24/2019            22,153.82      ALPINE FOOD DIST NORPAC           9073 NORPAC FOODS INC
      09/24/2019            20,517.09      NESTLE 2814 EDI PAYMNT SEP 23 2000317106US169
                                           001*073755156\
      09/24/2019            17,595.50      TYSON PAYMENTS 190924 2003019040 NORPAC FOODS INC
      09/24/2019            15,523.48      SYSCO PAYMENTS 190923 013CA000221826 NORPAC SALES & SERVICE
      09/24/2019             9,859.23      SYSCO PAYMENTS 190923 022CA000198851
                                           20190911\SE*10*000004672\GE*1*20388\IEA*1*0000203
      09/24/2019                9,283.15   SYSCO PAYMENTS 190923 031CA000177592 NORPAC FOOD INC
      09/24/2019                8,607.18   SYSCO PAYMENTS 190923 052CA000908542 NORPAC FOODS INC
      09/24/2019                8,045.60   SYSCO PAYMENTS 190923 057CA000183033 NORPAC SALES & SERVICE
      09/24/2019                6,275.89   GOLDEN BAY USF PAYMENTS 190924 195 NORPAC
      09/24/2019                5,749.04   SYSCO PAYMENTS 190923 043CA000160315
                                           GE*1*20388\IEA*1*000020388\
      09/24/2019                5,283.54   SYSCO PAYMENTS 190923 164CA000071419
                                           TM*003*20190910\SE*13*000005773\GE*1*20388\IEA*1*
      09/24/2019                4,583.35   Ira Higdon Gr808 4010STP820 XXXXX0248
                                           *20190912\SE*10*00000001\GE*1*000000001\IEA*1*000
      09/24/2019             3,089.59      SYSCO PAYMENTS 190923 055CA000217400 NORPAC FOODS INC
      09/25/2019           216,860.17      WAL-MART STORES TRADE PYMT 398370 TRN*1*4377181\
      09/25/2019           106,968.22      WinCo EDI PYMNTS 000003891000062 34702\
      09/25/2019            48,692.61      Costco Wholesale EDI PYMNTS 0001845789 \IEA*1*022060724\
      09/25/2019            27,594.06      J R SIMPLOT COMP AP ACH PMT 190924 00868375
                                           O*02011805\DTM*003*20190821\SE*10*0001\GE*1*0001\
      09/25/2019            26,380.00      WT FED#00938 UNITED OVERSEAS BA /ORG=BEN FOODS (S) PTE LTD
                                           SRF# F7S190
                                           9259309200 TRN#190925021121 RFB#
      09/25/2019            26,208.32      WT FED#00552 HSBC BN PLC /ORG=COSTCO WHOLESALE UK LIMITED
                                           SRF#
                                           268369241 TRN#190925010872 RFB# GBH25099ALODTGN4
      09/25/2019            25,603.14      SYSTEMS SERVICES ACCTS PAY 190924 418889 NORPAC FOODS INC
      09/25/2019            20,821.50      CTI ARLINGT0555 VOUCHERPMT 2 NORPAC SERVICES INC.
      09/25/2019             9,760.21      THE SYGMA NETWOR INVOICEPMT 092519 0000NORPAC SERVICES,
      09/25/2019             6,555.61      SYSCO PAYMENTS 190924 006CA000027689 NORPAC FOODS INC
      09/25/2019             3,642.86      NESTLE 2814 EDI PAYMNT SEP 24 2000318482US169
                                           EA*00001*073784957\
      09/25/2019                3,413.36   FOOD SERVICES OF ACCTS PAY 190924 418889 NORPAC FOODS INC
      09/25/2019                  929.20   KROGER VENDOR PAY E684363
                                           9.2*20\REF*BT*019261\DTM*003*20190913\SE*14*33855
      09/26/2019            94,862.41      WAL-MART STORES TRADE PYMT 398370 TRN*1*4382196\
      09/26/2019            42,501.61      KROGER VENDOR PAY E685035 012\
      09/26/2019            37,887.06      MARTIN BROTHERS ACH ALL 512 NORPAC FOOD INC
      09/26/2019            37,168.17      BASHAS' INC. EDI PYMNTS 166587
                                           913.82\REF*PO*379684\DTM*003*20190916\SE*18*00000
      09/26/2019            23,644.79      NICHOLAS AND CO PAYABLES 092519 0048115 0000NORPAC FOODS.
                                           IN
      09/26/2019            14,175.00      SINGLE SOURCE PAYMENTJNL 190925 V000640 0000NORPAC FOODS,
                                           IN
      09/26/2019            12,248.00      OFD FOODS ACH 16625 NORPAC FOODS INC
      09/26/2019             5,805.85      NESTLE 2814 EDI PAYMNT SEP 25 2000319257US169
                                           0001*073815391\
      09/26/2019             5,201.82      Costco Wholesale EDI PYMNTS 0001866749 7173\
      09/27/2019           246,202.52      WAL-MART STORES TRADE PYMT 398370 TRN*1*4387955\
      09/27/2019           234,998.39      SIMPLOT - RDO LL AP ACH PMT 190926 00869239
                                           \REF*PO*02000390\DTM*003*20190808\SE*54*0001\GE*1
      09/27/2019           225,152.47      GOLDEN BAY USF PAYMENTS 190927 195 NORPAC
      09/27/2019            99,982.35      GOLDEN BAY USF PAYMENTS 190927 195-01 NORPAC
      09/27/2019            74,822.88      KROGER VENDOR PAY E685714
                                           17\SE*28*3386904\GE*1*3394\IEA*1*100000014\




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                   09/27/2019            67,717.00      WinCo EDI PYMNTS 000003893000062
                                                        X*966.47*L7*TN*19049989\SE*26*000000053\GE*1*1\IE
                   09/27/2019            52,647.77      NESTLE 2814 EDI PAYMNT SEP 26 2000321587US169
                                                        M*003*20190917\SE*31*000000450\GE*000001*07384736
                   09/27/2019            49,757.37      DOT FOODS CANADA Food Purch 190927 NORPAC FOODS, I NORPAC
                                                        FOODS, INC
                   09/27/2019            27,372.60      ORCA BAY FOODS ACH ITEM NORPAC FOODS
                   09/27/2019            26,094.40      WT FED#00665 KEB HANA BANK /ORG=1/COSTCO WHOLESALE KOREA
                                                        SRF# 201909
                                                        2700044733 TRN#190927012882 RFB# 1284OTT190900699
                   09/27/2019            25,050.00      WT FED#03284 COMPASS BANK WTD /ORG=SANA INTERNACIONAL S DE
                                                        RL DE CV SRF# 190927
                                                        122919WTJC TRN#190927151454 RFB#
                   09/27/2019            19,725.83      CTI ARLINGT0555 VOUCHERPMT 8 NORPAC SERVICES INC.
                   09/27/2019            19,652.22      J R SIMPLOT COMP AP ACH PMT 190926 00869556
                                                        O*02016168\DTM*003*20190828\SE*10*0001\GE*1*0001\
                   09/27/2019            12,099.54      NICHOLAS AND CO PAYABLES 092619 0048115 0000NORPAC FOODS.
                                                        IN
                   09/27/2019                6,064.63   NICHOLAS AND CO PAYABLES 092619 0048115 0000NORPAC FOODS.
                                                        IN
                   09/27/2019                3,556.05   FOOD SERVICES OF ACCTS PAY 190926 418889 NORPAC FOODS INC
                   09/27/2019                1,316.20   WT F60927009421000 ITAU (PANAMA) S. /ORG=AGRODEX
                                                        INTERNATIONAL SAS SRF# F6092
                                                        7009421000 TRN#190927149948 RFB# NORPAC DEVOLUCIO
                   09/30/2019           498,568.16      Costco Wholesale EDI PYMNTS 0001911874
                                                        E*138*000000619\GE*1*1\IEA*1*030863688\
                   09/30/2019           259,447.28      WAL-MART STORES TRADE PYMT 398370 TRN*1*4393644\
                   09/30/2019           152,839.50      KROGER VENDOR PAY E686415
                                                        0917\SE*51*3387605\GE*1*3395\IEA*1*100000016\
                   09/30/2019           115,808.97      WT 216TTJ-23305736 SUMITOMO MITSUI /ORG=NICHIREI FOODS INC.
                                                        0216-00262291 SRF# 216TT
                                                        J-23305736 TRN#190930035029 RFB# 150190930MT06078
                   09/30/2019            89,137.19      US FOODS DIRECT PAY 190930 0639755 0000NORPAC FOODS INC
                   09/30/2019            77,343.30      J R SIMPLOT COMP AP ACH PMT 190927 00870203
                                                        0829\SE*26*0001\GE*1*0001\IEA*1*000000000\
                   09/30/2019            53,157.95      Gordon Food Serv ACCTS PAY 579959
                                                        90918\SE*53*000000011\GE*1*2707\IEA*1*000001400\
                   09/30/2019            50,518.05      FOOD SERVICES OF ACCTS PAY 190927 418889 NORPAC FOODS INC
                   09/30/2019            26,208.32      WT FED#01054 HSBC BN PLC /ORG=COSTCO WHOLESALE UK LIMITED
                                                        SRF#
                                                        273441900 TRN#190930020007 RFB# GBH30099H9OR2FSW
                   09/30/2019            18,215.30      J R SIMPLOT COMP AP ACH PMT 190927 00870204
                                                        PO*01980834\DTM*003*20190830\SE*10*0001\GE*1*0001
                   09/30/2019            15,370.56      SYSCO PAYMENTS 190927 061CA000211946
                                                        007159\GE*1*20398\IEA*1*000020398\
                   09/30/2019                9,707.41   SYSCO PAYMENTS 190927 052CA000908714 NORPAC FOODS INC
                   09/30/2019                9,606.48   SYSTEMS SERVICES ACCTS PAY 190927 418889 NORPAC FOODS INC
                   09/30/2019                7,973.04   SYSCO PAYMENTS 190927 014CA000728981
                                                        DTM*003*20190912\SE*10*000006147\GE*1*20398\IEA*1
                   09/30/2019                6,223.39   NICHOLAS AND CO PAYABLES 092719 0048115 0000NORPAC FOODS.
                                                        IN
                   09/30/2019                4,676.36   SYSCO PAYMENTS 190927 320CA000124817 NORPAC FOOD INC
                   09/30/2019                3,953.47   SYSCO PAYMENTS 190927 040CA000015249 NORPAC FOODS INC
                   09/30/2019                3,610.50   ORION FOOD SYSTE FEDI NORPAC SERVICES

                                      18,180,094.34     Total Electronic Deposits/Bank Credits

                                      24,502,447.06     Total Credits

Debits
  Electronic Debits/Bank Debits
     Effective Date Posted Date              Amount     Transaction Detail
                   09/03/2019            132,805.74     ZBA FUNDING ACCOUNT TRANSFER TO        6125
                   09/03/2019              9,749.20     ZBA FUNDING ACCOUNT TRANSFER TO        1025
                   09/04/2019          1,032,366.24     ZBA FUNDING ACCOUNT TRANSFER TO        6125
                   09/04/2019            485,049.46     ZBA FUNDING ACCOUNT TRANSFER TO        1025
                   09/04/2019             56,128.73     ZBA FUNDING ACCOUNT TRANSFER TO        1017
                   09/05/2019          5,000,000.00     WT FED#08048 SIGNATURE BANK /FTR/BNF=NORPAC SRF# GW0000
                                                        0027500653 TRN#190905171941 RFB#      5768
                   09/05/2019            18,409.83      ZBA FUNDING ACCOUNT TRANSFER TO        6125
                   09/05/2019             6,357.12      ZBA FUNDING ACCOUNT TRANSFER TO        1025
                   09/06/2019           304,855.83      ZBA FUNDING ACCOUNT TRANSFER TO        6125
                   09/06/2019           111,381.21      ZBA FUNDING ACCOUNT TRANSFER TO        1025
                   09/06/2019             1,711.69      ZBA FUNDING ACCOUNT TRANSFER TO        1017
                   09/09/2019           115,388.70      ZBA FUNDING ACCOUNT TRANSFER TO        6125




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                  09/09/2019            90,657.07      ZBA FUNDING ACCOUNT TRANSFER TO                1025
                  09/09/2019               466.13      ZBA FUNDING ACCOUNT TRANSFER TO                1017
                  09/10/2019         4,000,000.00      WT FED#07980 SIGNATURE BANK /FTR/BNF=NORPAC SRF# GW0000
                                                       0027581695 TRN#190910081183 RFB#              5769
                  09/10/2019            43,591.45      ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/10/2019            30,710.73      ZBA FUNDING ACCOUNT TRANSFER TO                1025
                  09/11/2019            16,531.20      ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/11/2019             5,772.91      ZBA FUNDING ACCOUNT TRANSFER TO                1025
                  09/11/2019             5,013.09      CLIENT ANALYSIS SRVC CHRG 190910 SVC CHGE 0819
                                                              170319073
                  09/11/2019             1,091.30      ZBA FUNDING ACCOUNT TRANSFER TO                1017
                  09/12/2019            12,436.65      ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/12/2019             8,293.30      ZBA FUNDING ACCOUNT TRANSFER TO                1025
                  09/12/2019               975.86      NCH MARKETING DEBIT FILE 190909 XXXXX5600 NORPAC
                  09/12/2019               951.48      ZBA FUNDING ACCOUNT TRANSFER TO                1017
                  09/13/2019            24,514.92      ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/13/2019            11,514.56      ZBA FUNDING ACCOUNT TRANSFER TO                1025
                  09/13/2019             1,126.72      ZBA FUNDING ACCOUNT TRANSFER TO                1017
                  09/16/2019         5,000,000.00      WT FED#03994 SIGNATURE BANK /FTR/BNF=NORPAC SRF# GW0000
                                                       0027721575 TRN#190916136013 RFB#              5770
                  09/16/2019            23,945.34      ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/16/2019             7,586.75      ZBA FUNDING ACCOUNT TRANSFER TO                1025
                  09/17/2019            11,306.00      ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/17/2019                22.24      ZBA FUNDING ACCOUNT TRANSFER TO                1025
                  09/18/2019            10,412.56      ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/18/2019             6,179.65      ZBA FUNDING ACCOUNT TRANSFER TO                1025
                  09/19/2019             1,472.80      ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/19/2019               412.71      ZBA FUNDING ACCOUNT TRANSFER TO                1017
                  09/20/2019         4,000,000.00      WT FED#09676 SIGNATURE BANK /FTR/BNF=NORPAC SRF# GW0000
                                                       0027847065 TRN#190920093321 RFB#              5771
                  09/20/2019            16,032.36      ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/20/2019             1,203.89      ZBA FUNDING ACCOUNT TRANSFER TO                1025
                  09/23/2019            10,112.38      ZBA FUNDING ACCOUNT TRANSFER TO                1025
                  09/23/2019             4,585.88      ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/24/2019            43,248.88      Misapplied Payment on 08/23/19 - REF #A-9091009123MN
                  09/24/2019             7,259.75      ZBA FUNDING ACCOUNT TRANSFER TO                1025
                  09/24/2019             2,695.53      ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/25/2019             3,549.87      ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/25/2019             2,250.44      ZBA FUNDING ACCOUNT TRANSFER TO                1025
                  09/26/2019         5,000,000.00      WT FED#00231 SIGNATURE BANK /FTR/BNF=NORPAC SRF# GW0000
                                                       0027978041 TRN#190926102748 RFB#              5773
                  09/26/2019                3,871.35   ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/26/2019                  663.54   ZBA FUNDING ACCOUNT TRANSFER TO                1025
                  09/27/2019                1,782.58   ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/27/2019                  320.32   ZBA FUNDING ACCOUNT TRANSFER TO                1025
                  09/30/2019                4,684.24   ZBA FUNDING ACCOUNT TRANSFER TO                6125
                  09/30/2019                1,530.79   ZBA FUNDING ACCOUNT TRANSFER TO                1017
                  09/30/2019                1,263.87   ZBA FUNDING ACCOUNT TRANSFER TO                1025

                                    25,694,244.84      Total Electronic Debits/Bank Debits

                                    25,694,244.84      Total Debits

Daily Ledger Balance Summary
              Date                          Balance     Date                           Balance    Date                         Balance

             09/03/2019              6,892,046.94       09/12/2019                 3,396,045.07   09/23/2019               3,053,098.16
             09/04/2019              6,634,699.75       09/13/2019                 4,950,679.63   09/24/2019               4,368,891.75
             09/05/2019              2,280,011.12       09/16/2019                 1,411,087.65   09/25/2019               5,228,672.23
             09/06/2019              2,821,647.95       09/17/2019                 2,616,236.16   09/26/2019                 497,632.05
             09/09/2019              4,181,840.08       09/18/2019                 3,250,287.46   09/27/2019               2,209,693.49
             09/10/2019              1,591,398.91       09/19/2019                 3,800,098.60   09/30/2019               3,757,931.55
             09/11/2019              2,594,505.42       09/20/2019                 1,568,750.21

                                                                                   3,336,875.18   Average Daily Ledger Balance


                                                       ---- END OF REPORT ----




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                                                                             NEW YORK, NY 10017




             NORPAC FOODS INC DIP                    9-161
             CASE # 19-62584
             OPERATING ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                     See Back for Important Information


                                                                    Primary Account:         8752       327

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      8752      BANKRUPTCY CHECKING                                        .00                           .00

              RELATIONSHIP             TOTAL                                                             .00




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                                                                         Primary Account:       8752         327


BANKRUPTCY CHECKING                  8752




Summary

 Previous Balance as of September 01, 2019                                                                  .00
       20 Credits                                                                                 11,545,477.64
      379 Debits                                                                                  11,545,477.64
 Ending Balance as of   September 30, 2019                                                                  .00


Deposits and Other Credits
 Sep 03 INCOMING WIRE                                                                                  113,985.80
         REF# 20190903B6B7261F00075309030828FT03
         FROM: US BANK OREGON NATIONAL ASSOCIATIO ABA:       123000220
         BANK:
 Sep 04 TELEPHONE XFER CR                                                                               80,402.48
         TELEPHONE TRANSFER FROM: XXXXXX8906
 Sep 05 ZBA/TBA TRANSFER IN                                                                        2,222,632.26
         ZBA/SWEEP TRANSFER FROM            8906
 Sep 06 TELEPHONE XFER CR                                                                                3,000.00
         TELEPHONE TRANSFER FROM: XXXXXX8906
 Sep 06 TELEPHONE XFER CR                                                                          2,897,977.54
         TELEPHONE TRANSFER FROM: XXXXXX8906
 Sep 09 ZBA/TBA TRANSFER IN                                                                            951,856.82
         ZBA/SWEEP TRANSFER FROM            8906
 Sep 12 ZBA/TBA TRANSFER IN                                                                             17,025.83
         ZBA/SWEEP TRANSFER FROM            8906
 Sep 13 ZBA/TBA TRANSFER IN                                                                             55,708.62
         ZBA/SWEEP TRANSFER FROM            8906
 Sep 16 ZBA/TBA TRANSFER IN                                                                            308,587.43
         ZBA/SWEEP TRANSFER FROM            8906
 Sep 17 ZBA/TBA TRANSFER IN                                                                            495,939.30
         ZBA/SWEEP TRANSFER FROM            8906
 Sep 18 ACH DEPOSIT              ck/ref no.    6534398                                                  11,656.27
         NORPAC FOODS INC    RETURNS         ACH RETURN
         002 00000000001165627930289330




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 Date                  Description
 Sep 18   ZBA/TBA TRANSFER IN                                                                     2,209,967.67
          ZBA/SWEEP TRANSFER FROM          8906
 Sep 19   ZBA/TBA TRANSFER IN                                                                         257,862.43
          ZBA/SWEEP TRANSFER FROM          8906
 Sep 20   ZBA/TBA TRANSFER IN                                                                         332,795.80
          ZBA/SWEEP TRANSFER FROM          8906
 Sep 23   ZBA/TBA TRANSFER IN                                                                         122,235.87
          ZBA/SWEEP TRANSFER FROM          8906
 Sep 24   ZBA/TBA TRANSFER IN                                                                         310,815.86
          ZBA/SWEEP TRANSFER FROM          8906
 Sep 25   ZBA/TBA TRANSFER IN                                                                         347,391.33
          ZBA/SWEEP TRANSFER FROM          8906
 Sep 26   ZBA/TBA TRANSFER IN                                                                         239,604.71
          ZBA/SWEEP TRANSFER FROM          8906
 Sep 27   ZBA/TBA TRANSFER IN                                                                         300,433.94
          ZBA/SWEEP TRANSFER FROM          8906
 Sep 30   ZBA/TBA TRANSFER IN                                                                         265,597.68
          ZBA/SWEEP TRANSFER FROM          8906

Withdrawals and Other Debits
 Sep 03 ZBA/TBA XFER OUT                                                                              113,985.80
         ZBA/SWEEP TRANSFER TO             8906
 Sep 04 OUTGOING WIRE XFER                                                                             10,316.70
         REF# 20190904B6B7261F002184
         TO:   INTERNATIONAL PAPER                   ABA:   021000021
         BANK: JPMCHASE                            ACCT# 0361046451
 Sep 04 OUTGOING WIRE XFER                                                                             22,500.00
         REF# 20190904B6B7261F002191
         TO:   FTC-PREMERGER NOTIFICATION OFFICE     ABA:   021030004
         BANK: TREAS NYC                           ACCT# 829000001005
 Sep 04 OUTGOING WIRE XFER                                                                             47,585.78
         REF# 20190904B6B7261F002177
         TO:   ARMSTRONG TRANSPORT GROUP LLC         ABA:   071000288
         BANK: BMO HARRIS BANK NA                  ACCT# 1627298
 Sep 05 OUTGOING WIRE XFER                                                                              6,135.81
         REF# 20190905B6B7261F002882
         TO:   T.L SPRAGUE & COMPANY INC             ABA:   121143736
         BANK: SANTA CRUZ COUNTY                   ACCT# 023005234
 Sep 05 OUTGOING WIRE XFER                                                                             14,819.24




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Date                  Description
         REF# 20190905B6B7261F002855
         TO:   EPC INDUSTRIES LIMITED               ABA:   021000021
         BANK: JPMCHASE                           ACCT# 639636716
Sep 05   OUTGOING WIRE XFER                                                                          152,275.00
         REF# 20190905B6B7261F002889
         TO:   NATIONAL FROZEN FOODS CORP           ABA:   026009593
         BANK: BK AMER NYC                        ACCT# 485010367196
Sep 05   OUTGOING WIRE XFER                                                                          200,000.00
         REF# 20190905B6B7261F002887
         TO:   AMPAC PLASTICS LLC                   ABA:   021000021
         BANK: JPMCHASE                           ACCT# 934585423
Sep 05   OUTGOING WIRE XFER                                                                          250,000.00
         REF# 20190905B6B7261F002888
         TO:   PACKAGING CORPORATION OF AMERICA     ABA:   071000288
         BANK: BMO HARRIS BANK NA                 ACCT# 3713005
Sep 05   OUTGOING WIRE XFER                                                                      1,599,402.21
         REF# 20190905B6B7261F002890
         TO:   COBANK                               ABA:   307088754
         BANK: COBANK ACB                         ACCT# 22419431
Sep 06   OUTGOING WIRE XFER                                                                            3,785.28
         REF# 20190906B6B7261F002550
         TO:   CENTRAL PENSION FUND                 ABA:   026009593
         BANK: BK AMER NYC                        ACCT# 002086086584
Sep 06   OUTGOING WIRE XFER                                                                           10,747.00
         REF# 20190906B6B7261F002639
         TO:   MATTHEWS INTERNATIONAL CORP          ABA:   036076150
         BANK: CITIZENS BANK, NA                  ACCT# 6239360698
Sep 06   OUTGOING WIRE XFER                                                                           12,080.00
         REF# 20190906B6B7261F002403
         TO:   AGC-IUOE LOCAL 701 TRUST FUNDS       ABA:   122000496
         BANK: UNION LA AKA UBOC                  ACCT# 1820000834
Sep 06   OUTGOING WIRE XFER                                                                           23,250.00
         REF# 20190906B6B7261F002415
         TO:   CECO INC                             ABA:   021000021
         BANK: JPMCHASE                           ACCT# 628801693
Sep 06   OUTGOING WIRE XFER                                                                           24,971.34
         REF# 20190906B6B7261F002425
         TO:   MATRIX TRUST COMPANY                 ABA:   021000021
         BANK: JPMCHASE                           ACCT# 886273556




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Date                  Description
Sep 06   OUTGOING WIRE XFER                                                                           47,826.20
         REF# 20190906B6B7261F002533
         TO:   BRECON FOODS INC                     ABA:   MRMDUS33X
         BANK: HSBC BANK USA, NA                  ACCT# 751722669
Sep 06   OUTGOING WIRE XFER                                                                          275,317.72
         REF# 20190906B6B7261F002532
         TO:   WESTERN CONFERENCE OF TEAMSTERS      ABA:   121000248
         BANK: WELLS FARGO NA                     ACCT# 4159658640
Sep 06   OUTGOING WIRE XFER                                                                      2,500,000.00
         REF# 20190906B6B7261F002804
         TO:   COBANK                               ABA:   307088754
         BANK: COBANK ACB                         ACCT# 22419431
Sep 06   AUTOMATED PAYMENT       ck/ref no.    5358611                                                 1,500.00
         FERRELL GAS          WEBPAY        000001101336662
Sep 06   AUTOMATED PAYMENT       ck/ref no.    5358612                                                 1,500.00
         FERRELL GAS          WEBPAY        000001101336442
Sep 09   AUTOMATED PAYMENT       ck/ref no.    5435838                                                    248.66
         OPET DEPOSIT         REMITTANCE    016300551W85516
Sep 09   AUTOMATED PAYMENT       ck/ref no.    5435839                                                 5,753.54
         OPET DEPOSIT         REMITTANCE    032247654W86310
Sep 09   AUTOMATED PAYMENT       ck/ref no.    5435834                                                14,899.20
         OTET DEPOSIT         REMITTANCE    012336667W82523
Sep 09   AUTOMATED PAYMENT       ck/ref no.    5435848                                                45,523.56
         OPSEPT DEPOSIT       REMITTANCE    032247654W86781
Sep 09   AUTOMATED PAYMENT       ck/ref no.    5435844                                                47,371.20
         OPET DEPOSIT         REMITTANCE    032247654W83974
Sep 09   AUTOMATED PAYMENT       ck/ref no.    5435843                                               836,703.71
         OPET DEPOSIT         REMITTANCE    016300551W83485
Sep 12   AUTOMATED PAYMENT       ck/ref no.    5835878                                                    975.86
         NORPAC FOODS         RETAIL        930289330
Sep 12   AUTOMATED PAYMENT       ck/ref no.    5834887                                                13,682.00
         NORPAC FOODS         FREIGHT       930289330
Sep 18   AUTOMATED PAYMENT       ck/ref no.    6416625                                                 1,172.39
         NORPAC FOODS         GROWER        930289330
Sep 18   AUTOMATED PAYMENT       ck/ref no.    6416509                                                 4,961.09
         NORPAC FOODS         GROWER        930289330
Sep 18   AUTOMATED PAYMENT       ck/ref no.    6416621                                                 5,826.89
         NORPAC FOODS         GROWER        930289330




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Sep 18   AUTOMATED PAYMENT       ck/ref   no.     6416687                                             8,367.33
         NORPAC FOODS        GROWER             930289330
Sep 18   AUTOMATED PAYMENT       ck/ref   no.     6416413                                            11,656.27
         NORPAC FOODS        GROWER             930289330
Sep 18   AUTOMATED PAYMENT       ck/ref   no.     6416401                                            13,371.40
         NORPAC FOODS        GROWER             930289330
Sep 19   AUTOMATED PAYMENT       ck/ref   no.     6493128                                             6,628.96
         NORPAC FOODS        GROWER             930289330
Sep 19   AUTOMATED PAYMENT       ck/ref   no.     6493132                                             8,088.62
         NORPAC FOODS        GROWER             930289330
Sep 19   AUTOMATED PAYMENT       ck/ref   no.     6493136                                            10,540.22
         NORPAC FOODS        GROWER             930289330
Sep 19   AUTOMATED PAYMENT       ck/ref   no.     6493165                                            37,325.22
         NORPAC FOODS        GROWER             930289330
Sep 20   AUTOMATED PAYMENT       ck/ref   no.     6697425                                             3,000.00
         NORPAC FOODS        GAS                930289330
Sep 25   AUTOMATED PAYMENT       ck/ref   no.     7012217                                             1,145.77
         NORPAC FOODS        MARKETING          930289330
Sep 25   AUTOMATED PAYMENT       ck/ref   no.     6995411                                             4,378.77
         NORPAC FOODS        GROWER             930289330
Sep 25   AUTOMATED PAYMENT       ck/ref   no.     6995521                                             5,206.47
         NORPAC FOODS        GROWER             930289330
Sep 25   AUTOMATED PAYMENT       ck/ref   no.     6994255                                             6,485.63
         NORPAC FOODS        GROWER             930289330
Sep 25   AUTOMATED PAYMENT       ck/ref   no.     6994874                                             6,667.79
         NORPAC FOODS        GROWER             930289330
Sep 25   AUTOMATED PAYMENT       ck/ref   no.     6995593                                             7,026.75
         NORPAC FOODS        GROWER             930289330
Sep 25   AUTOMATED PAYMENT       ck/ref   no.     6994733                                             7,567.09
         NORPAC FOODS        GROWER             930289330
Sep 25   AUTOMATED PAYMENT       ck/ref   no.     6876080                                             8,024.88
         NORPAC FOODS        FREIGHT            930289330
Sep 25   AUTOMATED PAYMENT       ck/ref   no.     7012652                                             8,024.88
         NORPAC FOODS        FREIGHT            930289330
Sep 25   AUTOMATED PAYMENT       ck/ref   no.     6995368                                            11,545.58
         NORPAC FOODS        GROWER             930289330
Sep 25   AUTOMATED PAYMENT       ck/ref   no.     6994729                                            15,973.64
         NORPAC FOODS        GROWER             930289330
Sep 27   AUTOMATED PAYMENT       ck/ref   no.     7281856                                             1,500.00
         NORPAC FOODS        GAS                930289330




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 Sep 27   AUTOMATED PAYMENT      ck/ref no.     7269778                                                   12,680.14
          WA DEPT REVENUE     TAX PYMT        3352641

Checks by Serial Number
 Sep 24       1001               1,279.26       Sep   13           1041              7,814.31
 Sep 16       1002              19,836.48       Sep   16           1042              7,740.18
 Sep 17       1005 *             5,660.36       Sep   17           1043              3,926.47
 Sep 09       1006               1,356.95       Sep   18           1044              5,390.01
 Sep 17       1007              25,653.71       Sep   17           1045              7,459.62
 Sep 27       1008              19,664.87       Sep   17           1046              9,334.45
 Sep 18       1009               7,595.76       Sep   19           1047              1,609.64
 Sep 16       1010              10,126.65       Sep   18           1048              4,650.90
 Sep 17       1011               3,173.73       Sep   16           1049              6,443.10
 Sep 16       1012              21,289.56       Sep   25           1050             87,275.00
 Sep 19       1013               8,620.09       Sep   18           1051              6,041.27
 Sep 16       1014              77,600.99       Sep   17           1052             15,414.04
 Sep 17       1015               7,376.18       Sep   17           1053              5,081.58
 Sep 16       1016               7,106.30       Sep   19           1054              3,963.42
 Sep 16       1017              34,511.21       Sep   19           1057 *            4,649.76
 Sep 16       1018               5,096.29       Sep   19           1058             12,934.57
 Sep 16       1019               9,515.21       Sep   17           1059             31,731.45
 Sep 16       1020               3,946.71       Sep   17           1060             43,289.62
 Sep 16       1021               2,765.38       Sep   16           1061             11,015.65
 Sep 13       1022               8,424.80       Sep   17           1062             15,210.24
 Sep 13       1023              18,812.38       Sep   17           1063              2,564.48
 Sep 16       1024               7,546.41       Sep   12           1064              2,367.97
 Sep 17       1025               1,653.72       Sep   18           1066 *            7,077.83
 Sep 17       1026               5,053.59       Sep   16           1067              4,536.47
 Sep 16       1027               6,738.37       Sep   16           1068             11,450.77
 Sep 13       1028              15,204.11       Sep   17           1069              1,780.23
 Sep 25       1029                  65.66       Sep   26           1070              8,065.00
 Sep 16       1030               4,412.50       Sep   16           1071              7,477.22
 Sep 19       1033 *             6,539.60       Sep   17           1072             22,748.34
 Sep 16       1034               9,672.24       Sep   16           1073              4,456.97
 Sep 19       1035              37,897.87       Sep   18           1074            893,033.61
 Sep 16       1036               7,892.88       Sep   18           1075              7,560.40
 Sep 16       1037              10,289.42       Sep   18           1076            400,259.59
 Sep 16       1038               8,236.10       Sep   18           1077             59,539.23
 Sep 16       1039                 192.02       Sep   18           1078             38,373.77
 Sep 16       1040               3,583.96       Sep   17           1079             30,573.30




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Date     Serial Nbr              Amount     Date       Serial Nbr              Amount
Sep 18       1080             17,295.21     Sep 23         1123              2,250.00
Sep 18       1081             58,760.63     Sep 26         1124              1,225.00
Sep 19       1082             34,586.94     Sep 23         1125              8,864.56
Sep 27       1083             64,185.05     Sep 23         1126             11,750.00
Sep 17       1084             81,908.95     Sep 24         1127                 12.18
Sep 18       1085             60,266.84     Sep 18         1130 *            2,199.73
Sep 18       1087 *          189,341.09     Sep 23         1131              8,336.16
Sep 18       1088              5,555.25     Sep 18         1132             34,621.44
Sep 30       1089             48,661.96     Sep 23         1133                543.76
Sep 18       1090             38,404.87     Sep 23         1134              8,250.00
Sep 18       1091             39,245.33     Sep 18         1135              3,082.35
Sep 17       1092             53,142.68     Sep 17         1136              1,250.00
Sep 19       1094 *           23,724.64     Sep 17         1137              3,770.20
Sep 23       1095             61,230.88     Sep 18         1138              2,066.00
Sep 26       1096              8,452.97     Sep 27         1139                114.50
Sep 17       1097                349.50     Sep 20         1140                118.52
Sep 23       1098                152.98     Sep 17         1141              6,548.10
Sep 16       1099              4,367.90     Sep 18         1142              7,092.34
Sep 13       1100                 40.00     Sep 20         1143              3,294.16
Sep 16       1101                241.02     Sep 18         1144              1,169.95
Sep 18       1103 *               89.90     Sep 18         1145                 20.44
Sep 17       1105 *               20.00     Sep 19         1147 *              522.00
Sep 13       1106              4,699.53     Sep 18         1148             29,766.18
Sep 18       1107              2,194.62     Sep 25         1149              7,060.00
Sep 18       1108                371.12     Sep 18         1150                130.00
Sep 13       1109                713.49     Sep 20         1151              5,875.00
Sep 17       1110                943.49     Sep 18         1153 *            4,366.10
Sep 19       1111                915.54     Sep 24         1154                125.00
Sep 23       1112              4,646.70     Sep 20         1155              8,975.76
Sep 23       1113                 52.78     Sep 20         1156              2,907.10
Sep 19       1114              2,544.22     Sep 18         1157              3,092.94
Sep 19       1115                 65.00     Sep 17         1158              7,830.80
Sep 18       1116                613.19     Sep 17         1159              2,102.76
Sep 17       1117                 18.68     Sep 18         1161 *              658.26
Sep 18       1118                789.26     Sep 18         1162              2,675.13
Sep 18       1119            180,082.31     Sep 25         1163                187.50
Sep 18       1120             10,855.19     Sep 19         1164             55,062.78
Sep 20       1121            211,350.34     Sep 17         1165                526.50
Sep 17       1122             17,116.14     Sep 18         1166             24,708.68




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                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




            NORPAC FOODS INC DIP                     9-161
            CASE # 19-62584
            OPERATING ACCOUNT
            PO BOX 14444
            SALEM OR 97309                999                          See Back for Important Information


                                                                    Primary Account:       8752         327

Date     Serial Nbr              Amount     Date       Serial Nbr              Amount
Sep 19       1167              1,581.30     Sep 20         1210             18,546.43
Sep 24       1168                 24.98     Sep 18         1211                476.55
Sep 17       1170 *            6,000.00     Sep 20         1212             11,160.50
Sep 20       1171              3,784.32     Sep 18         1213                700.00
Sep 20       1173 *            9,739.26     Sep 23         1215 *               15.00
Sep 25       1174                  5.00     Sep 20         1216              1,099.41
Sep 23       1175                 45.00     Sep 23         1217                 32.00
Sep 17       1176             51,831.73     Sep 24         1218                 40.00
Sep 17       1177              7,835.00     Sep 18         1219                 22.00
Sep 25       1178                100.00     Sep 24         1220                 20.00
Sep 27       1179                 49.00     Sep 17         1222 *           15,450.00
Sep 23       1180                 50.00     Sep 16         1223                499.47
Sep 18       1181              1,709.96     Sep 24         1224                499.47
Sep 30       1182                 37.00     Sep 30         1225                 25.00
Sep 23       1183                 25.00     Sep 25         1226                 25.00
Sep 19       1184                 37.04     Sep 18         1227              2,423.29
Sep 17       1185                429.66     Sep 23         1228                 20.00
Sep 25       1186                 99.99     Sep 18         1229                129.00
Sep 27       1187              1,188.00     Sep 18         1230              4,020.00
Sep 24       1189 *              102.03     Sep 25         1231             22,880.52
Sep 23       1190                 15.00     Sep 27         1232              4,445.14
Sep 19       1191                 25.00     Sep 25         1233             10,910.08
Sep 23       1192                 20.00     Sep 24         1234             29,698.79
Sep 23       1193                 15.00     Sep 26         1237 *            2,880.00
Sep 23       1194                 20.00     Sep 27         1238                 40.00
Sep 30       1195                 15.00     Sep 23         1240 *            7,655.55
Sep 23       1196                 20.00     Sep 25         1242 *              228.89
Sep 23       1197                 10.00     Sep 30         1243                 30.85
Sep 18       1198                 79.98     Sep 24         1244             11,656.27
Sep 17       1199                 70.00     Sep 24         1246 *               70.99
Sep 18       1200              9,728.45     Sep 25         1247                915.09
Sep 23       1201                257.50     Sep 27         1248              1,504.14
Sep 18       1202                542.62     Sep 26         1249                599.13
Sep 20       1203             10,945.00     Sep 25         1251 *               29.00
Sep 23       1204                 69.99     Sep 27         1254 *              950.00
Sep 20       1205             42,000.00     Sep 26         1255                  3.00
Sep 18       1206              7,400.00     Sep 23         1256              2,474.79
Sep 23       1207                 24.99     Sep 24         1257                155.36
Sep 17       1209 *            1,110.00     Sep 24         1258                350.00




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                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




            NORPAC FOODS INC DIP                     9-161
            CASE # 19-62584
            OPERATING ACCOUNT
            PO BOX 14444
            SALEM OR 97309                999                          See Back for Important Information


                                                                    Primary Account:       8752         327

Date     Serial Nbr              Amount     Date       Serial Nbr              Amount
Sep 27       1259                 50.00     Sep 30         1320 *               11.59
Sep 30       1261 *            1,850.00     Sep 27         1321             19,527.80
Sep 25       1263 *          102,000.00     Sep 30         1327 *               61.29
Sep 24       1264             12,200.48     Sep 30         1329 *            9,710.00
Sep 24       1265             39,900.00     Sep 27         1330             10,080.00
Sep 24       1266              2,184.11     Sep 26         1332 *           33,955.18
Sep 25       1267              4,991.64     Sep 30         1333              2,339.00
Sep 27       1268                 49.75     Sep 30         1336 *           95,550.00
Sep 26       1270 *              297.48     Sep 30         1338 *               28.50
Sep 24       1271             10,339.20     Sep 30         1339              2,329.95
Sep 23       1272                474.80     Sep 24         1341 *           13,369.60
Sep 25       1273             26,020.00     Sep 26         1342            166,925.62
Sep 24       1274                 35.00     Sep 23         1343                106.72
Sep 24       1276 *              444.50     Sep 26         1345 *               67.50
Sep 24       1277             21,250.00     Sep 23         1346              4,806.71
Sep 25       1278              1,136.32     Sep 27         1347             14,269.98
Sep 24       1279                298.30     Sep 27         1348                815.89
Sep 26       1282 *              271.06     Sep 27         1349             95,900.59
Sep 24       1283             25,174.80     Sep 27         1350             39,778.23
Sep 27       1285 *              200.00     Sep 30         1351              2,378.61
Sep 24       1286             22,547.00     Sep 25         1354 *              835.81
Sep 24       1287             22,283.10     Sep 25         1355                578.58
Sep 24       1288              2,570.16     Sep 24         1356                120.44
Sep 24       1289             18,263.92     Sep 26         1357                806.22
Sep 24       1291 *              275.84     Sep 26         1359 *            1,325.47
Sep 24       1292                322.18     Sep 27         1360                650.35
Sep 24       1293             13,395.00     Sep 30         1361                 43.20
Sep 24       1295 *            1,779.79     Sep 30         1362              5,199.95
Sep 24       1296             15,126.06     Sep 27         1363              2,195.25
Sep 24       1298 *            1,760.00     Sep 27         1364              1,385.27
Sep 30       1299                 25.00     Sep 26         1365              1,722.02
Sep 24       1301 *           43,142.05     Sep 26         1368 *            2,530.53
Sep 30       1304 *            2,837.82     Sep 26         1369                796.55
Sep 27       1307 *              205.30     Sep 26         1370              3,187.13
Sep 30       1308                 25.00     Sep 27         1371                198.00
Sep 30       1309                450.00     Sep 30         1372                638.16
Sep 30       1310                 50.00     Sep 30         1373                 93.31
Sep 30       1314 *              275.69     Sep 30         1374                 70.67
Sep 30       1317 *               42.20     Sep 30         1375              1,998.00




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                                                                               NEW YORK, NY 10017




             NORPAC FOODS INC DIP                      9-161
             CASE # 19-62584
             OPERATING ACCOUNT
             PO BOX 14444
             SALEM OR 97309                 999                          See Back for Important Information


                                                                      Primary Account:       8752         327

 Date     Serial Nbr              Amount      Date       Serial Nbr              Amount
 Sep 30       1376              5,679.54      Sep 30         1393 *              235.54
 Sep 26       1381 *              637.20      Sep 26         1394                478.75
 Sep 27       1382              1,578.16      Sep 26         1395                616.71
 Sep 26       1383              2,966.09      Sep 27         1396              2,063.04
 Sep 27       1384              1,170.45      Sep 27         1397                275.00
 Sep 27       1386 *            1,760.71      Sep 30         1407 *            3,399.94
 Sep 27       1387              1,959.33      Sep 30         1416 *            6,219.33
 Sep 26       1388                677.08      Sep 30         1417              8,267.27
 Sep 26       1389                835.96      Sep 30         1422 *           11,571.26
 Sep 26       1390                283.06      Sep 30         1535 *           54,615.05
 Sep 30       1391                832.00

                 * Indicates break in check sequence

Daily Balances
 Aug 31                  .00




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                                                                             NEW YORK, NY 10017




             NORPAC FOODS INC DIP                    9-161
             CASE # 19-62584
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                     See Back for Important Information


                                                                    Primary Account:         8760       2322

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      8760      BANKRUPTCY CHECKING                                        .00                            .00

              RELATIONSHIP             TOTAL                                                              .00




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             NORPAC FOODS INC DIP                   9-161
             CASE # 19-62584
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                   999                   See Back for Important Information


                                                                 Primary Account:       8760         2322


BANKRUPTCY CHECKING                  8760




Summary

 Previous Balance as of September 01, 2019                                                          .00
       14 Credits                                                                          3,135,173.37
     2328 Debits                                                                           3,135,173.37
 Ending Balance as of   September 30, 2019                                                          .00


Deposits and Other Credits
 Sep 11 ZBA/TBA TRANSFER IN                                                                      2,253.28
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 12 ZBA/TBA TRANSFER IN                                                                    518,746.40
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 13 ZBA/TBA TRANSFER IN                                                                      3,291.24
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 16 ZBA/TBA TRANSFER IN                                                                    230,005.11
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 17 ZBA/TBA TRANSFER IN                                                                     69,004.93
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 18 ZBA/TBA TRANSFER IN                                                                1,016,746.70
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 19 ZBA/TBA TRANSFER IN                                                                      8,842.03
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 20 ZBA/TBA TRANSFER IN                                                                     10,816.42
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 23 ZBA/TBA TRANSFER IN                                                                    295,702.55
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 24 ZBA/TBA TRANSFER IN                                                                     58,132.93
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 25 ZBA/TBA TRANSFER IN                                                                    630,921.41
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 26 ZBA/TBA TRANSFER IN                                                                     13,346.76
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 27 ZBA/TBA TRANSFER IN                                                                     16,339.04




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                NORPAC FOODS INC DIP                         9-161
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                PAYROLL ACCOUNT
                PO BOX 14444
                SALEM OR 97309                 999                              See Back for Important Information


                                                                             Primary Account:       8760         2322

 Date                    Description
            ZBA/SWEEP TRANSFER FROM           8906
 Sep 30     ZBA/TBA TRANSFER IN                                                                            261,024.57
            ZBA/SWEEP TRANSFER FROM           8906

Withdrawals and Other Debits
 Sep 12 OUTGOING WIRE XFER                                                                                   4,471.48
         REF# 20190912B6B7261F000784
         TO:   KRONOS SAASHR, INC.                       ABA:   042000314
         BANK: FIFTH THIRD CINCI                       ACCT# 7146798843
 Sep 12 OUTGOING WIRE XFER                                                                                 514,274.92
         REF# 20190912B6B7261F000975
         TO:   KRONOS SAASHR, INC.                       ABA:   042000314
         BANK: FIFTH THIRD CINCI                       ACCT# 7146798843
 Sep 18 OUTGOING WIRE XFER                                                                                   5,978.38
         REF# 20190918B6B7261F002191
         TO:   KRONOS SAASHR, INC.                       ABA:   042000314
         BANK: FIFTH THIRD CINCI                       ACCT# 7146798843
 Sep 18 OUTGOING WIRE XFER                                                                                 969,977.00
         REF# 20190918B6B7261F002190
         TO:   KRONOS SAASHR, INC.                       ABA:   042000314
         BANK: FIFTH THIRD CINCI                       ACCT# 7146798843
 Sep 25 OUTGOING WIRE XFER                                                                                   4,165.61
         REF# 20190925B6B7261F001721
         TO:   KRONOS SAASHR, INC.                       ABA:   042000314
         BANK: FIFTH THIRD CINCI                       ACCT# 7146798843
 Sep 25 OUTGOING WIRE XFER                                                                                 594,974.75
         REF# 20190925B6B7261F001720
         TO:   KRONOS SAASHR, INC.                       ABA:   042000314
         BANK: FIFTH THIRD CINCI                       ACCT# 7146798843

Checks by    Serial Number
 Sep 30           600                349.68      Sep    16     20051896                 442.94
 Sep 30          3918 *              508.95      Sep    16     20051897                 526.11
 Sep 11      20029825 *            2,253.28      Sep    16     20051898                 444.37
 Sep 16      20030927 *              575.58      Sep    23     20051899                 403.35
 Sep 16      20050000 *              233.34      Sep    16     20051900                 257.59
 Sep 17      20050001                169.17      Sep    17     20051901                 351.14
 Sep 17      20051894 *              436.21      Sep    16     20051902                 436.19
 Sep 16      20051895                747.97      Sep    16     20051903                 678.37




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                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




            NORPAC FOODS INC DIP                     9-161
            CASE # 19-62584
            PAYROLL ACCOUNT
            PO BOX 14444
            SALEM OR 97309                999                          See Back for Important Information


                                                                    Primary Account:       8760         2322

Date     Serial Nbr              Amount     Date       Serial Nbr              Amount
Sep 16   20051904                320.70     Sep 25     20051948                674.71
Sep 17   20051905                126.14     Sep 16     20051949                666.87
Sep 18   20051906                472.44     Sep 16     20051950                570.09
Sep 23   20051907                423.62     Sep 16     20051951                454.78
Sep 23   20051908                640.79     Sep 16     20051952                323.84
Sep 16   20051909                677.37     Sep 23     20051953                283.23
Sep 17   20051910                604.74     Sep 16     20051954                456.15
Sep 19   20051911                412.96     Sep 16     20051955                440.48
Sep 23   20051912                265.74     Sep 17     20051956                538.54
Sep 23   20051913                549.16     Sep 16     20051957                762.21
Sep 16   20051914                712.11     Sep 16     20051958                274.58
Sep 17   20051915                417.52     Sep 16     20051959                655.81
Sep 16   20051916                174.52     Sep 18     20051960                686.30
Sep 16   20051917                485.86     Sep 17     20051961                209.73
Sep 16   20051918                655.12     Sep 17     20051962                310.88
Sep 16   20051919                705.19     Sep 17     20051963                426.77
Sep 24   20051920                852.09     Sep 30     20051964                413.75
Sep 17   20051921                568.74     Sep 24     20051965                557.02
Sep 16   20051922                376.51     Sep 16     20051966                444.98
Sep 17   20051923                280.08     Sep 16     20051967                166.40
Sep 16   20051926 *              560.49     Sep 17     20051968                309.02
Sep 17   20051927                575.54     Sep 17     20051969                419.01
Sep 16   20051928                351.48     Sep 16     20051970                325.56
Sep 16   20051929                583.29     Sep 16     20051971                451.83
Sep 17   20051930                361.36     Sep 16     20051972                225.13
Sep 16   20051931                442.93     Sep 16     20051973                521.16
Sep 16   20051932                413.82     Sep 16     20051974                455.07
Sep 16   20051933              1,013.43     Sep 13     20051975                568.06
Sep 18   20051934                584.88     Sep 17     20051976                547.10
Sep 16   20051935                254.97     Sep 17     20051977                910.15
Sep 23   20051936                330.35     Sep 16     20051978                168.12
Sep 16   20051938 *              355.67     Sep 17     20051979                498.48
Sep 17   20051939                459.01     Sep 16     20051980              1,313.13
Sep 16   20051940                318.84     Sep 16     20051981                282.40
Sep 18   20051942 *              150.91     Sep 16     20051982                282.40
Sep 16   20051943                 75.83     Sep 17     20051983                489.44
Sep 18   20051945 *              363.70     Sep 17     20051984                381.43
Sep 16   20051946                527.85     Sep 16     20051985                828.91
Sep 16   20051947                935.00     Sep 17     20051987 *              555.05




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            NORPAC FOODS INC DIP                     9-161
            CASE # 19-62584
            PAYROLL ACCOUNT
            PO BOX 14444
            SALEM OR 97309                999                          See Back for Important Information


                                                                    Primary Account:       8760         2322

Date     Serial Nbr              Amount     Date       Serial Nbr              Amount
Sep 17   20051988                177.80     Sep 18     20052027                679.79
Sep 25   20051989                376.42     Sep 27     20052028                170.31
Sep 23   20051990                858.74     Sep 18     20052029                476.36
Sep 16   20051991                566.69     Sep 16     20052030                780.04
Sep 16   20051992                363.55     Sep 18     20052031                501.24
Sep 16   20051993                541.34     Sep 26     20052032                446.93
Sep 16   20051994                671.34     Sep 17     20052033                454.17
Sep 16   20051995                494.63     Sep 16     20052035 *              275.08
Sep 16   20051996                406.95     Sep 17     20052036                637.76
Sep 16   20051997                401.51     Sep 18     20052037                631.75
Sep 16   20051998                617.30     Sep 17     20052038                279.61
Sep 16   20051999                621.40     Sep 23     20052039                456.39
Sep 16   20052000                254.58     Sep 16     20052040                446.88
Sep 16   20052001              1,041.90     Sep 16     20052041                645.41
Sep 30   20052002                 18.31     Sep 16     20052042                204.71
Sep 23   20052003                547.09     Sep 16     20052043                302.86
Sep 16   20052004              1,326.63     Sep 16     20052044                460.76
Sep 17   20052005                297.93     Sep 23     20052045                590.75
Sep 16   20052006                418.89     Sep 17     20052046                707.00
Sep 17   20052007                528.61     Sep 23     20052048 *              287.28
Sep 16   20052008                529.80     Sep 16     20052049                382.23
Sep 16   20052009                709.29     Sep 16     20052050                390.61
Sep 16   20052010                261.72     Sep 16     20052051                863.80
Sep 16   20052011                146.82     Sep 24     20052052                538.37
Sep 18   20052012                322.79     Sep 16     20052054 *               88.89
Sep 16   20052013                538.55     Sep 16     20052055                465.19
Sep 16   20052014                377.14     Sep 16     20052056                432.24
Sep 20   20052015                693.87     Sep 16     20052057                448.80
Sep 17   20052016                439.14     Sep 16     20052058                692.26
Sep 18   20052017                655.80     Sep 16     20052059                208.14
Sep 16   20052018                445.07     Sep 17     20052060                983.68
Sep 16   20052019                434.19     Sep 17     20052061                501.44
Sep 16   20052020                382.13     Sep 17     20052062                588.58
Sep 16   20052021                612.01     Sep 17     20052063                859.82
Sep 16   20052022                309.00     Sep 24     20052064                525.45
Sep 16   20052023                281.44     Sep 18     20052065                176.31
Sep 18   20052024                483.81     Sep 30     20052067 *              487.25
Sep 16   20052025              1,117.56     Sep 18     20052068                503.98
Sep 16   20052026                621.77     Sep 16     20052069                199.18




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            NORPAC FOODS INC DIP                       9-161
            CASE # 19-62584
            PAYROLL ACCOUNT
            PO BOX 14444
            SALEM OR 97309                  999                          See Back for Important Information


                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 16   20052070                  341.29     Sep 25     20052110                509.96
Sep 18   20052071                  699.79     Sep 17     20052111                191.94
Sep 17   20052072                  104.43     Sep 20     20052112                885.31
Sep 18   20052073                  457.58     Sep 17     20052113                224.38
Sep 16   20052074                  590.76     Sep 16     20052114                714.05
Sep 17   20052075                  549.48     Sep 16     20052115                441.35
Sep 16   20052076                  455.70     Sep 16     20052116                621.27
Sep 16   20052077                  381.32     Sep 16     20052117                598.62
Sep 17   20052078                  300.91     Sep 17     20052118                235.87
Sep 16   20052079                  472.65     Sep 16     20052119                460.82
Sep 16   20052080                  579.12     Sep 17     20052120                460.72
Sep 17   20052081                  538.36     Sep 19     20052121                399.86
Sep 26   20052082                  440.47     Sep 16     20052122                792.87
Sep 16   20052083                  748.80     Sep 16     20052123                428.42
Sep 20   20052084                  401.53     Sep 16     20052124                528.26
Sep 16   20052085                  505.17     Sep 16     20052125                714.24
Sep 16   20052086                  435.87     Sep 17     20052126                242.41
Sep 17   20052087                  531.43     Sep 16     20052127                582.05
Sep 16   20052088                  559.24     Sep 16     20052128                527.23
Sep 16   20052089                  179.60     Sep 16     20052129                688.53
Sep 25   20052090                  555.18     Sep 16     20052132 *              447.50
Sep 17   20052091                  328.64     Sep 16     20052133                714.06
Sep 17   20052092                  380.41     Sep 16     20052134                678.49
Sep 16   20052093                  505.03     Sep 16     20052135                872.24
Sep 16   20052094                  612.52     Sep 16     20052136                691.14
Sep 16   20052095                  758.97     Sep 18     20052137                357.92
Sep 23   20052096                  320.12     Sep 16     20052138                435.45
Sep 16   20052097                  590.75     Sep 16     20052139                468.30
Sep 17   20052098                  315.15     Sep 25     20052140                604.45
Sep 19   20052100 *                534.42     Sep 16     20052141                655.69
Sep 16   20052101                  610.26     Sep 16     20052142                544.31
Sep 16   20052102                  773.86     Sep 16     20052143                376.82
Sep 16   20052103                  346.67     Sep 16     20052144                279.17
Sep 16   20052104                  709.91     Sep 16     20052145                298.59
Sep 17   20052105                  154.78     Sep 23     20052146                178.82
Sep 16   20052106                  446.82     Sep 16     20052147                297.95
Sep 16   20052107                  599.18     Sep 16     20052148                858.21
Sep 16   20052108                  339.36     Sep 16     20052149                558.43
Sep 25   20052109                  736.26     Sep 23     20052150                157.06




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            NORPAC FOODS INC DIP                     9-161
            CASE # 19-62584
            PAYROLL ACCOUNT
            PO BOX 14444
            SALEM OR 97309                999                          See Back for Important Information


                                                                    Primary Account:       8760         2322

Date     Serial Nbr              Amount     Date       Serial Nbr              Amount
Sep 27   20052151                 18.30     Sep 16     20052192                533.95
Sep 18   20052152                255.61     Sep 16     20052193                459.55
Sep 16   20052153                362.92     Sep 16     20052194                307.49
Sep 16   20052154                551.23     Sep 16     20052195                462.42
Sep 18   20052155                169.96     Sep 16     20052196                571.25
Sep 17   20052156                231.89     Sep 23     20052197                 75.83
Sep 16   20052157                301.19     Sep 18     20052198                323.11
Sep 20   20052158                347.08     Sep 16     20052199                454.48
Sep 17   20052159                404.43     Sep 18     20052200                586.52
Sep 16   20052161 *              551.23     Sep 17     20052201                428.60
Sep 17   20052162              1,102.46     Sep 16     20052202                564.89
Sep 16   20052163                474.68     Sep 16     20052203                295.88
Sep 17   20052164                 73.09     Sep 16     20052204                444.21
Sep 16   20052165              1,576.19     Sep 16     20052205                624.08
Sep 17   20052166                358.43     Sep 17     20052206                544.32
Sep 16   20052167                666.97     Sep 16     20052207                692.07
Sep 16   20052168                402.82     Sep 18     20052208                361.56
Sep 16   20052169                332.63     Sep 16     20052209                567.74
Sep 18   20052170                613.00     Sep 17     20052210                170.42
Sep 30   20052171                455.94     Sep 17     20052211                468.58
Sep 19   20052172                351.51     Sep 20     20052212                247.47
Sep 16   20052173                323.03     Sep 16     20052213                882.30
Sep 17   20052174                455.77     Sep 17     20052214                292.57
Sep 16   20052175                318.94     Sep 16     20052215                607.18
Sep 16   20052176                549.32     Sep 23     20052216                284.03
Sep 16   20052177                359.79     Sep 16     20052217                278.32
Sep 17   20052178                334.17     Sep 16     20052218                591.28
Sep 16   20052179                711.32     Sep 16     20052219                719.32
Sep 16   20052180                340.03     Sep 16     20052220                372.18
Sep 16   20052181                282.85     Sep 18     20052221                597.48
Sep 25   20052183 *               59.13     Sep 16     20052222                225.44
Sep 16   20052184                370.87     Sep 17     20052223                465.81
Sep 16   20052185                327.83     Sep 17     20052224                728.28
Sep 17   20052186                365.77     Sep 16     20052225                459.81
Sep 16   20052187                821.45     Sep 17     20052226                538.80
Sep 16   20052188                226.78     Sep 17     20052227                832.16
Sep 16   20052189                330.16     Sep 17     20052228                571.68
Sep 13   20052190                 51.78     Sep 16     20052229                580.97
Sep 17   20052191                467.15     Sep 27     20052230                 31.64




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            SALEM OR 97309                  999                          See Back for Important Information


                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 16   20052231                  422.37     Sep 20     20052272                486.19
Sep 16   20052232                  555.29     Sep 16     20052273              1,190.37
Sep 16   20052233                  577.66     Sep 16     20052274                428.17
Sep 18   20052234                  475.07     Sep 17     20052275                605.10
Sep 30   20052235                  774.85     Sep 17     20052276                462.86
Sep 18   20052236                  488.31     Sep 23     20052277                594.86
Sep 18   20052237                  788.45     Sep 16     20052278                640.75
Sep 17   20052238                  366.19     Sep 16     20052279                968.31
Sep 18   20052239                  422.74     Sep 23     20052280                949.10
Sep 18   20052240                  300.57     Sep 18     20052281                840.77
Sep 16   20052241                  866.32     Sep 27     20052282                896.75
Sep 16   20052242                  866.31     Sep 16     20052283                193.19
Sep 23   20052243                  620.53     Sep 16     20052284                105.48
Sep 16   20052244                  468.32     Sep 16     20052285                599.91
Sep 17   20052245                  624.56     Sep 16     20052286                364.17
Sep 17   20052246                  594.11     Sep 16     20052287                704.46
Sep 16   20052247                  283.10     Sep 17     20052288                 73.15
Sep 16   20052248                  547.10     Sep 23     20052289                436.66
Sep 16   20052249                  624.38     Sep 16     20052290                572.93
Sep 16   20052250                  627.32     Sep 16     20052291                189.78
Sep 18   20052251                  613.01     Sep 30     20052292                377.02
Sep 18   20052252                  654.37     Sep 16     20052293                499.02
Sep 19   20052253                  787.54     Sep 23     20052294                309.86
Sep 16   20052254                  456.15     Sep 23     20052295                 10.14
Sep 17   20052255                  494.17     Sep 16     20052296                311.15
Sep 13   20052256                  447.41     Sep 16     20052297                571.69
Sep 17   20052258 *                595.17     Sep 16     20052298                425.23
Sep 17   20052259                  142.53     Sep 16     20052299                348.72
Sep 16   20052260                  656.13     Sep 18     20052300                426.45
Sep 18   20052261                   55.01     Sep 16     20052301                593.23
Sep 18   20052262                  366.20     Sep 17     20052302                701.35
Sep 18   20052263                  365.41     Sep 16     20052303                 60.14
Sep 16   20052264                  366.20     Sep 18     20052304                 55.78
Sep 17   20052265                  613.61     Sep 23     20052305                442.87
Sep 24   20052267 *                 29.14     Sep 16     20052306                712.12
Sep 16   20052268                  337.29     Sep 16     20052307                349.88
Sep 16   20052269                  386.03     Sep 23     20052308                306.22
Sep 16   20052270                  636.91     Sep 17     20052309                 78.53
Sep 19   20052271                  602.02     Sep 16     20052310                 11.46




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                                                                    Primary Account:       8760         2322

Date     Serial Nbr              Amount     Date       Serial Nbr              Amount
Sep 18   20052311                547.47     Sep 16     20052350                 55.14
Sep 16   20052312                 60.13     Sep 20     20052351                 60.14
Sep 16   20052313                216.72     Sep 16     20052352                745.59
Sep 16   20052314                321.35     Sep 16     20052353                601.53
Sep 16   20052315                581.43     Sep 16     20052354                 60.13
Sep 16   20052316                489.37     Sep 23     20052355                370.87
Sep 16   20052317                456.31     Sep 16     20052356                 60.14
Sep 16   20052318                413.34     Sep 16     20052358 *              789.25
Sep 16   20052319                403.65     Sep 23     20052359                618.27
Sep 17   20052320                367.10     Sep 16     20052360                640.77
Sep 16   20052321                466.85     Sep 18     20052361                508.41
Sep 16   20052322                376.40     Sep 16     20052362                819.81
Sep 16   20052323                441.40     Sep 16     20052363                714.66
Sep 16   20052324                637.68     Sep 16     20052364                582.17
Sep 17   20052325                300.77     Sep 17     20052365                447.47
Sep 16   20052326                395.00     Sep 18     20052366              1,154.97
Sep 16   20052327                 77.76     Sep 20     20052367                653.24
Sep 19   20052328                594.35     Sep 16     20052368                401.46
Sep 16   20052329                571.53     Sep 17     20052369                623.98
Sep 16   20052330                470.98     Sep 16     20052370                492.28
Sep 18   20052331                 60.14     Sep 16     20052371                708.10
Sep 17   20052332                551.23     Sep 16     20052372                542.49
Sep 16   20052333                474.14     Sep 17     20052373                613.61
Sep 16   20052334                349.99     Sep 23     20052374                573.17
Sep 16   20052335                296.41     Sep 16     20052375                463.06
Sep 17   20052336                 64.64     Sep 17     20052376                579.08
Sep 17   20052337                303.85     Sep 18     20052377                378.51
Sep 16   20052338                230.39     Sep 24     20052378                 62.03
Sep 16   20052339                212.26     Sep 18     20052379                666.88
Sep 17   20052340                 64.63     Sep 16     20052380                494.25
Sep 18   20052341                273.07     Sep 16     20052381              1,009.62
Sep 17   20052342                411.63     Sep 17     20052382                674.76
Sep 17   20052343                625.94     Sep 16     20052383                907.68
Sep 16   20052344                436.66     Sep 16     20052384                334.35
Sep 16   20052345                584.02     Sep 17     20052385                589.36
Sep 16   20052346                448.75     Sep 16     20052386                 62.01
Sep 16   20052347                467.39     Sep 18     20052387                248.94
Sep 17   20052348                 60.13     Sep 23     20052388                568.30
Sep 16   20052349              1,203.06     Sep 16     20052389                630.34




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                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 16   20052390                   59.13     Sep 16     20052429                756.58
Sep 24   20052391                  366.18     Sep 16     20052430                 67.99
Sep 16   20052392                  401.17     Sep 16     20052431                 60.12
Sep 16   20052393                   60.13     Sep 16     20052432                 60.13
Sep 16   20052394                  676.35     Sep 16     20052433                 59.14
Sep 18   20052395                  434.72     Sep 17     20052434                216.78
Sep 16   20052396                  742.72     Sep 16     20052435                335.72
Sep 17   20052397                  433.62     Sep 18     20052436                365.77
Sep 17   20052398                  300.76     Sep 18     20052437                 59.84
Sep 18   20052399                  619.94     Sep 16     20052438                463.23
Sep 16   20052400                  507.33     Sep 16     20052439                448.16
Sep 16   20052401                  176.35     Sep 23     20052440                130.11
Sep 24   20052402                  991.47     Sep 16     20052442 *              359.79
Sep 16   20052403                  268.14     Sep 16     20052443                485.95
Sep 16   20052404                  377.11     Sep 30     20052444                 60.15
Sep 16   20052405                  377.86     Sep 16     20052445                938.04
Sep 18   20052406                  711.06     Sep 16     20052446                382.51
Sep 17   20052407                  116.66     Sep 30     20052447                 60.13
Sep 16   20052408                  740.06     Sep 17     20052448                296.42
Sep 16   20052409                  194.41     Sep 18     20052449                556.84
Sep 17   20052410                  622.20     Sep 26     20052450                 60.12
Sep 16   20052411                  427.65     Sep 16     20052451                 78.44
Sep 16   20052412                  322.95     Sep 17     20052452                217.42
Sep 13   20052413                  999.62     Sep 26     20052453                629.84
Sep 16   20052414                  321.34     Sep 18     20052454                 86.82
Sep 18   20052415                  241.63     Sep 19     20052455                585.35
Sep 17   20052416                  320.33     Sep 16     20052456                747.78
Sep 16   20052417                  458.87     Sep 16     20052457                333.70
Sep 16   20052418                  520.57     Sep 16     20052458                857.30
Sep 16   20052419                  636.67     Sep 20     20052459                292.29
Sep 17   20052420                  317.74     Sep 18     20052460                554.70
Sep 19   20052421                  363.69     Sep 16     20052461                459.24
Sep 16   20052422                  475.15     Sep 18     20052462                500.51
Sep 20   20052423                  567.40     Sep 16     20052463                485.20
Sep 16   20052424                  412.90     Sep 16     20052464                 61.02
Sep 16   20052425                  551.24     Sep 16     20052465                583.38
Sep 23   20052426                   55.14     Sep 16     20052466                230.65
Sep 17   20052427                  481.25     Sep 17     20052467                464.98
Sep 18   20052428                   97.96     Sep 16     20052468                635.78




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            SALEM OR 97309                  999                          See Back for Important Information


                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 16   20052469                  368.11     Sep 16     20052509 *              432.77
Sep 16   20052470                  281.39     Sep 18     20052510                422.28
Sep 16   20052471                  406.33     Sep 17     20052511                295.52
Sep 17   20052472                  617.77     Sep 16     20052512                 57.02
Sep 16   20052473                  509.50     Sep 23     20052513                 57.03
Sep 17   20052474                  359.79     Sep 16     20052514                392.94
Sep 16   20052475                  413.34     Sep 16     20052515              1,000.58
Sep 18   20052476                  305.18     Sep 23     20052516                467.38
Sep 16   20052477                  314.48     Sep 16     20052517                591.89
Sep 16   20052478                  241.55     Sep 16     20052518                425.94
Sep 23   20052479                  525.39     Sep 16     20052519                714.59
Sep 17   20052480                  396.88     Sep 16     20052520                591.75
Sep 17   20052481                  459.24     Sep 16     20052521                348.41
Sep 16   20052482                  485.65     Sep 24     20052522                335.72
Sep 16   20052483                  474.56     Sep 24     20052523                595.25
Sep 17   20052484                  508.81     Sep 16     20052524                559.01
Sep 23   20052485                  228.24     Sep 16     20052525                465.28
Sep 16   20052486                  601.55     Sep 23     20052526                600.81
Sep 16   20052487                   78.44     Sep 16     20052527                112.70
Sep 18   20052488                  261.76     Sep 24     20052528                204.36
Sep 17   20052489                   80.46     Sep 17     20052529                743.97
Sep 16   20052490                  668.04     Sep 17     20052530                351.51
Sep 16   20052491                  920.80     Sep 17     20052531                604.87
Sep 16   20052492                  323.21     Sep 16     20052532                430.37
Sep 16   20052493                  325.91     Sep 17     20052533                605.57
Sep 30   20052494                  544.30     Sep 16     20052534                463.54
Sep 18   20052495                  509.36     Sep 16     20052535                352.72
Sep 16   20052496                  450.05     Sep 18     20052536                293.60
Sep 16   20052497                  413.62     Sep 16     20052537                448.74
Sep 16   20052498                  877.29     Sep 16     20052538                457.04
Sep 24   20052499                  412.16     Sep 16     20052539                559.00
Sep 16   20052500                  571.68     Sep 17     20052540                349.05
Sep 16   20052501                  348.72     Sep 16     20052541                235.97
Sep 16   20052502                  648.64     Sep 17     20052542                 73.15
Sep 19   20052503                  413.35     Sep 16     20052543                569.68
Sep 16   20052504                  366.87     Sep 16     20052544                628.10
Sep 24   20052505                  538.49     Sep 16     20052545                291.24
Sep 18   20052506                  230.58     Sep 17     20052546                657.24
Sep 17   20052507                  446.86     Sep 16     20052547                 60.14




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            SALEM OR 97309                  999                          See Back for Important Information


                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 23   20052548                  446.44     Sep 16     20052587                680.19
Sep 16   20052549                  358.20     Sep 23     20052588                348.72
Sep 16   20052550                  321.35     Sep 16     20052589                467.80
Sep 23   20052551                  431.46     Sep 16     20052592 *              437.17
Sep 16   20052552                  455.62     Sep 23     20052593                590.98
Sep 17   20052553                  628.86     Sep 16     20052594                456.31
Sep 16   20052554                  500.52     Sep 16     20052595                440.87
Sep 16   20052555                  672.82     Sep 17     20052596                303.86
Sep 16   20052556                  391.61     Sep 16     20052597                347.89
Sep 18   20052557                  489.56     Sep 16     20052598                481.37
Sep 16   20052558                   60.13     Sep 16     20052599                294.57
Sep 16   20052559                  608.47     Sep 16     20052600                370.87
Sep 19   20052560                    8.05     Sep 17     20052601              1,283.66
Sep 17   20052561                  361.70     Sep 16     20052602                573.99
Sep 20   20052562                   75.15     Sep 16     20052603                 60.13
Sep 18   20052563                  395.31     Sep 16     20052604                 60.14
Sep 17   20052564                  639.59     Sep 13     20052605                363.69
Sep 16   20052565                  369.26     Sep 16     20052606                159.57
Sep 23   20052566                  273.57     Sep 17     20052607                335.06
Sep 16   20052567                  532.15     Sep 16     20052608                316.19
Sep 17   20052568                  144.00     Sep 16     20052609                348.72
Sep 16   20052569                  571.69     Sep 18     20052610                610.76
Sep 17   20052570                  312.85     Sep 18     20052611                236.36
Sep 19   20052571                  306.21     Sep 17     20052612                512.46
Sep 16   20052572                  206.27     Sep 17     20052613                 71.23
Sep 16   20052573                  608.48     Sep 20     20052614                378.51
Sep 16   20052574                   60.13     Sep 18     20052615                396.19
Sep 16   20052575                  348.41     Sep 16     20052616                 60.13
Sep 24   20052576                  310.97     Sep 16     20052617                 60.13
Sep 17   20052577                  258.29     Sep 23     20052618                302.09
Sep 18   20052578                  425.91     Sep 20     20052620 *              377.24
Sep 16   20052579                   60.13     Sep 17     20052621                 68.91
Sep 16   20052580                  284.54     Sep 16     20052622                389.33
Sep 20   20052581                  422.28     Sep 16     20052623                352.72
Sep 17   20052582                   86.91     Sep 18     20052624              1,598.86
Sep 16   20052583                  615.31     Sep 18     20052625                601.54
Sep 23   20052584                   48.94     Sep 16     20052626                348.41
Sep 18   20052585                  722.08     Sep 16     20052627                597.93
Sep 17   20052586                  496.59     Sep 16     20052628                 60.13




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                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 16   20052629                  403.50     Sep 16     20052671                330.05
Sep 16   20052630                   62.02     Sep 17     20052672                322.25
Sep 17   20052631                  381.12     Sep 24     20052673                339.63
Sep 16   20052632                  451.64     Sep 16     20052674                298.00
Sep 13   20052633                  463.80     Sep 16     20052675                385.99
Sep 16   20052635 *                446.14     Sep 16     20052676                224.37
Sep 16   20052636                  641.64     Sep 16     20052677                337.06
Sep 19   20052637                  472.55     Sep 17     20052678                453.71
Sep 18   20052638                  684.50     Sep 23     20052679                401.84
Sep 16   20052639                  623.45     Sep 23     20052680                261.03
Sep 16   20052640                  352.72     Sep 17     20052681                199.09
Sep 16   20052641                  549.16     Sep 17     20052682                368.76
Sep 16   20052642                  696.21     Sep 23     20052683                313.80
Sep 18   20052643                   45.63     Sep 18     20052684                222.51
Sep 17   20052644                  160.57     Sep 23     20052685                202.30
Sep 18   20052645                  352.72     Sep 16     20052686                292.25
Sep 18   20052646                  218.00     Sep 16     20052687                270.98
Sep 16   20052647                  646.52     Sep 16     20052688                333.65
Sep 19   20052648                  565.57     Sep 17     20052689                239.09
Sep 16   20052649                  560.33     Sep 17     20052690                488.08
Sep 17   20052651 *                307.17     Sep 16     20052691                195.97
Sep 18   20052652                  249.46     Sep 18     20052692                337.06
Sep 17   20052653                  469.22     Sep 16     20052693                319.63
Sep 17   20052654                  327.50     Sep 16     20052694                428.03
Sep 17   20052655                  728.06     Sep 16     20052695                392.47
Sep 16   20052656                  345.34     Sep 16     20052696                332.27
Sep 16   20052657                  390.66     Sep 16     20052697                321.31
Sep 16   20052658                  233.72     Sep 18     20052698                556.00
Sep 16   20052659                  298.63     Sep 17     20052699                381.11
Sep 16   20052660                  101.12     Sep 16     20052700                297.25
Sep 16   20052661                  363.80     Sep 16     20052701                676.50
Sep 16   20052662                  261.16     Sep 16     20052702                313.60
Sep 16   20052663                  313.80     Sep 23     20052704 *              330.08
Sep 16   20052664                  320.03     Sep 16     20052705                315.10
Sep 17   20052665                  319.72     Sep 16     20052706                496.55
Sep 24   20052666                  136.49     Sep 16     20052707                 60.72
Sep 17   20052667                  525.87     Sep 16     20052708                384.43
Sep 17   20052669 *                261.15     Sep 16     20052709                224.36
Sep 17   20052670                  263.06     Sep 16     20052710                394.51




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            SALEM OR 97309                  999                          See Back for Important Information


                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 18   20052711                  479.07     Sep 16     20052750                291.83
Sep 16   20052712                  339.63     Sep 18     20052751                306.97
Sep 16   20052713                  329.63     Sep 16     20052752                383.00
Sep 16   20052714                  290.38     Sep 23     20052753                187.44
Sep 16   20052715                  485.29     Sep 16     20052754                288.48
Sep 16   20052716                  304.33     Sep 16     20052755                365.35
Sep 16   20052717                  315.57     Sep 16     20052756                363.80
Sep 16   20052718                  168.36     Sep 16     20052757                272.52
Sep 16   20052719                  350.67     Sep 16     20052758                217.29
Sep 16   20052720                  371.57     Sep 19     20052759                327.16
Sep 16   20052721                  297.99     Sep 16     20052760                291.16
Sep 17   20052722                  249.69     Sep 16     20052761                190.31
Sep 16   20052723                  346.51     Sep 16     20052762                199.76
Sep 16   20052724                  415.40     Sep 16     20052763                338.80
Sep 16   20052725                  143.04     Sep 24     20052764                302.83
Sep 16   20052726                  532.67     Sep 16     20052765                327.04
Sep 16   20052727                  122.82     Sep 16     20052766                261.17
Sep 16   20052728                  265.84     Sep 17     20052767                289.63
Sep 16   20052729                  494.86     Sep 18     20052768                346.52
Sep 16   20052730                  562.65     Sep 17     20052769                333.01
Sep 19   20052731                  676.64     Sep 16     20052770                325.26
Sep 16   20052732                  652.92     Sep 16     20052771                240.71
Sep 16   20052733                  353.71     Sep 16     20052772                290.47
Sep 17   20052734                  312.98     Sep 16     20052773                329.08
Sep 16   20052735                  590.74     Sep 17     20052774                301.72
Sep 17   20052736                  463.27     Sep 16     20052775                339.63
Sep 17   20052737                  304.51     Sep 18     20052776                910.39
Sep 16   20052738                  276.02     Sep 16     20052777                304.94
Sep 16   20052739                  291.28     Sep 23     20052778                358.95
Sep 16   20052740                  263.69     Sep 19     20052779                256.40
Sep 16   20052741                  332.13     Sep 19     20052780                349.07
Sep 16   20052742                  498.83     Sep 16     20052782 *              292.17
Sep 16   20052743                  297.98     Sep 16     20052783                305.08
Sep 16   20052744                  931.18     Sep 18     20052784                372.25
Sep 23   20052745                  289.63     Sep 17     20052785                433.02
Sep 16   20052746                  258.16     Sep 27     20052786                370.39
Sep 27   20052747                  339.03     Sep 16     20052787                444.34
Sep 16   20052748                  471.85     Sep 23     20052788                383.00
Sep 16   20052749                  298.50     Sep 18     20052789                522.78




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            CASE # 19-62584
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            SALEM OR 97309                  999                          See Back for Important Information


                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 16   20052790                  311.16     Sep 17     20052833                453.71
Sep 16   20052791                  280.25     Sep 17     20052834                321.57
Sep 24   20052792                  397.22     Sep 16     20052835                620.92
Sep 16   20052793                  302.32     Sep 16     20052836                488.10
Sep 24   20052794                  349.76     Sep 16     20052837                274.08
Sep 18   20052795                  333.83     Sep 30     20052838                370.03
Sep 16   20052796                  159.10     Sep 16     20052839                593.06
Sep 16   20052798 *                219.09     Sep 25     20052840                 94.16
Sep 25   20052799                  326.94     Sep 25     20052841                 22.65
Sep 16   20052800                  199.09     Sep 25     20052842                102.32
Sep 30   20052801                  362.25     Sep 19     20052843                114.06
Sep 16   20052802                  451.43     Sep 20     20052844                 67.03
Sep 16   20052803                  278.60     Sep 19     20052845                106.19
Sep 23   20052804                  325.29     Sep 18     20052848 *               57.41
Sep 23   20052805                  314.08     Sep 20     20052849                183.85
Sep 18   20052806                  325.68     Sep 20     20052850                 96.37
Sep 16   20052807                  274.08     Sep 18     20052851                123.21
Sep 16   20052808                  282.67     Sep 18     20052852                 87.17
Sep 24   20052809                  273.85     Sep 18     20052853                100.04
Sep 17   20052810                  349.07     Sep 18     20052854                 93.35
Sep 16   20052811                  302.32     Sep 18     20052855                 65.00
Sep 17   20052812                  298.14     Sep 19     20052856                166.82
Sep 16   20052813                  381.12     Sep 18     20052857                 66.55
Sep 16   20052814                  442.24     Sep 18     20052858                107.35
Sep 16   20052815                  304.15     Sep 16     20052859                174.78
Sep 17   20052816                  732.70     Sep 25     20052860                214.46
Sep 16   20052817                  285.28     Sep 18     20052861                108.96
Sep 16   20052818                  307.34     Sep 24     20052862                236.79
Sep 16   20052819                  299.33     Sep 13     20052863                396.88
Sep 16   20052822 *                415.95     Sep 18     20052864                 13.42
Sep 23   20052823                  374.00     Sep 18     20052865                256.28
Sep 24   20052824                  101.72     Sep 18     20052866                117.70
Sep 19   20052825                  448.26     Sep 18     20052867                164.77
Sep 16   20052826                  291.82     Sep 18     20052868                317.25
Sep 16   20052827                  459.81     Sep 18     20052869                317.25
Sep 16   20052828                  349.08     Sep 24     20052870                474.87
Sep 16   20052829                  445.75     Sep 30     20052871                282.51
Sep 17   20052830                  348.25     Sep 23     20052872                473.55
Sep 17   20052832 *                351.72     Sep 25     20052873                463.20




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                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 23   20052874                  417.98     Sep 23     20052920                572.42
Sep 27   20052875                  514.69     Sep 23     20052922 *              564.35
Sep 23   20052876                  493.85     Sep 24     20052924 *              515.31
Sep 23   20052877                  151.65     Sep 25     20052925                490.83
Sep 30   20052878                  353.61     Sep 30     20052926                520.82
Sep 30   20052880 *                506.31     Sep 23     20052927                750.40
Sep 23   20052881                  462.22     Sep 23     20052928                597.70
Sep 23   20052882                  605.24     Sep 20     20052929                426.24
Sep 23   20052883                  418.70     Sep 24     20052930                422.81
Sep 24   20052884                  217.46     Sep 24     20052931                316.01
Sep 25   20052885                  659.85     Sep 23     20052932                382.49
Sep 23   20052886                  466.42     Sep 23     20052933                633.53
Sep 23   20052887                  475.60     Sep 23     20052934                459.46
Sep 23   20052888                  631.34     Sep 23     20052935                478.38
Sep 25   20052889                  523.64     Sep 23     20052936                658.15
Sep 23   20052890                  452.93     Sep 23     20052937                443.73
Sep 23   20052892 *                479.90     Sep 27     20052938                608.49
Sep 23   20052893                  682.02     Sep 24     20052939                427.94
Sep 24   20052894                  287.02     Sep 24     20052940                490.52
Sep 23   20052895                  456.20     Sep 30     20052941                510.20
Sep 23   20052896                  422.75     Sep 26     20052942                488.75
Sep 23   20052897                  680.56     Sep 23     20052943                478.72
Sep 24   20052898                  390.50     Sep 24     20052944                456.15
Sep 25   20052899                  506.63     Sep 24     20052945                436.40
Sep 23   20052900                  551.38     Sep 23     20052946                463.45
Sep 23   20052905 *                501.12     Sep 23     20052947                484.16
Sep 30   20052906                  592.06     Sep 23     20052948                460.02
Sep 23   20052907                  482.21     Sep 23     20052949                516.84
Sep 23   20052908                  462.19     Sep 23     20052950                517.96
Sep 24   20052909                  192.32     Sep 24     20052952 *              854.45
Sep 23   20052910                  503.57     Sep 23     20052953                154.58
Sep 23   20052911                  459.41     Sep 23     20052954                449.59
Sep 23   20052912                  818.78     Sep 23     20052955              1,236.09
Sep 25   20052913                  403.07     Sep 23     20052956                473.48
Sep 23   20052914                  151.65     Sep 25     20052957                531.35
Sep 23   20052915                  541.60     Sep 23     20052958                517.38
Sep 23   20052917 *                523.39     Sep 23     20052959                813.11
Sep 26   20052918                  333.16     Sep 24     20052961 *              496.47
Sep 24   20052919                  618.23     Sep 26     20052962                305.92




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                                                                    Primary Account:       8760         2322

Date     Serial Nbr              Amount     Date       Serial Nbr              Amount
Sep 23   20052963                324.70     Sep 23     20053005                477.56
Sep 24   20052964                518.35     Sep 30     20053006                178.65
Sep 25   20052965                515.32     Sep 20     20053008 *              491.07
Sep 23   20052966                863.71     Sep 25     20053009                535.70
Sep 23   20052967                514.76     Sep 23     20053010                475.37
Sep 23   20052968                458.57     Sep 23     20053011                659.75
Sep 24   20052969                494.22     Sep 24     20053012                287.47
Sep 23   20052970                486.24     Sep 27     20053014 *              505.49
Sep 23   20052971                592.07     Sep 23     20053015                486.26
Sep 23   20052972                437.48     Sep 23     20053016                573.89
Sep 23   20052973                362.75     Sep 23     20053017                533.18
Sep 23   20052974                551.40     Sep 23     20053018                438.21
Sep 23   20052975                570.93     Sep 23     20053019                411.67
Sep 23   20052976                637.70     Sep 23     20053020                597.66
Sep 23   20052977              1,154.21     Sep 24     20053021                638.35
Sep 23   20052978                486.25     Sep 26     20053022                486.25
Sep 23   20052979              1,197.94     Sep 23     20053023                456.40
Sep 23   20052980                478.74     Sep 23     20053024                512.79
Sep 23   20052981                351.46     Sep 23     20053025                490.62
Sep 24   20052982                501.09     Sep 23     20053026                717.56
Sep 23   20052983                478.39     Sep 26     20053027                489.32
Sep 23   20052984                547.45     Sep 23     20053028                473.18
Sep 25   20052985                475.94     Sep 30     20053029                489.15
Sep 23   20052986                508.38     Sep 23     20053030                473.55
Sep 23   20052988 *              324.77     Sep 23     20053031                571.78
Sep 23   20052989                444.28     Sep 23     20053032                546.75
Sep 24   20052990                457.75     Sep 27     20053033                894.84
Sep 23   20052991                516.21     Sep 23     20053034                423.56
Sep 23   20052992                382.88     Sep 23     20053035                537.19
Sep 23   20052994 *              561.36     Sep 23     20053036                688.62
Sep 23   20052995                547.69     Sep 24     20053037                394.77
Sep 23   20052996                456.15     Sep 23     20053039 *               86.66
Sep 23   20052997                474.87     Sep 24     20053041 *              485.43
Sep 26   20052998                422.09     Sep 23     20053042                428.69
Sep 23   20052999              1,012.88     Sep 23     20053043                502.30
Sep 25   20053001 *              623.61     Sep 25     20053044                423.13
Sep 23   20053002                515.32     Sep 26     20053045                484.83
Sep 23   20053003                934.31     Sep 23     20053046                606.93
Sep 25   20053004                561.60     Sep 30     20053047                756.04




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                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 24   20053048                  372.51     Sep 23     20053092                564.08
Sep 23   20053051 *                 52.93     Sep 23     20053093                661.26
Sep 24   20053052                  526.42     Sep 23     20053094                466.51
Sep 26   20053054 *                593.28     Sep 23     20053095                473.57
Sep 23   20053055                  698.39     Sep 23     20053096                594.90
Sep 23   20053056                  551.39     Sep 23     20053097                530.76
Sep 23   20053057                  312.47     Sep 23     20053098                636.33
Sep 23   20053058                  485.07     Sep 23     20053099                623.81
Sep 23   20053059                  549.55     Sep 24     20053101 *              391.69
Sep 24   20053060                  539.88     Sep 23     20053102                576.75
Sep 23   20053061                  471.91     Sep 23     20053103                532.18
Sep 25   20053062                  503.77     Sep 24     20053104                467.18
Sep 30   20053063                  325.70     Sep 23     20053105                704.33
Sep 23   20053064                  669.19     Sep 24     20053106                607.17
Sep 23   20053065                  478.33     Sep 24     20053107                473.81
Sep 23   20053066                  713.88     Sep 23     20053109 *              508.26
Sep 30   20053067                  603.36     Sep 25     20053110                542.41
Sep 23   20053068                  506.99     Sep 23     20053111                597.59
Sep 23   20053069                  579.58     Sep 26     20053112                592.06
Sep 27   20053070                  765.42     Sep 23     20053113                354.89
Sep 23   20053072 *                455.39     Sep 23     20053114                456.42
Sep 23   20053073                  742.42     Sep 23     20053115                444.09
Sep 27   20053074                  434.74     Sep 23     20053116                242.63
Sep 23   20053075                  650.33     Sep 23     20053117                442.80
Sep 24   20053076                  339.74     Sep 23     20053118              1,038.90
Sep 24   20053077                  531.45     Sep 23     20053119                565.56
Sep 23   20053078                  537.48     Sep 25     20053120                164.46
Sep 23   20053079                  508.46     Sep 23     20053121                284.54
Sep 25   20053080                  702.55     Sep 23     20053122                476.15
Sep 23   20053082 *                459.81     Sep 25     20053123                253.61
Sep 25   20053083                  936.23     Sep 30     20053124                297.61
Sep 25   20053084                  495.71     Sep 23     20053125                411.69
Sep 23   20053085                  571.78     Sep 24     20053127 *              534.60
Sep 23   20053086                  398.32     Sep 23     20053128                395.94
Sep 23   20053087                  516.93     Sep 30     20053129                273.99
Sep 23   20053088                  556.22     Sep 23     20053130                491.07
Sep 24   20053089                  233.25     Sep 30     20053131                907.69
Sep 23   20053090                  339.02     Sep 23     20053132                594.11
Sep 24   20053091                  565.19     Sep 24     20053133                488.31




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                                                                    Primary Account:       8760         2322

Date     Serial Nbr              Amount     Date       Serial Nbr              Amount
Sep 23   20053134                485.25     Sep 26     20053175                587.80
Sep 23   20053135              1,270.18     Sep 23     20053176                680.94
Sep 23   20053136                597.61     Sep 23     20053177                581.71
Sep 23   20053137                353.37     Sep 23     20053178                657.15
Sep 27   20053138                449.67     Sep 23     20053179                568.73
Sep 23   20053139                564.64     Sep 23     20053180                536.58
Sep 30   20053140                282.46     Sep 24     20053181                372.16
Sep 23   20053142 *              316.43     Sep 24     20053182                504.75
Sep 23   20053143                284.00     Sep 23     20053184 *              701.83
Sep 23   20053145 *              444.98     Sep 24     20053185                466.20
Sep 23   20053146                488.83     Sep 23     20053186                663.75
Sep 24   20053147                488.83     Sep 26     20053187                405.99
Sep 23   20053148                491.08     Sep 23     20053188                436.99
Sep 23   20053149                485.95     Sep 24     20053189                529.22
Sep 24   20053150                334.16     Sep 23     20053190                657.28
Sep 23   20053151                639.43     Sep 23     20053191                334.06
Sep 23   20053152                470.47     Sep 25     20053192                542.56
Sep 30   20053153                440.14     Sep 23     20053193                 93.93
Sep 23   20053154                500.55     Sep 24     20053194                514.69
Sep 23   20053155                449.51     Sep 24     20053195                667.74
Sep 24   20053156                409.86     Sep 23     20053196                468.46
Sep 23   20053157                784.91     Sep 23     20053197                486.39
Sep 23   20053158                249.60     Sep 24     20053198                 89.91
Sep 23   20053159                411.40     Sep 23     20053199                425.34
Sep 20   20053160                361.84     Sep 23     20053200                527.06
Sep 24   20053161                508.26     Sep 23     20053201                506.57
Sep 23   20053162                506.63     Sep 23     20053202                542.42
Sep 23   20053163                502.61     Sep 23     20053203                536.41
Sep 23   20053164                477.75     Sep 25     20053204                513.45
Sep 23   20053165                507.35     Sep 25     20053205                627.86
Sep 30   20053166                 83.20     Sep 24     20053206                611.81
Sep 23   20053167                484.26     Sep 23     20053207                750.48
Sep 23   20053168                444.97     Sep 30     20053208                486.65
Sep 23   20053169                422.11     Sep 23     20053210 *              817.87
Sep 23   20053170                491.48     Sep 23     20053211                817.87
Sep 24   20053171                436.96     Sep 23     20053212                571.42
Sep 23   20053172                459.94     Sep 23     20053213                498.94
Sep 23   20053173                547.85     Sep 23     20053214                579.40
Sep 23   20053174                369.40     Sep 23     20053215                532.01




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                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 24   20053216                  514.70     Sep 23     20053258                542.77
Sep 23   20053217                  486.25     Sep 23     20053259                408.32
Sep 23   20053218                  685.05     Sep 30     20053260                258.71
Sep 23   20053219                  538.78     Sep 23     20053261                403.09
Sep 30   20053220                  215.00     Sep 23     20053262                215.46
Sep 25   20053221                  598.46     Sep 23     20053263                512.45
Sep 24   20053222                  640.55     Sep 23     20053264                264.38
Sep 23   20053223                  633.53     Sep 23     20053265                492.29
Sep 26   20053224                  385.74     Sep 23     20053266                526.27
Sep 20   20053225                  489.18     Sep 23     20053267                459.94
Sep 23   20053227 *                599.39     Sep 23     20053268                477.58
Sep 25   20053228                  601.57     Sep 25     20053269                418.71
Sep 24   20053229                   92.34     Sep 24     20053271 *              674.91
Sep 23   20053230                  396.17     Sep 25     20053272                466.10
Sep 23   20053232 *                366.17     Sep 23     20053273                372.21
Sep 24   20053233                  471.50     Sep 23     20053274                313.56
Sep 30   20053234                  339.50     Sep 23     20053275                676.69
Sep 24   20053235                  292.99     Sep 25     20053276                225.56
Sep 23   20053236                  460.96     Sep 23     20053277                461.81
Sep 27   20053237                  416.49     Sep 23     20053278                249.62
Sep 24   20053238                  503.96     Sep 20     20053279                290.59
Sep 23   20053239                  553.36     Sep 25     20053280                506.63
Sep 23   20053240                  490.82     Sep 23     20053281                413.09
Sep 23   20053241                  976.89     Sep 27     20053282                488.83
Sep 23   20053242                   83.20     Sep 30     20053283                421.07
Sep 23   20053243                  570.93     Sep 23     20053284                535.75
Sep 30   20053244                  568.34     Sep 23     20053285                495.01
Sep 23   20053245                  499.37     Sep 23     20053286                521.26
Sep 23   20053246                  455.14     Sep 23     20053287                350.35
Sep 23   20053247                  591.58     Sep 23     20053288                369.88
Sep 23   20053248                  797.21     Sep 30     20053289                367.11
Sep 23   20053249                  754.02     Sep 23     20053290                500.91
Sep 23   20053250                  301.34     Sep 24     20053291                503.51
Sep 23   20053251                  669.16     Sep 23     20053292                473.65
Sep 23   20053253 *                247.58     Sep 23     20053293                573.59
Sep 23   20053254                  557.48     Sep 25     20053295 *              466.19
Sep 24   20053255                  247.23     Sep 23     20053296                539.94
Sep 23   20053256                  642.58     Sep 25     20053297                650.33
Sep 23   20053257                  474.17     Sep 23     20053298                530.38




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                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 23   20053299                  515.91     Sep 23     20053341                534.82
Sep 25   20053300                  279.99     Sep 23     20053342                492.47
Sep 30   20053301                  491.07     Sep 23     20053343                448.35
Sep 30   20053302                  483.93     Sep 24     20053344                509.10
Sep 23   20053303                  328.55     Sep 23     20053345                398.03
Sep 23   20053304                  468.43     Sep 24     20053346                597.62
Sep 23   20053305                  412.60     Sep 24     20053348 *              796.55
Sep 25   20053306                  477.75     Sep 23     20053349                637.64
Sep 23   20053307                  412.60     Sep 23     20053350                748.09
Sep 25   20053308                  437.07     Sep 23     20053351                294.00
Sep 23   20053309                  580.60     Sep 23     20053352                 83.20
Sep 24   20053310                  583.63     Sep 23     20053353                547.51
Sep 23   20053311                  474.16     Sep 23     20053354                412.60
Sep 23   20053312                  536.15     Sep 23     20053355                514.35
Sep 23   20053313                  490.80     Sep 23     20053356                583.63
Sep 23   20053314                  501.37     Sep 23     20053357                366.43
Sep 23   20053315                  297.09     Sep 24     20053358                426.19
Sep 23   20053316                  989.59     Sep 23     20053359                531.27
Sep 23   20053317                  353.73     Sep 23     20053360                389.70
Sep 23   20053318                  685.22     Sep 23     20053361                638.25
Sep 23   20053319                  541.59     Sep 25     20053362                474.13
Sep 23   20053320                  354.46     Sep 23     20053363                466.18
Sep 23   20053321                  497.04     Sep 23     20053364                466.18
Sep 23   20053324 *                 32.20     Sep 24     20053366 *              426.29
Sep 23   20053325                  727.00     Sep 23     20053367                372.16
Sep 23   20053326                  676.43     Sep 25     20053368                672.20
Sep 23   20053327                  599.37     Sep 24     20053369                473.65
Sep 23   20053328                  394.78     Sep 23     20053370                502.27
Sep 23   20053329                  588.14     Sep 23     20053371                502.88
Sep 23   20053330                  663.04     Sep 24     20053372                680.92
Sep 23   20053331                  638.36     Sep 23     20053373                685.04
Sep 23   20053333 *                937.41     Sep 23     20053374                633.53
Sep 27   20053334                  680.93     Sep 23     20053375                542.06
Sep 23   20053335                  537.48     Sep 23     20053376                500.90
Sep 30   20053336                  673.89     Sep 23     20053377                782.01
Sep 23   20053337                  561.23     Sep 23     20053378                488.83
Sep 23   20053338                  648.53     Sep 23     20053379                500.91
Sep 23   20053339                  491.08     Sep 23     20053380                496.52
Sep 24   20053340                  571.45     Sep 23     20053381                489.57




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                                                                               PRIVATE CLIENT GROUP 161
                                                                               565 FIFTH AVENUE
                                                                               NEW YORK, NY 10017




            NORPAC FOODS INC DIP                       9-161
            CASE # 19-62584
            PAYROLL ACCOUNT
            PO BOX 14444
            SALEM OR 97309                  999                          See Back for Important Information


                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 23   20053382                  581.61     Sep 23     20053425                496.61
Sep 23   20053383                  500.91     Sep 30     20053427 *              454.05
Sep 24   20053384                  211.32     Sep 23     20053428                477.96
Sep 25   20053386 *                366.98     Sep 23     20053429                540.09
Sep 23   20053387                  361.81     Sep 24     20053430                485.96
Sep 23   20053388                  398.69     Sep 25     20053431                258.19
Sep 23   20053389                  358.29     Sep 30     20053432                450.75
Sep 23   20053390                  578.09     Sep 23     20053433                480.13
Sep 23   20053391                  654.78     Sep 23     20053434                576.92
Sep 23   20053392                  422.52     Sep 23     20053435                580.59
Sep 27   20053393                  391.83     Sep 24     20053436                499.35
Sep 27   20053394                  391.83     Sep 23     20053437                526.99
Sep 23   20053395                  285.56     Sep 23     20053438                421.80
Sep 25   20053396                  363.09     Sep 23     20053439                550.59
Sep 23   20053397                   90.13     Sep 23     20053440                261.04
Sep 23   20053398                  517.46     Sep 23     20053441                451.19
Sep 23   20053399                  477.84     Sep 25     20053442                467.44
Sep 23   20053400                  513.14     Sep 23     20053443                764.14
Sep 23   20053401                  486.22     Sep 23     20053444                505.12
Sep 23   20053402                  531.35     Sep 23     20053445                514.87
Sep 23   20053403                  928.99     Sep 23     20053446                619.57
Sep 23   20053404                  523.69     Sep 30     20053447                592.07
Sep 23   20053405                  466.18     Sep 23     20053448                544.15
Sep 23   20053406                  503.52     Sep 23     20053449                485.97
Sep 20   20053407                  362.19     Sep 23     20053450                512.07
Sep 26   20053409 *                578.40     Sep 23     20053451                828.20
Sep 24   20053410                  444.35     Sep 24     20053452                519.76
Sep 23   20053411                  562.95     Sep 23     20053453                520.27
Sep 23   20053413 *                472.70     Sep 23     20053454                474.16
Sep 23   20053414                  676.82     Sep 23     20053455                593.61
Sep 23   20053415                  230.92     Sep 25     20053456                464.45
Sep 23   20053416                  612.78     Sep 26     20053457                333.48
Sep 23   20053417                  497.05     Sep 24     20053458                460.10
Sep 23   20053418                  542.43     Sep 24     20053459                413.34
Sep 23   20053419                  502.12     Sep 23     20053460                450.78
Sep 23   20053420                  372.12     Sep 23     20053461                474.88
Sep 23   20053421                  531.35     Sep 27     20053462                457.67
Sep 23   20053423 *                558.45     Sep 24     20053463                394.97
Sep 23   20053424                  593.61     Sep 23     20053464                351.33




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            NORPAC FOODS INC DIP                       9-161
            CASE # 19-62584
            PAYROLL ACCOUNT
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            SALEM OR 97309                  999                          See Back for Important Information


                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 23   20053465                  359.43     Sep 24     20053506                554.67
Sep 23   20053466                  473.56     Sep 23     20053507                542.42
Sep 23   20053467                  951.52     Sep 23     20053508                617.90
Sep 23   20053468                  507.37     Sep 20     20053509                565.21
Sep 23   20053469                  538.51     Sep 25     20053510                580.36
Sep 23   20053470                  506.75     Sep 23     20053511                560.38
Sep 23   20053471                  580.12     Sep 26     20053512                520.88
Sep 23   20053472                  548.57     Sep 27     20053513                357.81
Sep 23   20053473                   75.48     Sep 23     20053514                255.48
Sep 23   20053474                  470.44     Sep 30     20053515                 83.20
Sep 27   20053476 *                537.87     Sep 23     20053516                482.26
Sep 23   20053477                  506.57     Sep 24     20053517                 75.16
Sep 23   20053478                  489.16     Sep 24     20053518                583.67
Sep 23   20053480 *                713.90     Sep 23     20053519                489.78
Sep 23   20053481                  533.51     Sep 23     20053520                448.43
Sep 25   20053482                  583.66     Sep 23     20053521                520.25
Sep 23   20053483                  383.62     Sep 23     20053522                356.17
Sep 23   20053484                  555.88     Sep 23     20053523                526.08
Sep 23   20053485                  506.61     Sep 23     20053524                397.25
Sep 23   20053486                  407.42     Sep 23     20053525                418.83
Sep 24   20053487                  433.85     Sep 23     20053526                560.38
Sep 23   20053488                  485.96     Sep 23     20053527                470.35
Sep 23   20053489                  501.28     Sep 27     20053528                538.82
Sep 23   20053490                  506.57     Sep 25     20053529                483.68
Sep 26   20053491                  161.07     Sep 23     20053530                385.13
Sep 23   20053492                  436.77     Sep 23     20053531                 77.20
Sep 23   20053493                  624.97     Sep 23     20053532                138.15
Sep 23   20053494                  586.68     Sep 23     20053533                457.67
Sep 23   20053495                  455.27     Sep 23     20053534                572.59
Sep 24   20053496                  601.56     Sep 23     20053535                378.63
Sep 23   20053497                  319.52     Sep 24     20053536                654.46
Sep 24   20053498                  295.48     Sep 23     20053538 *              637.53
Sep 23   20053499                   75.48     Sep 23     20053539                474.17
Sep 23   20053500                  344.97     Sep 23     20053541 *              498.78
Sep 23   20053501                  473.56     Sep 23     20053544 *              545.55
Sep 23   20053502                  478.72     Sep 23     20053545                555.76
Sep 23   20053503                  481.22     Sep 23     20053546                495.01
Sep 23   20053504                  597.61     Sep 23     20053547                510.03
Sep 23   20053505                  394.77     Sep 23     20053548                477.75




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                                                                    Primary Account:       8760         2322

Date     Serial Nbr              Amount     Date       Serial Nbr              Amount
Sep 23   20053549                520.18     Sep 26     20053592                503.51
Sep 23   20053550                190.13     Sep 23     20053593                491.08
Sep 23   20053551                497.04     Sep 23     20053595 *              492.98
Sep 23   20053552              1,067.74     Sep 23     20053596                169.17
Sep 30   20053553                639.42     Sep 23     20053599 *              415.84
Sep 23   20053554                346.73     Sep 23     20053600                314.42
Sep 23   20053555                451.32     Sep 23     20053601                349.77
Sep 24   20053556                592.73     Sep 23     20053602                222.28
Sep 23   20053557                396.17     Sep 23     20053603                386.39
Sep 23   20053558                474.16     Sep 23     20053604                 71.01
Sep 23   20053559                452.27     Sep 23     20053605                162.71
Sep 25   20053560                225.92     Sep 27     20053606                231.06
Sep 24   20053561                556.22     Sep 23     20053607                272.99
Sep 23   20053562                509.11     Sep 23     20053608                289.95
Sep 25   20053563                339.18     Sep 23     20053609                359.69
Sep 23   20053564                 62.77     Sep 24     20053610                312.68
Sep 26   20053567 *              498.18     Sep 24     20053611                479.03
Sep 26   20053568                356.02     Sep 23     20053613 *              231.07
Sep 26   20053569                509.86     Sep 25     20053614                231.63
Sep 23   20053570                470.16     Sep 23     20053615                261.41
Sep 23   20053571              1,338.53     Sep 23     20053616                292.14
Sep 25   20053572                560.38     Sep 24     20053617                310.17
Sep 23   20053573                470.53     Sep 23     20053618                330.67
Sep 23   20053574                560.38     Sep 30     20053619                353.89
Sep 23   20053575                531.35     Sep 24     20053620                194.25
Sep 25   20053576                398.03     Sep 24     20053622 *              428.08
Sep 23   20053577                523.51     Sep 23     20053623                259.45
Sep 23   20053578                502.34     Sep 23     20053624                231.04
Sep 20   20053579                503.77     Sep 23     20053625                168.97
Sep 23   20053581 *              585.46     Sep 23     20053626                339.31
Sep 23   20053583 *              493.38     Sep 23     20053627                140.30
Sep 23   20053584                566.05     Sep 30     20053628                 48.01
Sep 23   20053585                295.34     Sep 23     20053629                215.47
Sep 23   20053586                392.21     Sep 23     20053631 *              336.32
Sep 23   20053587                637.65     Sep 23     20053633 *              202.05
Sep 24   20053588                352.79     Sep 26     20053634                448.64
Sep 25   20053589                284.69     Sep 23     20053635                238.33
Sep 25   20053590                185.44     Sep 23     20053636                307.14
Sep 23   20053591                596.99     Sep 26     20053637                402.90




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                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 23   20053638                  262.15     Sep 30     20053680                373.04
Sep 25   20053639                  299.94     Sep 30     20053681                265.68
Sep 25   20053640                  469.21     Sep 23     20053682                341.14
Sep 30   20053641                  359.10     Sep 26     20053683                237.79
Sep 23   20053642                  267.14     Sep 23     20053684                233.59
Sep 23   20053643                  488.95     Sep 23     20053685                279.99
Sep 23   20053644                  294.49     Sep 23     20053686                500.47
Sep 23   20053646 *                300.17     Sep 20     20053687                335.68
Sep 20   20053647                  284.99     Sep 23     20053688                878.93
Sep 23   20053648                  325.02     Sep 23     20053689                258.82
Sep 23   20053649                  526.32     Sep 23     20053690                177.92
Sep 30   20053650                  346.71     Sep 27     20053691                308.95
Sep 30   20053651                  194.27     Sep 23     20053692                448.71
Sep 23   20053652                  383.22     Sep 23     20053693                306.57
Sep 24   20053653                  455.75     Sep 23     20053694                323.62
Sep 26   20053654                  364.12     Sep 24     20053695                267.30
Sep 23   20053655                  308.53     Sep 23     20053697 *              258.40
Sep 23   20053656                  299.47     Sep 23     20053698                325.45
Sep 30   20053658 *                322.28     Sep 30     20053699                325.02
Sep 23   20053659                  273.21     Sep 23     20053700                242.15
Sep 23   20053660                  286.11     Sep 24     20053701                190.91
Sep 23   20053661                  200.17     Sep 30     20053702                295.06
Sep 23   20053662                  322.87     Sep 24     20053703                261.07
Sep 23   20053663                  342.13     Sep 23     20053704                142.81
Sep 23   20053664                  330.68     Sep 30     20053705                169.65
Sep 23   20053666 *                319.04     Sep 23     20053706                308.80
Sep 23   20053667                  434.84     Sep 24     20053707                290.78
Sep 23   20053668                   55.83     Sep 24     20053708                334.77
Sep 23   20053669                  554.05     Sep 23     20053709                231.06
Sep 24   20053670                   87.88     Sep 23     20053710                260.17
Sep 23   20053671                   89.44     Sep 25     20053711                319.05
Sep 23   20053672                  454.75     Sep 23     20053712                302.89
Sep 23   20053673                  537.62     Sep 23     20053713                294.73
Sep 23   20053674                  476.00     Sep 23     20053714                275.93
Sep 23   20053675                  520.69     Sep 23     20053715                321.29
Sep 24   20053676                  319.65     Sep 23     20053716                298.99
Sep 24   20053677                  318.96     Sep 30     20053717                310.17
Sep 23   20053678                  485.64     Sep 23     20053718                417.68
Sep 23   20053679                  280.81     Sep 23     20053719                310.53




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            NORPAC FOODS INC DIP                       9-161
            CASE # 19-62584
            PAYROLL ACCOUNT
            PO BOX 14444
            SALEM OR 97309                  999                          See Back for Important Information


                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 23   20053720                  328.86     Sep 25     20053765 *              391.34
Sep 23   20053721                  189.41     Sep 23     20053766                332.89
Sep 23   20053724 *                262.15     Sep 24     20053767                 72.28
Sep 30   20053725                  205.23     Sep 23     20053768                283.06
Sep 23   20053726                  342.34     Sep 23     20053769                255.81
Sep 23   20053727                  405.61     Sep 23     20053770                434.44
Sep 27   20053728                  340.02     Sep 23     20053772 *              397.65
Sep 23   20053729                  356.09     Sep 23     20053775 *              363.28
Sep 23   20053730                  353.64     Sep 24     20053776                283.79
Sep 25   20053731                  777.69     Sep 23     20053777                588.26
Sep 24   20053732                  281.07     Sep 20     20053778                470.71
Sep 23   20053733                  250.15     Sep 23     20053779                243.99
Sep 23   20053735 *                264.71     Sep 30     20053780                339.31
Sep 24   20053736                  319.65     Sep 23     20053781                460.10
Sep 24   20053737                  306.35     Sep 25     20053782                281.80
Sep 23   20053738                  210.55     Sep 30     20053783              1,408.46
Sep 23   20053740 *                188.98     Sep 23     20053785 *            1,296.86
Sep 25   20053741                  231.58     Sep 23     20053786              1,518.56
Sep 23   20053742                  230.07     Sep 23     20053787              1,236.58
Sep 26   20053743                  145.61     Sep 23     20053788              1,099.92
Sep 23   20053744                   71.53     Sep 24     20053789              1,286.67
Sep 30   20053745                  335.44     Sep 23     20053790              1,038.83
Sep 23   20053746                  426.33     Sep 25     20053791                205.22
Sep 23   20053747                  315.64     Sep 25     20053797 *              104.86
Sep 23   20053748                  294.75     Sep 25     20053798                154.74
Sep 23   20053749                  282.35     Sep 27     20053801 *              232.89
Sep 24   20053750                  373.33     Sep 27     20053802                 87.84
Sep 23   20053751                  243.98     Sep 26     20053803                117.49
Sep 24   20053752                  330.89     Sep 26     20053804                 87.14
Sep 24   20053753                  333.26     Sep 26     20053805                 93.33
Sep 23   20053754                  275.32     Sep 26     20053806                121.62
Sep 23   20053755                  232.67     Sep 25     20053807                 65.00
Sep 23   20053756                  351.01     Sep 26     20053808                545.00
Sep 23   20053757                  417.86     Sep 27     20053809                122.55
Sep 24   20053758                  345.71     Sep 25     20053810                101.87
Sep 24   20053759                  541.97     Sep 25     20053811                 37.82
Sep 23   20053760                  317.98     Sep 23     20053813 *              204.85
Sep 27   20053761                  275.24     Sep 24     20053814              1,433.22
Sep 23   20053762                  269.36     Sep 30     20053815                 80.92




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            NORPAC FOODS INC DIP                       9-161
            CASE # 19-62584
            PAYROLL ACCOUNT
            PO BOX 14444
            SALEM OR 97309                  999                          See Back for Important Information


                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 27   20053816                   87.71     Sep 30     20053895                461.98
Sep 30   20053818 *                333.17     Sep 30     20053896                567.97
Sep 30   20053819                  351.47     Sep 30     20053897                490.00
Sep 30   20053820                  426.22     Sep 30     20053900 *              152.12
Sep 30   20053821                  428.74     Sep 30     20053902 *              647.02
Sep 30   20053825 *                425.24     Sep 30     20053903              1,286.70
Sep 30   20053827 *                441.12     Sep 30     20053904                581.49
Sep 30   20053828                  414.92     Sep 30     20053905                288.04
Sep 30   20053830 *                208.67     Sep 30     20053908 *              858.13
Sep 30   20053832 *                561.34     Sep 30     20053909                197.55
Sep 30   20053833                  495.15     Sep 30     20053911 *              432.32
Sep 30   20053834                  520.88     Sep 30     20053915 *              292.00
Sep 30   20053838 *                539.65     Sep 30     20053917 *              675.94
Sep 30   20053840 *                383.71     Sep 30     20053919 *              427.09
Sep 30   20053841                  452.73     Sep 30     20053920                399.42
Sep 30   20053845 *                412.56     Sep 30     20053921                438.31
Sep 30   20053849 *                439.23     Sep 30     20053922                364.17
Sep 30   20053850                  344.75     Sep 30     20053923                430.24
Sep 30   20053851                  426.22     Sep 30     20053924                166.08
Sep 30   20053852                  560.73     Sep 30     20053925                400.75
Sep 30   20053855 *                397.75     Sep 30     20053929 *              715.12
Sep 30   20053859 *                455.91     Sep 30     20053930                866.38
Sep 30   20053860                  470.19     Sep 30     20053931                301.09
Sep 30   20053862 *                544.06     Sep 30     20053933 *            1,378.32
Sep 30   20053867 *                452.66     Sep 30     20053934                430.11
Sep 30   20053871 *                505.31     Sep 30     20053935                453.56
Sep 30   20053872                  809.92     Sep 30     20053937 *              415.99
Sep 30   20053873                  509.89     Sep 30     20053938                566.83
Sep 27   20053874                  459.90     Sep 30     20053939                389.13
Sep 30   20053876 *                337.77     Sep 30     20053940                478.39
Sep 30   20053879 *                439.43     Sep 30     20053941                508.39
Sep 30   20053880                  508.38     Sep 30     20053945 *              412.88
Sep 30   20053882 *                402.21     Sep 30     20053946                412.10
Sep 30   20053884 *                210.54     Sep 30     20053947                436.40
Sep 30   20053889 *                430.11     Sep 30     20053948                591.67
Sep 30   20053890                  441.18     Sep 30     20053949                441.19
Sep 30   20053892 *                416.01     Sep 30     20053950                414.92
Sep 30   20053893                  416.55     Sep 30     20053951                236.43
Sep 30   20053894                  428.68     Sep 30     20053952                830.92




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            NORPAC FOODS INC DIP                       9-161
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            PAYROLL ACCOUNT
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                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 30   20053953                  201.83     Sep 30     20054033                423.60
Sep 30   20053957 *                451.33     Sep 30     20054036 *              260.29
Sep 30   20053958                  721.47     Sep 30     20054039 *              601.80
Sep 30   20053959                  121.62     Sep 30     20054040                334.12
Sep 30   20053964 *                428.70     Sep 30     20054042 *              569.27
Sep 30   20053966 *                429.50     Sep 30     20054043                272.88
Sep 30   20053967                  568.71     Sep 30     20054046 *              591.42
Sep 30   20053971 *                424.77     Sep 30     20054047                407.44
Sep 30   20053974 *                382.24     Sep 30     20054048                516.10
Sep 30   20053975                  417.41     Sep 30     20054049                632.90
Sep 30   20053976                  284.65     Sep 30     20054050                560.23
Sep 30   20053977                  560.69     Sep 30     20054051                596.28
Sep 30   20053982 *                441.18     Sep 30     20054054 *              485.40
Sep 30   20053983                  861.21     Sep 30     20054055                473.87
Sep 30   20053985 *                499.59     Sep 30     20054056                559.70
Sep 30   20053986                  428.74     Sep 30     20054057                543.50
Sep 30   20053987                  229.21     Sep 30     20054058                736.34
Sep 30   20053988                  574.34     Sep 30     20054061 *              346.90
Sep 30   20053989                  465.94     Sep 30     20054063 *              449.29
Sep 30   20053990                  410.84     Sep 30     20054065 *              489.01
Sep 30   20053999 *                414.92     Sep 30     20054066                207.39
Sep 30   20054000                  445.37     Sep 30     20054067                414.90
Sep 30   20054005 *                419.20     Sep 30     20054068                430.12
Sep 30   20054006                  444.25     Sep 30     20054070 *              430.10
Sep 30   20054008 *                422.55     Sep 30     20054071                779.03
Sep 30   20054011 *                612.22     Sep 30     20054074 *              365.50
Sep 30   20054012                  412.56     Sep 30     20054075                428.69
Sep 30   20054013                  479.64     Sep 30     20054077 *              441.69
Sep 30   20054014                  349.83     Sep 30     20054079 *              439.73
Sep 30   20054017 *                430.10     Sep 30     20054081 *              521.07
Sep 27   20054018                  533.76     Sep 30     20054084 *              574.14
Sep 30   20054021 *                414.12     Sep 30     20054086 *              438.37
Sep 30   20054022                  887.88     Sep 30     20054087              1,337.94
Sep 30   20054023                  771.48     Sep 30     20054088                420.07
Sep 30   20054024                  308.45     Sep 30     20054089                378.53
Sep 30   20054028 *                768.18     Sep 30     20054091 *              583.99
Sep 30   20054029                  680.33     Sep 30     20054092                365.60
Sep 30   20054031 *                417.80     Sep 30     20054093                516.56
Sep 30   20054032                  567.48     Sep 30     20054094                335.60




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            PO BOX 14444
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                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 30   20054095                  275.96     Sep 30     20054164                609.22
Sep 30   20054097 *                352.50     Sep 30     20054165                549.51
Sep 30   20054098                  518.82     Sep 30     20054167 *              424.87
Sep 30   20054099                  377.67     Sep 27     20054168                715.05
Sep 30   20054100                  521.07     Sep 30     20054169                602.59
Sep 30   20054101                  352.12     Sep 30     20054170                648.65
Sep 30   20054102                  319.56     Sep 30     20054171                670.67
Sep 30   20054104 *                392.39     Sep 30     20054172                628.46
Sep 30   20054105                  365.60     Sep 27     20054176 *              425.24
Sep 30   20054107 *                478.38     Sep 30     20054179 *              623.17
Sep 30   20054108                  390.15     Sep 30     20054182 *              364.91
Sep 30   20054109                  675.45     Sep 30     20054183                304.19
Sep 27   20054111 *                315.58     Sep 30     20054187 *              407.71
Sep 30   20054114 *                437.52     Sep 27     20054188                324.04
Sep 30   20054115                  365.60     Sep 27     20054190 *              577.35
Sep 30   20054116                  451.81     Sep 30     20054191                523.16
Sep 30   20054117                  325.20     Sep 30     20054192              1,025.88
Sep 30   20054118                  472.19     Sep 30     20054193                266.59
Sep 30   20054119                  315.66     Sep 30     20054195 *              585.40
Sep 30   20054123 *                500.23     Sep 30     20054196                598.32
Sep 30   20054124                  548.16     Sep 30     20054197                539.91
Sep 30   20054126 *                617.78     Sep 30     20054198                444.78
Sep 30   20054127                  710.95     Sep 30     20054199                615.40
Sep 30   20054129 *                472.39     Sep 30     20054200                826.83
Sep 30   20054130                  413.48     Sep 30     20054203 *              702.51
Sep 30   20054131                  536.56     Sep 30     20054207 *              399.31
Sep 30   20054139 *                322.91     Sep 30     20054208                542.76
Sep 30   20054141 *                695.04     Sep 30     20054209                263.25
Sep 30   20054146 *                441.43     Sep 30     20054211 *              473.44
Sep 30   20054147                  516.38     Sep 30     20054212                554.09
Sep 30   20054150 *                557.06     Sep 30     20054217 *              572.28
Sep 30   20054151                  536.57     Sep 30     20054218                500.21
Sep 30   20054152                  572.43     Sep 30     20054219                379.00
Sep 30   20054153                  558.70     Sep 30     20054221 *              704.90
Sep 30   20054157 *                548.89     Sep 30     20054223 *              712.03
Sep 30   20054160 *                866.86     Sep 30     20054226 *              327.80
Sep 30   20054161                  866.86     Sep 30     20054228 *              376.39
Sep 30   20054162                  620.46     Sep 30     20054229                379.98
Sep 30   20054163                  376.85     Sep 30     20054230                119.43




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                                                                               565 FIFTH AVENUE
                                                                               NEW YORK, NY 10017




            NORPAC FOODS INC DIP                       9-161
            CASE # 19-62584
            PAYROLL ACCOUNT
            PO BOX 14444
            SALEM OR 97309                  999                          See Back for Important Information


                                                                      Primary Account:       8760         2322

Date     Serial Nbr                Amount     Date       Serial Nbr              Amount
Sep 30   20054231                  466.91     Sep 30     20054296                788.08
Sep 30   20054232                  440.72     Sep 30     20054297                325.19
Sep 30   20054233                  343.58     Sep 30     20054299 *              363.21
Sep 30   20054234                  530.85     Sep 30     20054301 *              613.63
Sep 30   20054235                  530.88     Sep 30     20054304 *              577.48
Sep 30   20054237 *                415.74     Sep 30     20054306 *              618.15
Sep 30   20054238                  603.61     Sep 30     20054308 *              413.21
Sep 30   20054240 *                354.52     Sep 30     20054311 *              283.80
Sep 30   20054241                  559.61     Sep 30     20054312                451.71
Sep 30   20054244 *                449.40     Sep 30     20054313                479.58
Sep 30   20054245                  521.07     Sep 30     20054314                337.21
Sep 30   20054246                  544.70     Sep 30     20054315                516.24
Sep 30   20054247                  295.68     Sep 30     20054316                363.19
Sep 30   20054249 *                372.67     Sep 30     20054320 *              622.05
Sep 30   20054251 *                372.67     Sep 30     20054321                385.39
Sep 30   20054253 *                585.26     Sep 30     20054323 *              200.18
Sep 30   20054254                  592.75     Sep 30     20054324                377.68
Sep 30   20054256 *                566.15     Sep 30     20054325                489.87
Sep 30   20054258 *                442.03     Sep 30     20054326                438.30
Sep 30   20054259                  264.83     Sep 30     20054327                539.53
Sep 30   20054263 *                715.20     Sep 30     20054329 *              489.87
Sep 30   20054264                  579.81     Sep 30     20054331 *              593.15
Sep 30   20054265                  263.91     Sep 30     20054332                389.08
Sep 30   20054268 *                435.06     Sep 30     20054333                521.07
Sep 30   20054269                  757.00     Sep 30     20054334                315.57
Sep 30   20054271 *                613.86     Sep 30     20054336 *              685.04
Sep 30   20054272                  516.25     Sep 30     20054343 *              550.97
Sep 30   20054274 *                693.03     Sep 30     20054344                507.75
Sep 30   20054275                  551.65     Sep 30     20054346 *              390.07
Sep 30   20054277 *                986.41     Sep 30     20054347                435.62
Sep 30   20054278                  245.87     Sep 30     20054348                979.98
Sep 30   20054282 *                489.94     Sep 30     20054349                458.87
Sep 30   20054283                  678.54     Sep 30     20054350                256.28
Sep 30   20054284                  521.07     Sep 30     20054352 *              533.50
Sep 30   20054287 *                532.93     Sep 30     20054356 *              630.76
Sep 30   20054290 *                352.11     Sep 30     20054358 *              427.64
Sep 30   20054293 *                832.41     Sep 30     20054360 *              260.93
Sep 30   20054294                  332.10     Sep 30     20054362 *              521.12
Sep 30   20054295                  645.19     Sep 30     20054364 *              552.28




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            NORPAC FOODS INC DIP                     9-161
            CASE # 19-62584
            PAYROLL ACCOUNT
            PO BOX 14444
            SALEM OR 97309                999                          See Back for Important Information


                                                                    Primary Account:       8760         2322

Date     Serial Nbr              Amount     Date       Serial Nbr              Amount
Sep 30   20054365                328.26     Sep 30     20054428                244.34
Sep 30   20054366                561.36     Sep 30     20054431 *              441.17
Sep 30   20054367                588.46     Sep 30     20054432                536.58
Sep 30   20054368                619.98     Sep 30     20054434 *              275.34
Sep 30   20054369                354.61     Sep 30     20054435                654.96
Sep 30   20054371 *              604.29     Sep 30     20054436                601.16
Sep 30   20054372                572.42     Sep 30     20054439 *              302.08
Sep 30   20054374 *              372.53     Sep 30     20054441 *              281.66
Sep 30   20054377 *              494.79     Sep 30     20054442                377.68
Sep 30   20054379 *              462.88     Sep 30     20054444 *              340.03
Sep 30   20054380                486.21     Sep 30     20054445                327.68
Sep 30   20054381                556.41     Sep 30     20054448 *              584.67
Sep 30   20054384 *              804.15     Sep 30     20054449                572.44
Sep 30   20054385                393.23     Sep 27     20054451 *              604.94
Sep 30   20054386                562.31     Sep 30     20054454 *              556.45
Sep 30   20054387                649.57     Sep 30     20054458 *              244.97
Sep 30   20054388                446.93     Sep 30     20054461 *              613.67
Sep 30   20054389                431.70     Sep 30     20054463 *              365.61
Sep 30   20054390                528.10     Sep 30     20054464                550.27
Sep 30   20054391                877.21     Sep 30     20054465                294.83
Sep 30   20054393 *              550.26     Sep 30     20054466                572.30
Sep 30   20054394                340.04     Sep 30     20054468 *              412.09
Sep 30   20054395                623.61     Sep 30     20054469                585.76
Sep 30   20054401 *              501.47     Sep 30     20054472 *              496.02
Sep 30   20054404 *              315.57     Sep 30     20054474 *              290.35
Sep 30   20054406 *              503.55     Sep 30     20054476 *              602.58
Sep 30   20054407              1,002.53     Sep 30     20054480 *              651.59
Sep 30   20054408                422.72     Sep 30     20054481                381.33
Sep 30   20054410 *              568.51     Sep 30     20054482                412.54
Sep 30   20054411                536.74     Sep 30     20054483                498.17
Sep 30   20054413 *              629.03     Sep 30     20054485 *              440.72
Sep 30   20054414                193.28     Sep 30     20054486                366.69
Sep 30   20054419 *              536.58     Sep 30     20054487                365.61
Sep 30   20054420                402.86     Sep 30     20054488                458.91
Sep 30   20054423 *              281.30     Sep 30     20054490 *              363.20
Sep 30   20054424                613.67     Sep 27     20054493 *              435.08
Sep 30   20054425                590.51     Sep 30     20054494                451.33
Sep 30   20054426                590.24     Sep 30     20054496 *              340.05
Sep 30   20054427                428.53     Sep 30     20054497                361.40




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            NORPAC FOODS INC DIP                     9-161
            CASE # 19-62584
            PAYROLL ACCOUNT
            PO BOX 14444
            SALEM OR 97309                999                          See Back for Important Information


                                                                    Primary Account:       8760         2322

Date     Serial Nbr              Amount     Date       Serial Nbr              Amount
Sep 30   20054500 *              369.79     Sep 30     20054586                458.47
Sep 30   20054507 *              294.34     Sep 30     20054588 *              316.13
Sep 30   20054511 *              377.88     Sep 30     20054589                556.42
Sep 30   20054512                585.76     Sep 30     20054590                607.84
Sep 30   20054514 *              352.12     Sep 30     20054591                461.21
Sep 30   20054515                372.40     Sep 30     20054592                431.74
Sep 30   20054516                528.85     Sep 30     20054593                423.77
Sep 30   20054517                441.39     Sep 30     20054595 *              352.27
Sep 30   20054519 *              617.79     Sep 30     20054596                313.19
Sep 30   20054521 *              596.05     Sep 30     20054597                105.19
Sep 30   20054526 *              650.98     Sep 30     20054598                316.11
Sep 30   20054530 *              377.15     Sep 30     20054601 *               83.47
Sep 30   20054531                328.26     Sep 30     20054602                371.57
Sep 30   20054534 *            1,102.80     Sep 30     20054603                466.76
Sep 30   20054535                155.67     Sep 30     20054607 *              305.13
Sep 30   20054537 *              530.37     Sep 30     20054608                721.71
Sep 30   20054544 *              490.42     Sep 30     20054609                230.16
Sep 30   20054549 *              291.60     Sep 30     20054610                 89.73
Sep 30   20054550                324.77     Sep 30     20054612 *              494.76
Sep 30   20054553 *              466.77     Sep 30     20054613                710.75
Sep 30   20054554                383.87     Sep 30     20054615 *              521.22
Sep 30   20054557 *              599.51     Sep 30     20054616                 62.12
Sep 30   20054559 *              355.26     Sep 30     20054619 *              545.62
Sep 30   20054561 *              369.30     Sep 30     20054620                107.80
Sep 30   20054563 *              233.00     Sep 30     20054624 *              360.27
Sep 30   20054566 *              366.32     Sep 30     20054627 *              337.61
Sep 30   20054570 *              365.24     Sep 30     20054628                682.98
Sep 30   20054572 *              546.64     Sep 30     20054629                466.76
Sep 30   20054573                292.14     Sep 30     20054630              1,179.95
Sep 30   20054574                329.84     Sep 30     20054631                213.99
Sep 30   20054576 *              477.98     Sep 30     20054632                261.28
Sep 30   20054577                294.93     Sep 30     20054633                323.73
Sep 30   20054578                695.85     Sep 30     20054637 *              385.31
Sep 30   20054579                622.47     Sep 30     20054641 *              382.60
Sep 30   20054580                486.87     Sep 30     20054642                356.38
Sep 30   20054581                131.16     Sep 30     20054643                458.48
Sep 30   20054583 *              509.83     Sep 30     20054645 *              361.38
Sep 30   20054584                314.72     Sep 30     20054646                321.78
Sep 30   20054585                458.48     Sep 30     20054647                385.45




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             NORPAC FOODS INC DIP                      9-161
             CASE # 19-62584
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                 999                          See Back for Important Information


                                                                      Primary Account:       8760         2322

 Date     Serial Nbr              Amount      Date       Serial Nbr              Amount
 Sep 30   20054648                249.41      Sep 30     20054688 *              359.67
 Sep 30   20054650 *              411.95      Sep 30     20054689                460.55
 Sep 30   20054653 *              355.55      Sep 30     20054690                570.08
 Sep 30   20054654                381.73      Sep 30     20054691                344.36
 Sep 30   20054656 *              427.26      Sep 30     20054692                326.38
 Sep 30   20054657                443.19      Sep 30     20054695 *              375.13
 Sep 30   20054658                397.31      Sep 30     20054698 *              395.42
 Sep 30   20054660 *              424.20      Sep 30     20054700 *              477.98
 Sep 30   20054662 *            1,158.45      Sep 30     20054701                562.18
 Sep 30   20054663                174.20      Sep 30     20054702                381.71
 Sep 30   20054664                418.09      Sep 30     20054703                777.28
 Sep 30   20054665                454.83      Sep 30     20054704                399.38
 Sep 30   20054666                401.98      Sep 30     20054713 *              668.54
 Sep 30   20054667                105.19      Sep 30     20054714                359.64
 Sep 30   20054670 *              288.80      Sep 30     20054717 *              620.79
 Sep 30   20054671                306.28      Sep 30     20054720 *              401.29
 Sep 30   20054672                466.43      Sep 30     20054721                322.12
 Sep 30   20054675 *              501.68      Sep 30     20054722                637.27
 Sep 30   20054678 *              405.26      Sep 30     20054723                500.72
 Sep 30   20054679                374.34      Sep 30     20054724                369.19
 Sep 30   20054680                395.42      Sep 26     20054743 *              169.17
 Sep 30   20054684 *              314.20      Sep 30     20954457 *               49.42

                 * Indicates break in check sequence

Daily Balances
 Aug 31                  .00




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                                                                             NEW YORK, NY 10017




             NORPAC FOODS INC DIP                    8-161
             CASE # 19-62584
             CONCENTRATION ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                     See Back for Important Information


                                                                    Primary Account:         8906         0

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      8906      BANKRUPTCY CHECKING                               8,883,115.43                  8,172,115.24

              RELATIONSHIP             TOTAL                                                    8,172,115.24




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                                                                                  565 FIFTH AVENUE
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             NORPAC FOODS INC DIP                    8-161
             CASE # 19-62584
             CONCENTRATION ACCOUNT
             PO BOX 14444
             SALEM OR 97309                  999                            See Back for Important Information


                                                                         Primary Account:       8906           0


BANKRUPTCY CHECKING                  8906




Summary

 Previous Balance as of September 01, 2019                                                         8,883,115.43
       16 Credits                                                                                 24,595,468.84
      134 Debits                                                                                  25,306,469.03
 Ending Balance as of   September 30, 2019                                                         8,172,115.24


Deposits and Other Credits
 Sep 03 ZBA/TBA TRANSFER IN                                                                            113,985.80
         ZBA/SWEEP TRANSFER FROM          8752
 Sep 05 INCOMING WIRE                                                                              5,000,000.00
         REF# 20190905B6B7261F00212809051645FT03
         FROM: NORPAC FOODS INC                    ABA:      121000248
         BANK:
 Sep 10 INCOMING WIRE                                                                              4,000,000.00
         REF# 20190910B6B7261F00096409101214FT03
         FROM: NORPAC FOODS INC                    ABA:      121000248
         BANK:
 Sep 16 REMOTE CAPTURE ref#                                                                              1,295.00
 Sep 16 INCOMING WIRE                                                                                  107,816.15
         REF# 20190916B6B7261F00074409161103FT03
         FROM: VLM FOODS USA LTD                   ABA:      026008248
         BANK:
 Sep 16 REMOTE CAPTURE ref#                                                                          135,173.09
 Sep 16 INCOMING WIRE                                                                              5,000,000.00
         REF# 20190916B6B7261F00129209161356FT03
         FROM: NORPAC FOODS INC                    ABA:      121000248
         BANK:
 Sep 19 REMOTE CAPTURE ref#                                                                           14,481.92
 Sep 19 REMOTE CAPTURE ref#                                                                           34,093.43
 Sep 20 INCOMING WIRE                                                                              4,000,000.00
         REF# 20190920B6B7261F00104709201231FT03
         FROM: NORPAC FOODS INC                    ABA:      121000248




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                                                                                        NEW YORK, NY 10017




                NORPAC FOODS INC DIP                       8-161
                CASE # 19-62584
                CONCENTRATION ACCOUNT
                PO BOX 14444
                SALEM OR 97309                 999                                See Back for Important Information


                                                                               Primary Account:       8906           0

 Date                      Description
             BANK:
 Sep    24   REMOTE CAPTURE ref#                                                                           299,745.51
 Sep    25   REMOTE CAPTURE ref#                                                                            21,345.40
 Sep    25   REMOTE CAPTURE ref#                                                                            26,631.78
 Sep    26   REMOTE CAPTURE ref#                                                                           176,431.62
 Sep    26   INCOMING WIRE                                                                               5,000,000.00
             REF# 20190926B6B7261F00129509261235FT03
             FROM: NORPAC FOODS INC                      ABA:      121000248
             BANK:
 Sep 30      REMOTE CAPTURE ref#                                                                             664,469.14

Withdrawals and Other Debits
 Sep 04 TELEPHONE XFER DR                                                                                     80,402.48
         TELEPHONE TRANSFER TO: XXXXXX8752
 Sep 05 ZBA/TBA XFER OUT                                                                                 2,222,632.26
         ZBA/SWEEP TRANSFER TO             8752
 Sep 06 TELEPHONE XFER DR                                                                                      3,000.00
         TELEPHONE TRANSFER TO: XXXXXX8752
 Sep 06 TRANSFER DR      TRANSFER DR 0                                                                        50,000.00
         TRANSFER TO:        XXXXXX8795
 Sep 06 TELEPHONE XFER DR                                                                                2,897,977.54
         TELEPHONE TRANSFER TO: XXXXXX8752
 Sep 09 OUTGOING WIRE                                                                                          7,072.47
         REF# 20190909B6B7261F002240
         TO:   Providence Health                         ABA:   123000220
         BANK: US BANK, NA                             ACCT# 153603097194
         OBI: 1930863097- Hermiston
         OBI:
         OBI:
 Sep 09 OUTGOING WIRE                                                                                         16,181.00
         REF# 20190909B6B7261F002238
         TO:   Freedom Packaging                         ABA:   121143736
         BANK: SANTA CRUZ COUNTY BANK                  ACCT# 023005234
 Sep 09 OUTGOING WIRE                                                                                         27,217.11
         REF# 20190909B6B7261F002239
         TO:   Devin Oil                                 ABA:   123203535
         BANK: BANK OF EASTERN OREGON                  ACCT# 7620020649
 Sep 09 OUTGOING WIRE                                                                                         35,432.00
         REF# 20190909B6B7261F002428




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             NORPAC FOODS INC DIP                     8-161
             CASE # 19-62584
             CONCENTRATION ACCOUNT
             PO BOX 14444
             SALEM OR 97309                 999                              See Back for Important Information


                                                                          Primary Account:       8906           0

Date                   Description
         TO:   Sure-Fresh Produce, Inc              ABA:   107007508
         BANK: CoBank                             ACCT# 1388148234
Sep 09   OUTGOING WIRE                                                                                   40,815.56
         REF# 20190909B6B7261F002245
         TO:   Dickinson Frozen Foods               ABA:   026009593
         BANK: BANK OF AMERICA, N.A., NY          ACCT# 485008742422
Sep 09   OUTGOING WIRE                                                                                   83,254.21
         REF# 20190909B6B7261F002243
         TO:   Townsend Farms                       ABA:   121100782
         BANK: BANK OF THE WEST (CA)              ACCT# 199000118
Sep 09   OUTGOING WIRE                                                                                   84,348.00
         REF# 20190909B6B7261F002244
         TO:   Eckert Cold Storage Co               ABA:   121101037
         BANK: BANK OF STOCKTON                   ACCT# 2545567201
Sep 09   OUTGOING WIRE                                                                                  113,985.80
         REF# 20190909B6B7261F002242
         TO:   Providence Health                    ABA:   123000220
         BANK: US BANK, NA                        ACCT# 153603097194
         OBI: 1930863097- NORPAC
         OBI:
         OBI:
Sep 09   OUTGOING WIRE                                                                                  127,766.00
         REF# 20190909B6B7261F002219
         TO:   WestRock Financial, Inc              ABA:   111000012
         BANK: BANK OF AMERICA, N.A., TX          ACCT# 3750677531
Sep 09   OUTGOING WIRE                                                                                  153,937.41
         REF# 20190909B6B7261F002241
         TO:   Providence Health                    ABA:   123000220
         BANK: US BANK, NA                        ACCT# 153603097194
         OBI: 1930863097-Quincy
         OBI:
         OBI:
Sep 09   OUTGOING WIRE                                                                                  388,186.59
         REF# 20190909B6B7261F002222
         TO:   Wawona                               ABA:   121137522
         BANK: COMERICA BANK                      ACCT# 1892634310
Sep 09   OUTGOING WIRE                                                                                  757,689.28
         REF# 20190909B6B7261F002221
         TO:   Expor San Antonio, S.A. DE C.V       ABA:      061000104




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             NORPAC FOODS INC DIP                     8-161
             CASE # 19-62584
             CONCENTRATION ACCOUNT
             PO BOX 14444
             SALEM OR 97309                 999                           See Back for Important Information


                                                                       Primary Account:       8906            0

Date                   Description
         BANK: SUNTRUST BANK                      ACCT# 8800811005
Sep 09   ZBA/TBA XFER OUT                                                                            951,856.82
         ZBA/SWEEP TRANSFER TO             8752
Sep 10   OUTGOING WIRE                                                                                    150.00
         REF# 20190910B6B7261F002499
         TO:   TLR                                  ABA:   123000220
         BANK: US BANK, NA                        ACCT# 153605620597
Sep 10   OUTGOING WIRE                                                                                 3,125.10
         REF# 20190910B6B7261F002498
         TO:   International Paper                  ABA:   021000021
         BANK: JPMORGAN CHASE BANK, NA            ACCT# 0361046451
Sep 10   OUTGOING WIRE                                                                               107,819.15
         REF# 20190910B6B7261F002624
         TO:   VLM Foods USA Ltd                    ABA:   026008248
         BANK: KBC BANK, N.V.                     ACCT# 24866317
Sep 10   OUTGOING WIRE                                                                               178,740.00
         REF# 20190910B6B7261F002497
         TO:   WestRock Financial, Inc              ABA:   111000012
         BANK: BANK OF AMERICA, N.A., TX          ACCT# 3750677531
Sep 10   OUTGOING WIRE                                                                               250,000.00
         REF# 20190910B6B7261F002626
         TO:   PacifiCorp                           ABA:   021000021
         BANK: JPMORGAN CHASE BANK, NA            ACCT# 5531896
Sep 11   OUTGOING WIRE                                                                                 3,750.00
         REF# 20190911B6B7261F001905
         TO:   WestRock Financial, Inc              ABA:   111000012
         BANK: BANK OF AMERICA, N.A., TX          ACCT# 3750677531
Sep 11   OUTGOING WIRE                                                                                25,146.00
         REF# 20190911B6B7261F002123
         TO:   Brecon Foods                         ABA:   021001088
         BANK: HSBC BANK USA, NA                  ACCT# 751722669
Sep 11   OUTGOING WIRE                                                                                31,125.60
         REF# 20190911B6B7261F001906
         TO:   Eckert Cold Storage Co               ABA:   121101037
         BANK: BANK OF STOCKTON                   ACCT# 2545567201
Sep 11   OUTGOING WIRE                                                                                64,794.71
         REF# 20190911B6B7261F002037
         TO:   Armstrong Transport Group            ABA:   071000288
         BANK: BMO HARRIS BANK NA                 ACCT# 1627298




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                                                                        Primary Account:       8906           0

Date                   Description
Sep 11   OUTGOING WIRE                                                                                250,000.00
         REF# 20190911B6B7261F002467
         TO:   Packaging Corporation of America      ABA:   071000288
         BANK: BMO HARRIS BANK NA                  ACCT# 3713005
Sep 11   ZBA/TBA XFER OUT                                                                               2,253.28
         ZBA/SWEEP TRANSFER TO              8760
Sep 12   ZBA/TBA XFER OUT                                                                              17,025.83
         ZBA/SWEEP TRANSFER TO              8752
Sep 12   ZBA/TBA XFER OUT                                                                             518,746.40
         ZBA/SWEEP TRANSFER TO              8760
Sep 13   OUTGOING WIRE                                                                                 10,980.00
         REF# 20190913B6B7261F002597
         TO:   Paper People                          ABA:   125108272
         BANK: COLUMBIA STATE BANK                 ACCT# 7000577879
Sep 13   OUTGOING WIRE                                                                                 57,006.89
         REF# 20190913B6B7261F000687
         TO:   Henningsen Cold Storage Co.           ABA:   121000248
         BANK: WELLS FARGO BANK, NA                ACCT# 4159587245
Sep 13   OUTGOING WIRE                                                                                 76,479.00
         REF# 20190913B6B7261F002599
         TO:   Fruithill Inc.                        ABA:   123205054
         BANK: UMPQUA BANK                         ACCT# 8370002621
Sep 13   OUTGOING WIRE                                                                                 90,768.00
         REF# 20190913B6B7261F000686
         TO:   Rio Valley Frozen Foods LLC           ABA:   114000093
         BANK: FROST BANK                          ACCT# 810023329
Sep 13   OUTGOING WIRE                                                                                597,848.95
         REF# 20190913B6B7261F002598
         TO:   Kywa International Group LLC          ABA:   123002011
         BANK: KEYBANK NATIONAL ASSOCIATION        ACCT# 379681045314
Sep 13   ZBA/TBA XFER OUT                                                                               3,291.24
         ZBA/SWEEP TRANSFER TO              8760
Sep 13   ZBA/TBA XFER OUT                                                                              55,708.62
         ZBA/SWEEP TRANSFER TO              8752
Sep 16   OUTGOING WIRE                                                                                 24,500.00
         REF# 20190916B6B7261F002643
         TO:   ASE Group Inc                         ABA:   101000695
         BANK: UMB BANK, N.A.                      ACCT# 4500009105
Sep 16   OUTGOING WIRE                                                                                 28,926.00




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                                                                       Primary Account:       8906            0

Date                   Description
         REF# 20190916B6B7261F002142
         TO:   WestRock Financial, Inc              ABA:   111000012
         BANK: BANK OF AMERICA, N.A., TX          ACCT# 3750677531
Sep 16   OUTGOING WIRE                                                                                32,004.00
         REF# 20190916B6B7261F002449
         TO:   Fry Foods                            ABA:   042000314
         BANK: FIFTH THIRD BANK                   ACCT# 0072256160
Sep 16   OUTGOING WIRE                                                                                32,921.02
         REF# 20190916B6B7261F002347
         TO:   Freedom Packaging                    ABA:   121143736
         BANK: SANTA CRUZ COUNTY BANK             ACCT# 023005234
Sep 16   OUTGOING WIRE                                                                               170,880.00
         REF# 20190916B6B7261F002451
         TO:   Trinidad                             ABA:   307088754
         BANK: COBANK ACB                         ACCT# 00101743
Sep 16   OUTGOING WIRE                                                                               182,061.74
         REF# 20190916B6B7261F002455
         TO:   National Frozen Foods                ABA:   026009593
         BANK: BANK OF AMERICA, N.A., NY          ACCT# 485010367196
Sep 16   ZBA/TBA XFER OUT                                                                            230,005.11
         ZBA/SWEEP TRANSFER TO             8760
Sep 16   ZBA/TBA XFER OUT                                                                            308,587.43
         ZBA/SWEEP TRANSFER TO             8752
Sep 16   ZBA/TBA XFER OUT                                                                            545,801.75
         ZBA/SWEEP TRANSFER TO             8795
Sep 17   OUTGOING WIRE                                                                                34,649.94
         REF# 20190917B6B7261F001167
         TO:   VLM Foods USA Ltd                    ABA:   026008248
         BANK: KBC BANK, N.V.                     ACCT# 24866317
Sep 17   OUTGOING WIRE                                                                                59,580.00
         REF# 20190917B6B7261F001156
         TO:   WestRock Financial, Inc              ABA:   111000012
         BANK: BANK OF AMERICA, N.A., TX          ACCT# 3750677531
Sep 17   OUTGOING WIRE                                                                               250,000.00
         REF# 20190917B6B7261F001155
         TO:   Packaging Corporation of America     ABA:   071000288
         BANK: BMO HARRIS BANK NA                 ACCT# 3713005
Sep 17   ZBA/TBA XFER OUT                                                                                 140.00
         ZBA/SWEEP TRANSFER TO             8779




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                                                                       Primary Account:       8906            0

Date                   Description
Sep 17   ZBA/TBA XFER OUT                                                                                 230.71
         ZBA/SWEEP TRANSFER TO             8809
Sep 17   ZBA/TBA XFER OUT                                                                             61,538.16
         ZBA/SWEEP TRANSFER TO             8787
Sep 17   ZBA/TBA XFER OUT                                                                             69,004.93
         ZBA/SWEEP TRANSFER TO             8760
Sep 17   ZBA/TBA XFER OUT                                                                            469,710.61
         ZBA/SWEEP TRANSFER TO             8795
Sep 17   ZBA/TBA XFER OUT                                                                            495,939.30
         ZBA/SWEEP TRANSFER TO             8752
Sep 18   OUTGOING WIRE                                                                                 2,480.00
         REF# 20190918B6B7261F002158
         TO:   Evergreen Shipping                   ABA:   021000021
         BANK: JPMORGAN CHASE BANK, NA            ACCT# 1576478414
Sep 18   OUTGOING WIRE                                                                                 5,820.00
         REF# 20190918B6B7261F002221
         TO:   Mitchell Bros Truck Line             ABA:   125108272
         BANK: COLUMBIA STATE BANK                ACCT# 7000922547
Sep 18   OUTGOING WIRE                                                                                32,004.00
         REF# 20190918B6B7261F001576
         TO:   Fry Foods                            ABA:   042000314
         BANK: FIFTH THIRD BANK                   ACCT# 0072256160
Sep 18   OUTGOING WIRE                                                                               100,000.00
         REF# 20190918B6B7261F001574
         TO:   Packaging Corporation of America     ABA:   071000288
         BANK: BMO HARRIS BANK NA                 ACCT# 3713005
         OBI: Quincy
         OBI:
         OBI:
Sep 18   OUTGOING WIRE                                                                               126,945.62
         REF# 20190918B6B7261F001577
         TO:   National Frozen Foods                ABA:   026009593
         BANK: BANK OF AMERICA, N.A., NY          ACCT# 485010367196
Sep 18   ZBA/TBA XFER OUT                                                                                 509.82
         ZBA/SWEEP TRANSFER TO             8779
Sep 18   ZBA/TBA XFER OUT                                                                             60,875.57
         ZBA/SWEEP TRANSFER TO             8795
Sep 18   ZBA/TBA XFER OUT                                                                            500,894.19
         ZBA/SWEEP TRANSFER TO             8809




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                                                                       Primary Account:       8906           0

Date                   Description
Sep 18   ZBA/TBA XFER OUT                                                                        1,016,746.70
         ZBA/SWEEP TRANSFER TO             8760
Sep 18   ZBA/TBA XFER OUT                                                                        2,209,967.67
         ZBA/SWEEP TRANSFER TO             8752
Sep 19   OUTGOING WIRE                                                                                19,122.00
         REF# 20190919B6B7261F001896
         TO:   International Paper                  ABA:   021000021
         BANK: JPMORGAN CHASE BANK, NA            ACCT# 0361046451
Sep 19   OUTGOING WIRE                                                                                43,300.35
         REF# 20190919B6B7261F001897
         TO:   Armstrong Transport Group            ABA:   071000288
         BANK: BMO HARRIS BANK NA                 ACCT# 1627298
Sep 19   OUTGOING WIRE                                                                                48,327.21
         REF# 20190919B6B7261F002324
         TO:   Sierra Packaging                     ABA:   123205054
         BANK: UMPQUA BANK                        ACCT# 4870701150
Sep 19   OUTGOING WIRE                                                                                48,916.90
         REF# 20190919B6B7261F002406
         TO:   Emmerson Packaging                   ABA:   021000021
         BANK: JPMORGAN CHASE BANK, NA            ACCT# 639636716
Sep 19   OUTGOING WIRE                                                                               136,840.00
         REF# 20190919B6B7261F001907
         TO:   Trinidad                             ABA:   307088754
         BANK: COBANK ACB                         ACCT# 00101743
Sep 19   OUTGOING WIRE                                                                               200,000.00
         REF# 20190919B6B7261F002404
         TO:   ProAmpac                             ABA:   021000021
         BANK: JPMORGAN CHASE BANK, NA            ACCT# 934585423
Sep 19   OUTGOING WIRE                                                                               202,457.41
         REF# 20190919B6B7261F001899
         TO:   Brecon Foods                         ABA:   021001088
         BANK: HSBC BANK USA, NA                  ACCT# 751722669
Sep 19   ZBA/TBA XFER OUT                                                                              8,842.03
         ZBA/SWEEP TRANSFER TO             8760
Sep 19   ZBA/TBA XFER OUT                                                                             14,700.54
         ZBA/SWEEP TRANSFER TO             8795
Sep 19   ZBA/TBA XFER OUT                                                                            257,862.43
         ZBA/SWEEP TRANSFER TO             8752
Sep 20   OUTGOING WIRE                                                                                 3,575.00




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                                                                        Primary Account:       8906           0

Date                   Description
         REF# 20190920B6B7261F001343
         TO:   CoBank                                ABA:   307088754
         BANK: COBANK ACB                          ACCT# 22419431
Sep 20   OUTGOING WIRE                                                                                 20,673.93
         REF# 20190920B6B7261F001456
         TO:   Matrix Trust Company                  ABA:   021000021
         BANK: JPMORGAN CHASE BANK, NA             ACCT# 886273556
Sep 20   OUTGOING WIRE                                                                                 69,119.28
         REF# 20190920B6B7261F001876
         TO:   The Pictsweet Company                 ABA:   111000012
         BANK: BANK OF AMERICA, N.A., TX           ACCT# 3751386614
Sep 20   OUTGOING WIRE                                                                                170,867.00
         REF# 20190920B6B7261F001454
         TO:   Calpine Energy Solutions              ABA:   021000021
         BANK: JPMORGAN CHASE BANK, NA             ACCT# 771045440
         OBI: Adequate Assurance Deposit
         OBI:
         OBI:
Sep 20   ZBA/TBA XFER OUT                                                                              10,816.42
         ZBA/SWEEP TRANSFER TO              8760
Sep 20   ZBA/TBA XFER OUT                                                                              31,832.15
         ZBA/SWEEP TRANSFER TO              8795
Sep 20   ZBA/TBA XFER OUT                                                                             332,795.80
         ZBA/SWEEP TRANSFER TO              8752
Sep 23   ZBA/TBA XFER OUT                                                                               4,715.08
         ZBA/SWEEP TRANSFER TO              8787
Sep 23   ZBA/TBA XFER OUT                                                                              85,104.87
         ZBA/SWEEP TRANSFER TO              8795
Sep 23   ZBA/TBA XFER OUT                                                                             122,235.87
         ZBA/SWEEP TRANSFER TO              8752
Sep 23   ZBA/TBA XFER OUT                                                                             165,301.50
         ZBA/SWEEP TRANSFER TO              8809
Sep 23   ZBA/TBA XFER OUT                                                                             295,702.55
         ZBA/SWEEP TRANSFER TO              8760
Sep 24   OUTGOING WIRE                                                                                  2,120.00
         REF# 20190924B6B7261F001566
         TO:   Batory Foods                          ABA:   071000152
         BANK: THE NORTHERN TRUST COMPANY          ACCT# 80365
         OBI: SO-1150976




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Date                   Description
         OBI:
         OBI:
Sep 24   OUTGOING WIRE                                                                                 5,407.72
         REF# 20190924B6B7261F001654
         TO:   CECO, Inc                            ABA:   021000021
         BANK: JPMORGAN CHASE BANK, NA            ACCT# 628801693
Sep 24   OUTGOING WIRE                                                                                13,451.39
         REF# 20190924B6B7261F001653
         TO:   Berry Plastics Corp                  ABA:   042000314
         BANK: FIFTH THIRD BANK                   ACCT# 9996900826
Sep 24   OUTGOING WIRE                                                                                20,136.42
         REF# 20190924B6B7261F001568
         TO:   National Frozen Foods                ABA:   026009593
         BANK: BANK OF AMERICA, N.A., NY          ACCT# 485010367196
Sep 24   OUTGOING WIRE                                                                                46,983.93
         REF# 20190924B6B7261F001574
         TO:   Freedom Packaging                    ABA:   121143736
         BANK: SANTA CRUZ COUNTY BANK             ACCT# 023005234
Sep 24   OUTGOING WIRE                                                                               100,000.00
         REF# 20190924B6B7261F001567
         TO:   ProAmpac                             ABA:   021000021
         BANK: JPMORGAN CHASE BANK, NA            ACCT# 934585423
Sep 24   ZBA/TBA XFER OUT                                                                                 351.63
         ZBA/SWEEP TRANSFER TO             8787
Sep 24   ZBA/TBA XFER OUT                                                                             27,330.24
         ZBA/SWEEP TRANSFER TO             8809
Sep 24   ZBA/TBA XFER OUT                                                                             58,132.93
         ZBA/SWEEP TRANSFER TO             8760
Sep 24   ZBA/TBA XFER OUT                                                                            310,815.86
         ZBA/SWEEP TRANSFER TO             8752
Sep 25   OUTGOING WIRE                                                                                    607.89
         REF# 20190925B6B7261F001234
         TO:   Berry Plastics Corp                  ABA:   042000314
         BANK: FIFTH THIRD BANK                   ACCT# 9996900826
Sep 25   OUTGOING WIRE                                                                                 7,587.21
         REF# 20190925B6B7261F001238
         TO:   Emmerson Packaging                   ABA:   021000021
         BANK: JPMORGAN CHASE BANK, NA            ACCT# 639636716
Sep 25   OUTGOING WIRE                                                                                18,081.00




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                                                                       Primary Account:       8906            0

Date                   Description
         REF# 20190925B6B7261F001705
         TO:   National Sugar Marketing, LLC        ABA:   123000220
         BANK: US BANK, NA                        ACCT# 153695255163
Sep 25   OUTGOING WIRE                                                                                25,265.00
         REF# 20190925B6B7261F001704
         TO:   Boardman Foods                       ABA:   026009593
         BANK: BANK OF AMERICA, N.A., NY          ACCT# 004850499692
Sep 25   OUTGOING WIRE                                                                                32,004.00
         REF# 20190925B6B7261F001237
         TO:   Fry Foods                            ABA:   042000314
         BANK: FIFTH THIRD BANK                   ACCT# 0072256160
Sep 25   ZBA/TBA XFER OUT                                                                                 592.06
         ZBA/SWEEP TRANSFER TO             8795
Sep 25   ZBA/TBA XFER OUT                                                                             13,058.90
         ZBA/SWEEP TRANSFER TO             8809
Sep 25   ZBA/TBA XFER OUT                                                                            347,391.33
         ZBA/SWEEP TRANSFER TO             8752
Sep 25   ZBA/TBA XFER OUT                                                                            630,921.41
         ZBA/SWEEP TRANSFER TO             8760
Sep 26   ZBA/TBA XFER OUT                                                                                  25.56
         ZBA/SWEEP TRANSFER TO             8779
Sep 26   ZBA/TBA XFER OUT                                                                              6,788.11
         ZBA/SWEEP TRANSFER TO             8809
Sep 26   ZBA/TBA XFER OUT                                                                             13,346.76
         ZBA/SWEEP TRANSFER TO             8760
Sep 26   ZBA/TBA XFER OUT                                                                            120,643.84
         ZBA/SWEEP TRANSFER TO             8795
Sep 26   ZBA/TBA XFER OUT                                                                            239,604.71
         ZBA/SWEEP TRANSFER TO             8752
Sep 27   OUTGOING WIRE                                                                                    352.94
         REF# 20190927B6B7261F002202
         TO:   Berry Plastics Corp                  ABA:   042000314
         BANK: FIFTH THIRD BANK                   ACCT# 9996900826
Sep 27   OUTGOING WIRE                                                                                 8,675.26
         REF# 20190927B6B7261F002618
         TO:   Armstrong Transport Group            ABA:   071000288
         BANK: BMO HARRIS BANK NA                 ACCT# 1627298
Sep 27   OUTGOING WIRE                                                                                11,913.20
         REF# 20190927B6B7261F003346




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Date                   Description
         TO:   Creative Packaging                   ABA:   123103729
         BANK: US BANK, NA                        ACCT# 153395059535
Sep 27   OUTGOING WIRE                                                                                   20,208.00
         REF# 20190927B6B7261F003250
         TO:   Cebro Frozen Foods, Inc.             ABA:   121135045
         BANK: TRI COUNTIES BANK                  ACCT# 220664132
Sep 27   OUTGOING WIRE                                                                                   50,065.50
         REF# 20190927B6B7261F003249
         TO:   Grimmway Enterprises, Inc.           ABA:   026009593
         BANK: BANK OF AMERICA, N.A., NY          ACCT# 1476700890
Sep 27   OUTGOING WIRE                                                                                  250,000.00
         REF# 20190927B6B7261F002619
         TO:   Packaging Corporation of America     ABA:   071000288
         BANK: BMO HARRIS BANK NA                 ACCT# 3713005
Sep 27   OUTGOING WIRE                                                                                  341,260.00
         REF# 20190927B6B7261F003247
         TO:   Del Mar Food Products Corp.          ABA:   121000248
         BANK: WELLS FARGO BANK, NA               ACCT# 4592010219
Sep 27   ZBA/TBA XFER OUT                                                                                     95.60
         ZBA/SWEEP TRANSFER TO             8779
Sep 27   ZBA/TBA XFER OUT                                                                                 3,940.58
         ZBA/SWEEP TRANSFER TO             8809
Sep 27   ZBA/TBA XFER OUT                                                                                16,339.04
         ZBA/SWEEP TRANSFER TO             8760
Sep 27   ZBA/TBA XFER OUT                                                                                44,202.25
         ZBA/SWEEP TRANSFER TO             8795
Sep 27   ZBA/TBA XFER OUT                                                                               300,433.94
         ZBA/SWEEP TRANSFER TO             8752
Sep 30   OUTGOING WIRE                                                                                    9,356.68
         REF# 20190930B6B7261F002372
         TO:   Unipro                               ABA:   026009593
         BANK: BANK OF AMERICA, N.A., NY          ACCT# 334020783098
Sep 30   OUTGOING WIRE                                                                                   19,182.90
         REF# 20190930B6B7261F002056
         TO:   International Paper                  ABA:   021000021
         BANK: JPMORGAN CHASE BANK, NA            ACCT# 0361046451
Sep 30   OUTGOING WIRE                                                                                  113,920.00
         REF# 20190930B6B7261F002061
         TO:   Trinidad                             ABA:      307088754




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 Date                   Description
          BANK: COBANK ACB                     ACCT# 00101743
 Sep 30   OUTGOING WIRE                                                                        1,745,564.97
          REF# 20190930B6B7261F002063
          TO:   CoBank                           ABA:   307088754
          BANK: COBANK ACB                     ACCT# 22419431
 Sep 30   ZBA/TBA XFER OUT                                                                              277.88
          ZBA/SWEEP TRANSFER TO         8779
 Sep 30   ZBA/TBA XFER OUT                                                                           1,245.01
          ZBA/SWEEP TRANSFER TO         8787
 Sep 30   ZBA/TBA XFER OUT                                                                          16,476.32
          ZBA/SWEEP TRANSFER TO         8809
 Sep 30   ZBA/TBA XFER OUT                                                                          53,342.92
          ZBA/SWEEP TRANSFER TO         8795
 Sep 30   ZBA/TBA XFER OUT                                                                         261,024.57
          ZBA/SWEEP TRANSFER TO         8760
 Sep 30   ZBA/TBA XFER OUT                                                                         265,597.68
          ZBA/SWEEP TRANSFER TO         8752

Daily Balances
 Aug 31         8,883,115.43                       Sep   17          9,858,391.47
 Sep 03         8,997,101.23                       Sep   18          5,802,147.90
 Sep 04         8,916,698.75                       Sep   19          4,870,354.38
 Sep 05        11,694,066.49                       Sep   20          8,230,674.80
 Sep 06         8,743,088.95                       Sep   23          7,557,614.93
 Sep 09         5,955,346.70                       Sep   24          7,272,630.32
 Sep 10         9,415,512.45                       Sep   25          6,245,098.70
 Sep 11         9,038,442.86                       Sep   26         11,041,121.34
 Sep 12         8,502,670.63                       Sep   27          9,993,635.03
 Sep 13         7,610,587.93                       Sep   30          8,172,115.24
 Sep 16        11,299,185.12




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              Custom
              As of 10/01/2019
              Company: NORPAC FOODS INC
              User: Tammy Roebke                                                                               10/02/2019 02:13 PM ET
              Commercial Electronic Office®                                                             Treasury Information Reporting

                                                        Statement Start Date: 09/01/2019
                                                        Statement End Date: 09/30/2019
Currency: USD
Bank: 121000248                                                                                            WELLS FARGO BANK, N.A.
Account:       1025(OR)                                                                                        QUINCY FOODS LLC
Account Overview
         Beginning Ledger Balance                                                                                                 .00
                Deposits                                                                                                     7,250.63
                Electronic Deposits/Bank Credits                                                                           796,348.39
         Total Credits                                                                                                     803,599.02
                Electronic Debits/Bank Debits                                                                              476,972.06
                Checks Paid                                                                                                326,626.96
         Total Debits                                                                                                      803,599.02
         Ending Ledger Balance                                                                                                    .00


Credits
  Deposits
     Effective Date Posted Date                Amount       Transaction Detail
     08/30/2019      09/03/2019                1,432.34     REVERSAL OF CHECK POSTED 8-30-19 REPOSTED 9-03-19 AS SERIAL
                                                            0200003152 OUR REF: 8-30
                                                            -19
                                                            00000000
     08/30/2019      09/03/2019                     53.95   REVERSAL OF CHECK POSTED 8-30-19 PAYMENT NOT AUTHORIZED
                                                            (REF OUR REF: 8-30
                                                            -19 00000000
     09/06/2019      09/09/2019                    293.13   REVERSAL OF CHECK POSTED 9-06-19 REPOSTED 9-09-19 AS SERIAL
                                                            0200001579 OUR REF: 9-06
                                                            -19
                                                            00000000
     09/09/2019      09/10/2019                2,472.67     REVERSAL OF CHECK POSTED 9-09-19 REPOSTED 9-10-19 AS SERIAL
                                                            0200003417 OUR REF: 9-09
                                                            -19
                                                            00000000
     09/09/2019      09/10/2019                2,297.91     REVERSAL OF CHECK POSTED 9-09-19 REPOSTED 9-10-19 AS SERIAL
                                                            0200003283 OUR REF: 9-09
                                                            -19
                                                            00000000
     09/20/2019      09/23/2019                    409.27   REVERSAL OF CHECK POSTED 9-20-19 REPOSTED 9-23-19 AS SERIAL
                                                            0200001819 OUR REF: 9-20
                                                            -19
                                                            00000000
     09/26/2019      09/27/2019                    291.36   REVERSAL OF CHECK POSTED 9-26-19 STALE DATE OUR REF: 9-26
                                                            -19
                                                            00000000

                                               7,250.63     Total Deposits

  Electronic Deposits/Bank Credits
     Effective Date Posted Date                Amount       Transaction Detail
                     09/03/2019               9,749.20      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/04/2019             485,049.46      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/05/2019               6,357.12      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/06/2019             111,381.21      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/09/2019              90,657.07      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/10/2019              30,710.73      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/11/2019               5,772.91      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/12/2019               8,293.30      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/13/2019              11,514.56      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/16/2019               7,586.75      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/17/2019                  22.24      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/18/2019               6,179.65      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/20/2019               1,203.89      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/23/2019              10,112.38      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/24/2019               7,259.75      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/25/2019               2,250.44      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/26/2019                 663.54      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/27/2019                 320.32      ZBA BALANCE ACCOUNT TRANSFER FROM           9073
                     09/30/2019               1,263.87      ZBA BALANCE ACCOUNT TRANSFER FROM           9073

                                            796,348.39      Total Electronic Deposits/Bank Credits

                                            803,599.02      Total Credits




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             Company: NORPAC FOODS INC
             User: Tammy Roebke                                                                                  10/02/2019 02:13 PM ET
             Commercial Electronic Office®                                                                Treasury Information Reporting

Debits
  Electronic Debits/Bank Debits
     Effective Date Posted Date               Amount   Transaction Detail
                   09/04/2019             476,972.06   WT FED#01429 FIFTH THIRD BANK /DRW/BNF=KRONOS SAASHR, INC.
                                                       SRF# 201909
                                                       0400006804 TRN#190904102367 RFB#     450474844

                                          476,972.06   Total Electronic Debits/Bank Debits

Checks Paid
Check                                         Check                                          Check
Number      Date                   Amount     Number       Date                  Amount      Number       Date                  Amount
401481       09/03/2019            2,583.00   200003259    09/06/2019            2,329.45    200003347    09/09/2019            1,452.56
401482       09/04/2019              592.06   200003260    09/09/2019            1,512.72    200003348    09/06/2019              672.51
401483       09/04/2019              696.36   200003261    09/11/2019              316.76    200003349    09/06/2019            1,782.17
401484       09/04/2019            1,052.52   200003262    09/06/2019            1,651.12    200003350    09/06/2019            1,494.51
401485       09/11/2019              454.26   200003263    09/09/2019              333.45    200003351    09/09/2019            1,132.05
10061080*    09/04/2019            2,710.73   200003264    09/06/2019            1,551.40    200003352    09/06/2019            1,286.35
200001201*   09/26/2019              291.36   200003265    09/06/2019            1,386.37    200003353    09/10/2019            1,369.64
200001507*   09/26/2019               98.15   200003266    09/06/2019            1,775.90    200003354    09/23/2019            1,438.41
200001579*   09/09/2019              293.13   200003268*   09/09/2019            1,805.51    200003356*   09/10/2019            1,716.72
200001694*   09/13/2019              402.65   200003269    09/06/2019            1,332.12    200003357    09/10/2019            1,970.48
200001752*   09/20/2019              468.13   200003271*   09/10/2019            1,642.04    200003358    09/06/2019            1,020.96
200001819*   09/23/2019              409.27   200003272    09/06/2019            1,374.30    200003359    09/06/2019            1,899.29
200001900*   09/26/2019              172.01   200003273    09/10/2019            1,346.25    200003360    09/06/2019            1,297.54
200001903*   09/24/2019              880.91   200003274    09/06/2019              924.72    200003362*   09/10/2019            1,224.07
200001977*   09/24/2019              634.38   200003275    09/09/2019            1,735.49    200003363    09/12/2019            1,641.64
200002140*   09/24/2019              704.54   200003276    09/06/2019            1,774.79    200003364    09/11/2019            1,944.06
200002358*   09/13/2019              295.11   200003277    09/06/2019            1,305.10    200003365    09/06/2019            2,680.01
200002387*   09/24/2019            1,156.88   200003278    09/23/2019              368.99    200003366    09/09/2019            1,176.51
200002572*   09/23/2019              115.37   200003279    09/10/2019            1,144.51    200003367    09/09/2019            1,364.84
200002631*   09/25/2019            1,007.17   200003280    09/16/2019            1,116.56    200003368    09/16/2019            2,247.42
200002661*   09/10/2019              428.75   200003281    09/09/2019            1,806.38    200003369    09/12/2019              419.78
200002741*   09/18/2019              213.92   200003282    09/09/2019            2,292.88    200003370    09/06/2019              824.26
200002747*   09/16/2019              115.38   200003283    09/09/2019            2,297.91    200003372*   09/09/2019              332.91
200002773*   09/09/2019            1,081.91   200003283*   09/10/2019            2,297.94    200003373    09/06/2019              924.46
200002782*   09/04/2019            1,077.86   200003284    09/09/2019            1,831.54    200003374    09/12/2019            1,686.66
200002805*   09/27/2019              611.68   200003285    09/06/2019              820.65    200003375    09/10/2019              757.30
200002824*   09/23/2019            1,129.22   200003286    09/30/2019            1,263.87    200003376    09/06/2019            1,980.12
200002832*   09/16/2019              309.74   200003287    09/10/2019            2,134.30    200003377    09/06/2019            1,452.48
200002839*   09/05/2019            1,932.60   200003288    09/09/2019            1,039.74    200003378    09/10/2019              423.80
200002857*   09/12/2019               98.18   200003289    09/10/2019            1,189.50    200003379    09/09/2019              450.70
200002858    09/25/2019            1,243.27   200003290    09/09/2019              397.63    200003380    09/09/2019            1,657.27
200002870*   09/03/2019              110.26   200003291    09/06/2019            3,107.39    200003381    09/09/2019            2,584.96
200002874*   09/09/2019              310.96   200003292    09/06/2019            1,546.45    200003382    09/06/2019            1,421.97
200002913*   09/09/2019              606.21   200003293    09/09/2019              965.73    200003383    09/06/2019            1,445.75
200002915*   09/16/2019              189.83   200003294    09/18/2019            5,597.74    200003384    09/06/2019            1,959.90
200002920*   09/09/2019            1,209.84   200003295    09/09/2019            1,540.84    200003385    09/06/2019              888.80
200002929*   09/03/2019               24.18   200003296    09/09/2019            2,567.87    200003386    09/09/2019            2,162.65
200002983*   09/09/2019            1,543.03   200003297    09/10/2019            1,754.48    200003387    09/06/2019            1,426.24
200002993*   09/04/2019              140.51   200003298    09/06/2019            1,699.74    200003388    09/09/2019            1,923.99
200003021*   09/06/2019               76.07   200003299    09/06/2019              111.19    200003389    09/09/2019              823.45
200003031*   09/23/2019            1,582.40   200003300    09/06/2019              666.10    200003390    09/13/2019            1,461.16
200003033*   09/05/2019            1,966.89   200003301    09/06/2019            1,626.89    200003391    09/13/2019            1,257.58
200003049*   09/03/2019            1,876.94   200003303*   09/06/2019            1,773.22    200003392    09/06/2019            1,794.27
200003052*   09/23/2019              119.44   200003304    09/09/2019            1,629.61    200003393    09/18/2019              367.99
200003053    09/24/2019            1,308.07   200003305    09/09/2019            1,937.58    200003394    09/09/2019            1,379.90
200003062*   09/03/2019            1,544.93   200003306    09/06/2019            1,024.68    200003395    09/09/2019            1,832.76
200003085*   09/16/2019            1,482.17   200003307    09/12/2019            1,319.08    200003396    09/06/2019            1,930.88
200003090*   09/03/2019              874.33   200003308    09/06/2019            1,537.17    200003397    09/16/2019              306.94
200003109*   09/09/2019            1,492.56   200003309    09/06/2019            1,656.80    200003398    09/09/2019            1,607.21
200003115*   09/06/2019            1,644.79   200003310    09/10/2019              600.17    200003399    09/06/2019            2,259.31
200003117*   09/03/2019               24.16   200003311    09/06/2019            2,094.96    200003400    09/06/2019            1,691.27
200003126*   09/06/2019            1,584.56   200003312    09/09/2019            2,363.87    200003401    09/09/2019              144.15
200003132*   09/12/2019              289.54   200003313    09/06/2019            1,766.91    200003402    09/09/2019            1,483.28
200003138*   09/17/2019               22.24   200003314    09/06/2019              990.81    200003403    09/09/2019            1,608.77
200003152*   09/03/2019            1,432.34   200003315    09/10/2019              172.95    200003404    09/24/2019            1,446.10
200003164*   09/03/2019              748.96   200003316    09/06/2019            1,554.58    200003405    09/06/2019              849.31
200003166*   09/09/2019            1,230.07   200003317    09/06/2019            1,350.27    200003406    09/09/2019            1,670.44
200003177*   09/04/2019            1,807.36   200003318    09/09/2019              889.08    200003407    09/09/2019            1,178.03
200003204*   09/16/2019              105.62   200003319    09/10/2019            1,662.43    200003408    09/09/2019            1,278.62
200003213*   09/03/2019            1,434.43   200003320    09/06/2019            1,667.38    200003409    09/12/2019            1,065.39
200003218*   09/23/2019            1,886.50   200003321    09/10/2019            2,110.74    200003410    09/06/2019              933.96
200003220*   09/05/2019            2,457.63   200003322    09/09/2019            1,260.05    200003411    09/06/2019            1,684.90
200003228*   09/03/2019              581.96   200003323    09/06/2019            1,068.03    200003412    09/06/2019            1,760.16



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             User: Tammy Roebke                                                                                   10/02/2019 02:13 PM ET
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200003233*   09/13/2019            190.97    200003324    09/06/2019               101.29   200003413      09/23/2019            1,685.30
200003234    09/13/2019          2,027.77    200003325    09/06/2019             1,770.82   200003414      09/23/2019            1,786.75
200003235    09/20/2019            302.32    200003327*   09/09/2019             1,358.49   200003415      09/06/2019            2,006.96
200003236    09/26/2019            102.02    200003328    09/09/2019               648.36   200003416      09/06/2019            2,133.06
200003240*   09/10/2019          1,224.08    200003329    09/09/2019             2,131.54   200003417      09/10/2019            2,472.67
200003241    09/09/2019          1,360.38    200003330    09/09/2019             2,316.71   200003418      09/06/2019            1,741.74
200003242    09/10/2019            937.49    200003331    09/09/2019             1,521.15   200003419      09/06/2019            1,448.95
200003243    09/24/2019          1,128.87    200003332    09/06/2019             2,512.74   200003420      09/09/2019            1,973.17
200003244    09/13/2019          1,296.23    200003333    09/13/2019             1,618.71   200003421      09/16/2019            1,713.09
200003246*   09/10/2019          1,085.18    200003334    09/06/2019             1,686.66   200003422      09/06/2019            2,067.98
200003247    09/10/2019          1,394.72    200003335    09/12/2019               941.23   200003423      09/09/2019            2,152.94
200003248    09/09/2019            639.50    200003336    09/09/2019             2,112.84   200003424      09/13/2019            1,687.15
200003249    09/09/2019          1,083.99    200003337    09/09/2019             1,199.31   200003425      09/20/2019               24.17
200003250    09/06/2019          1,210.81    200003338    09/06/2019               308.73   200003427*     09/09/2019            1,401.58
200003251    09/06/2019          2,078.02    200003339    09/09/2019             1,778.19   200003428      09/11/2019              766.93
200003252    09/06/2019          1,855.38    200003340    09/12/2019               121.29   200003429      09/11/2019              310.36
200003253    09/06/2019          1,325.28    200003341    09/10/2019             1,469.51   200003430      09/12/2019              710.51
200003254    09/09/2019          1,725.48    200003342    09/11/2019             1,980.54   200003431      09/10/2019              990.42
200003255    09/09/2019          1,853.26    200003343    09/06/2019             1,344.28   209001819*     09/20/2019              409.27
200003256    09/13/2019          1,277.23    200003344    09/06/2019             1,476.05   500001579*     09/06/2019              293.13
200003257    09/06/2019          1,062.46    200003345    09/10/2019             1,961.17   500003417*     09/09/2019            2,472.67
200003258    09/06/2019          1,534.12    200003346    09/06/2019             1,287.46

* Gap in check sequence                                                      326,626.96     Total Checks Paid

                                                                             803,599.02     Total Debits

Daily Ledger Balance Summary
              Date                           Balance   Date                           Balance      Date                          Balance

              09/03/2019                         .00   09/12/2019                           .00    09/23/2019                         .00
              09/04/2019                         .00   09/13/2019                           .00    09/24/2019                         .00
              09/05/2019                         .00   09/16/2019                           .00    09/25/2019                         .00
              09/06/2019                         .00   09/17/2019                           .00    09/26/2019                         .00
              09/09/2019                         .00   09/18/2019                           .00    09/27/2019                         .00
              09/10/2019                         .00   09/19/2019                           .00    09/30/2019                         .00
              09/11/2019                         .00   09/20/2019                           .00

                                                                                            .00    Average Daily Ledger Balance


                                                       ---- END OF REPORT ----




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                                                                             To   September 30, 2019
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                                                                             PRIVATE CLIENT GROUP 161
                                                                             565 FIFTH AVENUE
                                                                             NEW YORK, NY 10017




             QUINCY FOODS LLC DIP                    9-161
             CASE # 19-33103
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                     See Back for Important Information


                                                                    Primary Account:         8809       160

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      8809      BANKRUPTCY CHECKING                                        .00                           .00

              RELATIONSHIP             TOTAL                                                             .00




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                                                                                   To   September 30, 2019
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                                                                                   PRIVATE CLIENT GROUP 161
                                                                                   565 FIFTH AVENUE
                                                                                   NEW YORK, NY 10017




             QUINCY FOODS LLC DIP                        9-161
             CASE # 19-33103
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                    999                           See Back for Important Information


                                                                          Primary Account:       8809          160


BANKRUPTCY CHECKING                    8809




Summary

 Previous Balance as of September 01, 2019                                                                     .00
        9 Credits                                                                                       735,751.54
      162 Debits                                                                                        735,751.54
 Ending Balance as of   September 30, 2019                                                                     .00


Deposits and Other Credits
 Sep 17 ZBA/TBA TRANSFER IN                                                                                  230.71
         ZBA/SWEEP TRANSFER FROM              8906
 Sep 18 ZBA/TBA TRANSFER IN                                                                             500,894.19
         ZBA/SWEEP TRANSFER FROM              8906
 Sep 23 ZBA/TBA TRANSFER IN                                                                             165,301.50
         ZBA/SWEEP TRANSFER FROM              8906
 Sep 24 RETURNED CHECK                                                                                    1,730.99
 Sep 24 ZBA/TBA TRANSFER IN                                                                              27,330.24
         ZBA/SWEEP TRANSFER FROM              8906
 Sep 25 ZBA/TBA TRANSFER IN                                                                              13,058.90
         ZBA/SWEEP TRANSFER FROM              8906
 Sep 26 ZBA/TBA TRANSFER IN                                                                               6,788.11
         ZBA/SWEEP TRANSFER FROM              8906
 Sep 27 ZBA/TBA TRANSFER IN                                                                               3,940.58
         ZBA/SWEEP TRANSFER FROM              8906
 Sep 30 ZBA/TBA TRANSFER IN                                                                              16,476.32
         ZBA/SWEEP TRANSFER FROM              8906

Withdrawals and Other Debits
 Sep 18 OUTGOING WIRE XFER                                                                              500,894.19
         REF# 20190918B6B7261F002189
         TO:   KRONOS SAASHR, INC.                     ABA:   042000314
         BANK: FIFTH THIRD CINCI                     ACCT# 7146798843




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                                                                                  From September 01, 2019
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                                                                                  PRIVATE CLIENT GROUP 161
                                                                                  565 FIFTH AVENUE
                                                                                  NEW YORK, NY 10017




             QUINCY FOODS LLC DIP                       9-161
             CASE # 19-33103
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                999                              See Back for Important Information


                                                                         Primary Account:       8809         160


Checks by Serial Number
 Sep 23      50084              2,242.81     Sep   24    200050041                1,676.31
 Sep 23   20050062 *            1,525.04     Sep   23    200050042                1,421.16
 Sep 24   20050138 *            1,007.99     Sep   23    200050043                2,108.08
 Sep 17 200050000 *               230.71     Sep   23    200050045   *            1,817.74
 Sep 24 200050001               1,287.91     Sep   23    200050046                2,449.87
 Sep 23 200050002               1,298.45     Sep   23    200050047                2,377.89
 Sep 23 200050004 *             1,846.52     Sep   23    200050049   *              102.93
 Sep 23 200050005               1,326.11     Sep   23    200050050                2,458.07
 Sep 30 200050006                 721.49     Sep   23    200050051                  900.54
 Sep 24 200050007               1,595.59     Sep   23    200050052                1,113.76
 Sep 25 200050008               1,049.56     Sep   24    200050053                1,386.59
 Sep 25 200050011 *             1,081.39     Sep   23    200050054                3,154.23
 Sep 23 200050012                 573.67     Sep   23    200050055                1,571.72
 Sep 30 200050013                 104.87     Sep   23    200050056                  814.85
 Sep 23 200050014               1,442.73     Sep   24    200050057                1,318.97
 Sep 23 200050015               2,317.67     Sep   24    200050058                2,098.16
 Sep 23 200050016               2,093.54     Sep   25    200050059                1,593.58
 Sep 23 200050017               1,372.28     Sep   24    200050060                2,173.02
 Sep 23 200050018               1,920.16     Sep   23    200050061                  695.00
 Sep 23 200050019               2,319.42     Sep   23    200050063   *            1,310.84
 Sep 23 200050020               1,368.33     Sep   23    200050064                2,604.35
 Sep 23 200050021               1,287.16     Sep   23    200050067   *              994.27
 Sep 23 200050022               1,625.23     Sep   23    200050070   *            1,419.18
 Sep 23 200050023               1,730.99     Sep   30    200050071                1,521.40
 Sep 23 200050024               1,394.59     Sep   23    200050072                1,290.47
 Sep 23 200050025                 819.03     Sep   23    200050074   *              782.82
 Sep 23 200050026               1,455.74     Sep   23    200050075                2,405.32
 Sep 23 200050028 *             1,494.63     Sep   23    200050076                2,357.80
 Sep 23 200050029               1,501.81     Sep   23    200050077                1,506.12
 Sep 26 200050030               1,617.14     Sep   23    200050078                  982.00
 Sep 23 200050032 *             2,209.38     Sep   23    200050079                1,351.58
 Sep 23 200050033               1,560.07     Sep   23    200050080                1,405.43
 Sep 26 200050035 *             1,828.73     Sep   23    200050081                  852.79
 Sep 23 200050036               1,247.25     Sep   24    200050083   *            1,415.99
 Sep 23 200050037                 824.49     Sep   23    200050085   *            1,642.08
 Sep 23 200050038                 846.16     Sep   23    200050086                  775.90
 Sep 24 200050039               1,862.52     Sep   24    200050087                1,426.70
 Sep 23 200050040               1,664.12     Sep   23    200050089   *            1,101.83




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                                                                              565 FIFTH AVENUE
                                                                              NEW YORK, NY 10017




             QUINCY FOODS LLC DIP                     9-161
             CASE # 19-33103
             PAYROLL ACCOUNT
             PO BOX 14444
             SALEM OR 97309                999                          See Back for Important Information


                                                                     Primary Account:       8809         160

Date      Serial Nbr              Amount     Date       Serial Nbr              Amount
Sep 23   200050090              2,176.90     Sep 23    200050134                286.66
Sep 23   200050091              1,954.31     Sep 30    200050135              1,854.17
Sep 23   200050092              1,376.50     Sep 23    200050136              2,795.06
Sep 23   200050093              2,696.13     Sep 30    200050137              1,254.37
Sep 26   200050094              1,329.19     Sep 23    200050139 *            1,740.17
Sep 23   200050095              1,489.49     Sep 23    200050140                652.90
Sep 24   200050096                778.49     Sep 24    200050141              1,234.67
Sep 23   200050097              2,173.42     Sep 23    200050142              1,490.56
Sep 23   200050098              1,032.62     Sep 23    200050143              2,113.21
Sep 30   200050099              1,563.24     Sep 23    200050144                643.46
Sep 23   200050100                581.84     Sep 27    200050146 *            1,393.80
Sep 23   200050101              1,329.04     Sep 23    200050147              2,146.47
Sep 30   200050102              2,190.75     Sep 25    200050148              1,126.99
Sep 24   200050103              1,354.77     Sep 23    200050149              1,526.07
Sep 23   200050104                981.70     Sep 23    200050151 *            2,169.88
Sep 23   200050106 *            1,138.51     Sep 24    200050152              1,405.63
Sep 23   200050107                613.40     Sep 23    200050153              1,957.54
Sep 24   200050108              1,554.39     Sep 23    200050154              2,530.23
Sep 23   200050109              1,332.85     Sep 24    200050155              1,579.04
Sep 23   200050110              1,085.76     Sep 23    200050156              1,547.12
Sep 23   200050111              1,993.60     Sep 30    200050157              1,484.00
Sep 25   200050112              1,570.60     Sep 24    200050158                438.28
Sep 25   200050114 *            1,576.41     Sep 27    200050159              1,164.78
Sep 25   200050115              1,743.81     Sep 23    200050160                860.30
Sep 23   200050116              2,033.43     Sep 23    200050161              2,136.21
Sep 25   200050117              1,604.48     Sep 23    200050162              1,326.82
Sep 26   200050119 *            1,534.50     Sep 30    200050163              1,123.07
Sep 23   200050120              2,008.22     Sep 23    200050164                910.89
Sep 23   200050121              2,919.82     Sep 23    200050165              1,825.78
Sep 25   200050122              1,114.14     Sep 23    200050166              2,158.04
Sep 23   200050125 *            1,477.22     Sep 23    200050169 *            2,226.97
Sep 23   200050126                846.54     Sep 23    200050170              2,566.33
Sep 23   200050127              1,231.83     Sep 30    200050171              2,376.68
Sep 23   200050128              1,391.20     Sep 23    200050172              1,455.33
Sep 23   200050129                813.13     Sep 23    200050173              1,476.17
Sep 24   200050130              1,489.49     Sep 23    200050176 *            2,238.18
Sep 25   200050131                340.51     Sep 24    200050177              1,976.72
Sep 23   200050132              1,439.89     Sep 23    200050178                604.46
Sep 23   200050133                782.24     Sep 26    200050179                180.61




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              QUINCY FOODS LLC DIP                      9-161
              CASE # 19-33103
              PAYROLL ACCOUNT
              PO BOX 14444
              SALEM OR 97309                  999                        See Back for Important Information


                                                                      Primary Account:       8809         160

 Date      Serial Nbr                Amount     Date     Serial Nbr              Amount
 Sep 25   200050180                  257.43     Sep 30 200050184                 551.29
 Sep 27   200050181                  725.64     Sep 30 200050185               1,730.99
 Sep 26   200050182                  297.94     Sep 23 2000050048 *            1,941.10
 Sep 27   200050183                  656.36

                  * Indicates break in check sequence

Daily Balances
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             QUINCY FOODS LLC DIP                    9-161
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             OPERATING ACCOUNT
             PO BOX 14444
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                                                                    Primary Account:         8795        75

              AVOID BUSINESS E-MAIL FINANCIAL FRAUD! PLEASE VISIT THE "PRIVACY & SECURITY"
              SECTION LOCATED UNDER THE "ABOUT US" HEADING AT WWW.SIGNATURENY.COM. SELECT
              "BUSINESS E-MAIL COMPROMISE" TO READ THE RECENT NEWS FROM THE FEDERAL
              BUREAU OF INVESTIGATION REGARDING FRAUD TARGETING BUSINESSES, INCLUDING
              GUIDANCE ON WHAT YOU CAN DO TO REDUCE YOUR RISK OF BECOMING A VICTIM.
              SIGNATURE BANK BELIEVES THAT THIS IS IMPORTANT NEWS TO SHARE WITH OUR
              CLIENTS. WE ARE MAKING IT AVAILABLE TO YOU FOR YOUR INFORMATION AND ANY
              ACTION THAT YOU MAY CONSIDER APPROPRIATE.

Signature Relationship Summary                                    Opening Bal.                  Closing Bal.

BANK DEPOSIT ACCOUNTS
      8795      BANKRUPTCY CHECKING                                        .00                           .00

              RELATIONSHIP             TOTAL                                                             .00




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             PO BOX 14444
             SALEM OR 97309                   999                   See Back for Important Information


                                                                 Primary Account:       8795           75


BANKRUPTCY CHECKING                  8795




Summary

 Previous Balance as of September 01, 2019                                                          .00
       11 Credits                                                                          1,476,806.56
       77 Debits                                                                           1,476,806.56
 Ending Balance as of   September 30, 2019                                                          .00


Deposits and Other Credits
 Sep 06 TRANSFER CR      TRANSFER CR 0                                                          50,000.00
         TRANSFER FROM:       XXXXXX8906
 Sep 16 ZBA/TBA TRANSFER IN                                                                    545,801.75
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 17 ZBA/TBA TRANSFER IN                                                                    469,710.61
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 18 ZBA/TBA TRANSFER IN                                                                     60,875.57
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 19 ZBA/TBA TRANSFER IN                                                                     14,700.54
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 20 ZBA/TBA TRANSFER IN                                                                     31,832.15
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 23 ZBA/TBA TRANSFER IN                                                                     85,104.87
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 25 ZBA/TBA TRANSFER IN                                                                         592.06
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 26 ZBA/TBA TRANSFER IN                                                                    120,643.84
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 27 ZBA/TBA TRANSFER IN                                                                     44,202.25
         ZBA/SWEEP TRANSFER FROM             8906
 Sep 30 ZBA/TBA TRANSFER IN                                                                     53,342.92
         ZBA/SWEEP TRANSFER FROM             8906




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             QUINCY FOODS LLC DIP                        9-161
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                                                                            Primary Account:       8795         75


Withdrawals and Other Debits
 Sep 06 OUTGOING WIRE XFER                                                                                50,000.00
         REF# 20190906B6B7261F002635
         TO:   PACKAGING CORPORATION OF AMERICA     ABA:  071000288
         BANK: BMO HARRIS BANK NA                ACCT# 3713005
 Sep 26 AUTOMATED PAYMENT       ck/ref no.    7109720                                                      2,116.31
         WA DEPT REVENUE     TAX PYMT       3365180

Checks by Serial Number
 Sep 16       1001             78,668.53      Sep   17           1035                1,437.12
 Sep 17       1002             44,542.72      Sep   17           1036                  557.00
 Sep 16       1003             39,554.47      Sep   20           1038   *              263.57
 Sep 16       1004             71,188.05      Sep   17           1039                7,495.83
 Sep 17       1005             95,809.70      Sep   20           1041   *           26,881.60
 Sep 18       1006             23,790.44      Sep   25           1043   *              592.06
 Sep 19       1007             10,850.09      Sep   26           1045   *           76,783.77
 Sep 23       1008             58,080.50      Sep   30           1046                  141.41
 Sep 17       1009             48,548.00      Sep   27           1047                1,060.76
 Sep 17       1010             50,768.66      Sep   27           1048                  343.75
 Sep 16       1011            127,978.67      Sep   27           1050   *            3,144.27
 Sep 23       1012             26,714.19      Sep   30           1051                6,401.23
 Sep 16       1013             46,434.44      Sep   30           1052                  446.69
 Sep 17       1014            183,489.45      Sep   27           1053                  146.12
 Sep 16       1015             78,580.08      Sep   27           1054                  288.70
 Sep 18       1016             37,085.13      Sep   27           1056   *              105.85
 Sep 16       1017             45,116.83      Sep   27           1057                  284.11
 Sep 16       1018             34,924.76      Sep   27           1058                  621.88
 Sep 16       1019             23,355.92      Sep   27           1059               10,281.60
 Sep 17       1020              1,050.96      Sep   27           1060                  197.25
 Sep 17       1022 *           25,265.22      Sep   30           1061                3,580.86
 Sep 23       1023                297.13      Sep   27           1062                  385.42
 Sep 19       1024              3,654.77      Sep   26           1063                1,379.28
 Sep 17       1025              1,974.23      Sep   30           1064                2,057.10
 Sep 20       1026              1,513.28      Sep   26           1065                  148.88
 Sep 17       1027                679.22      Sep   30           1066                1,885.20
 Sep 23       1029 *               13.05      Sep   30           1067                  460.83
 Sep 17       1031 *            8,092.50      Sep   27           1068                8,092.50
 Sep 19       1032                195.68      Sep   30           1069                  102.26
 Sep 20       1034 *            3,173.70      Sep   27           1071   *            2,380.00




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             QUINCY FOODS LLC DIP                      9-161
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             OPERATING ACCOUNT
             PO BOX 14444
             SALEM OR 97309                 999                          See Back for Important Information


                                                                      Primary Account:       8795         75

 Date     Serial Nbr              Amount      Date       Serial Nbr              Amount
 Sep 26       1073 *            1,901.07      Sep 27         1082                647.40
 Sep 26       1074              1,028.72      Sep 27         1085 *              200.00
 Sep 27       1075              7,254.96      Sep 26         1086             34,320.90
 Sep 30       1076                340.87      Sep 30         1088 *            2,457.02
 Sep 30       1077              3,222.39      Sep 30         1089             29,999.48
 Sep 26       1079 *            2,964.91      Sep 30         1111 *            1,853.18
 Sep 27       1080                822.18      Sep 30         1123 *              394.40
 Sep 27       1081              7,945.50

                 * Indicates break in check sequence

Daily Balances
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